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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

--------------------------------------------------------------------   x
YISRAEL WEISER AND NAOMI FEIFER-WEISER,                                :
individually and on behalf of the ESTATE OF ROEY                       :
WEISER, SHANI WEISER, NADAV WEISER,                                    :
VARDA MORELL AND EITAN MORELL,                                         :   Case No. 24-cv-3244
individually and on behalf of the ESTATE OF MAOZ                       :
MORELL, E.E.M., a minor, C.M., a minor, SHACHAR                        :
YEHUDA MORELL, MORDECHAI ELIEZER                                       :
MENACHEM MORELL, DOV YERACHMIEL                                        :
MORELL, JAY MICHAEL (YECHIEL) LEITER,                                  :
CHANA LEITER, NERIYA DOV LEITER, SARA                                  :
BRACHA (LEITER) ATTIAS, DAVID ELIMELECH                                :      FIRST AMENDED
LEITER, SOPHIA (LEITER) REDLER, SAMUEL                                 :      COMPLAINT
YAIR LEITER, NOAM ELISHA LEITER, AMIKAM                                :
TZION LEITER, EYAL BALVA AND SIGALIT                                   :
BALVA, individually and on behalf of the ESTATE OF                     :
OMER BALVA, SHAHAR BALVA, ITAI HAIM                                    :
BALVA, BARAK BALVA, YANIV ROUSSO AND                                   :
FANNY ROUSSO, individually and on behalf of the                        :
ESTATE OF OFEK ROUSSO, INBAR ROUSSO,                                   :
RUBY CHEN AND HAGIT CHEN, individually and on                          :
behalf of the ESTATE OF ITAY CHEN, ROY CHEN,                           :
A.C., a minor, HILLA SHAY AND IZHAR SHAY,                              :
individually and on behalf of the ESTATE OF YARON                      :
OREE SHAY, SHIR SHAY, LIOR SHAY, OPHIR                                 :
SHAY, MARK ZIERING AND DEBORAH ZIERING,                                :
individually and on behalf of the ESTATE OF ARYEH                      :
ZIERING, ELIANA ZIERING, YONATAN ZIERING,                              :
TAL ZIERING, OREN GLISKO AND LIAT GLISKO,                              :
individually and on behalf of the ESTATE OF ITAI                       :
GLISKO, ORI GLISKO, Y.G., a minor, TOVA                                :
SCHENKOLEWSKI, IRIS WEINSTEIN HAGGAI,                                  :
individually and on behalf of the ESTATE OF JUDY                       :
WEINSTEIN HAGGAI and the ESTATE OF GAD                                 :
HAGGAI, AHL HAGGAI, RAHM HAGGAI, ZOHAR                                 :
HAGGAI, HOSHEA HAGGAI, MAYA TREGER                                     :
ROSENFELD, DVIR ROSENFELD, Z.R., a minor,                              :
YAEL LEVY OPPENHEIMER, individually and on                             :
behalf of the ESTATE OF ROY JOSEPH LEVY, I.O., a                       :
minor, Y.L., a minor, J.L., a minor, TZURIA LEVY,                      :
ZOHAR LEVY, NAOMI KAHANA, on behalf of A.L.,                           :
a minor, JUDITH LEVY, SHLOMO LEVY, ELIYAHU                             :
LEVY, IDDO MOSHE LEVY, NIR YEHEZKEL                                    :
LEVY, TOM SHALOM, GURAM BENIASHVILI,                                   :
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SIMEON ZIMBALIST AND SARA ZIMBALIST,                    :
individually and on behalf of the ESTATE OF             :
ELIYAHU MOSHE ZIMBALIST, S.Z., a minor, B.Z., a :
minor, A.Z., a minor, NECHAMA ZIMBALIST,                :
AVIVA ZIMBALIST, SHIRA ZIMBALIST, RONEN                 :
NEUTRA AND ORNA ESTHER NEUTRA,                          :
individually and on behalf of the ESTATE OF OMER        :
MAXIM NEUTRA, DANIEL YUM NEUTRA, OR                     :
JOSEPH RAHBEK, KEREN RAHBEK, LEAH                       :
RAHBEK, SHOSHANA BRACHA SHAFER,                         :
MICHAEL MARTIN SHAFER, RIVKA YEHUDIS                    :
SHAFER, A.S., a minor, E.L.S., a minor, E.P.S., a       :
minor, YEHUDA SHAFER, YISROEL MEIR                      :
SHAFER, YITZCHOK SHAFER, NECHAMA SORAH :
GOVE, CHANA SHIRA ABRAHAM, CHAIM                        :
SHAFER, RACHEL GOLDBERG AND JON POLIN,                  :
individually and on behalf of the ESTATE OF HERSH :
GOLDBERG-POLIN, LEEBIE GOLDBERG-POLIN,                  :
ORLY GOLDBERG-POLIN, ESTER SASI,                        :
individually and on behalf of the ESTATE OF             :
AVRAHAM SASI, MORAN SASI, NATALIE SASI,                 :
DANIELLE SASI, R.P., a minor, SHULAMITH ZANI, :
RONIT RAHOUM, ESTER HALIF, YOSEF SASI,                  :
VITO SASY, IZHAK SASI, BEKHOR SASSI, MEIR               :
SASY, ELI SASI, YAAQOV SASI, LEE MELTZ SASI, :
SAMANTHA MELTZ, DANIEL LAWRENCE SASI,                   :
ELIN LEVY SASI, TAL MELTZ SASI, HANNAH                  :
WACHOLDER KATSMAN, individually and on behalf :
of the ESTATE OF HAYIM KATSMAN, MICHAL                  :
HALEV, SARAH BOMFLEK, ROBERT AIRLEY                     :
AND JENNIFER AIRLEY, individually and on behalf         :
of the ESTATE OF BENYAMIN AIRLEY, A.A., a               :
minor, C.A., a minor, Y.A., a minor, SARAH AIRLEY, :
YEHUDA AIRLEY, AARON BOURS, RIVKA                       :
DAVIDOVICH, A.D., a minor, H.M.D., a minor, Mi.D., :
a minor, M.D., a minor, S.E.D., a minor, Y.D., a minor, :
A.E.D., a minor, CHANA SARAH BEN ZAKEN, S.L., :
a minor, A.L., a minor, Ay.B.Z., a minor, Av.B.Z., a    :
minor, DONALD GOODMAN, HADAS PNINA                      :
SAFFER BEN HAMO, N.B.H., a minor, R.B.H., a             :
minor, M.B.H., a minor, AMICHAY KLUGHAUPT,              :
ELITZUR MOSES, DAFNA MOSES, Y.M., a minor,              :
Ei.M., a minor, Ey.M., a minor, T.M., a minor, C.M., a :
minor, MITCHEL NEWMAN, NOACH NEWMAN,                    :
GAVRIEL NEWMAN, DVIR TUVIA NEWMAN,                      :
BATYA LEAH SPREI, AVRAHAM ROTHNER,                      :



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NADAV BENJAMIN SHINDMAN, AARON MOSHE                   :
SPITZ, LEAH SPITZ, GAVRIEL BINYAMIN SPITZ,             :
AVITAL MIRIAM SPITZ, A.H.S., a minor, A.S.S., a        :
minor, I.J.S., a minor, ARYEH THALER, JEFFREY          :
THALER, KAREN THALER, ZEV THALER,                      :
ELIYAHU THALER, YOSEF THALER, PESHA                    :
THALER, A.T., a minor, L.T., a minor, R.T., a minor,   :
H.T., a minor, ARIEL VARDI, LEOR ZER-CHEN,             :
YAAKOV ZER-CHEN, YAEL ZER-CHEN, EITAN                  :
MOR AND SHLOMIT MIRIAM MOR, individually               :
and on behalf of the ESTATE OF SMADAR MOR              :
EDAN, LERON MOR AND ZOLTAN IVAN                        :
GYONGYOSI, on behalf of A.E., a minor, M.E., a         :
minor, Am.E., a minor, LERON MOR, MICHAL               :
ZIPPORAH ZAFRANI, individually and on behalf of        :
the ESTATE OF ITAY ZAFRANI, INBAL CHEN,                :
A.Z., a minor, DAVID ZAFRANI, ORI ZAFRANI,             :
OSNAT TAL ZAFRANI, RONI ZAFRANI, ODEYA                 :
CHEN NATAN, A/K/A ODEYA CHEN TEICHER,                  :
NAOMI TEICHER, MICHAEL JAY TEICHER,                    :
NAAMA SAFFER AMAR, A.A, a minor, G.A., a               :
minor, O.A., a minor, A.M.A., a minor, A.E.A., a       :
minor, YEHOSHUA GOODMAN, SHIRA                         :
GOODMAN, A.G., a minor, Ba.G., a minor, Y.G., a        :
minor, Bi.G., a minor, M.G., a minor, N.G., a minor,   :
AVRAHAM GUTSTEIN, MIRIAM GUTSTEIN,                     :
Z.C.G., a minor, YITSHAK YISACHAR GUTSTEIN,            :
TAMAR GUTSTEIN, S.G., a minor, SHELOMO                 :
TAWIL, BARAK ELITZUR, RIVKA TAMAR                      :
ELITZUR, M.E., a minor, SHAI ELITZUR, RIVKA            :
AHUVA ELITZUR, DANIEL MENACHEM                         :
ELITZUR, DVIR BEN CHAIM, SHACHAR BEN                   :
CHAIM, M.B.C., a minor, A.B.C., a minor, YARON         :
BEN CHAIM, ORLY BEN CHAIM, ORIYA BEN                   :
CHAIM, TAL BEN CHAIM, SHILOH BEN CHAIM,                :
RONI BEN CHAIM, LOTUS LAHAV, IRIT LAHAV,               :
IVONEI DA SILVA DANIEL, YISHAI RUBIN AND               :
BATYA RUBIN, individually and on behalf of the         :
ESTATE OF AMICHAI RUBIN, DAVID RUBIN,                  :
YEDIDYA RUBIN, OZ RUBIN, EITAN RUBIN,                  :
YAIR RUBIN, ODEYA BEN SHIMOL, AMIYA                    :
TIFERET, LIAT ATZILI, OFRI ATZILI, NETTA               :
ATZILI, AYAH ATZILI, MOR LEVZELTER LAVI,               :
GOLAN BARAK, RAQUEL NATALIE SANANDAJI,                 :
DALIA YERUSHALMI, AVRAHAM SHAHAR, IDIT                 :
SHAHAR, YARDEN SHAHAR, Z.S., a minor, R.S., a          :



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minor, AVISHAY BEN ZVI, individually and on behalf        :
of the ESTATE OF AMITAI BEN ZVI, GILAD BEN                :
ZVI, individually and on behalf of the ESTATE OF          :
AMITAI BEN ZVI, HAGAR MADNIK, individually                :
and on behalf of the ESTATE OF AMITAI BEN ZVI,            :
ORNA AVISRUR, individually and on behalf of the           :
ESTATE OF AMITAI BEN ZVI, IDO BEN ZVI,                    :
individually and on behalf of the ESTATE OF AMITAI        :
BEN ZVI, HADAS KALDERON, individually and on              :
behalf of the ESTATE OF CARMELA DAN, GALIT                :
DAN, individually and on behalf of the ESTATE OF          :
CARMELA DAN, DOR DAN, individually and on                 :
behalf of the ESTATE OF CARMELA DAN, ARIE                 :
SHERMAN, LIVNAT SHERMAN, K.A.S. a minor,                  :
G.S., a minor, S.S., a minor, EFRAIM ABRAMS,              :
DAVID ABRAMS, ARLENE ABRAMS, RACHEL                       :
LEVY, SHAI AMAR, NATALIA AMAR, SHIRLEY                    :
AMAR, AMIT BARELI, ZEE CHANA JOSHUA,                      :
BEZALEL BARELI, DAVIRA BARELI, EITAN                      :
EDRI, TAIR EDRI, B.H.E., a minor, N.S.E., a minor,        :
ITZHAK EDRI, ITAMAR EDRI, ARIEL EDRI,                     :
SARAH EDRI, ELIYAHU EDRI, AVIDAN EDRI,                    :
ACHIYA EDRI, JONATHAN STERN, YOSEF                        :
LAMDAN, MAYA LAMDAN, SYLVIA ARAD,                         :
EINAV VERED, TOM LAMDAN, GUY LAMDAN,                      :
MOSHE YEHUDA LILINTAL, ESTHER PEREL                       :
LILINTAL, ELIA NATAN LILINTAL, YAAKOV                     :
LILINTAL, CHANA LILINTAL BIALISTOKI, T.L., a              :
minor, N.R.L., a minor, S.L., a minor, E.S.L., a minor,   :
YESHAYAHU LILINTAL, TAMAR LILINTAL,                       :
Y.M.L., a minor, T.L., a minor, S.L., a minor, DANIEL     :
LILINTAL, GAL LILINTAL, J.M.L., a minor, A.L., a          :
minor, CHAIM TUVIA LILINTAL, TALYA                        :
LILINTAL, M.L., a minor, CHANA LILINTAL HURI,             :
EVYATAR SAADYA SHALOM HURI, RACHEL                        :
GUR, YOSEPH LILINTAL, NADAV PELES, EYAL                   :
PELES, HILA PELES, LIOR PELES, D.P., a minor,             :
ROY PELES, SHANEE AHARONI, GALIT                          :
AHARONI, YANIV AHARONI, ROY AHARONI,                      :
ETAY AHARONI, MICHAL BERKOWITZ,                           :
individually and on behalf of the ESTATE OF EYAL          :
BERKOWITZ, SHMAYA BERKOWITZ, RIVKA                        :
BERKOWITZ, EREZ BERKOWITZ, TZUR                           :
BERKOWITZ, TAMAR BERKOWITZ, EINAV                         :
BERKOWTIZ, REUT BERKOWITZ, SENAI                          :
GUEDALIA, individually and on behalf of the ESTATE        :



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OF JOSEPH GUEDALIA, ASHER GUEDALIA,                 :
DAVID GUEDALIA, DINA LEA GUEDALIA, E.G., a :
minor, SHIRA EPHRAT, YAEL GUEDALIA,                 :
ESTHER GUEDALIA, MICHA GUEDALIA,                    :
MIRYAM SHANI, individually and on behalf of the     :
ESTATE OF ORI MORDECHAI SHANI, R.S., a              :
minor, SHULAMIT SHANI, YEHOSHUA SHANI,              :
YISHAI SHANI, ZOFIYA ZAGURI, NAVA                   :
ROTSHTEN, MALACHI SHANI, ELYSHA SHANI,              :
BATZION GOLDSHTAIN, TALI GILBERG, KOREN :
SIMAN TOV HAZOUTTE, individually and on behalf :
of the ESTATE OF CAROL SIMAN TOV and the            :
ESTATE OF YAHONATAN SIMAN TOV, AMIT                 :
SIMAN TOV VAHABA, individually and on behalf of :
the ESTATE OF CAROL SIMAN TOV and the               :
ESTATE OF YAHONATAN SIMAN TOV, RANAE                :
BUTLER, individually and on behalf of the ESTATE    :
OF CAROL SIMAN TOV and the ESTATE OF                :
YAHONATAN SIMAN TOV, GAD KEDEM, on                  :
behalf of the ESTATE OF TAMAR KEDEM SIMAN           :
TOV and the ESTATES OF A.S.T., a minor, S.S.T., a   :
minor, and O.S.T., a minor, RAM BUTLER, LARRY       :
BUTLER, CLARIS BUTLER, SHACHAR BUTLER,              :
NINNA BUTLER, E.B., a minor, M.B., a minor, Y.B., a :
minor, GUIL HAZOUTTE, Y.H., a minor, B.H., a        :
minor, A.H. a minor, M.H., a minor, YISHAI          :
VAHABA , G.V. a minor, N.O.V., a minor, N.E.V., a   :
minor, S.V., a minor, JOEL KORENSTEIN, MEITAL       :
KORENSTEIN, ANTONY KORENSTEIN, MARLENE :
KORENSTEIN, N.P.K., a minor, C.K., a minor, S.M.K., :
a minor, DINA NAHIR, YONAH KORENSTEIN,              :
DANIEL KORENSTEIN, SHMUEL SPIEGELMAN,               :
YONINA SPIEGELMAN, I.S., a minor, CHANA             :
SPIEGELMAN, ASHER SPIEGELMAN, AMITAI                :
SPIEGELMAN, TAMAR SPIEGELMAN,                       :
NACHSHON SPIEGELMAN, AVIGAYIL                       :
SPIEGELMAN, AYELET SHITRIT SPIEGELMAN,              :
EDEN HAINES, DEENA GOLDFELD, MICHAEL                :
HAINES, YOEL AVRAHAM HAINES, SHALOM                 :
STRAUSS, YAEL STRAUSS, Z.S., a minor, Y.S., a       :
minor, D.S., a minor, BINYAMIN SHAIN, ZLIL          :
CHEN, DVORIT SHAIN, RUSSEL SHAIN, MICHAL :
LUKMAN, ARIEL SHAIN, SHAY SHAIN, ZION               :
LESHEM, RIVKA LESHEM, M.E.L, a minor, L.A.L., a :
minor, M.D.L, a minor, T.B.L., a minor, T.N.L., a   :
minor, YEHUDA GUR ARYEH LESHEM, CHEMDA :



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RACHEL LESHEM, ZVI LESHEM, JULIE LESHEM,                 :
DAVID MESSNER, ELIEZER BENZAKEIN,                        :
AHARON HOLTZMAN, SHILO SAPIR, NATHAN                     :
SUSSKIND, SHLOME WERDE, SAMUEL BLISKO,                   :
REUT ENGLE, NOA MORGAN CHERNEY, ETHAN                    :
LIBIN, GIL BOAZ DANIELS, CHANA RACHEL                    :
KASSEL, M.S.K., a minor, Sh.K., a minor, S.K., a         :
minor, D.C.K., a minor, Av.K., a minor, Y.Y.K., a        :
minor, Ah.K., a minor, E.K., a minor, B-S.K., a minor,   :
Ye.K., a minor, YISHAI KASSEL, TAYYIR AZULAI,            :
L.A., a minor, H.A., a minor, T.A., a minor, Y.A., a     :
minor, LEAH FAYAZI, EBRAHIM FAYAZI,                      :
AVIGAIL AHARONOV, MALKA MICHAEL,                         :
SHLOMO FAYAZI, L.F., a minor, Yi.F., a minor,            :
NAOMI ARONOF, HADASSA MIZRACHI,                          :
ELISHEVA HAZIZA, DAVID FAYAZI, AYALA                     :
PERETZ, YOCHEVED FAYAZI, Yo.F., a minor,                 :
CHAYA MUSHKA HORDINER, BARAK KOSKAS,                     :
NAOMI RUSSEK, R.R., a minor, S.R., a minor, T.R., a      :
minor, A.R., a minor, Ef.R., a minor, C.P.R., a minor,   :
M.H.R., a minor, Ep.R., a minor, Av.R., a minor,         :
SHACHAR HANNA KAMA, DAVID TAWIL,                         :
NAOMI RACHEL KASSIN, LISA BERGER, DAVID                  :
APELBAUM, NECHAMA APELBAUM, DEVORAH                      :
RACHEL SAFFER, ELIOR BITON, E.S.N., a minor,             :
R.N., a minor, HAIM KATZIN, ISRAEL KATZIN,               :
MICHAL BERGER BING, YONATAN FRANK,                       :
NATALI ROTCHES, MATAN KAVA, ALBERT                       :
KAVA, BETH KAVA, ZVI KAVA, YAEL KAVA,                    :
DEENA KAVA, EZRA KASSIN, E.K., a minor,                  :
JONATHAN KARTEN                                          :
                                                         :
                                                         :
              Plaintiffs,                                :
                                                         :
-against-                                                :
                                                         :
ISLAMIC REPUBLIC OF IRAN                                 :
Ministry of Foreign Affairs                              :
Khomeini Avenue                                          :
United Nations Street                                    :
Tehran, Iran                                             :
                                                         :
and                                                      :
                                                         :
ISLAMIC REVOLUTIONARY GUARD CORPS                        :
Armed Forces Headquarters


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Zone 7 – Shariati                                                    :
Ghoddoosi Square (Ghaar)                                             :
Tehran, Iran                                                         :
                                                                     :
and                                                                  :
                                                                     :
HARAKAT AL-MUQAWAMA AL-ISLAMIYA                                      :
(a/k/a Hamas)                                                        :
c/o Waqfiya Al-Ri’aya Al-Usra Al-Filistinya Wa Al-                   :
Lubnanya                                                             :
P.O. Box 1267925                                                     :
                                                                     :
Beirut, Lebanon                                                      :
                                                                     :
and
                                                                     :
PALESTINIAN ISLAMIC JIHAD                                            :
c/o Al Ihsan Charitable Society                                      :
Al-Iman – Fathi Al-Ahmad Building                                    :
Jenin, Palestinian Authority                                         :
                                                                     :
and                                                                  :
                                                                     :
HEZBOLLAH                                                            :
(a/k/a Hizbullah, Hezballah, Hizballah)                              :
c/o The Martyrs Foundation (Al Shahid)                               :
1st Floor - Saadeh & Sawaya Bldg - Main Road –                       :
Kafaat, Hadath Lebanon                                               :
                                                                     :
and                                                                  :
                                                                     :
POPULAR FRONT FOR THE LIBERATION OF                                  :
PALESTINE                                                            :
c/o Health Work Committees,                                          :
Al-Fardan Martyrs Street                                             :
P.O. Box 3966                                                        :
Ramallah – Al Bireh, Palestinian Territories,                        :
                                                                     :
SYRIAN ARABIC REPUBLIC                                               :
c/o Syrian Ministry of Foreign Affairs and Expatriates               :
G729+RW7                                                             :
Prime Ministers Complex                                              :
17th April,                                                          :
Damascus, Syria                                                      :
                                                                     :
                  Defendants.                                        :
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         Plaintiffs bring this Amended Complaint (1) under the terrorism exception to the

Foreign Sovereign Immunities Act, 28 U.S.C. § 1605A, against the Islamic Republic of Iran

(“Iran”), the Islamic Revolutionary Guard Corps (“IRGC”), including its Quds Force (“IRGC-

QF”) (collectively, “the Iran Defendants”), and the Syrian Arab Republic (“Syria,” and with

the Iran Defendants, jointly and severally, the “FSIA Defendants”) and (2) under the civil-

damages provision of the Anti-Terrorism Act, 18 U.S.C. § 2333(a) (“ATA”), as amended by

the Justice Against Sponsors of Terrorism Act, 18 U.S.C. § 2333(d) (“JASTA”), against the

following U.S.-designated foreign terrorist organizations (“FTOs”): 1 Islamic Resistance

Movement–Harakat al-Muqawama al-Islamiya (“Hamas”), Palestinian Islamic Jihad (“PIJ”),

the Popular Front for the Liberation of Palestine (“PFLP”), and Hezbollah, jointly and severally

(collectively, “the FTO Defendants”), and allege as follows:

                                              INTRODUCTION

         1.       On October 7, 2023, Hamas, joined by terrorists from PIJ, PFLP, Al Aqsa

Martyrs Brigade (“AAMB”), 2 and the Popular Resistance Committee (“PRC”), 3 invaded

Israel’s sovereign territory from various locations within the Gaza Strip to murder

approximately 1,200 people (“October 7 Attack” or “October 7”). Those terrorists also

committed horrific acts of rape, torture, mutilation, decapitation, immolation, assault, hostage

taking, and more in a rampage of brutality unthinkable in the modern world.

         2.       Hamas named the October 7 Attack “Operation al-Aqsa Flood.”



1
     FTO is an acronym for “Foreign Terrorist Organization”— a designation made by the U.S. government
pursuant to Section 219 of the Immigration and Nationality Act and the Antiterrorism and Effective Death Penalty
Act of 1996 (“AEDPA”), as amended, codified at 8 U.S.C. § 1189. Section 219 of the AEDPA provides the U.S.
Secretary of State with the authority to designate foreign organizations that engage in terrorism that threatens the
security of the United States or U.S. nationals, which has the effect of freezing their assets and prohibiting most
contact with them.
2
     AAMB is a Palestinian terrorist group affiliated with the Palestinian political party Fatah. It has been
designated as an FTO by the U.S. Department of State since March 27, 2002.
3
     The PRC is a coalition of armed Palestinian groups affiliated with Hamas and opposed to the Palestinian
Authority. It has committed numerous terrorist attacks, including a 2003 attack on a U.S. diplomatic convoy that
killed three U.S. security guards. Although the PRC is not a designated FTO, it is a recognized terror group, which
touts its participation in the October 7 Attack. Its terror apparatus calls itself the “Nasser Salam al-Din Brigades.”


                                                          1
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       3.      Iran and Syria financed, supported, and approved this largest massacre of Jews

since the Holocaust.

       4.      October 7 and the ensuing conflict between Israel and Hamas in Gaza;

Hezbollah in Lebanon; non-Defendant Ansarallah (“the Houthis”) in Yemen; Syria; and

ultimately Iran itself are all byproducts of Iran’s longstanding effort to build a so-called “Axis

of Resistance” against Israel and its primary benefactor—the United States of America.

       5.      The chief purpose of the Axis of Resistance is to expand Iran’s influence

throughout the Middle East while demoralizing and degrading the defensive capabilities of its

regional rivals—primarily Israel—by encircling Israel with what Iran’s IRGC has termed a

“Ring of Fire.”

       6.      The “Ring of Fire” is composed of a series of heavily armed terror proxies

arrayed along Israel’s borders and across the Middle East, including (but not limited to)

Defendants Hamas, PIJ, the PFLP, Hezbollah, the non-Defendant Houthis, and others.

       7.      Armed and trained (and in many cases specifically directed) by the IRGC with

various weapons (including short and medium range rockets and missiles), the purpose of the

“Ring of Fire” is to encircle Israel along multiple fronts with hostile forces committed to

Israel’s destruction, that act on the IRGC’s instructions to coordinate assaults designed to

weaken and ultimately annihilate the State of Israel.

       8.      Although the members of the Axis of Resistance share the common goal of

destroying Israel and murdering Jews, while receiving Iranian and Syrian support, they are a

disparate group of radical terrorist organizations with differing ethnic, national, and religious

sectarian orientations.

       9.      The most prominent member of the Axis of Resistance is Hezbollah.

Established by the IRGC in the early 1980s, Hezbollah has long sworn fealty to Iran’s Supreme

Leader, Ali Khamenei, whom it regards as its “Spiritual Guide.” Although Hezbollah maintains



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a Shi’a Islam religious orientation (like Iran), its members are ethnically Arab (not Persian, like

the majority of Iranians) and are culturally Lebanese (not Iranian). Hezbollah nonetheless

functions as an arm of Iran’s IRGC-QF, taking direction from its “parent organization.”

        10.      Defendants Hamas and PIJ are also ethnically Arab (not Persian), but they are

also categorically different from many of Iran’s other proxies because neither terrorist

organization was created by the IRGC and neither adheres to the tenets of Shi’a Islam (although

PIJ has become increasingly closer doctrinally to Shi’ism).

        11.      Rather, Hamas and PIJ both began as outgrowths of the Muslim Brotherhood,4

a radical movement within Sunni (rather than Shi’a) Islam.

        12.      This distinction, particularly in the case of Hamas, played a crucial role in how

the IRGC’s attack plan for October 7 unfolded because (as described below) differences

between the IRGC and the Muslim Brotherhood played out violently during the Syrian civil

war and the mutual mistrust engendered by that conflict has not completely abated.

        13.      Defendant PFLP is also ethnically Arab, but its origins can be found in pan-

Arab nationalism, rather than religious extremism. During the Cold War, when the Soviet

Union was a key patron of the PFLP and other Palestinian terrorist organizations, the PFLP’s

identity was infused with certain Marxist-Leninist overtones. After the collapse of the Soviet

Union, the PFLP maintained its past alliances but increasingly solicited (and received) funding

and other material support from Iran, the IRGC and Syria. In the years preceding October 7,

PFLP placed its operatives in Gaza under Hamas’s unified command.

        14.      As set forth in detail below, October 7 was the natural outgrowth, and the first

large-scale implementation, of the IRGC’s “Axis of Resistance doctrine”—a well-planned and

coordinated attack designed to destroy Israel.


4
     The Muslim Brotherhood is a fundamentalist Islamist organization that was founded in Egypt in 1928 by
Hassan al-Banna. The organization strives to reconstitute Muslim society and eventually to establish a large
Islamic state that would expand Muslim rule into the rest of the world through jihad (holy war). Hamas emerged
as the Palestinian branch of the Muslim Brotherhood in 1987.


                                                      3
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       15.       Syria has played a critical role in enabling and facilitating this Axis of

Resistance strategy. For decades, the Syrian regime has provided material support to terrorist

organizations including Hezbollah, Hamas, PIJ, and the PFLP by offering training facilities,

safe haven for terrorist leaders, and serving as a vital geographic conduit for Iranian weapons

and resources.

       16.       As described below, Syria’s territory serves as the essential “land bridge”

connecting Iran to its proxies in Lebanon and via land and sea smuggling routes to the

Palestinian Territories, allowing for the movement of personnel, weapons, and funding.

Damascus has hosted crucial planning meetings between terror organizations and IRGC

officials, and provided military training facilities where Hamas and other terror groups

developed capabilities later deployed in the October 7 Attack.

       17.       Although relations between Syria and certain terror groups—particularly

Hamas—were strained during the Syrian civil war, the Assad regime’s dependence on Iran for

its survival ensured continued material support to these organizations. By 2022, Hamas had

fully reconciled with the Syrian regime, strengthening coordination among all parties in the

Axis of Resistance and setting the stage for the October 7 Attack.

       18.       Indeed, the Syrian regime immediately praised the October 7 Attack, declaring

that “Syria raises its head high in honor of the martyrs of the Palestinian revolution and the

heroes who planned and achieved the Al-Aqsa Flood operation.”

       19.       The planning for October 7 appears to have begun primarily in Gaza at Hamas’s

initiative—heavily shaped by Hamas’s own ideology and motivations. Hamas sees itself as an

apocalyptic movement destined to annihilate the State of Israel and restore Israel’s territory to

Muslim hands as part of a larger, preordained path toward Islam’s eventual global triumph.




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         20.      However, for what Hamas’s inner circle called its “Big Project”—the October

7 Attack—and to ensure the attack’s success, Hamas needed additional financing from the

IRGC and enhanced logistical support (including training and weapons).

         21.      Hamas also sought to obtain the IRGC’s commitment to a coordinated attack

that would include Hezbollah—encamped on the other side of Israel’s northern border—and

Hamas’s terrorist operatives in southern Lebanon (mostly recruited from Palestinian refugee

camps) belonging to the group’s Izz al-Din al-Qassam Brigades (“Qassam Brigades”). 5

         22.      By compartmentalizing information and using deception, Hamas concealed the

specifics of the October 7 Attack plan and ensured that the other terrorist organizations

operating in Gaza—most notably PIJ, the PFLP, AAMB, and the PRC—would participate in

the massacre without being privy to the details or scope of the plan beforehand.

         23.      That said, coordinating the attack beyond Gaza with the IRGC and Hezbollah

required far more effort and planning—a process that lasted for more than a year.

         24.      Numerous commentators, researchers, experts, and court decisions have found

that Iran and Syria financed, equipped, and trained Hamas, PIJ, the PFLP, and Hezbollah before

October 7, enabling those terror organizations to be the kind of groups capable of committing

the October 7 Attack.

         25.      More than that, however, Iran helped plan the October 7 Attack itself, provided

dedicated financing for it, and coordinated logistics and training between Hamas and Hezbollah

in advance of the launch date for the attack. And as discussed further below, after a rift between

Hamas and the Assad regime due to Hamas backing Sunni Muslim Brotherhood affiliates

fighting against Hezbollah and the Assad regime during the Syrian civil war, Hamas reconciled



5
    The Izz al-Din al-Qassam Brigades is the core terror apparatus of Hamas, responsible since the 1990s for
kidnappings, murders, suicide bombings, and a variety of other atrocities. Hamas itself often refers to its terror
operatives as “Qassami warriors” and to its terror infrastructure as its “apparatus.” As Hamas leadership has
explained, the other components of Hamas work hand in glove with the Qassam Brigades to accomplish Hamas’s
goals.


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with the regime in 2022. The reconciliation process was part of Hamas’s strategy to strengthen

its position within the Iran-Hezbollah axis prior to the October 7 Attack. By June 2023, Hamas

described its improved relationship with Syria, stating “the Syrian regime has opened the doors

even wider to us.”

       26.     As detailed below, the October 7 Attack, led by Hamas and joined by PIJ, the

PFLP and others, was part of a fully coordinated plan, financed and managed by Iran through

the IRGC-QF, to annihilate Israel by attacking it from multiple fronts simultaneously. For

whatever reason, Hamas actually began its part of that coordinated attack without coordinating

with the other participants, chiefly Hezbollah in the north, joining the attack. But the

devastation and the horror of the October 7 Attack, and subsequent related attacks, were fully

supported and financed by the FSIA Defendants.

       27.     Following the October 7 Attack, Hamas and PIJ continued to launch rockets

into Israel. On October 8, 2023, Hezbollah joined Hamas and PIJ by launching various attacks

at northern Israel which ultimately necessitated the evacuation of tens of thousands of residents

of towns and cities located in the northern third of the country. The Houthis in Yemen joined

in as well, firing missiles at Israel and attacking shipping linked to Israeli and U.S. interests.

       28.     Once Israel recovered from the initial onslaught, it began bombing Hamas, PIJ,

and PFLP targets in Gaza, and on October 13, Israel began ground operations in Gaza to

neutralize Hamas’s military capabilities, free more than 200 hostages taken by Hamas and its

affiliated groups, and prevent a future repetition of October 7.

       29.     In the course of the Israel Defense Forces (“IDF’s”) efforts both in Gaza and

along Israel’s northern border with Lebanon, members of the IDF and civilians in Israel, some

of whom are also American citizens, were murdered or seriously wounded by Hamas, PIJ, the

PFLP, and Hezbollah in subsequent attacks directly related to and precipitated by the October

7 Attack (“Subsequent Related Attacks”).



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                               JURISDICTION AND VENUE

       30.     This Court has jurisdiction over this matter and over the FSIA Defendants

pursuant to 28 U.S.C. §§ 1330(a) and 1605A(a), which create subject-matter and personal

jurisdiction for civil actions for wrongful death and personal injury against State Sponsors of

Terrorism, like Iran and Syria, and their officials, employees, and agents.

       31.     The Foreign Sovereign Immunities Act (“FSIA”), at 28 U.S.C. § 1605A,

provides jurisdiction for private rights of action against a foreign state that was a State Sponsor

of Terrorism at the time of the terrorist acts at issue and also against any official, employee or

agent of that foreign state—while acting within the scope of his or her office, employment, or

agency—for wrongful death, personal injury, and related torts. Iran, a continuously designated

State Sponsor of Terrorism since January 19, 1984, is such a foreign state, as is Syria,

continuously designated a State Sponsor of Terrorism since December 29, 1979.

       32.     As alleged below, the IRGC is a political/military subdivision of Iran.

Accordingly, for all relevant purposes, the IRGC is also considered the foreign state of Iran.

See 28 U.S.C. § 1603(a).

       33.     Venue is proper in this District as to the FSIA Defendants pursuant to 28 U.S.C.

§ 1391(f)(4), which provides that a civil action against a foreign state or its political

subdivisions may be brought in the United States District Court for the District of Columbia.

       34.     FTO Defendants Hamas, PIJ, the PFLP, and Hezbollah are all designated

Foreign Terrorist Organizations and were designated such at the time of the October 7 Attack

and Subsequent Related Attacks.

       35.     This Court has subject matter jurisdiction over the FTO Defendants pursuant to

28 U.S.C. § 1331, as a civil action arising under the laws of the United States, specifically the

Anti-Terrorism Act, 18 U.S.C. § 2333, as a civil action brought by citizens of the United States




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and/or their estates, survivors, or heirs, who have been injured by reason of acts of international

terrorism.

         36.      Venue is proper in this District as to the FTO Defendants pursuant to 28 U.S.C.

§ 1391(b)(3).

                                                  PARTIES

         37.      Plaintiffs are described in detail below in Part VI. They include U.S. nationals

(including estates) and their close family members, who suffered direct and foreseeable injury

as a result of the October 7 Attack and Subsequent Related Attacks committed by Hamas, PIJ,

PFLP, and Hezbollah with the FSIA Defendants’ substantial material support.

         38.      Iran. Iran is, and was at all relevant times, a foreign state as defined by the

FSIA, 28 U.S.C. § 1603(a). Since 1984, Iran has been designated by the United States as a

State Sponsor of Terrorism pursuant to Section 6(j) of the Export Administration Act of 1979,

previously codified at 50 U.S.C. § 4605(j), Section 620A of the Foreign Assistance Act, 22

U.S.C. § 2371, and Section 40(d) of the Arms Export Control Act, 22 U.S.C. § 2780(d). At all

relevant times, Iran provided Hamas, PIJ, PFLP, and Hezbollah with substantial material

support, including training, weapons, money, and resources for acts of extrajudicial killings

and hostage taking, as those terms are used in the FSIA, 28 U.S.C. § 1605A(a)(1), that enabled

Hamas, PIJ, PFLP, and Hezbollah to be terrorist organizations capable of recruiting terrorists

and committing terrorist violence, like the attacks that injured Plaintiffs.

         39.      IRGC (and the IRGC-QF). The IRGC and the IRGC’s Quds Force (“IRGC-

QF”), which is a branch of the IRGC, are subdivisions of the state of Iran and are, for all

relevant purposes, treated as Iran itself. 6 The IRGC is a paramilitary force answerable only to

the Supreme Leader of Iran himself. The IRGC differs from Iran’s “regular” armed forces,


6
     See, e.g., Henkin v. Islamic Republic of Iran, No. 18-cv-1273 (RCL), 2021 WL 2914036, at *17 (D.D.C. July
12, 2021); Fritz v. Islamic Republic of Iran, 320 F. Supp. 3d 48, 77, 85 (D.D.C. 2018); Akins v. Islamic Republic
of Iran, 332 F. Supp. 3d 1, 33 (D.D.C. 2018); Bluth v. Islamic Republic of Iran, 203 F. Supp. 3d 1, 19 n.15 (D.D.C.
2016); Rimkus v. Islamic Republic of Iran, 575 F. Supp. 2d 181, 194 (D.D.C. 2008).


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which ostensibly function under a national command structure answerable to the nominal

government of Iran, not the Supreme Leader. The IRGC is tasked with “protecting the

revolution,” which it accomplishes by silencing perceived enemies at home through secret

police methods and attacking perceived enemies abroad (via its Quds Force) through terrorist

tactics. On October 13, 2017, the United States designated the IRGC as a Specially Designated

Global Terrorist (“SDGT”) under Executive Order 13224, and the IRGC remains so-

designated. 7 On April 15, 2019, the United States designated the IRGC as an FTO pursuant to

AEDPA § 219, codified at 8 U.S.C. § 1189, and the IRGC remains so-designated.

         40.      The IRGC-QF is a branch of the IRGC and is Iran’s primary tool for exporting

the Iranian Islamic revolution beyond Iran’s borders. The Quds Force does so by setting up and

operating armed terrorist cells, establishing educational systems for indoctrination, and

subverting pro-Western Arab regimes. It also provides substantial material support to terrorist

organizations, including Hamas. On October 25, 2007, the Quds Force was designated an

SDGT pursuant to Executive Order 13224 and remains so-designated. The Quds Force was

also included in the April 15, 2019, designation of the entire IRGC as an FTO.

         41.      Syria. Syria is, and was at all relevant times, a foreign state as defined by the

FSIA, 28 U.S.C. § 1603(a). The United States designated Syria a State Sponsor of Terrorism

in December 1979, pursuant to § 6(j) of the Export Administration Act, § 620A of the Foreign

Assistance Act, and § 40 of the Arms Export Control Act. At all relevant times, Syria provided

Hamas, PIJ, PFLP, the IRGC and Hezbollah with substantial material support, including

training, weapons, and resources for acts of extrajudicial killings and hostage taking, as those

terms are used in the FSIA, 28 U.S.C. § 1605A(a)(1), that enabled Hamas, PIJ, PFLP, the IRGC



7
     Executive Order 13224, as amended, has the effect of blocking the assets of and transactions with certain
identified terror groups and individuals. It also provides the Secretary of State with the authority to (1) designate
additional individuals or entities that have committed or pose a significant risk of committing terrorist acts and
(2) identify individuals or entities controlled or owned by terrorist groups or individuals. An entity or individual
designated under E.O. 13224, as amended, is referred to as an SDGT.


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and Hezbollah to be terrorist organizations capable of recruiting terrorists and committing

terrorist violence, like the attacks that injured Plaintiffs.

         42.       Hamas. Hamas is an acronym of the Arabic “Harakat al-Muqawama al-

Islamiya”—Islamic Resistance Movement—but its name also means, in Arabic, enthusiasm,

courage, and zeal for battle. It is the most prominent terrorist organization operating in

Palestinian-controlled territory and is the ruling government of Gaza. Established in 1987,

Hamas’s stated core purpose is eliminating Israel, and it seeks that end through violence and

terror, including rocket attacks, bombings, suicide bombings, shootings, stabbings, hostage

taking, and more. At all relevant times, Hamas received substantial material support from Iran

and Syria, including financing, weapons, ammunition, training, and other resources for acts of

torture, extrajudicial killing, and hostage taking, as those terms are used in the FSIA, 28 U.S.C.

§ 1605A(a)(1), that enabled Hamas to be a terrorist organization capable of recruiting terrorists

and carrying out terrorist acts, like the October 7 Attack and Subsequent Related Attacks. 8 On

January 23, 1995, pursuant to Executive Order 12947, the United States designated Hamas as

a Specially Designated Terrorist (“SDT”). 9 On October 8, 1997, Hamas was designated an

FTO and remains so-designated. On October 30, 2001, Hamas was also designated as an SDGT

under E.O. 13224 and remains so-designated.

         43.       PIJ. Palestinian Islamic Jihad is another prominent terrorist group operating in

Palestinian-controlled territory. It too has as its core purpose destroying Israel through

terrorism and violence. PIJ was established in 1981 and has committed numerous acts of

terrorism since, including suicide bombings, small arms attacks, and mortar and rocket attacks.


8
     See, e.g., Force v. Islamic Republic of Iran, 464 F. Supp. 3d 323, 341 (D.D.C. 2020); Braun v. Islamic
Republic of Iran, 228 F. Supp. 3d 64, 69 (D.D.C. 2017); Estate of Steinberg v. Islamic Republic of Iran, No. 17-
CV-1910 (RCL), 2019 WL 6117722, at **2, 4 (D.D.C. Nov. 18, 2019).
9
     Executive Order 12947 preceded E.O. 13224 and was narrower. It provided the Secretary of the Treasury
with the authority to freeze the assets of and prohibit transactions with entities or persons designated as “foreign
terrorists that disrupt the Middle East peace process,” as opposed to all terrorist entities or individuals. Entities or
individuals designated under E.O. 12947, as amended by E.O. 13099, are referred to as SDTs. On September 9,
2019, E.O. 12947 was revoked and replaced by E.O. 13886, which amended E.O. 13224.


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At all relevant times, PIJ received substantial material support from Iran and Syria, including

military and logistics training, weapons, money, logistical and intelligence support, and other

resources for acts of torture, extrajudicial killing, and hostage taking, as those terms are used

in the FSIA, 28 U.S.C. § 1605A(a)(1), that enabled PIJ to be a terrorist organization capable of

recruiting terrorists and committing terrorist acts, like the October 7 Attack and Subsequent

Related Attacks. 10 On January 23, 1995, pursuant to E.O. 12947, the United States designated

PIJ as an SDT. On October 8, 1997, PIJ was designated an FTO and remains so-designated.

On October 31, 2001, PIJ was designated as an SDGT under E.O. 13224 and remains so-

designated.

        44.     PFLP. The PFLP is a Palestinian nationalist terrorist group that has committed

terrorist attacks around the world, including aircraft hijackings. It seeks to destroy Israel

through terrorism and violence. At all relevant times, the PFLP received material support from

Iran and Syria, including logistical support, training, financial support, and other resources for

acts of torture, extrajudicial killing, and hostage taking, as those terms are used in the FSIA,

28 U.S.C. § 1605A(a)(1), that enabled PFLP to participate in the October 7 Attack and

Subsequent Related Attacks. On January 23, 1995, pursuant to E.O. 12947, the United States

designated the PFLP as an SDT. On October 8, 1997, the PFLP was designated an FTO and

remains so-designated. On October 31, 2001, the PFLP was designated as an SDGT under E.O.

13224 and remains so-designated.

        45.     Hezbollah. Hezbollah means “the party of God” in Arabic. It is one of the

world’s largest and deadliest terrorist organizations. Hezbollah first emerged during the

Lebanese civil war in the early 1980s as a militia recruited by the IRGC and comprising Shi’a

followers of Iran’s Supreme Leader, Ayatollah Ruhollah Khomeini. From Hezbollah’s



10
   See, e.g., Ben-Yishai v. Syrian Arab Republic, 642 F. Supp. 3d 110, 121 (D.D.C. 2022); Force v. Islamic
Republic of Iran, 464 F. Supp. 3d 323, 341 (D.D.C. 2020).


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inception, it has always served as an instrument of Iran. Indeed, its members have been trained,

organized, and funded by a contingent from the IRGC. In 1985, Hezbollah issued a manifesto

describing its objectives to include expelling Western influence from Lebanon and the wider

region, destroying Israel, pledging allegiance to Iran’s supreme leader, and establishing an

Islamist government influenced by Iran’s political ideology. Since its inception, Hezbollah has

committed numerous high-profile and extraordinarily deadly terrorist attacks against U.S.

citizens and others. At all relevant times, Hezbollah received substantial material support from

Iran and Syria, including military and logistics training, weapons, money, logistical and

intelligence support, and other resources for acts of torture, extrajudicial killing, and hostage

taking, as those terms are used in the FSIA, 28 U.S.C. § 1605A(a)(1), that enabled Hezbollah

to be a terrorist organization capable of recruiting terrorists and committing terrorist acts. On

January 23, 1995, pursuant to E.O. 12947, the United States designated Hezbollah as an SDT.

On October 8, 1997, Hezbollah was designated an FTO and remains so-designated. On October

30, 2001, Hezbollah was designated as an SDGT under E.O. 13224 and remains so-designated.

                                  FACTUAL ALLEGATIONS

I.      Iran Provides Substantial Material Support to Hamas, PIJ, PFLP, Hezbollah, and
        the Houthis.

        46.     According to the U.S. State Department, Iran is “the leading state sponsor of

terrorism, facilitating a wide range of terrorist and other illicit activities around the world.” 11

        47.     Iran’s support, primarily through the IRGC, has facilitated the violence

committed by Hamas, which spearheaded the October 7 Attack, and by PIJ and the PFLP which

joined the Hamas-led October 7 Attack, and by Hezbollah, which attacked Israel on October 8

in solidarity with the October 7 Attack.




11
    Country Reports on Terrorism 2022 at 4, U.S. DEP’T OF STATE, available at https://www.state.gov/wp-
content/uploads/2023/11/Country_Reports_on_Terrorism_2022-v3.pdf.


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        48.      Iran’s support includes money, weapons, ammunition, equipment, training,

logistics, and intelligence. Without that support, the October 7 Attack and the Subsequent

Related Attacks would not have been possible.

        A.       The Islamic Republic of Iran: “Death to America! Death To Israel!”

        49.      In 1979, Ayatollah Ruhollah Khomeini led the Iranian revolution against the

Shah of Iran and overthrew the government and established the “Islamic Republic of Iran” and

became its “Supreme Leader.” Currently, the Supreme Leader is Ayatollah Ali Khamenei.

They are the only two individuals to hold the title.

        50.      Iran’s political structure is bifurcated into two components: a formal

governmental structure and a revolutionary structure. The Supreme Leader oversees both

aspects. Iran’s president is subordinate to the Supreme Leader, but otherwise leads Iran’s

formal governmental structure. The Supreme Leader oversees the revolutionary structure,

which includes entities that are parallel to the traditional government agencies within the formal

government structure—for example, the IRGC, which is parallel to the regular military of Iran.

        51.      The violent slogan “Death to America! Death to Israel!” has a long history in

the Islamic Republic of Iran. It also has current relevance. For example, on October 7, 2023,

members of Iran’s parliament chanted “Death to Israel!” in response to the Hamas-led October

7 Attack. 12 Approximately one month later, on November 4, 2023, Iranian demonstrators on

the streets of Tehran repeated this chant to mark the anniversary of the 1979 takeover of the

U.S. embassy in Tehran. 13




12
    Giselle Ruhiyyih Ewing, Iran praises Hamas as attack reverberates around Middle East, POLITICO, Oct. 7,
2023, available at https://www.politico.com/news/2023/10/07/iran-praises-hamas-attack-israel-middle-east-0012
0491.
13
    “Death to Israel, death to America”: Iran marks anniversary of 1979 embassy takeover, TIMES OF ISRAEL,
Nov. 4, 2023, available at https://www.timesofisrael.com/death-to-israel-death-to-america-iran-marks-
anniversary-of-1979-embassy-takeover/.


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        52.      The slogan is not merely symbolic political vitriol; it reflects Iran’s official

policy. Both Supreme Leaders Khomeini and Khamenei have referred to the United States as

the “Great Satan” and Israel (and the United Kingdom) as the “Little Satan” to be defeated.

        53.      Indeed, Iran actively seeks the eradication of Israel. Led by its leader Ali

Khamenei, the Iranian regime has supported terror attacks by Hamas and other Palestinian

groups against Israel, as part of its strategic aim to destroy Israel.

        54.      Khamenei has publicly proclaimed: “[W]e regard Palestine as an organ of our

body, and the support of the Palestinian nation is pride for the Iranian people.... The Palestinian

people must continue the blessed Jihad [holy war] and its standing against the enemies of

Islam... The Hamas, [Palestinian] Islamic Jihad and Fatah forces [AAMB] must continue the

struggle in a united way... But, indeed, the only solution [to the crisis in the region] is the

elimination of the root of this crisis, which is the Zionist regime imposed on the region.” 14

        55.      In an October 4, 2000, message, Khamenei called on the Palestinian people to

wage terror attacks against Israel, stating:

                 I salute the entire Palestinian nation - particularly those who engage in
                 jihad and follow the path of Intifada. I would like to tell you that your
                 movement will receive increasing support from Muslims and
                 revolutionaries. And by Allah’s favor, you will eventually overwhelm
                 the occupiers. The Islamic Republic of Iran will proudly continue to
                 support this holy movement and the most pious people of Iran will
                 continue to pray for your success. ‘If you help (the cause of) Allah, He
                 will help you and make your foothold firm [The Holy Quran, 47:7].’ 15

        56.      In February 2012, a senior political leader of Hamas, Ismail Haniyeh, visited

Iran. 16 During that visit, Iranian leader Khamenei hailed the “Palestinian Resistance.” Haniyeh

declared that Hamas will not recognize Israel and that it will continue fighting Israel until all




14
    Khabar TV, Iran (Oct. 20, 2000) (emphasis added). Emphasis added throughout unless otherwise indicated.
15
    Palestine; Selected Statements by Ayatollah Khamenei about Palestine 102 (Islamic Revolution Publishers)
(2012).
16
    Anthony H. Cordesman, The Gulf Military Balance: Volume I, The Conventional and Asymmetric
Dimensions at 160 (Center for Strategic and International Studies) (Jan. 31, 2014).


                                                    14
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the lands from the Jordanian river to the Mediterranean Sea are liberated and the Palestinian

refugees will return to their lands. 17

         57.      On July 23, 2014, Khamenei declared, “From the day of its illegitimate birth,

the (Zionist) regime laid the foundations for overt violence.… The only solution is to destroy

this regime.… The solution is total armed resistance against this regime…Therefore, it is my

belief that the West Bank should be armed just like Gaza.” 18

         58.      On September 9, 2015, Khamenei urged Palestinians to resume terror attacks

and reject any accommodation with Israel, stating that “in 25 years, Israel would no longer

exist.” He expressed his readiness to back terror attacks against Israel until its expected

destruction by declaring that “during this period, the fighting Jihadi Islamic spirit will not give

the Zionists even a single moment of quiet.” 19

         59.      A 2017 letter from General Qassem Soleimani—then commander of the IRGC-

QF—to Hamas leader Ismail Haniyeh to congratulate him on being elected to be the head of

Hamas’s Political Bureau and thus Hamas’s overall leader, stated:

                  We look forward to strengthening cooperation with you, the allies of the
                  Axis of Resistance. Together, we will restore light on the Palestinian
                  issue. I sincerely hope that your jihad continues until the liberation of
                  the Al-Aqsa Mosque and all Palestinian land, and until Jerusalem
                  becomes a meeting place for all Muslims.

         60.      A 2020 statement by Khamenei reiterated Iran’s deep commitment to

supporting Hamas: “Iran will spare no effort to support the Palestinian people to restore their

right and hold off the evil schemes of the Zionist entity.”



17
     Office of the Supreme Leader (Feb. 12, 2012), http://www.leader.ir/fa/content/9144/ -‫رھﺑر‬-‫ﺑﺎ‬-‫ھﻧﯾﮫ‬-‫اﺳﻣﺎﻋﯾل‬-‫دﯾدار‬
‫اﺳﻼﻣﯽ‬-‫( اﻧﻘﻼب‬last visited May 6, 2025); AL-JAZEERA (Qatar), Feb. 12, 2012, available at
https://www.aljazeera.net/news/2012/2/12/‫اﻟﺗﺳوﯾﺔ‬-‫ﻣن‬-‫ﺣﻣﺎس‬-‫ﯾﺣذر‬-‫( ﺧﺎﻣﻧﺋﻲ‬last visited May 6, 2025).
18
     Middle East Media Research Institute, Iran’s Leader Khamenei: Armed Struggle Should Continue until Israel
Is Destroyed by a Referendum (July 23, 2014), available at https://www.memri.org/tv/irans-leader-khamenei-
armed- struggle-should-continue-until-israel-destroyed-referendum/.
19
     Middle East Media Research Institute, Iranian Supreme Leader Khamenei: “In 25 Years, There Will Be No
Such Thing as the Zionist Regime” (Sept. 9, 2015), available at https://www.memri.org/tv/iranian-supreme-
leader- khamenei-25-years-there-will-be-no-such-thing-zionist-regime/.


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         61.      A letter from General Soleimani sent prior to his assassination in 2020, called

for the annihilation of Israel and pledged that “Islamic Iran will never leave Palestine.” 20

         62.      On October 3, 2023, just days before the October 7 Attack, Khamenei stated in

a speech: “The honorable Imam [Khomeini], may God be pleased with him, described the

usurper [Zionist] regime as a cancer. This cancer will definitely be eradicated, God willing, at

the hands of the Palestinian people and the resistance forces throughout the region.” 21

         63.      More than mere encouragement, Iran has also provided substantial financial

support, weapons, ammunition, equipment, training, and logistical support to Hamas, PIJ, the

PFLP, and Hezbollah for the express purpose and intent to promote terrorist attacks by these

groups, as described further below.

         64.      A January 2021 statement by IRGC Aerospace Force commander Amir Ali

Hajizadeh boasted: “All the missiles you might see in Gaza and Lebanon were created with

Iran’s support.”

         65.      U.S. officials have described the Iranian regime as the world’s “central banker

of terrorism.” 22

         66.      The U.S. State Department’s Country Reports on Terrorism from 2016 through

the most recent report, regarding 2023, contain the following materially identical statement

regarding Iran’s support for terrorism. This example is from the most recent 2023 report:

                  Designated as a State Sponsor of Terrorism in 1984, Iran continued its
                  support for terrorist activity in 2023, including support for Hizballah,
                  U.S.-designated Palestinian terrorist groups in the West Bank and Gaza
                  including Hamas, the Houthis in Yemen, and Iran-aligned militia groups
                  (IAMGs) in Iraq and Syria. After the October 7 Hamas attacks on Israel,
                  Iran-backed groups took advantage of the regional conflict to further

20
     Middle East Media Research Institute, IRGC Qods Force Commander Qassem Soleimani in Letter Sent Prior
To His Death To Hamas Military Wing Commander Muhammad Deif: Despite The Pressures And Siege, Iran
Will Never Abandon Palestine (May 26, 2020), available at https://www.memri.org/reports/irgc-qods-force-
commander- qassem-soleimani-letter-sent-prior-his-death-hamas-military-wing.
21
     Available at https://english.khamenei.ir/news/10146/The-usurper-Zionist-regime-is-coming-to-an-end.
22
     Rice: Iran “Central Banker” For Terror, CBS NEWS, Mar. 16, 2006, available at
https://www.cbsnews.com/news/rice-iran-central-banker-for-terror/; Iranians Global Network, Iran Is “Central
Banker” For Terrorism (Oct. 4, 2018), available at https://iranians.global/iran-is-central-banker-for-terrorism/.


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                 their objectives. Iran used the Islamic Revolutionary Guard Corps-Qods
                 Force (IRGC-QF) to provide support to terrorist organizations, provide
                 cover for associated covert operations, and create instability in the
                 region. The IRGC-QF is Iran’s primary mechanism for cultivating and
                 supporting terrorist activity abroad. 23

        B.       The IRGC and Its Quds Force Form the Axis of Resistance.

        67.      Iran often provides material support to Foreign Terrorist Organizations through

the IRGC and its Quds Force.

        68.      The IRGC was established in the immediate wake of the 1979 Iranian

revolution. The IRGC defines itself as an agent of the Supreme Leader, to which it pledges its

unflinching loyalty. The IRGC leadership and the Supreme Leader both frequently speak about

the IRGC as the guardian of the principles of the revolution. The IRGC is dedicated to

spreading fundamentalist (Shi’a) Islamist principles throughout the world and establishing

fundamentalist Islamist governments in nations other than Iran.

        69.      The IRGC has its own military branches—an army, air force, navy—the

purposes of which are not to defend Iran’s borders, but to protect and advance the Islamic

revolution, including through paramilitary operations in the Middle East.

        70.      The IRGC also has a domestic militia, the Basij paramilitary force, with

approximately 600,000 members.

        71.      The IRGC also holds a controlling number of positions in the Iranian

government and its economy. IRGC veterans have served as governors of many of Iran’s thirty-

one provinces.

        72.      The IRGC also controls many companies spanning a wide range of industries,

including petroleum production, construction, nuclear power, banking, and others—some of

the proceeds from which the IRGC uses for illicit purposes, including funding terrorism.




23
    Country Reports on Terrorism 2023, U.S. DEP’T OF STATE, available at https://www.state.gov/reports/
country-reports-on-terrorism-2023/.


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        73.     By one U.S. government estimate, the IRGC has between 150,000 and 190,000

personnel—not including the domestic militia.

        74.     The Quds Force is also one of the IRGC’s branches. Among its roles are to

establish, fund, equip, and train foreign Islamic revolutionary groups, including Hezbollah,

Hamas, PIJ, and others.

        75.     In essence, the IRGC-QF is charged with cultivating and supporting pro-Iran

proxies in foreign countries and coordinating with these groups to conduct terrorist attacks.

        76.     According to the U.S. State Department’s most recent Country Reports on

Terrorism, “the Islamic Revolutionary Guard Corps-Qods Force (IRGC-QF) and the Ministry

of Intelligence and Security remained Iran’s primary actors involved in supporting terrorist

recruitment, financing, and plotting across Africa, Asia, Europe, and the Americas.” 24

        77.     By using groups as proxies, Iran has sought to achieve its goals in other regions

while simultaneously, if implausibly, denying responsibility for their actions.

        78.     The leader of the IRGC-QF reports directly to the Supreme Leader.

        79.     General Soleimani was the leader of the IRGC-QF from 1998 until January

2020, when he was eliminated by the United States. He was succeeded by the current leader,

Esmail Qaani.

        80.     The IRGC-QF is responsible for providing material support to terrorist

organizations around the world. For example, the IRGC-QF provided the Taliban with small

arms, ammunition, rocket-propelled grenades, mortars, plastic explosives, and more, intending

to kill and wound U.S. and NATO forces in Afghanistan. The IRGC-QF also supplied weapons

and training to Iraqi militias for use against U.S. and Coalition Forces following the U.S.-led

invasion of Iraq in 2003, including the use of explosively formed penetrators, improvised



24
    Country Reports on Terrorism 2023, U.S. DEP’T OF STATE, available at https://www.state.gov/reports/
country-reports-on-terrorism-2023/.


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rocket assisted munitions, rocket-propelled grenades, sniper fire, mortars, and operational and

computer security. The IRGC-QF also provided training and weapons to the Syrian military

and pro-Assad forces, and IRGC-QF troops and paramilitary volunteers fought on behalf of the

Assad regime. The IRGC-QF has also operated in Nigeria and Venezuela, and has attempted

assassinations in the United States.

        81.    Most relevant here, the IRGC-QF is the primary conduit through which Iran

provides Hamas, PIJ, Hezbollah, the PFLP, and the Houthis with material support in the form

of weapons, training, logistics, intelligence, and financing.

        82.    The IRGC-QF also manages the above-mentioned “Axis of Resistance”—a

semi-formal alliance among and between Iran, Syria, Hezbollah, Palestinian terror groups (e.g.,

Hamas, PIJ, and the PFLP), Iraqi Shi’a militias, and the Houthis.

        83.    Although the members of the Axis of Resistance have their own interests, they

work together (under the direction of the IRGC-QF, with its coordination and material support)

toward the shared goals of weakening and, ultimately, destroying Israel and imposing costs on

the United States (including killing and injuring U.S. citizens) for seeking to maintain its

influence in the region—with the goal of spreading the Iranian revolution across the Middle

East.

        84.    Since the Syrian civil war broke out in 2011-2012, the IRGC-QF has engaged

in a massive effort to support the Assad regime by providing weapons, financing, and logistics,

training Syrian forces, recruiting and training foreign fighters, and conducting military

operations against anti-Assad (mostly Sunni) forces.

        85.    Since the U.S.-led invasion of Iraq in 2003, the IRGC-QF has established,

trained, armed, and funded various Shi’a militia to attack U.S. and Coalition Forces operating

in Iraq and later to subvert and subsume the Iraqi government and complete Iraq’s

transformation into an Iranian client state.



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           86.    And as described further below, the IRGC-QF is also the primary conduit

through which Hamas, PIJ, Hezbollah, the PFLP, and the Houthis receive Iranian financing,

weapons, equipment, training, and logistics support.

           87.    In October 2007, the U.S. State Department designated the IRGC-QF under

E.O. 13224, noting its material support to Hamas, PIJ, the PFLP, and “a long history of

supporting Hizballah’s military, paramilitary, and terrorist activities” among other terrorist

groups. 25

           88.    In 2017, Congress reaffirmed these findings in the Countering America’s

Adversaries Through Sanctions Act, Pub. L. 115-44, § 105(a), 131 Stat. 886, 892 (2017):

                  The Iranian Revolutionary Guard Corps-Quds Force (in this section
                  referred to as the “IRGC-QF”) is the primary arm of the Government of
                  Iran for executing its policy of supporting terrorist and insurgent groups.
                  The IRGC-QF provides material, logistical assistance, training, and
                  financial support to militants and terrorist operatives throughout the
                  Middle East and South Asia and was designated for the imposition of
                  sanctions ... in October 2007 for its support of terrorism.

           As part of the same Act, Congress also extended these findings to the IRGC itself:

                  The IRGC, not just the IRGC-QF, is responsible for implementing Iran’s
                  international program of destabilizing activities, support for acts of
                  international terrorism, and ballistic missile program.

           89.    In April 2019, the U.S. State Department designated the IRGC in its entirety

(including the IRGC-QF) as an FTO stating that “the designation highlights that Iran is an

outlaw regime that uses terrorism as a key tool of statecraft and that the IRGC, part of Iran’s

official military, has engaged in terrorist activity or terrorism since its inception 40 years

ago.” 26




25
     Fact Sheet, Designation of Iranian Entities and Individuals for Proliferation Activities and Support for
Terrorism, U.S. DEP’T OF STATE (Oct. 25, 2007), available at https://2001-2009.state.gov/r/pa/prs/ps/2007/
oct/94193.htm.
26
     Fact Sheet, Designation of the Islamic Revolutionary Guard Corps, U.S. DEP’T OF STATE (Apr. 8, 2019),
available at https://2017-2021.state.gov/designation-of-the-islamic-revolutionary-guard-corps/.


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        90.     At all relevant times, Iran, including through the IRGC, has provided Hamas,

PIJ, the PFLP, and Hezbollah with substantial material support and resources for the

commission of injurious acts, within the meaning of 28 U.S.C. § 1605A(a) (1), including the

October 7 Attack and the Subsequent Related Attacks.

        91.     The Iran Defendants provided the material support to the terrorist organizations,

operatives and agents described herein through their officials, employees, and agents, as

defined in § 1605A(a), who acted within the scope of his or her office, employment, or agency.

        92.     The IRGC is an agent of Iran, under its complete control.

        C.      Hamas’s Evolution.

        93.     Hamas is the most significant and deadly Palestinian terror organization.

        94.     Hamas was formed in the Gaza Strip in December 1987 by Sheikh Ahmed

Yassin and six others as an outgrowth of the Muslim Brotherhood and has the declared goals

of globalizing Islam through violent jihad (holy war), eliminating Israel, and establishing an

Islamist state that covers present-day Israel, the Gaza Strip, and the West Bank.

        95.     For example, Hamas’s original 1988 charter states that “[t]here is no solution to

the Palestinian problem except by Jihad.” The document is also replete with xenophobic,

antisemitic references and openly calls for a genocidal war of ethnic cleansing against Jews in

“Palestine.” In October 1988, in an interview to the Kuwaiti newspaper al-Anbaa, Khalil al-

Quqa, who was a close associate of Sheikh Yassin, said: “Allah gathered the Jews in Palestine

not for them to have a homeland, but with the intent that it will become their mass grave.” In

the Jordan Times, on October 12, 1997, an article quoted Yassin as saying, “Hamas’s goal is

to establish an Islamic state on the ruins of Israel.”

        96.     Because of Hamas’s history of conducting terror attacks, as noted above, the

United States designated Hamas as an SDT in 1995, under E.O. 12947; an FTO in 1997, under

8 U.S.C. § 1189; and an SDGT in 2001, under E.O. 13224. In addition, the United States has



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designated numerous Hamas leaders and fundraisers as Specially Designated Nationals,

thereby freezing their assets, as a result of their activities for Hamas.

       97.     Since its inception, Hamas has seen itself as a direct competitor to the Palestine

Liberation Organization (PLO) and the Palestinian Authority (PA), which the PLO established

as part of the Oslo Peace Accords in the early 1990s.

       98.     Even before the Oslo Peace Accords, Hamas made great (and largely

successful) efforts to take over the student councils at universities throughout the West Bank

and Gaza by developing its student organization, the “Islamic Bloc” (Al-Kutla al-Islamiya).

Hamas also prioritized taking over trade unions, commercial organizations, and the

bureaucracies that control Palestinian communications institutions (such as the Palestinian

Journalists’ Syndicate). It also took control of the United Nations Relief and Works Agency

for Palestine Refugees in the Near East (“UNRWA”), a United Nations agency intended to

provide support and relief for Palestinian civilians in Gaza, as well as various purported

charitable societies and so-called “zakat” (tithing) committees in the West Bank.

       99.     Hamas historically operated in the Palestinian Territories (the Gaza Strip and

the West Bank), Lebanon, and Syria. It was formally pushed out of Jordan in the late 1990s

(but continues to operate clandestinely there) and currently maintains significant operations in

Turkey, Qatar, and Algeria.

       100.    In 2006, Hamas won the general PA elections, attaining a parliamentary

majority, and in 2007 it seized power in Gaza after a violent coup (it has held no elections

since). Its takeover of Gaza resulted in the expulsion of the PA security services from the Gaza

Strip in May-June 2007. From that time forward, Hamas maintained absolute political and

military control of the Gaza Strip.

       101.    Politically, Hamas is governed by a main Political Bureau (or Politburo) of

approximately 15 members. From 1996 until May 2017 the Chairman was Khaled Mashal.



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Ismail Haniyeh then served as Chairman from May 2017 until his elimination in July 2024. In

August 2024, Yahya Sinwar was selected as Chairman, and he served until he was killed on

October 16, 2024.

       102.    Hamas’s main Political Bureau is elected by a Shura Council, which comprises

members from the four local political bureaus, one each for Gaza, the West Bank, prisoners in

Israel, and the diaspora.

       103.    Yahya Sinwar led the Gaza Political Bureau (replacing Ismail Haniyeh) from

February 2017 until he was chosen as head of Hamas’s main Political Bureau in August 2024

after Haniyeh’s death.

       104.    Hamas’s social network raises funds through “charitable” contributions. It

attained its widespread power in the Palestinian Territories by providing social services to

Palestinian communities while also providing regular employment for Hamas leaders and field

commanders.

       105.    Moreover, Hamas has used the mosques, schools, orphanages, medical clinics,

sports leagues, and summer camps under its control to indoctrinate Palestinians in the Muslim

Brotherhood’s ideology, to recruit young Palestinians into the ranks of Hamas, to incite

violence against Israelis (and Jews specifically) and to provide logistical and operational

support for its core terror apparatus, the Qassam Brigades.

       106.    The Qassam Brigades commits murderous attacks within Israel, the West Bank,

and Gaza. The Qassam Brigades were founded at the start of the 1990s and, before the October

7 Attack, numbered more than thirty thousand terrorists. They were directly subordinate to the

top Hamas leadership, particularly in the Gaza Strip. They were (and are) responsible for

perpetrating terror attacks for Hamas, and they have murdered thousands of Israeli civilians

and numerous U.S. citizens.




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        107.   Hamas proudly proclaims its strategies of using violent attacks to terrorize the

civilian population and to influence government officials in Israel and the United States. Since

its founding, Hamas has launched numerous violent attacks, including bombings, suicide

attacks, rocket attacks, shootings, stabbings, and vehicular attacks, in support of that aim.

        108.   The Qassam Brigades are infamous for their suicide terror attacks. To take just

a small set of examples: in 1996, Hamas suicide bombers killed 45 people in two separate

bombings of buses on Jaffa Road in Jerusalem. In June 2001, a Hamas suicide bomber attacked

the Dolphinarium disco in Tel Aviv, killing 21, the majority of whom were teenagers, and

wounding more than 100. In August 2001, a Hamas suicide bombing of a Sbarro pizzeria in

Jerusalem killed 16 people, including three Americans, and wounded approximately 130. In

December 2001, two Hamas suicide bombers perpetrated an attack on Ben Yehuda Street in

Jerusalem killing 11 and wounding approximately 188. In March 2002, a Hamas suicide

bomber attacked a Passover seder at a hotel in Netanya, which included many elderly survivors

of the Holocaust, killing 30 people and wounding approximately 140. In June 2002, a Hamas

suicide bomber blew up bus 32A in Jerusalem killing 19 and wounding approximately 50. In

March 2003, a Hamas suicide bomber blew up bus 37 in Haifa, killing 17 and injuring

approximately 53. In June 2003, a Hamas suicide bomber blew up bus 14A in Jerusalem killing

17 and wounding approximately 100.

        109.   From 2007 through the October 7 Attack, Hamas also fired thousands of rockets

at Israeli civilian targets, killing and wounding scores of civilians, some of whom were U.S.

citizens.

        110.   In the years leading up to the October 7 Attack, Hamas also expanded its efforts

at hostage-taking to gain leverage in negotiations with the Israeli government. Infamously,

Hamas held kidnapped IDF soldier Gilad Shalit hostage for more than five years, until his

release in October 2011, in exchange for 1,027 terrorists held by Israel. One of those exchanged



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prisoners was Yahya Sinwar who would go on to lead Hamas and mastermind the October 7

Attack. In 2014, Hamas also kidnapped, and murdered, three teenagers, including a U.S.

citizen.

           111.   Since 2007, when Hamas first seized control of the Gaza Strip, it has

successfully subordinated the other prominent terrorist organizations that operate in its

territory, most notably PIJ, the PFLP, AAMB, and the PRC.

           112.   The first three are political rivals of Hamas. The PRC is largely a creature of

Hamas’s creation. But all of them are able to set aside their differences for the common goal

of attacking Israel.

           113.   In July 2018, Hamas established a Joint Operations Room in Gaza which

effectively placed PIJ, the PFLP, the PRC, and other terrorist organizations under its

operational control in the Gaza Strip.

           114.   These organizations then participated in the annual “Strong Pillar” paramilitary

exercises under Hamas’s sponsorship, which included drills simulating attacks against Israeli

military structures and kidnappings.

           115.   As a result, both during the October 7 Attack and in the months of conflict in

Gaza that followed, PIJ (and other Gaza-based terrorist organizations) largely acted under the

direction and command of Hamas’s Qassam Brigades while maintaining its unique

organizational identity.

           D.     Iran Provided Material Support to Hamas Prior to October 7

           116.   As noted above, Iran’s substantial material support to Hamas is longstanding.

Starting in the early 1990s, Hamas staged a representative in the Iranian capital of Tehran. Over




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the next 20-plus years, Iran provided material support to Hamas that has been well-

documented, including in numerous court decisions. 27

        117.     A February 6, 2004, Congressional report noted that Hamas received financial

aid from Iran, which, according to one estimate, was ten percent of Hamas’s annual budget.

        118.     In December 2006, after Hamas won a majority of the legislative seats for the

PA, Hamas’s then “Prime Minister,” Ismail Haniyeh, visited Tehran, where he met with

Supreme Leader Ayatollah Khamenei and President Mahmoud Ahmadinejad. Iran reportedly

gave Hamas $250 million.

        119.     After Hamas violently assumed control of the Gaza Strip in 2007, three weeks

of conflict broke out between Israel and Hamas beginning in December 2008 and lasting

through January 2009.

        120.     Iran then increased its aid to Hamas, including by providing more advanced

rockets. “The victory of the people of Gaza was a miracle of God, and the Islamic Republic

definitely has a share in this victory,” said Khaled Mashal, head of Hamas’s Political Bureau

at that time.

        121.     In February 2012, Ismail Haniyeh, then one of Hamas’s most senior political

leaders in Gaza, visited Iran. During that visit, Iranian leader Khamenei hailed the Palestinian

Resistance.

        122.     The IRGC-QF has provided Hamas and PIJ with Fajr-5 artillery rockets, among

other munitions, since at least 2012, and Syrian-made 302-millimeter rockets since at least

2014.

        123.     In November 2012, Ali Baraka, Hamas’s representative in Lebanon, stated in a

television interview that Iran was the principal military and financial supporter of the majority


27
   See, e.g., Bennett v. Islamic Republic of Iran, 507 F. Supp. 2d 117, 123-24 (D.D.C. 2007); Stern v. Islamic
Republic of Iran, 271 F. Supp. 2d 286, 292-295 (D.D.C. 2003); Weinstein v. Islamic Republic of Iran, 184 F.
Supp. 2d 13, 21-22 (D.D.C. 2002).


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of the Palestinian organizations in the Gaza Strip. Baraka further stressed that the ties between

Hamas and Iran were strategic and continued even after Hamas adopted its position opposing

the Iran-backed Syrian regime. Baraka claimed that during Israel’s Operation Pillar of Defense,

which occurred in November 2012, a senior Iranian official had contacted him daily for updates

and had relayed that Iran was ready to provide military and other material support during the

operation, in the name of its ideological and moral commitment to the cause.

        124.    On November 21, 2012, Khaled Mashal, then Chairman of the Hamas Political

Bureau, thanked Iran for its role in arming and funding Hamas in the Gaza Strip. At a press

conference in Cairo, Egypt, shortly before the announcement of a ceasefire agreement between

Israel and the Palestinian factions in Gaza, Mashal said that he was grateful for the Iranian role

in aiding Gaza and thanked Iran for “arms and funding.”

        125.    Iranian support for Hamas increased again in 2013 and 2014. “The U.S. State

Department’s Country Report on Terrorism 2014 notes that Iran is not shy about its willingness

to finance Hamas. ‘Since the conclusion of [Operation Protective Edge] … Iranian

governmental officials have publicly stated their willingness to resume Iran’s military support

of Hamas.’ The report goes on to note that ‘historically, Hamas has received funding, weapons,

and training from Iran.’” 28

        126.    In 2014, Reuters reported that, according to diplomatic sources, Iran had

previously given Hamas $250 million per year.

        127.    In September 2015, the Times of Israel reported, “Iran has sent suitcases of

cash— literally—to Hamas’s military wing in Gaza…. [Iran] handed over the suitcases [of

cash], by way of couriers, directly to the leaders of [Hamas]’s military wing in the Gaza Strip.”




28
     See Fraenkel v. Islamic Republic of Iran, 248 F. Supp. 3d 21, 29-30 (D.D.C. 2017) (subsequent history
omitted) (quoting Country Reports on Terrorism 2014, U.S. DEP’T OF STATE, available at
https://www.state.gov/documents/organization/239631.pdf).


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        128.     The U.S. Department of State confirmed in its 2014 Country Reports on

Terrorism that “Iran continued to sponsor terrorist groups around the world, principally through

its Islamic Revolutionary Guard Corps-Quds Force (IRGC-QF). These groups included

Lebanese Hizballah, several Iraqi Shia militant groups, [and] Hamas ….” 29

        129.     Furthermore, during the 2014 Israel-Hamas conflict, IRGC-QF commander

Qassem Soleimani sent a message to Palestinian terror groups in which he pledged his support

for Hamas and groups in their fight against Israel:

                 Greetings to my brothers, political heads of Hamas and Islamic Jihad
                 and all the Resistance groups… Greeting to commanders and operatives
                 of [Izz al-Din] Al-Qassam (Hamas’s military wing), Saraya Al-Quds
                 [Palestine Islamic Jihad’s military wing], Abu Ali Mostafa [PFLP],
                 Nasser Salaheddin [Popular Resistance Committees], Al-Aqsa Martyrs
                 Brigades [Fatah]… Just like in the past we have put into action our
                 religious duty to support the resistance, we will continue this duty and
                 will push on with our support and aid until the moment of victory, until
                 the resistance on the ground, in the air and sea will be transformed into
                 a hell for the Zionists. The murderers and the mercenaries should know
                 that we will not withhold not even for a minute our support for the
                 resistance and our standing behind the Palestinian nation, and that we
                 don’t have a grain of hesitation in this regard. 30

        130.     In December 2014, the spokesman of Hamas’s Qassam Brigades, Abu ‘Ubaida,

publicly thanked Iran for its funding and weapons:

                 [W]e have only to thank those whom Allah enlisted to take part in this
                 development... first and foremost the Islamic Republic of Iran, which
                 did not withhold from us funds, weapons and [other forms of aid] and
                 helped us in our resistance by supplying us with missiles that pulverized
                 the Zionist strongholds during the attacks and battles we waged against
                 the occupier, and also supplied us with quality anti-tank missiles that
                 crushed the legendary Zionist Merkava [tank]. 31

29
     Country Reports on Terrorism 2014, at 8, U.S. DEP’T OF STATE, available at https://www.state.gov/
documents/organization/239631.pdf.
30
     The Jerusalem Center for Public Affairs, Iran’s IRGC Quds Force Commander: “The Palestinian Resistance
Movement Will Make the Sea, the Land, and Skies into Hell for the Zionists” (July 31, 2014), available at
http://jcpa.org/irans-revolutionary-guard/; Fars (Iran) (July 31, 2014), https://www.farsnews.com/printable.php?
nn=13930509000094 (in Farsi).
31
     Middle East Media Research Institute, Hamas Senior Officials At Movement’s 27th Anniversary
Celebrations: We Will Not Recognize Zionist Entity Or Be Satisfied With A Palestinian State Within 1967 Borders;
We Thank Iran For Supplying Us With Weapons, Missiles (Dec. 16, 2014), available at
https://www.memri.org/reports/hamas-senior-officials-movements-27th-anniversary-celebrations-we-will-not-re
cognize-zionist.


                                                      28
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         131.   The Hamas-Iran relationship was affected by the Syrian civil war. Iran

supported the Assad regime, which was fighting a brutal campaign against largely Sunni anti-

Assad forces. The Assad regime (with massive support from the IRGC-QF) committed

countless atrocities against its own Syrian civilians (including deploying poison gas against

them).

         132.   Hamas, a radical Sunni supremacist organization, refused to support Assad (a

longtime patron of Hamas) in his war against Syria’s Sunni population and in some cases,

actively contributed to the fight against the regime, a decision in tension with Iran’s interests.

         133.   Although the relationship was somewhat strained during this period, Hamas and

Iran continued to maintain strong ties, and the IRGC-QF continued to provide Hamas with

funding, training, weapons, and other logistical and material support.

         134.   In August 2017, Yahya Sinwar, until his death in 2024, Hamas’s most senior

leader in the Gaza Strip, stated, “Hamas continues to train its people for the mission of liberated

Palestine, and the Iranian Islamic Republic plays a central role in all that’s related to this goal

through financial and military aid and providing training for the Izz al-Din al-Qassam

Brigades.”

         135.   Sinwar also declared, in August 2017, that “[r]elations with Iran are excellent

and Iran is the largest supporter of the Izz [a]l-D[i]n al-Qassam Brigades with money and

arms.”

         136.   Documents recently seized from Hamas offices in Gaza make clear that Iranian

support for Hamas took on many forms, including non-lethal training. For example, attached

as Exhibit 1 to the Amended Complaint is a letter from Yahya Sinwar to the HR Department

of the Qassam Brigades dated September 9, 2019.




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        137.     In the letter, Sinwar informs the administrative staff of Hamas’s terror apparatus

that Iran is offering scholarships (in Iran) to 18 Qassam Brigades operatives–twelve to receive

bachelor’s degrees, four to receive master’s degrees and two to be selected for doctorates.

        138.     Sinwar notes that fields of study will include: “computer engineering,

programming, Farsi studies, political science, special forces, naval forces, or any specialty

needed by the divisions and the specialties.” Only terror operatives with a grade point average

above 80% would be considered for the BA program.

        139.     The U.S. State Department’s yearly Country Reports on Terrorism from 2016

to its most recently published 2023 report all state that Iran provides support to Hamas, often

specifying that the support included weapons, funding, and training. 32

        140.     The U.S. State Department’s yearly Country Reports on Terrorism for 2020

noted that “Iran also provides up to $100 million annually in combined support to Palestinian

terrorist groups, including Hamas, Palestine Islamic Jihad, and the Popular Front.” 33

        E.       Iran Provided Material Support to Palestinian Islamic Jihad (PIJ).

        141.     PIJ was founded in 1981 by Fathi Shiqaqi and Abd al-Aziz Awda (also known

as Sheikh Obdeh).




32
     Country Reports on Terrorism 2016 at 304, U.S. DEP’T OF STATE, available at https://www.state.gov/wp-
content/uploads/2019/04/crt_2016.pdf; Country Report on Terrorism 2017 at 218, available at
https://www.state.gov/ wp-content/uploads/2019/04/crt_2017.pdf; Country Reports on Terrorism 2018 at 212,
available     at     https://www.state.gov/wp-content/uploads/2019/11/Country-Reports-on-Terrorism-2018-FI
NAL.pdf; Country Reports on Terrorism 2019 at 199, available at https://www.state.gov/wp-content/uplo
ads/2020/06/Country-Reports-on-Terrorism-2019-pdf; Country Reports on Terrorism 2020 at 200, available at
https://www.state.gov/wp-content/uploads /2021/07/Country_Reports_on_Terrorism_2020.pdf; Country Reports
on Terrorism 2021 at 214, available at https://www.state.gov/wp-content/uploads/2023/02/Country_Reports_20
21_Complete_MASTER.no_maps-011323- Accessible.pdf; Country Reports on Terrorism 2022 at 206, available
at https://www.state.gov/wp-content/uploads/2023/11/Country_Reports_on_Terrorism_2022-v3.pdf; Country
Reports on Terrorism 2023, available at https://www.state.gov/reports/country-reports-on-terrorism-2023/.
33
     Country Reports on Terrorism 2020 at 304, U.S. DEP’T OF STATE, available at https://www.state.gov/
reports/country-reports-on-terrorism-2020/. See also the 2022 report at 277: “Iran provides up to $100 million
annually in combined support to Palestinian terrorist groups, including Hamas, Palestine Islamic Jihad, and the
Popular Front for the Liberation of Palestine-General Command,” available at https://www.state.gov/
reports/country- reports-on-terrorism-2022/.


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           142.   PIJ seeks “the establishment of an Islamist Palestinian state and the destruction

of the state of Israel. The Islamic Jihad believes Palestinian liberation and the seizure of

Jerusalem for the Islamic world would serve as a catalyst for a wider Islamic revolution across

the Arab and Muslim world.” 34

           143.   Shiqaqi and Awda were residents of Gaza who professed admiration for the

Iranian Revolution.

           144.   In 1981, Shiqaqi wrote a book about his admiration of the Islamic Republic of

Iran. 35

           145.   Following the assassination of Egyptian President Anwar Sadat in 1981,

Shiqaqi was expelled from Egypt and returned to Gaza, where he formally established PIJ.

           146.   After the start of the Palestinian uprising against Israel in December 1987

known as the First Intifada, PIJ openly and loudly proclaimed the need for terrorist attacks on

Israeli civilians. Consequently, the Israeli government expelled Shiqaqi and Awda to Lebanon

in 1988, where they formed close relationships with Hezbollah and held press conferences with

Iranian officials.

           147.   Since 1988, scores of PIJ operatives from the Palestinian Territories have

received Iranian military and terrorist training at bases run by the IRGC in Lebanon and in Iran

itself. Iran has provided PIJ with explosives and weapons, as well as the training required to

use them.

           148.   Unlike Hamas, PIJ made little effort to develop a social and educational

infrastructure or attract a mass following. Shiqaqi believed that a campaign of spectacular

terrorist attacks against Israel in the name of revolutionary Islam would inspire a popular revolt.


34
     “Palestinian Islamic Jihad (Islamic Jihad),” attachment to “Palestinian Islamic Jihad Listed as a Terrorist
Organization,” Office of the Australian Attorney General, Media Release 055/2004, May 3, 2004.
35
     PIJ and Hamas were fierce rivals in the late 1980s and early 1990s, largely a result of ideological differences
relating to PIJ’s affinity for—and Hamas’s rejection of—Iran’s central ideology, the principle of waliyat al faqih,
that is, rule by the (Shi’a) clerisy. PIJ and Hamas have since worked together with the shared goal of attacking
(and destroying) Israel.


                                                        31
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Even though both groups grew out of the Muslim Brotherhood, PIJ minimized the role of social

activity in favor of militant activity, while Hamas gave prominence to social welfare activity

and proselytizing, even as it engaged in lethal terror campaigns.

         149.    PIJ’s operatives soon began training at Hezbollah camps in Lebanon, under the

supervision of the IRGC-QF, and carried out some joint operations with Hezbollah against

Israeli forces in south Lebanon during the 1990s.

         150.    In 1993, Shiqaqi acknowledged that he received Iranian funding and channeled

it to operatives in Gaza and the West Bank. “Iran gives us money and supports us,” he said in

an interview with Newsday, “then we supply the money and arms to the occupied territories

and support the families of our people. Just about all of it goes there because that’s where most

of our organization is.” 36

         151.    PIJ has long been known for executing terrorist attacks targeting Israeli

civilians.

         152.    For example, in 1995, PIJ claimed responsibility for a deadly string of terrorist

attacks, including twin suicide bombings in January that killed twenty-two people in Beit-Lid,

an attack in April that killed eight people in Kfar Darom, and a suicide bombing in August that

killed five people in Jerusalem.

         153.    By 1996, Iran’s support for PIJ was at least several million dollars per year, if

not more, and increased in the years since, despite the organization’s relatively small size.

         154.    Because of PIJ’s history of conducting terror attacks, as indicated above, the

United States designated PIJ as an SDT in 1995 under E.O. 12947; an FTO in 1997 under 8

U.S.C. § 1189; and an SDGT in 2001 under E.O. 13224. In addition, the United States has

designated numerous PIJ leaders and fundraisers as Specially Designated Nationals, thereby

freezing their assets, as a result of their activities for PIJ.


36
     “Terrorism Inc.: Islamic Jihad Founder Admits Funding by Iran,” NEWSDAY, Apr. 11, 1993.


                                                    32
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       155.    In June 2002, PIJ leader Ramadan Abdullah Shallah met with Iran’s Supreme

Leader Ayatollah Ali Khamenei, who reportedly pledged to increase funds by 70 percent to

cover expenses for suicide bombings. “The Palestinian Islamic Jihad is another fruit of the

Ayatollah Khomeini’s fructuous tree,” Shallah reportedly said during his visit to Tehran.

       156.    During one of the brief conflicts between Israel and Gaza-based terrorist

organizations in 2012, Iran supplied PIJ with Fajr-5 rockets.

       157.    Ziad al Nakhala, PIJ’s deputy chairman at the time, stated to the Paltoday

website that: “We would like to thank our brothers in Iran for the great sacrifices they made to

deliver this weapon to us for the sake of defending the Palestinian people.” The weapons were

delivered to the Gaza Strip via Egypt, he added, noting that Iran-pledged shipments would

continue in the future. “The weapons used by the resistance [PIJ] – the whole world knows that

they come mostly from Iran or were purchased with Iranian funding,” Shallah said.

       158.    That same year, PIJ relocated its headquarters from Damascus to Tehran due to

the civil war in Syria.

       159.    In May 2013, PIJ spokesman Daoud Shihab told al-Monitor, “All of the

weapons in Gaza are provided by Iran, be they weapons intended for the Hamas movement or

for the PIJ ... everyone knows that Iran is financing us.” Shihab insisted that, of the many Arab

and Muslim factions that support Palestinian militancy, “the largest share of this financial and

military support is coming from Iran.”

       160.    In February 2014, Iranian officials hosted a PIJ delegation. PIJ’s delegation met

with Iranian President Hassan Rouhani, Foreign Minister Javad Zarif, and parliament speaker

Ali Larijani. PIJ member Ramadan Abdullah was quoted during the meeting as saying “Iran

has always been the main supporter of the Palestinian nation’s cause and goals.”

       161.    In the past 15 years, PIJ’s forces in Gaza have focused on developing

capabilities for rocket attacks. By one estimate, between 2005 and 2015, Hamas, PIJ, and other



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Gaza-based militants fired more than 12,000 rockets into Israel, killing at least 10 Israelis,

injuring more than 1,100, and causing more than $50 million in property damage.

        162.     The U.S. State Department’s yearly Country Reports on Terrorism from 2016

to its most recently published 2023 report, all state that Iran provides support to PIJ, often

specifying that the support included weapons, financing, and training.

        163.     From February 23-24, 2020, PIJ fired nearly 100 rockets toward Israel causing

at least a dozen injuries. And from May 10-21, 2021, PIJ, together with Hamas, fired more than

4,000 rockets toward Israel, killing 11 civilians and one soldier.

        164.     Regarding these attacks, PIJ official Ramez al-Halabi told an Iraqi television

station on May 7, 2021, “I am proud to say that the rockets that are used to pound Tel Aviv

have an Iranian signature on them, the signature of Qassem Soleimani [then-head of the

IRGC].” He stated that PIJ militants “were trained by the IRGC and that Iranian money was

used to buy weapons for the armed factions in Gaza and Lebanon.” He also thanked Iran for

providing “weapons, money, and food” to the Palestinian people. 37

        165.     Also in 2021, senior PIJ official Ramez Al-Halabi said that rockets used to

target Israel “bear the signature of Iran and Soleimani,” that the IRGC trained PIJ members,

and that Iranian money was used to buy weapons in Gaza. He added that every home in Gaza

has Soleimani’s portrait, and “it is they [Iran] who support us with weapons, money, and food.”

Meanwhile Yahya Sinwar announced Hamas’s “complete gratitude ... to the Islamic Republic

of Iran, which has spared us and the other Palestinian resistance factions nothing in recent

years. They have provided us with money, weapons, and expertise.” 38

        166.     On August 5-7, 2022, PIJ fired approximately 1,100 additional rockets at Israel.


37
    Middle East Media Research Institute, Hamas, Islamic Jihad Officials: Iran Provides Our Missiles, Weapons,
Funds, And Food, Our Gunmen “Were Trained By Our Brothers In The IRGC”; Without Iran’s Assistance, We
Wouldn’t Be Able To Fire Rockets At Tel Aviv; Qassem Soleimani Personally Oversaw Transfer Of Rockets To
Gaza (May 12, 2021), available at https://www.memri.org/reports/hamas-islamic-jihad-officials-iran-provides-
our-missiles-weapons-funds-and-food-our-gunmen.
38
    Id.


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         167.     Iranian leaders praised PIJ for participating in the Hamas-led October 7 Attack.

In an October 8, 2023, telephone call, the late former Iranian president Ebrahim Raisi told the

secretary general of PIJ, “What happened in the occupied territories and in the battle with the

usurping Zionist regime was a huge, unique event in the past 70 years, and you really made the

Islamic community happy with this innovative and victorious operation.” 39

         F.       Hezbollah – Iran’s Most Important Proxy.

         168.     Hezbollah is the dominant political and military power in Lebanon, and one of

the world’s deadliest terrorist organizations, as well as the world’s most heavily-armed non-

state actor.

         169.     From Hezbollah’s inception, it has had an uninterrupted agency relationship

with Iran. “‘Hezbollah has been Iran’s proxy ever since [Hezbollah’s founding], and it is

estimated that,’ today, ‘Iran provides Hezbollah with as much as $700 million–$1 billion per

year’, in the form of cash, training, intelligence, and weapons.” 40

         170.     The U.S. State Department’s most recent Country Reports on Terrorism states

that “Iran continued its support for terrorist activity in 2023, including support for Hizballah….

Iran has provided hundreds of millions of dollars in support of Hizballah and trained thousands

of its fighters at camps in Iran.” 41

         171.     Hezbollah first emerged during the Lebanese civil war in the early 1980s as a

militia comprising Shi’a followers of Ayatollah Khomeini.

         172.     From its first moments, Hezbollah received Iranian funding, training, and

direction. Its terror apparatus, the Islamic Jihad Organization (“IJO”), was created, nurtured,

and deployed by the IRGC in order to serve Iran’s objectives.


39
     President’s phone call with SG of the Palestinian Islamic Jihad Movement, Official Website of the President
of the Islamic Republic of Iran (Oct. 8, 2023), available at https://president.ir/en/147044.
40
     See Fritz v. Islamic Republic of Iran, 320 F. Supp. 3d 48, 60 (D.D.C. 2018) (quoting expert testimony of Dr.
Matthew Levitt).
41
     Country Reports on Terrorism 2023, U.S. DEP’T OF STATE, available at https://www.state.gov/reports/
country-reports-on-terrorism-2023/.


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        173.    And since at least 2006, Hezbollah fighters have trained in Iran in both offensive

and defensive urban warfare.

        174.    Hezbollah has a deep connection to Iran’s ideology and goals. It is a Shi’a

organization that considers the Supreme Leader of Iran to be the leader of all Shi’ite Muslims,

and as a result, in effect, Hezbollah views itself as a tool of the Iranian revolution that Iran can

deploy as it wishes.

        175.    Hezbollah’s aims and goals were published in February 1985 in a letter entitled

“The Hezbollah Program.”

        176.    The Hezbollah Program states: “We are the sons of the umma – the party of God

the vanguard of which was made victorious by God in Iran.…We obey the orders of one leader,

wise and just, that of our tutor and faqih who fulfills all the necessary conditions: Ruhollah

Musawi Khomeini,” who was the Supreme Leader of Iran at the time. With respect to the

United States, the Hezbollah Program states:

                The US has tried, through its local agents, to persuade the people that
                those who crushed their arrogance in Lebanon and frustrated their
                conspiracy against the oppressed (mustad’afin) were nothing but a
                bunch of fanatic terrorists whose sole aim is to dynamite bars and
                destroy slot machines. Such suggestions cannot and will not mislead our
                umma, for the whole world knows that whoever wishes to oppose the
                US, that arrogant superpower, cannot indulge in marginal acts which
                may make it deviate from its major objective. We combat abomination
                and we shall tear out its very roots, its primary roots, which are the
                US. All attempts made to drive us into marginal actions will fail,
                especially as our determination to fight the US is solid. 42

        177.    Hezbollah pursues those objectives through violent terrorist activity including

suicide bombings, assassinations, hostage takings, hijackings, and more recently, firing

rockets, mortars, and missiles.




42
    Doctrine of Hezbollah, Wilson Center, Oct. 20, 2023, available at https://www.wilsoncenter.org/article
/doctrine-hezbollah.


                                                   36
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       178.    For example, Hezbollah committed infamous and deadly attacks on U.S.

citizens in Beirut including the April 18, 1983, car bomb attack on the U.S. Embassy, which

killed 63 Americans; the October 23, 1983, truck bomb attack on the U.S. Marine barracks,

which killed 241 Americans, and the September 20, 1984, car bomb attack on the U.S. Embassy

annex, which killed 24 Americans.

       179.    Hezbollah is also responsible for the 1996 bombing of the Khobar Towers in

Saudi Arabia, which killed 19 U.S. service members, and wounded 498.

       180.    Hezbollah’s attacks have not been limited to the Middle East region. For

example, on April 12, 1984, Hezbollah attacked a restaurant near a U.S. Air Force base in

Spain, killing 18 U.S. service members and injuring 83 people. As another example, on July

18, 1994, Hezbollah bombed the Asociación Mutual Israelita Argentina, a Jewish community

center, in Buenos Aires, killing 86 people and injuring more than 200.

       181.    Additionally, Hezbollah has an extremely well-funded military that is more

powerful than the Lebanese armed forces.

       182.    Since the mid-1990s, Hezbollah has launched numerous bombardments of

civilian sites in northern Israel, which continue through this day. For example, in November

1995, Hezbollah fired Katyusha rockets into northern Israel. In March 1996, Hezbollah again

fired rockets into northern Israel, wounding 36 people. In August 1997, Hezbollah again fired

rockets on northern Israel. In July and August 2006, Hezbollah launched rockets that killed

Israelis and harmed U.S. citizens.

       183.    Hezbollah also engaged in border clashes with the Israeli military. On October

7, 2000, Hezbollah terrorists captured three Israeli soldiers patrolling the security fence

between Israel and Lebanon. The purpose of the abduction was to ransom the soldiers in a

prisoner exchange. The soldiers’ bodies were returned to Israel in January 2004 in a prisoner

exchange; the date and circumstances of their deaths remain unknown.



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       184.    In another infamous example from July 2006, Hezbollah launched an anti-tank

missile attack on two armored Humvees patrolling on the Israeli side of the border fence. The

attack killed three Israeli soldiers, and Hezbollah abducted two more using them to barter them

for the release of Lebanese prisoners held in Israel. This led to a 34-day war between Israel and

Hezbollah. Those two soldiers’ bodies were returned to Israel in a June 2008 exchange; the

circumstances of their deaths remain unknown.

       185.    Border skirmishes continued. For example, in August 2013, four Israeli soldiers

were wounded when they stepped on a landmine placed by Hezbollah. In January 2015,

Hezbollah fired missiles at an Israeli convoy—allegedly in retaliation for an airstrike in Syria

that killed Hezbollah members—in the Golan Heights killing two soldiers. In September 2019,

Hezbollah launched rockets into Israel targeting a military base and launched an anti-tank

missile at an IDF vehicle.

       186.    Hezbollah also assists the IRGC and the IRGC-QF in their terror operations

outside of Lebanon.

       187.    While the IRGC–QF is responsible for managing Iran’s terror campaigns

abroad, it lacked Hezbollah’s operational and tactical experience in developing terrorist

capabilities and performing terrorist attacks against a modern military force.

       188.    Moreover, as an ethnically Persian, Farsi-speaking entity, the IRGC-QF was at

a disadvantage in recruiting and training Arabic-speaking recruits whether Shi’a Iraqis, Yemeni

Houthis, or Palestinians.

       189.    For that purpose, the IRGC–QF has long turned to Hezbollah, Iran’s most

important terror proxy, which had hard-earned experience in running terror campaigns against

the IDF in Lebanon, and which shared ethnic and cultural connections with Iraqis and to a

lesser extent Palestinians.




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       190.    At the IRGC’s direction, Hezbollah and the IRGC–QF have worked

symbiotically for decades to develop Iran’s proxy capabilities throughout the region—with a

special emphasis on creating and strengthening Iran’s “Ring of Fire” enveloping Israel.

       191.    After the 2003 U.S. invasion and overthrow of Saddam Hussein’s regime in

Iraq, Iran directed Hezbollah to create “Unit 3800” and began devoting increasing financial

resources to gain influence in Iraq and inflict casualties on American service members in Iraq.

       192.    Hezbollah’s Unit 3800 was established by Hassan Nasrallah, Hezbollah’s then-

leader (he was assassinated by Israel in 2024), at Iran’s direction to support Iraqi Shi’a terrorist

groups targeting Multi National Forces in Iraq.

       193.    Unit 3800 trained and advised various Shi’a militias in Iraq, later termed

“Special Groups.”

       194.    Hezbollah training camps in southern Lebanon and Iran, and Hezbollah’s

expertise in the use of military-grade roadside IEDs, kidnapping, communications, and small-

unit operations, were critical to the IRGC’s operations in Iraq between 2004 and 2011.

       195.    According to U.S. intelligence estimates, following the 2007 arrest of

Hezbollah’s senior operative in Iraq, the IRGC-QF provided Hezbollah and one of its local

trainers up to $3 million in U.S. currency every month.

       196.    As with Hamas, Hezbollah has extensive political and social functions as well.

       197.    Hezbollah formally entered politics in 1992 after the end of the Lebanese civil

war and effectively gained control of Lebanon’s parliament. Practically speaking, Hezbollah is

the dominant force in Lebanese politics as much of its power comes from outside the political

process. Moreso, Hezbollah essentially governs and controls access into certain parts of

Lebanon.

       198.    Socially, Hezbollah runs charities, hospitals, clinics, schools, agricultural

centers, and other civil institutions. It also provides construction and urban maintenance,



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including providing water and sewer services, largely to reconstruct homes damaged through

conflict with Israel. As with Hamas, Hezbollah’s social services aid its efforts to spread

propaganda, gain the allegiance of the Lebanese population, and recruit new members.

        199.     Hezbollah was designated as an SDT in 1995 under E.O. 12947; an FTO in 1997

under 8 U.S.C. § 1189; and an SDGT in 2001 under E.O. 13224.

        200.     In addition, the United States has designated numerous Hezbollah leaders and

fundraisers as Specially Designated Nationals, thereby freezing their assets, as a result of their

activities for Hezbollah.

        G.       Iran Provided Material Support to the Houthis.

        201.     The Houthi movement emerged in northern Yemen in the 1990s under the

leadership of Hussein al-Houthi, dedicated to fighting the corrupt regime of Ali Abdullah

Saleh. The Houthis are Zaydi Shi’a, or Zaydiyyah 43 and though motivated by local and sectarian

grievances, they quickly found support from the IRGC-QF because the Saleh regime was

backed by Saudi Arabia (and had a working relationship with the United States).

        202.     The Houthis adopted the slogan: “God is great, death to the U.S., death to Israel,

curse the Jews, and victory for Islam,” and came to emulate Hezbollah, widely seen as a role

model for a successful “resistance” (terrorist) organization in the Middle East.

        203.     The Houthis’ Ansarallah movement seeks to replicate Hezbollah’s perceived

success—reflected in the fact that when the Houthi leader, Badr al-Din, died in 2010, he passed

over five older sons to elevate the Houthis’ current leader, Abdul-Malik, who had joined him

on multiple visits to Iran and shared his vision of a Hezbollah-inspired Islamic revolution.




43
    Shi’a Muslims are a minority within the Islamic world and Zaydis are a minority sect within Shi’a Islam,
doctrinally different from the Ayatollahs who rule Iran. The Zadiyyah take their name from Zayd bin Ali, the
great-grandson of Ali, Muhammad’s son-in-law, who is revered by all Shi’a communities.


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        204.   In 2011, the Houthi movement was part of a national uprising that overthrew

Saleh, but ultimately replaced him with Abdrabbuh Mansour Hadi, who had been Saleh’s vice

president (and a Sunni Muslim backed by Saudi Arabia).

        205.   Much of Yemen’s army remained loyal to Saleh even after he was deposed, and

he eventually joined forces with the Houthis and captured Yemen’s capital, Sanaa, in January

2015.

        206.   In March 2015, the Saudis attempted to prevent the Houthi-Saleh rebellion from

consolidating control of the country and forged a coalition to back them that included the

United Arab Emirates, Bahrain, and other traditional Saudi allies.

        207.   The war pushed the Houthis and Iran and Hezbollah closer together.

        208.   For more than a decade, the Houthis have evolved into an integral part of Iran’s

Axis of Resistance. General Abdul Reza Shahlai, a deputy commander in the IRGC-QF

responsible for orchestrating the deaths of hundreds of U.S. service members in Iraq from 2004

to 2011, was dispatched to Yemen to work with the Houthis perhaps as far back as 2015, though

the United States only confirmed his presence there in December 2019.

        209.   A Hezbollah military commander was similarly dispatched from Syria in 2015,

and in October 2020, an IRGC-QF officer was appointed as Iran’s ambassador to Yemen.

        210.   The Houthis rely on Iran and the Axis of Resistance to retain certain capabilities

crucial to their continued success in Yemen, and they have long presented Iran with an

opportunity to threaten Saudi Arabia’s southern border and expand Iranian influence into the

Red Sea.

        211.   The IRGC-QF smuggles key components for missiles and UAVs into Yemen,

where the Houthis have been taught to assemble them locally.

        212.   On November 4, 2017, the Houthis fired a ballistic missile at the international

airport in Riyadh. The Saudi Foreign Minister, Adel al Jubeir, called the attack an act of war



                                              41
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by Iran. “It was an Iranian missile, launched by Hezbollah, from territory occupied by the

Houthis in Yemen,” he said.

       213.    In response to the attack, Saudi Arabia imposed a near-total blockade on

Yemen.

       214.    After almost three years of brutal warfare, Saleh broke with the Houthis (again)

and was killed shortly thereafter on December 4, 2017.

       215.    In 2018, Houthi missile attacks on Saudi Arabia became increasingly common.

       216.    The Houthis joined the Axis of Resistance’s efforts against Israel on October

19, 2023, when they launched 19 cruise missiles and drones toward Israel. All but one was

apparently intercepted by a U.S. Navy destroyer.

       217.    On October 27 and 31, Israel intercepted several attack drones and an Iran-made

Zolfaqar Medium Range Ballistic Missile, which was intercepted by an Israeli Arrow 2

interceptor missile near Eilat.

       218.    The Houthis also launched at least eight salvos of cruise missiles and long-range

explosive drones at Israel, focused on the southern port of Eilat.

       219.    In parallel to strikes on Israel, the Houthis attacked shipping and U.S. military

vessels in the Red Sea.

       220.    On November 14, 2023, the Houthis escalated again by threatening to attack

Israeli vessels in the Bab al-Mandab Strait and Red Sea.

       221.    On November 19, 2023, a helicopter-borne Houthi assault team and more than

a dozen speedboats seized an Israeli-owned tanker called the Galaxy Leader.

       222.    On July 19, 2024, the Houthis launched a drone strike on Tel Aviv that killed

one person and wounded more than a dozen other people.




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        223.    The drone, named “Jaffa” by the Houthis, was an extended-range Iranian-made

Sammad-3 drone that flew across Egypt, arriving from the west, over the Mediterranean coast

to evade Israeli air defense systems.

        224.    Since then, the Houthis have launched numerous attacks on Israeli territory,

most of them unsuccessful. However, on May 4, 2025, the Houthis struck Israel’s main civilian

airport with a ballistic missile that injured several civilians.

        H.      Iran Provided Material Support to the Popular Front for the Liberation of
                Palestine (PFLP).

        225.    The Popular Front for the Liberation of Palestine (PFLP) is an FTO based in the

Gaza Strip and the West Bank.

        226.    It combines Arab nationalism with Marxist-Leninist ideology, viewing the

destruction of Israel as integral to the struggle to remove Western capitalism from the Middle

East and ultimately establish a communist Palestinian state in its place.

        227.    The PFLP is also part of the Palestine Liberation Organization and maintains a

variety of front organizations for political and fundraising purposes, including Samidoun, a

sham charity that serves as one of its most important international fundraisers.

        228.    The PFLP carried out attacks across the world during the 1970s and was actively

involved in numerous terrorist attacks in Israel during the Second Intifada from 2000 to 2005,

including suicide bombings.

        229.    Because of PIJ the PFLP’s history of conducting terror attacks, as indicated

above, the United States designated the PFLP as an SDT in 1995 under E.O. 12947; an FTO in

1997 under 8 U.S.C. § 1189; and an SDGT in 2001 under E.O. 13224. In addition, the United

States has designated the PFLP leaders and fundraisers as Specially Designated Nationals,

thereby freezing their assets, as a result of their activities for the PFLP.

        230.    The U.S. State Department’s yearly Country Reports on Terrorism from 2016

to its most recently published 2023 report, all state that Iran provides support to the PLFP, often


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specifying that the support included weapons and financing. Prior to October 7, the PFLP in

Gaza placed itself under the overall command of Hamas as part of the so-called Joint

Operations Room.

       231.    The PFLP’s terror cells operating in PA-controlled territory (including Gaza),

received funding and training from the IRGC and Hezbollah.

       232.    In June 2021, a PFLP delegation, including its Deputy Secretary-General, Abu

Ahmad Fouad (a/k/a Ahmad Muragha), attended the swearing-in ceremony for the late Iranian

president, Ebrahim Raisi.

       233.    Raisi stressed that “Iran stands with all its capabilities alongside the Palestinian

resistance to achieve its goals.”

       234.    PFLP representatives also met with the Iranian ambassador to Syria in June

2023 to affirm its commitment to the “Axis of Resistance” and discuss continued Iranian

support for the PFLP and their joint efforts against Israel and the United States.

       235.    On October 7, 2023, the PFLP posted several pictures on its official telegram

channel, Abu Ali Mustafa Brigades. They showed PFLP operatives attacking Israeli targets.

       236.    The PFLP also issued the following statement:

               Cells of the martyr Abu Ali Mustafa Brigades stormed several [military]
               points in the Gaza envelope and have inflicted verified losses in the
               Zionist ranks. The cells have returned safely to their bases, and other
               cells are operating in the field now to inflict more losses in the ranks of
               the occupation army troops and the herds of their settlers.

       237.    That same day the PFLP’s terror apparatus, the so-called “Abu Ali Mustafa

Brigades,” also issued a statement:

               “The Al-Aqsa flood” campaign is a campaign of the Palestinian people
               in all its resistance forces. In light of the heroic sights made possible by
               the heroes of the resistance inside the occupied lands…we in the Abu
               Ali Mustafa Brigades emphasize the following: We announce a state of
               maximum mobilization within the ranks of our fighters, and we work on
               the field on the ground (sic) in several axes side by side the comrades of
               blood and arms. We stand with our brothers in the [Izz ad-Din] Al-
               Qassam Brigades and with all the resistance forces, and fight alongside


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                them this campaign which will be noted in history. We call upon all
                resistance forces inside and outside of Palestine to take their positions in
                the trenches of confrontation which stretch now throughout all the area.
                Glory to the martyrs and victory to the resistance… 44

        238.    On October 7, 2023, the PFLP’s official website also posted the following

statement:

                On this day, the nature of the conflict and the dignity of the Arab nation
                are regained…. [the] PFLP calls the sons of our heroic people across
                Palestine to actively participate in the ‘Al-Aqsa flood’ campaign, each
                from his location and with whatever means he possesses, in order to
                bring an onslaught on the enemy’s army and its settlers…and to hail
                attacks on them in every inch of the land of Palestine. The Front
                emphasized its call to all who carries arms, and especially the sons of
                the [PA] security forces to join in the campaign of the Palestinian people
                against its enemy and to position themselves in the natural place of every
                free Palestinian that fights to end the occupation….

        239.    The next day, the PFLP posted a video, “scenes from the storming of the martyr

Abu Ali Mustafa Brigades’ fighters into military installations of the enemy, east of Khan

Younis [on the border with Israel].”

        240.    The U.S. government has confirmed that the PFLP was one of the terrorist

organizations that “participat[ed] in the horrific attacks against Israeli civilians on October 7,

2023.” 45

        241.    The U.S. Attorney General announced findings that “Hamas perpetrated the

October 7 attack as a large-scale invasion of southern Israel, in conjunction with Palestinian

Islamic Jihad and other Palestinian militia groups.” 46

II.     Syria Provided Material Support to the IRGC, Hezbollah, Hamas, PIJ and PFLP.

        242.    Syria has long provided Hezbollah, Hamas, PIJ, PFLP, and other terrorist

organizations with material support and resources for the purpose of facilitating acts of


44
     Available at https://tinyshorten.com/GovmW.
45
     Press Release, United States and Canada Target Key International Fundraiser for Foreign Terrorist
Organization PFLP, U.S. DEPT’T OF THE TREASURY (Oct. 15, 2024), available at
https://home.treasury.gov/news/press-releases/jy2646.
46
     Memorandum, ESTABLISHMENT OF JOINT TASK FORCE OCTOBER 7, U.S. Dep’t of Justice (Feb. 5,
2025), available at https://www.justice.gov/ag/media/1388516/dl?inline.


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extrajudicial killing, torture, hostage taking, and other acts of terrorism to further its policy and

agenda against Israel. That support included financial support, weapons, logistics, transport,

training, and sanctuary in Syrian-controlled territory.

         243.     In addition, eastern Syria served as a “land bridge” connecting Iran and its IRGC

to Syria and Lebanon via Iraq. Syria facilitated the free movement of IRGC and IRGC-backed

personnel, supplies, and weapons across borders, which enabled the rapid deployment and

resupply of Iran’s proxy groups, including Hezbollah, Hamas, PIJ, and the PFLP.

         244.     For example, weapons and funds provided by Iran to Hezbollah passed through

Syria with the knowledge, encouragement and aid of the Syrian Military Intelligence, Syrian

Armed Forces, and the Syrian Ministry of Defense, which continuously allowed weapons to

transit through Syrian territory to Hezbollah, Hamas, and other Iranian-backed terrorist

organizations.

         245.     Syria also permitted Iran to use military and civilian airfields in Syria. For years,

and in the weeks and months leading up to October 7, both civilian and military flights from

Iran flew to Damascus International Airport delivering weapons on civilian transport to the

Lebanese border, where they were handed over to Hezbollah, and later dispersed throughout

Lebanon, including to Hamas. In recent years, those arms included advanced rockets, surface-

to-surface missiles, and anti-aircraft systems. 47

     246.         Syria provided the material support to the terrorist organizations, operatives and

agents described herein through its officials, employees, and agents, as defined in § 1605A(a),

who acted within the scope of their office, employment, or agency.




47
     https://www.idf.il/en/mini-sites/iran/iran-s-use-of-syria-to-advance-terror-activity/.


                                                         46
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        A.      Syria Provided Material Support to Hamas Prior to October 7, 2023.

        247.    As discussed below, relations between Syria and Hamas were strained after the

outbreak of the Syrian civil war in 2011, but prior to that time, the Syrian regime maintained a

longstanding supportive relationship with Hamas, PIJ, and the PFLP.

        248.    During the early to mid-1990s, Syria’s extensive support helped establish the

foundation for Hamas’s operational and organizational capabilities. This consistent backing

throughout the 1990s and 2000s was instrumental in enabling Hamas to execute large-scale

operations.

        249.    Despite its declining support for Hamas during the Syrian civil war, the Syrian

regime’s continuing support for Hamas was confirmed by the U.S. Treasury Department on

November 20, 2018, when it designated nine targets belonging to an international network

through which the Iranian regime, working with Russian companies, provided millions of

barrels of oil to the Syrian government which, in turn, “facilitate[d] the movement of hundreds

of millions of U.S. dollars (USD) to the Islamic Revolutionary Guard Corps-Qods Force

(IRGC-QF) for onward transfer to HAMAS and Hezbollah.” 48

        250.    Moreover, because the Syrian regime was highly dependent on Iran and the

IRGC for its survival, even during the period when the regime’s relationship with Hamas (and

to a lesser extent, PIJ) had cooled, Syria nevertheless continued to provide material support to

Hamas and PIJ.

        251.    For example, in a December 31, 2020, interview with Al-Mayadeen TV, PIJ

Secretary-General Ziad Al-Nakhalah said: “We have had the Kornet [missile] in our possession

since 2012, as have our brothers in Hamas. In all the campaigns [against Israel]... the resistance

has used them... All the conventional weapons reached [Gaza] via Al-Hajj Qassem Soleimani,



48
     See Press Release, U.S. DEP’T OF THE TREASURY, Treasury Designates Illicit Russia-Iran Oil Network
Supporting the Assad Regime, Hizballah, and HAMAS (Nov. 20, 2018), https://home.treasury.gov/news/press-
releases/sm553.


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Hezbollah, and Syria, and the entire [resistance] axis played a part in transporting them... There

are training camps in Syria where our brothers in Hamas received special training to produce

the rockets...” Nakhalah said that Soleimani had personally “supervised and directed the

transfer of the missiles to Gaza [and had] travelled among several countries to persuade them

[to help with this]...” 49

        252.     Additionally, on January 23, 2018, KAN News reported that Iran had ordered

Hamas to establish a force in Syria that would be able to fire rockets into Israeli territory to

exert pressure in the event of a war. 50

        253.     As described more fully below, after Hamas fully reconciled with the Assad

regime in 2022, Syrian support for Hamas increased significantly.

        254.     In an interview with the Egyptian website Al-Masir on January 2, 2024, the

Hezbollah official in charge of Palestinian relations revealed that Hamas fighters were “trained

in Lebanon, Syria and Iran,” adding “It is no secret that Iran trained them in [the use of] all

the weapons they employ. This [fact] is now known to all….” 51

        255.     On January 8, 2024, the IDF announced that it had killed Hassan Akasha in Beit

Jen, Syria, in a targeted assassination. Akasha was responsible for Hamas launching rockets

from Syrian territory towards Israel in the preceding weeks. Since the beginning of the war,

Akasha directed Hamas terror cells that fired rockets from Syria toward Israel.

        256.     On September 28, 2024, the IDF announced it had eliminated the head of

Hamas’s network in southern Syria, whom it referred to as Ahmad Muhammad Fahd, in a

targeted airstrike, once again demonstrating that Syria was used as a Hamas base of operations

both before and after the October 7 Attack. Ahmed Muhammad Fahd, according to the military,


49
     https://www.memri.org/reports/hamas-islamic-jihad-officials-iran-provides-our-missiles-weapons-funds-an
d-food-our-gunmen#_edn8.
50
     https://www.kan.org.il/content/kan-news/defense/232792/.
51
     https://www.memri.org/reports/senior-hizbullah-official-interview-egyptian-website-hamas-operatives-were
-trained-lebanon.


                                                     48
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was responsible for directing attacks on troops and against the country, mostly with rocket fire

on the Golan Heights. According to the IDF, “Fahad was eliminated while he was planning to

carry out another terror attack in the immediate time frame.”

           B.     Syria Provided Material Support to PIJ Prior to October 7, 2023.

           257.   In the 1990s, PIJ depended primarily on Syria for military and financial means

as well as for its base of operations. PIJ’s headquarters was in Damascus where former PIJ

Secretary-General Ramadan Abdullah Shallah operated along with his deputies, beginning in

1995. 52

           258.   Since then, Syria has provided consistent, continuous, and substantial political,

military, and financial material support to PIJ, including training, financial resources,

weaponry, political propaganda, and sanctuary.

           259.   Syria allowed PIJ to set up its headquarters and operate freely in Damascus.

           260.   Syria hosted military/terrorist training camps for PIJ recruits, specifically using

Syrian army basis and facilities.

           261.   Syria provided a safe haven for senior PIJ terrorist leaders and regularly allowed

weapons used directly and indirectly by PIJ to pass through Syria with government knowledge

and assistance.

           262.   Syria’s government ministries have worked in conjunction with PIJ and used its

military intelligence to provide logistical support for coordinating, planning, and executing

terror attacks against Israel and its population from the safety of Syrian soil.

           263.   According to the U.S. Department of State’s Country Reports on Terrorism,

from 2000 to 2010, Syria “provided the PIJ with safe haven.” Moreover, according to the U.S.

State Department Country Report on Terrorism from 2009, Syria “provided political and




52
    Shallah was designated by OFAC on November 27, 1995. https://www.federalregister.gov/documents/1995
/11/27/95-28724/list-of-specially-designated-terrorists-who-threaten-to-disrupt-the-middle-east-peace-process.


                                                     49
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material support to Hizballah in Lebanon and allowed Iran to resupply this organization with

weapons, and provided safe-haven as well as political and other support to a number of

designated Palestinian terrorist groups, including HAMAS, Palestinian Islamic Jihad (PIJ), and

the Popular Front for the Liberation of Palestine-General Command (PFLP-GC).” 53

         264.     The U.S. State Department’s Country Reports on Terrorism from 2011 confirms

that “The external leadership of Hamas, the Palestine Islamic Jihad (PIJ), the Popular Front for

the Liberation of Palestine (PLFP), and the Popular Front for the Liberation of Palestine-

General Command (PFLP-GC), among others, were based in Damascus and operated within

Syria’s borders ... Statements supporting terrorist groups like Hamas and Hizballah consistently

permeated government speeches and press statements. [...] President Bashar al-Asad continued

to express public support for Palestinian terrorist groups as elements of the resistance against

Israel. Damascus provided exiled individuals safe haven in Syria.” 54

         265.     Throughout 2015-2022, the State Department’s Country Reports on Terrorism

consistently found that “PIJ receives financial assistance and training primarily from Iran. PIJ

has partnered with Iran- and Syria-sponsored Hizballah to carry out joint operations.” 55

         266.     After the outbreak of the Syrian civil war in 2011, PIJ maintained its base in

Syria and its alliance with the regime. PIJ claimed neutrality and refrained from directing any

criticism against the Syrian regime. In early August 2012, both Shallah and his deputy, Ziyad

al-Nakhala, temporarily left Damascus and moved between Beirut, Cairo, and Tehran. This

took place only weeks after the PIJ leadership had turned down an offer from Qatar to move to

Doha, like Hamas – instead, PIJ decided to remain in Syria.




53
     https://2009-2017.state.gov/j/ct/rls/crt/2009/index.htm.
54
     https://2009-2017.state.gov/j/ct/rls/crt/2011/index.htm.
55
     https://2009-2017.state.gov/j/ct/rls/crt/.


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        267.     Reports stated that the PIJ eventual departure from Syria was an issue of security

and not of a political realignment, and that the move was made after consultation with Iran and

Hezbollah. 56 Indeed, the relations between the PIJ and the Syrian regime remained good.

        268.     Since 2012, PIJ leaders have moved between Syria and Lebanon. Shallah

suffered a stroke in 2018 and was succeeded by Ziyad al-Nakhalah.

        269.     When Shallah died in 2020, he was buried in Damascus. During the funeral, al-

Nakhalah told the Beirut-based Al-Mayadeen TV: “We pledge to continue the route of

resistance until we liberate Palestine with the allies in Syria, Iran and Hezbollah.”

        270.     On October 6, 2022, PIJ celebrated its 35th anniversary in Damascus, with the

participation of Syrian regime officials.

        271.     Akram al-Ajouri, PIJ Deputy Secretary General and leader of the Al-Quds

Brigades (PIJ’s terrorist apparatus, which took part in the October 7 Attack), is also based in

Damascus. On November 12, 2019, the Israeli Air Force targeted Ajouri in his home in

Damascus, but he survived the strike.

        272.      Al-Ajouri was designated by the U.S. Department of State on November 14,

2023, for coordinating recruitment and militant training for PIJ in Gaza, Syria, Sudan, Lebanon,

and Yemen. 57

        273.     On March 19, 2023, Ali Ramzi Al-Asoud, a senior member of PIJ’s terrorist

apparatus was killed in the al-Qadisiyyah area in Damascus.

        274.     On May 4, 2023, Syria hosted Iranian President al-Raisi for a meeting with PIJ

leader al-Nakhalah and Hamas leader Khalil al-Hayya, along with other senior members of

Hamas and PIJ. In the meeting, Raisi urged the acceleration of “the defeat of the Zionist regime

and the liberation of the holy Quds and the sovereignty of the Palestinians over their destiny.”


56
   Erik Skare - A History of Palestinian Islamic Jihad, Faith, Awareness, and Revolution in the Middle East-
Cambridge University Press (2021) p. 192.
57
   https://www.state.gov/designating-additional-hamas-and-palestinian-islamic-jihad-officials-and-supporters/.


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During his two-day visit, Raisi and Syria also signed a series of long-term cooperation

agreements on oil and other sectors.

         275.    On July 2, 2023, Hossein Akbari, the Iranian ambassador to Syria, met with a

PIJ delegation headed by Nafez Azzam, the secretary of the PIJ’s political bureau. The meeting

was held at the PIJ’s general secretariat office in Damascus.

         276.    On October 6, 2023, one day before the PIJ participated in the October 7

massacre, the PIJ celebrated its 36th anniversary with rallies and military parades in Gaza,

Damascus, Yarmouk, and Beirut. 58

         277.    On October 22, 2023, PIJ announced that four of its operatives, two from Syria

and two from Lebanon, had been killed one day earlier during activity in “northern Palestine.”

The announcement featured pictures of the four operatives, with three of them in PIJ uniform.

         278.    On December 7, 2023, PIJ reported the death in South Lebanon of two

operatives from the Khan Danoun camp near Damascus, who were members of the PIJ’s Syria-

based Shahid Ali Al-Aswad Brigade.

         279.    On April 1, 2024, a meeting between senior Iranian intelligence officials from

the IRGC and PIJ to discuss the war in Gaza took place near the Iranian consulate in Damascus.

Those attending the meeting, including Akram Ajouri, were the target of an IDF airstrike that

day.

         280.    On August 28, 2024, Faris Qasim, a senior PIJ terrorist operative was killed

with two other operatives from PIJ’s Jerusalem Brigades’ Syrian branch “while carrying out

their jihad duty.” He was responsible for formulating PIJ’s operational plans in Syria and

Lebanon, and participated in recruiting Palestinian terrorist operatives for Hezbollah.

         281.    On November 14, 2024, the IDF carried out a strike on the PIJ headquarters

embedded in the Mazzeh suburb of Damascus, killing several PIJ members.


58
     https://www.maannews.net/news/2102218.html; https://www.almanar.com.lb/11000046.


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       282.    On November 15, the IDF struck Mazzeh again, targeting PIJ members.

       C.      Syria Provided Material Support to Hezbollah Prior to October 7, 2023.

       283.    Hezbollah has long been an ally of the former Ba’ath government of Syria, and

its ruling Assad family, as constituent members of the Iranian-led Axis of Resistance.

       284.    In 2000, after the death of longtime Syrian President Hafez al-Assad, his son

Bashar al-Assad upgraded relations with Hezbollah and began providing Syrian weapons

directly to the terrorist organization, removing controls that had been imposed by his father.

       285.    During the 33-day war (July 12-August 14, 2006) between Israel and Hezbollah,

Syria provided significant material support to Hezbollah.

       286.    On August 3, 2006, during a televised speech, Hezbollah leader Hassan

Nasrallah acknowledged that a day earlier (August 2), Hezbollah had fired “more than 300

missiles” into northern Israel.

       287.    On July 22, 2006, then-President George W. Bush stated in his weekly Saturday

radio address that “For many years, Syria has been a primary sponsor of Hezbollah and it has

helped provide Hezbollah with shipments of Iranian-made weapons.”

       288.    Years later, during a 2014 interview with senior editors from the pro-Hezbollah

Lebanese daily Al Akhbar, Hezbollah leader Hassan Nasrallah praised Damascus for

continuing to supply weapons during the 2006 war.

       289.    Additionally, in 2016, Iran’s Beirut-based Chief of Staff armed forces Major

General Mohammad Bagheri confirmed in an interview that Hezbollah had employed Iranian-

made missiles manufactured in Aleppo, Syria, during the July 2006 war with Israel.

       290.    Hezbollah also played a significant role in the Syrian civil war, which further

transformed Hezbollah’s fighters into a capable, disciplined, and deadly fighting force.




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       291.    In 2011, when the Syrian civil war began, Hezbollah’s involvement was initially

limited to providing advisory and logistical support to the Assad regime and other pro-Assad

forces fighting against Sunnis, including by helping to facilitate training by the IRGC-QF.

       292.    Despite the public funerals for Hezbollah fighters killed in Syria, Nasrallah

denied that Hezbollah was fighting alongside the Assad regime in a speech in mid-October

2012. Instead, he stated that Hezbollah fighters were in Syria of their own accord to defend

Lebanese Shi’a living in villages near the border.

       293.    On August 10, 2012, however, the United States sanctioned Hezbollah under

E.O. 13582— an Executive Order specifically related to the Syrian civil war—for “providing

training, advice and extensive logistical support to the Government of Syria’s increasingly

ruthless efforts to fight against the opposition.” The press release also stated that Hezbollah

“coordinated its support to the Government of Syria with the IRGC-QF … which serves as a

conduit for Iran’s material support to the Syrian General Intelligence Directorate.”

       294.    In early 2013, Hezbollah’s participation in the Syrian civil war intensified. In

April 2013, Nasrallah made two trips to Tehran where he met with Soleimani (then head of the

IRGC-QF), Khamanei, and other senior Iranian officials, where Nasrallah was pressed to

deepen Hezbollah’s participation in Syria.

       295.    That same month, Hezbollah led a ground assault, in coordination with the

Syrian Army, to recapture part of the Syrian city of Al-Qusayr.

       296.    On May 25, 2013, Nasrallah publicly acknowledged Hezbollah’s fighting in

Syria, pledging that his group would “not allow Syrian militants to control areas that border

Lebanon” and confirming Hezbollah was fighting in the strategic Syrian town of Al-Qusayr.

       297.    By 2014, Hezbollah was deployed across Syria and opened training camps

there, taking an active role in preventing Al-Nusra Front and Islamic State penetration into

Lebanon.



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       298.    Until Hezbollah partially withdrew from Syria in 2019, Hezbollah forces

continued to fight directly on behalf of pro-Assad forces, including in Homs, Aleppo, and

Damascus—in addition to continuing to provide training, advice, and logistical support and

facilitating the IRGC-QF’s role.

       299.    These years of fighting in the Syrian civil war made Hezbollah a more

experienced and effective fighting force, far more prepared to face Israel’s armed forces.

       300.    Fighting for the Assad regime, however, meant that Hezbollah was responsible

for killing Sunni Arabs. This created a rift with Palestinian terrorist organizations, and the

Sunni world more broadly. That rift would need to be bridged before the October 7 Attack.

       301.    As described below, Hamas worked to repair its relationship with the Assad

regime in Syria in 2022 to strengthen its position within the resistance axis. This reconciliation

effort was supported by Iran’s IRGC-QF, which provided financial backing, and facilitated by

Hezbollah’s Hassan Nasrallah. The improved relationship with Syria, alongside strategic

partnerships with Iran and Hezbollah, was seen by Hamas leadership as significantly enhancing

its position and military capabilities prior to the October 7 Attack, which Syria immediately

praised.

       D.      Syria Provided Material Support to the PFLP Prior to October 7, 2023.

       302.    Syria has allowed the PFLP to maintain its headquarters in Damascus since at

least 1982, providing the group with invaluable protection from Israeli security operations and

international pressure.

       303.    After Israel’s targeted killing of PFLP Secretary-General Abu Ali Mustafa in

2001 and the imprisonment of his successor Ahmad Saadat, many senior PFLP leaders began

operating from Syria rather than remaining in the Palestinian Territories.




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       304.    Deputy Secretary-General Abu Ahmad Fouad (de facto leader after Saadat’s

imprisonment) has acknowledged the importance of Syrian sanctuary, noting in 2013 that PFLP

leadership faced constant threats of assassination in the Palestinian Territories.

       305.    The PFLP reciprocated by supporting the Assad regime during the Syrian civil

war, despite only a small percentage of Palestinians supporting the regime.

       306.    In 2014, at the height of the Syrian civil war, a PFLP spokesman publicly

threatened retaliation against Israel if it attacked Syria, explicitly acknowledging that Syria

“embraced us and trained our fighters.”

       307.    Syria facilitated coordination between the PFLP and the IRGC.

       308.    Following the 2020 assassination of IRGC-QF commander Qassem Soleimani,

the PFLP made statements discussing meetings between PFLP leaders and Soleimani, as part

of commemorations and discussions about his role in supporting various Palestinian groups.

       309.    Specifically, Abu Ahmad Fouad described how PFLP leaders met repeatedly

with Soleimani.

       310.    According to Fouad, the IRGC provided the PFLP with arming, training,

manufacturing, and financing which was in collaboration with Syria.

       311.    Iran reportedly increased funding to the PFLP as a reward for its support of the

Assad regime during the Syrian civil war.

       312.    Syria’s support enabled the PFLP to maintain operational capabilities.

       313.    For example, during the Second Intifada (2000-2005), the PFLP claimed

responsibility for over 100 terrorist operations in the first year and conducted four suicide

bombings, which would have been near impossible without Syria’s external support and

sanctuary.

       314.    Without Syrian sanctuary and support, the PFLP would likely have declined in

relevance, lost recruits to rival groups, and had diminished capability to conduct operations.



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         315.      According to U.S. State Department assessments, the PFLP and its factions

continue to receive funding, training, and safe haven from the Syrian government.

         316.      The participated in the October 7 Attack alongside Hamas and other allied

Palestinian factions.

III.     Iran Specifically Financed, Supported, And Approved the October 7 Attack.

         317.      The massacres of October 7, 2023, and the ensuing conflict, were the

culmination of a multigenerational terror campaign sponsored by Iran, implemented by the

IRGC, and spearheaded by Hamas, intended as a first salvo in a final campaign to destroy the

State of Israel.

         A.        Hamas Begins to Emulate Hezbollah.

         318.      Hamas seized full control of the Gaza Strip in 2007 from the Fatah-dominated

Palestinian Authority (“PA”) using its Qassam Brigades and other paramilitaries to drive PA

security services from the Strip. 59 It executed Fatah supporters after the 2007 takeover, raided

the PA’s former offices, and suppressed all threat to its rule through murder, torture, and

indefinite detention.

         319.      Hamas then began to expand from a terrorist organization (whose operational

capabilities were the product of Qassam Brigades terror cells operating under the overall

command of the organization’s political leadership) to a terrorist organization that also controls

territory and oversees a paramilitary organization capable of launching significant rocket

attacks on Israel, and one ultimately able to perpetrate the October 7 Attack.

         320.      That expansion was the product of: (1) Hamas’s sole control of Gaza’s territory

following the Israeli government’s withdrawal from Gaza in 2005, (2) lessons Hamas learned

in successive smaller scale conflicts with Israel between 2009 and 2021, and (3) guidance and


59
     “Fatah” is a reverse acronym for the Arabic translation of the “Palestinian National Liberation Movement”—
the largest Palestinian faction behind the PLO and the Palestinian Authority. Though virulently anti-Israel, its
leadership initially supported the Oslo Peace Accords with Israel (which were opposed from the outset by Hamas
and PIJ).


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support from the IRGC-QF and Hezbollah, including significant financial support, tactical

training, intelligence sharing, strategic planning, and the provision of new, advanced weapons

to further threaten Israel.

        321.     Once Hamas gained full control of the Gaza Strip in 2007, it made concerted

efforts to emulate Hezbollah’s operational structures.

        322.     Like Hezbollah, Hamas had succeeded in subverting and ultimately taking over

governmental functions, and like Hezbollah it had grown from a lethal terrorist organization

operating with political and social infrastructure to a de facto governing authority with a near

monopoly on force and concrete control of territory.

        323.     Hamas admiringly observed how Hezbollah had driven the IDF out of southern

Lebanon in the late 1990s and established the nascent Radwan Force in the 2000s. 60 It also

admired how, unlike Hezbollah’s original Islamic Jihad Organization (“IJO”) cells, the Radwan

Force operated more like conventional army and special forces units, rather than terror cells.

        324.     Hamas’s Qassam Brigades, then led by Ahmed Jabari (eliminated by Israel on

November 14, 2012), Muhammad Deif, and Marwan Issa, watched these developments and

began attempting to replicate the Radwan Force and build its own semi-conventional forces as

a strategic offensive capability.

        325.     Emulating Hezbollah, Hamas began positioning military infrastructure in dense

population centers and in (and under) schools and hospitals; using civilians as human shields

for terrorist operatives (both to deter Israeli reprisals and to use the suffering of its own civilians

to place diplomatic pressure on Israel); directing rocket and mortar fire against Israeli

population centers; and conducting training exercises and public military displays both to

improve the organization’s operational readiness and as a propaganda tool to legitimize its rule.


60
    The Radwan Force is named in honor of the late Imad Mughniyeh, the long-time head of Hezbollah’s IJO,
who was assassinated in a joint U.S.-Israeli operation in 2008. Mughniyeh was known as “Hajj Radwan.” The
Radwan Force was likely responsible for kidnapping three Israeli soldiers in July 2006, which triggered the 2006
Lebanon War.


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         326.     In 2012, Israeli intelligence uncovered a Hezbollah plan (funded and supplied

by the IRGC) whose objective was to seize and hold territory in northern Israel. The plan called

for the Radwan Force to infiltrate from Lebanon into Israel (in part using undetected tunnels

running beneath the Israeli-Lebanese border), enter Israeli communities, and establish

defensive perimeters using Israeli civilians as human shields to withstand the IDF’s

counterattacks. The sheer ambition of the plan and the evidence that the IRGC-QF had

approved its objectives, not only confirmed that Hezbollah was no longer content with using

insurgent tactics to wage a low-intensity war with Israel along the Lebanese border, but also

signaled Iran’s willingness to escalate its “Ring of Fire” policy when opportunities presented

themselves.

         327.     Yahya Sinwar took overall control of the leadership of the Qassam Brigades in

2012 in the Gaza Strip (Muhamad Deif and Marwan Issa remained its most senior operational

commanders), and in late 2012, he paid a secret visit to Tehran. 61 Before then, Sinwar had been

in Israeli prison from 1988 to 2011 until he was released 62 in the Gilad Shalit prisoner

exchange.

         328.     Sinwar and Hamas took note of Hezbollah’s aspirations and growing

capabilities, including Hezbollah’s ambitious 2012 plan to infiltrate Israel.

         329.     Hamas’s military continued to develop significant ground forces, an extensive

tunnel network to conceal its rocket launchers, and command and control capabilities, all of

which were in place well before 2014 hostilities broke out between Hamas and Israel. 63




61
     In a speech delivered in Gaza on December 25, 2017, Sinwar described his 2012 visit and meeting with the
late head of the IRGC-QF, Qassem Soleimani. See https://www.youtube.com/watch?v=qiipX7h7Boo.
62
     In January 1988, Sinwar was arrested and sentenced to four life sentences for murdering four Palestinians
suspected of collaboration with Israel. In his statement before the military court, he said: “I ask that I be sentenced
to death so that my blood will be the first to be spilled and I will be a torch for the mujahideen.” See
https://web.archive.org/web/20171010104442/https://www.paldf.net/forum/showthread.php?t=602970.
63
     In July 2014, Israel launched Operation Protective Edge in response to Hamas’s kidnapping and murder of
three Israeli teenagers, including U.S. national Naftali Fraenkel.


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        330.   In 2013, Hamas established a unit—the Nukhba (“elite”) Force built in the

image of Hezbollah’s Radwan Force—created to commit attacks in Israeli territory through the

attack tunnels. The force, which originally numbered 5,000 operatives, would later lead the

assault on Israel on October 7.

        331.   The Nukhba Force was trained intensively, and its recruits underwent religious

indoctrination. Many of its commanders trained in Iran or in Hezbollah camps in Lebanon

under the supervision of Qassem Soleimani and, after his death in 2020, under his replacement,

Esmail Qaani (a/k/a Ismail Ghaani).

        332.   On February 13, 2017, Yahya Sinwar was elected head of Hamas’s Political

Bureau in Gaza (and re-elected in March 2021), effectively becoming Hamas’s supreme leader

in Gaza.

        333.   Shortly thereafter, in May 2017, Ismail Haniyeh was elected chairman of

Hamas’s Political Bureau and then relocated to Qatar, the site of Hamas’s most important

headquarters outside of Gaza. He replaced Khaled Mashal (longtime chairman of Hamas’s

Political Bureau), who was, in relative terms, on less friendly terms with the IRGC-QF.

        334.   With Sinwar leading Hamas in Gaza and Haniyeh leading Hamas’s Political

Bureau abroad, Hamas’s coordination with and support from Iran, the IRGC, and Hezbollah

intensified.

        335.   Indeed, Hamas openly acknowledged the support it received from Iran. For

example, in May 2019, in a speech delivered in Gaza, Sinwar admitted that “without the help

from Iran with weaponry, we couldn’t have attained military capabilities.... Iran supplied us

with rockets and also supported us financially and technically in developing the rockets we

used to bomb Tel Aviv. And this was during a time when the Islamic nation gave up on us.




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Therefore, we needn’t be condemned for our gratitude to Iran, it is our duty to thank whoever

supports and helps us.” 64

          336.    A few months later, the Qassam Brigades sent candidates for training, and

academic and military education in Iran in fields including software, computer engineering,

and special forces training.

          337.    Members of a clandestine unit of the Qassam Brigades traveled from Gaza

(through Egypt and Turley) to Iran for special training supervised by the IRGC-QF in flying

drones.

          B.      Yahya Sinwar’s “Big Project” with Iran’s Axis of Resistance.

          338.    Although the precise planning for October 7 was a tightly kept secret, the

broader outlines of Hamas’s policy and its role within Iran’s “Axis of Resistance” was

discussed openly years before the attack was launched.

          339.    It may be many years before a very clear picture of the precise unfolding of

these events emerges, but it appears that Hamas, Hezbollah, and the IRGC pulled off a “double

bluff” in planning the October 7 Attack—deceiving Israel by openly stating their intentions in

a way that convinced Israel that they were saber-rattling rather than carrying out a concrete

plan of attack.

          340.    As noted above, in July 2018, Hamas established a Joint Operations Room in

Gaza to coordinate with eleven terrorist groups active in Gaza, including PIJ, PFLP, AAMB

and the PRC. The Joint Operations Room united the disparate terrorist organizations operating

in the Gaza Strip under one command and worked to coordinate their activities.

          341.    Since at least 2021, the IRGC-QF also oversaw the creation of a “Joint

Operations Room” in Lebanon, where senior Hezbollah, Hamas, PIJ, and IRGC officials met



64
     Ronni Shaked, Hamas, the Road to 7th October 2023, The Truman Research Institute for the Advancement
of Peace, available at https://israelbehindthenews.com/wp-content/uploads/2024/06/Chapter-4-Hamas-The-road-
to- 7th-October-2023-1.pdf. See also https://www.youtube.com/watch?v=GRZlPFpKGf8.


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and coordinated their efforts against Israel, often under the auspices of Muhammad Izadi, the

IRGC-QF official who served as the head of the Palestinian Office of the IRGC-QF in Lebanon.

       342.      Hamas, Hezbollah, and the IRGC all knew that Israeli intelligence had extensive

surveillance capabilities and had likely compromised their communications over the course of

several years.

       343.      Therefore, total concealment of the October 7 Attack from Israeli intelligence

was effectively impossible.

       344.      The best way to disguise the October 7 Attack as part of the “double bluff” was

to publicly disclose meetings among Hamas, the IRGC-QF, and Hezbollah, to publicly mention

the Joint Operations Room in Lebanon and to speak openly of a future decisive attack by the

“Axis of Resistance” against Israel while at the same time, sending signals that the Axis of

Resistance did not actually intend to engage in the very attack for which it was really preparing.

       345.      Starting in 2018, Hamas adopted a strategy of limiting its attacks against Israel,

mixing seemingly civilian tactics (like rioting at the security fence line on the Gaza border)

with low-intensity terror tactics.

       346.      Hamas’s objective was to maintain low-level pressure on Israel without

provoking a substantial Israeli response—a stance that gradually lulled Israeli intelligence and

military analysts into believing that Hamas wished to avoid a major conflict and was more

interested in improving economic conditions in Gaza and maintaining its rule.

       347.      Israel therefore made a deliberate effort to target primarily PIJ when retaliating

against rocket fire from the Gaza Strip and it used the Egyptian government as an intermediary

to both warn and assure Hamas that it did not intend to escalate its operations against Hamas

as long as Hamas did not take actions that would provoke a major response.




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         348.     For example, at a press conference held on May 26, 2021, following a relatively

contained confrontation with Israel in May 2021 (Operation Guardian of the Wall), Sinwar

expressly and directly disclosed collaboration among the Axis of Resistance:

                  During the war we were in continuous contact with our brothers in the
                  field, and in some of the special areas with the brothers in Lebanon
                  [Hezbollah], and there was a high level of coordination, and we made it
                  clear to our brothers in Lebanon, in Hezbollah and in the Guards [of
                  Iran’s Revolution] and other factors, that this [the round of confrontation
                  in May 2021 was] only a message we are sending to the enemy, and this
                  is not a real campaign, and we are sure that if this campaign develops, it
                  will grow and strengthen, we are sure that there will be a real and active
                  intervention of the resistance on all fronts.

                  We emphasize, I attended the meeting last night [May 25, 2021] and I
                  was completely satisfied with this decision of Sheikh Hassan Nasrallah,
                  may our Lord protect him by the will of Allah, the Sovereign of the
                  Worlds, and we are fully certain that any attack on the holy places will
                  be a real regional war against it [against Israel], and I have already
                  described it [this scenario], by the will of Allah, the Sovereign of the
                  Worlds, and we are sure that all of us, our entire [Palestinian] nation, our
                  entire [Arab and Islamic] nation, all the active forces of our [Arab and
                  Islamic] nation, all our resistance forces, and all the struggle and
                  resistance forces will be [active] in the next campaign [against Israel] if
                  Al-Aqsa Mosque will call us [for help] … and if the enemy behaves
                  stupidly, then he will find that things will get significantly worse... the
                  barrages [rockets] launched [from Lebanon] and the [unmanned] aircraft
                  that was launched [from Lebanon] were in full coordination between
                  the resistance in Lebanon [Hezbollah] and between the resistance in
                  the Gaza Strip [Hamas] and in joint action.

                  There was also a high level of intelligence coordination, and we passed
                  on to our brothers in Lebanon, in the Lebanese resistance and others
                  [information that was] very useful in the intelligence effort and which
                  also served the resistance [Hamas] in its tactical moves in the Gaza Strip.
                  The activity was a very good activity, and we have a very good horizon
                  for the development of this activity. We clearly warned, we said that this
                  was only a short promo, and if [a significant event] happens, by the will
                  of Allah, the Sovereign of the Worlds, and Al-Sayed Nasrallah was
                  honored and declared, there will be a regional war if our holy places are
                  harmed, and this will lead to an open conflict, by the will of Allah. 65




65
    For more details see Halevi, Jonathan D., From Hamas’s Point of View: This is How the October 7 Attack
Unfolded, Jerusalem Center for Security and Foreign Affairs, https://jcpa.org.il/article/from-the-point-of-view-of-
hamas-october/ (last accessed May 6, 2025). [Arabic text translated into Hebrew, then English.]


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        349.    This kind of public statement served two purposes: to rally support for Hamas

among the Palestinian public with a show of defiance to Israeli military action and to lull Israeli

intelligence into believing that Sinwar was merely saber-rattling and exaggerating Hamas’s

intentions.

        350.    In fact, Hamas was preparing for Sinwar’s “Big Project”—a multi-prong attack,

coordinated with Hezbollah and the IRGC-QF, to annihilate the State of Israel.

        351.    To this end, Hamas held a conference in Gaza on September 30, 2021, under

the banner “Ensuring the End of Days—Palestine After Liberation.” Its participants included

senior Hamas leaders such as Yahya Sinwar, whose opening remarks to the conference

explained:

                The conference’s activities are in accord with our assessment that
                victory is near. The liberation of Palestine from the sea to the river is
                at the heart of our strategic vision, it is now closer than ever before.
                Towards that goal, we are hard at work and are making great efforts both
                above and below the ground, out at sea and in the skies.... we can see
                our independence flourishing and are therefore preparing for what will
                follow. 66

        352.    Again, the regularity of this type of apocalyptic rhetoric was likely intended to

lull Israeli intelligence into the view that Hamas’s military buildup (e.g., tunnels, rocketry, and

training) was unremarkable—what mattered, instead, was that Hamas’s observable conduct

reflected an aversion to major confrontation with Israel.

        353.    Sinwar’s “Big Project” to bring about the “End of Days” required both a steady

stream of weapons and money from Qatar and Iran and other sources, as well as a special

budget to plan and execute the attack outside of channels carefully monitored by Israeli

intelligence. For this, he needed clandestine financial and logistical support from the IRGC-




66
    See text reported by THE PALESTINIAN PRESS AGENCY, Sept. 30, 2021, available at https://safa.ps/post/
313372.


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QF to supplement the substantial financial and logistical support already provided by Iran and

Qatar to Hamas.

         354.     Hamas documents recovered in recent months illuminate the IRGC’s separate

transfers of funds to Yahya Sinwar and Ismail Haniyeh for their personal use and discretionary

allocation to the Qassam Brigades’ “projects.” Attached as Exhibit 2 to the Amended

Complaint is a short report from Deputy Commander of the Qassam Brigades, Marwan Issa,

to Yahya Sinwar itemizing dates and transfers of millions of dollars paid to Sinwar and Haniyeh

from 2014 to 2020. As evidenced by the fact that Issa was providing the accounting, these

payments to Sinwar reflect “off-budget” transfers made by the IRGC to his discretionary fund,

largely for the benefit of the Qassam Brigades, but separate and apart of the regular funding

streams provided to Hamas by the IRGC.

         355.     While the Iranian regime cherishes its own apocalyptic visions, 67 the financial

support (and later, coordination and approval of the October 7 Attack) that the IRGC provided

to Hamas was likely offered for more prosaic geopolitical reasons—namely, the expansion of

Iran’s sphere of influence in the region, the coalescing of its Axis of Resistance alliance system,

and Iran’s recognition that the destruction of the State of Israel (or at least its crippling) was a

necessary prerequisite to Iran’s dreams of hegemony in the Middle East.

         356.     As Hamas regrouped after its latest round of fighting with Israel in May 2021,

the broad outlines of its “Big Project” came into sharper focus, and Hamas’s relationship with

Iran took on even greater importance.

         357.     According to an October 12, 2024, report by The New York Times, Hamas

documents recovered by the IDF first hint at the October 7 Attack in January 2022, “when the



67
     That vision involves the Hidden—or Twelfth—Imam, which plays a dominant role in Iran’s ruling Shi’a
theology. In simplistic terms, this is a messianic belief that, when injustice and evil capture the world, the Hidden
Imam (the Shi’a messiah or “Mahdi”) will appear to fight a violent apocalyptic battle between his forces against
the infidels to unite the world under Islam. Rather than wait for the Mahdi’s return, Iran’s clerics view their role
as preparing for his return by creating an Islamic civilization.


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minutes [of the meeting] show that Hamas leaders discussed the need to avoid getting dragged

into minor skirmishes to focus on ‘the big project.’ Israeli intelligence officers found that

Hamas leaders repeatedly used the same phrase in similar contexts ….” 68

        358.     Hamas, now led outside of Gaza by Haniyeh instead of Mashal, urgently wanted

to improve ties with Damascus, to increase trust and coordination with Hezbollah, and to

solidify its plan for the “Big Project.”

        359.     In the meantime, Hamas continued its “double bluff” strategy. In an April 30,

2022, speech, Sinwar addressed Palestinian terrorists held in Israeli prisons, foreshadowing a

conflict with Israel to release them:

                 And we say clearly, we made a firm and clear decision and according to
                 which we, by the permission of Allah, may He be glorified and exalted,
                 clean the prisons of all our Palestinian and Arab prisoners, and it will
                 not last. The time for this, with the permission of Allah may he be
                 praised and exalted. It won’t take long for that, by Allah’s permission
                 he will be praised and exalted, and all arenas are open [for a military
                 confrontation with Israel], and there will be no red lines that prevent
                 us from fulfilling our duty towards the prisoners, at the will of Allah is
                 the Lord of the world. We will not abandon you. We will not show
                 weakness in regard to your rights, and we see ourselves, despite all that
                 we have invested, as having failed [in the matter of the prisoners], but
                 by Allah’s will, the Lord of the World, our Lord will help us and enable
                 us to fulfill our duty to you. 69

        360.     Another Hamas document recovered in Gaza includes a memorandum written

by Marwan Issa to Sinwar and Khalil al-Hayya on December 18, 2022, after Hamas’s

relationship with the Syrian regime had been officially restored. (Exhibit 3 to the Amended

Complaint.) Among other subjects, the memo lists various bullet points concerning Iran and

Hezbollah:

        •        An agreement has been reached with Brother Abu Usama [Khalil al-Hayya] that
                 it is vital to visit the Brothers in the Hezb [Hezbollah] and the Iranian state,
                 in order to convey a clear message on the future of the joint activities against
68
    Bergman, R., Rasgon, A., Kingsley, P., Secret Documents Show Hamas Tried to Persuade Iran to Join Its
Oct. 7 Attack, NEW YORK TIMES, Oct. 12, 2024, available at https://www.nytimes.com/2024/10/12/world/
middleeast/hamas-israel-war.html.
69
    See Halevi, Jonathan D., From Hamas’s Point of View, Jerusalem Center for Security and Foreign Affairs,
available at https://jcpa.org.il/article/from-the-point-of-view-of-hamas-october/.


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                  the Zionist occupation. We will, of course, update Abu al-Abd [Ismail
                  Haniyeh] on this position, and the visit will need to be secret and urgent. Due to
                  the sensitivity of this message, no one other than Abu al-Abd [Ismail Haniyeh]
                  should be acquainted with the content of these meetings.

         •        It has been concluded that a clear message must be conveyed to A-Sayyid Hasan
                  Nasrallah that if Iran or the resistance in Lebanon [Hezbollah] would face a war
                  in the future, we, the Hamas Movement and the Al-Qassam, are fully prepared
                  to participate, in full force, in those battles, as we hope that in such
                  confrontations (the war), as a basic principle, we’ll turn that opportunity into a
                  fateful confrontation with the occupation, with the intention of that
                  confrontation spelling the end of the occupation, if Allah wills it.

         •        Moreover, in that same message, if a confrontation erupts between us and the
                  occupation on the future of Jerusalem and Al-Aqsa, and if an open confrontation
                  results, in principle, what is needed is for the Axis of Resistance to intervene,
                  headed by the Hezb [Hezbollah] and the other factions (Iraq, Yemen, and
                  Syria). It is up to the [Syrian Arab] Republic to decide whether to participate,
                  and we haven’t set this as a condition for it, but it is of paramount importance
                  that the Hezb [Hezbollah] take an active role.

         •        Obviously, these messages should first be conveyed to A-Sayyid Hasan
                  [Nasrallah], as well as to Hajj Esmail Qaani [head of the IRGC-QF] and to the
                  head of the Guard [IRGC]. If possible, contact should be made with the Guide 70
                  so that he can be updated on this important position.

         •        Naturally, what we intend to achieve with this position is to create a true ally
                  for the resistance and its axis, especially in the strategic matters tied to resisting
                  the occupation. We don’t mean the potential tactical confrontations, because not
                  everyone needs to participate in such confrontations, which could occur vis-a-
                  vis Iran or the resistance in Gaza [Hamas] (of the usual type).

         •        It was confirmed that in the context of this strategic overview and direction, the
                  basic principle is that we agree with our Brothers in Iran that financial support
                  of at least 7 million per month will be approved, over the course of the year, in
                  order to mobilize and prepare for these types of confrontations comfortably. It
                  would be good if Brother Abu Usama [Khalil al-Hayya] were to request that a
                  3-4 month advance payment be made, as an advance payment made with the
                  first payment, in order to expedite the pace of preparations and our side’s
                  readiness.

         361.     The memorandum goes on to discuss various topics concerning coordination

among the Qassam Brigades, Hezbollah, the IRGC, and other players within the “Axis of

Resistance” on Hamas’s “strike force” in southern Lebanon. It makes clear that Hamas’s




70
     The Guide (Murshid) is a title given to the Iranian Supreme Leader.


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preparations and ultimate attack plans are deeply coordinated with (and substantially financed

by) the IRGC and that the IRGC also mediated between disparate elements within its network

of proxy groups.

          362.   While the plans for the “Big Project” and closer coordination with Hezbollah

were proceeding, Hamas’s “double bluff” strategy continued as well. On January 5, 2023, an

article published in Palestine, the official Hamas newspaper, explicitly mentions the Joint

Operations Rooms in Lebanon, stating that “the people believe in the need to go to war in

defense of the Al-Aqsa Mosque and its sanctity” and “have full and complete trust in the

wisdom of the resistance leadership and its spearhead, the Al-Qassam Brigades and the joint

[operations] room, in determining the nature of the response, its timing and place. There is no

doubt that the response will be on the scale of the crime. The campaign may be close, very

close.”

          363.   On March 19, 2023, two months after publication of the article, Hassan

Nasrallah met with Saleh al-Arouri, the deputy leader of Hamas in Lebanon, further drawing

attention to the close ties between Hamas and Hezbollah.

          364.   A month later, on April 23, 2023, Azat Jamal (Ezzat Jamal), published an article

on the official website of the Qassam Brigades stating that not only does the Israeli deterrence

(against Hamas) no longer exist, but it will not be able to be restored in the foreseeable future

in view of the strengthening of the “Axis of Resistance,” which consists of Iran, Hezbollah, the

military coalition in the Gaza Strip led by Hamas, the Houthi regime in Yemen, and the military

militias in Iraq and Syria.

          365.   From April to June 2023, Iranian leaders—including Ayatollah Khamenei and

President Raisi—met publicly with Hamas and PIJ leaders in Iran and Syria to encourage

further acts of terrorism against Israel.




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        366.     While these public meetings were taking place, in May 2023, secret discussions

also took place in Sidon, Lebanon, among a delegation of Hamas leaders, Hezbollah leaders,

and the IRGC.

        367.     The Hamas delegation was headed by Saleh al-Arouri, and the IRGC delegation

was headed by an IRGC operative based in Sidon, who was in charge of the armament file for

the Palestinian factions inside Lebanon.

        368.     After al-Arouri reviewed the project, he had several follow up meetings with

leaders of Hezbollah in the presence of Nasrallah.

        369.     According to documents seized by the IDF and disclosed by The New York

Times, at a meeting in May 2023, Hamas leaders said that they wanted to commit the October

7 Attack by the end of 2023 because Israel had announced that it is developing a new type of

laser that can destroy Hamas rockets more effectively than its current air defense system [Iron

Dome and David Slingshot]. 71

        370.     This was followed up in June 2023, with a less clandestine meeting between

IRGC-QF commander Esmail Qaani and Hamas leader Ismail Haniyeh and PIJ leader Ziyad

al-Nakhala in Tehran.

        371.     On June 19, 2023, Haniyeh also met with a delegation of high-level Iranian

security and military officials. 72 Haniyeh, accompanied by Saleh al-Arouri and other Hamas

figures, also met with the IRGC chief, Hossein Salami, and a number of his aides over a period

of three days.




71
     See Bergman, R., et al., Secret Documents Show Hamas Tried to Persuade Iran to Join Its Oct. 7 Attack,
NEW YORK TIMES, Oct. 12, 2024, available at https://www.nytimes.com/2024/10/12/world/middleeast/hamas-
israel- war.html.
72
     See Haniyeh meets with the Secretary General of the Supreme National Security Council in Iran, AL QUDS
QUDS, June 19, 2023, available at https://www.alquds.com/en/posts/76699.


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        372.     On June 21, 2023, Haniyeh publicly met with Iranian Supreme Leader

Ayatollah Ali Khamenei. 73

        373.     Hamas’s “double bluff” strategy continued following this meeting with a June

22, 2023, article in the official Hamas newspaper Palestine specifically stating that the Axis of

Resistance members were coordinating and training in southern Lebanon and Gaza:

                 The Axis forces [the resistance] continue to gain strength and are ready
                 for the zero-hour confrontation with Zionist terrorism, and it is possible
                 that the military training conducted by the Axis forces of the resistance
                 in southern Lebanon and Gaza proves that the desire for victory rooted
                 in the thinking and way of the resistance organizations, which work in
                 high coordination among its components. This is what the leadership of
                 the occupation state fears, [as reflected] in the recent military trainings
                 [of the IDF] from the invasion of Hezbollah’s al-Radwan brigade into
                 occupied northern Palestine, and from dealing with this danger, and the
                 continued strengthening of joint coordination between the Palestinian
                 resistance organizations through the joint operations room and its
                 performance at a high level on the ground, we can say that the formation
                 of the resistance axis is a strong confirmation that the resistance cannot
                 be eliminated by force, since it has become an ingrained phenomenon in
                 Islamic reality, and it cannot be ignored or eliminated by force of arms,
                 since the future belongs to it. And she will fight until victory. 74

        374.     Starting no later than August 2023, IRGC-QF commanders used the Joint

Operations Room in Beirut to conduct biweekly planning meetings with Hamas, PIJ,

Hezbollah, and other Iranian-backed terror groups. Iran’s foreign minister Hossein Amir-

Abdollahian attended at least two of these meetings. 75

        375.     On August 13, 2023, Nasrallah met publicly with Hamas and PIJ officials.




73
     See Iranian state media confirm meeting between Khamenei, Hamas’ Haniyeh in Tehran, REUTERS, Nov. 5,
2023, available at https://www.reuters.com/world/middle-east/iranian-state-media-confirms-meeting-between-
kham enei-hamas-haniyeh-tehran-2023-11-05.
74
     See Halevi, Jonathan D., From Hamas’s Point of View, Jerusalem Center for Security and Foreign Affairs,
available at https://jcpa.org.il/article/from-the-point-of-view-of-hamas-october/.
75
     See Summer Said, Iran Helped Plot Attack on Israel Over Several Weeks, WALL STREET JOURNAL, Oct. 8,
2023, available at https://www.wsj.com/world/middle-east/iran-israel-hamas-strike-planning-bbe07b25; see also
500 Hamas, PIJ terrorists trained for October 7 attack in Iran last month – report, TIMES OF ISRAEL, Oct. 25,
2023, available at https://www.timesofisrael.com/500-hamas-pij-terrorists-trained-for-october-7-attack-in-iran-
last-month-report/; Emanuel Fabian, IDF says Iran directly aided Hamas before assault, TIMES OF ISRAEL, Oct.
25, 2023, available at https://www.timesofisrael.com/liveblog_entry/idf-says-iran-directly-aided-hamas-before-
assault.


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       376.    While these meeting were genuine, it is unlikely that they directly involved

planning the “Big Project” because the discussions included Abdollahian (who was unlikely to

be included within the small, trusted group involved in operational planning) and PIJ operatives

who, while trusted to participate in the execution of the plan, were also not within the Qassam

Brigades’ inner circle of trust.

       377.    By this time, having bankrolled the “Big Project” and solidified the coordination

between the Gaza leadership of Hamas and Hezbollah, the IRGC was prepared to approve the

operation and final preparations for it, but proposed some tactical modifications, including the

introduction of gliders into the attack plan.

       378.    After obtaining the green light from the IRGC-QF, al-Arouri was appointed as

an intermediary to deliver messages between the parties face-to-face in Lebanon to avoid using

electronic communication about the operation and its planning, and he also began making

periodic visits to Iran to hold further face-to-face discussions to implement the operation.

       379.    Under the auspices of the IRGC-QF, 50 Hamas operatives began an intensive

40-day training program in Lebanon on August 5, 2023, to learn how to use gliders in combat

operations. The training operations took place in the village of Hawsh al-Qanaba, located in

the Bekaa Valley. The training exercises were supervised by Hezbollah, and Hamas was

represented by Muhammad Sinwar, Yahya Sinwar’s brother and one of the current surviving

leaders of Hamas.

       380.    To cover for its increased tempo of activity and maintain the illusion that its

detectable training exercises were all part of Hamas’s inflammatory rhetoric (intended for

domestic consumption), Hamas published an article in Palestine on August 19, 2023, warning:

               The total war and the concerns of the occupation. With the passage of
               time, the dangers and threats in the environment of the Israeli occupation
               entity have intensified and the concerns become visible about the
               outbreak of a conflict or a total war... against the background the rapid
               changes in this arena, and the unprecedented developments in the
               various arenas in Palestine, Lebanon, Syria, Iraq, Yemen, and Iran,


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                 which became more capable of creating a deterrence equation in a
                 confrontation with the enemy, after these fronts succeeded in developing
                 capabilities in the field of training, arming, and intelligence effort... the
                 timing and circumstances of this campaign depends on the leadership of
                 the resistance, which is prepared to choose the timing and the
                 circumstances that serve the great goals that the resistance seeks to
                 achieve, first of all the inflicting the greatest defeat on the Israeli enemy,
                 which will push him to stop his occupation of Palestine in the Arab lands
                 once and for all. 76

        381.     On August 25, 2023, Hezbollah’s Al-Mayadeen television channel broadcast an

extensive interview with Saleh al-Arouri, the deputy leader of Hamas, where he presented his

assessment of Hamas’s relations with Israel, the preparations for an all-out confrontation

against it in coordination with the Axis of Resistance, and the expected nature of the campaign.

                 The all-out war has become an unavoidable issue, and we believe it is
                 necessary, we want it. We, the resistance, the axis of the resistance,
                 [Arab and Islamic] peoples, the Palestinian people, the [Islamic] nation
                 want this all-out campaign. We do not talk about it [about the war] in
                 public. We discuss it in closed rooms.

                 We meet with everyone. The components [partners to] the overall
                 campaign, and we all discuss it. We discuss its scenarios and its
                 potential, and we are convinced that we can … for sure, defeat them...
                 We are convinced that this [Israeli] entity, honestly, if it starts an all-out
                 conflict, its airspace will be closed, and IT will not be able to live
                 without electricity, the sea will be closed to it, without communication,
                 [and in a state of] curfew, the wheels of the economy will stop in an
                 open campaign whose end is unknown. We can do all this [mentioned
                 above]. All resistance forces can do this to change this situation, a real
                 change. 77

        382.     Nasrallah met with al-Arouri again on September 2, 2023. Four days later, al-

Arouri gave an interview to Al Jazeera again expressing the view that a decisive confrontation

with the enemy was imminent.

        383.     On September 2, 2023, Hamas also published an article on the official website

of the Qassam Brigades warning of “the possibility that the enemy will launch a new

aggression, one of the manifestations of which will be the assassination of the leaders of the


76
    See Halevi, Jonathan D., From Hamas’s Point of View, Jerusalem Center for Security and Foreign Affairs,
available at https://jcpa.org.il/article/from-the-point-of-view-of-hamas-october/.
77
    Id.


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resistance [Hamas] inside [Palestine] or outside [Palestine]” and warning that this would lead

to “a severe reaction on the part of the Palestinian resistance, and may develop into the entry

of other fronts into the front line, such as (Syria, Lebanon), and it is possible that other fronts

will join in their wake.”

        384.     That same day, Nasrallah also met publicly with one of the leaders of the PFLP.

        385.     Two weeks later, on September 15, 2023, leaders of Hamas, PIJ and the PFLP

met publicly in Beirut.

        386.     While these public threats were being issued, between September 10 and 20,

2023, senior leaders of Hezbollah and Hamas met with the IRGC in Nabatiyeh, at a villa used

as a Hezbollah safe house. Those in attendance included:


        •        Talal Hamiyah, a senior member of Hezbollah’s Islamic Jihad Organization;

        •        Marwan Issa, the deputy commander of the Qassam Brigades in Gaza; and

        •        Mohammed Pakpour, Commander in Chief of the IRGC Ground Forces.

        387.     The meeting was held to finalize the operational details of, and develop the

necessary plans to ensure proper coordination during, the October 7 Attack.

        388.     On September 23, 2023, leaders of the PFLP, Hamas and PIJ met again publicly

in Beirut.

        389.     The Wall Street Journal has reported that meetings in the Joint Operations

Room in Beirut culminated with an October 2 meeting in which Iran provided the green light

for Hamas, PIJ, and the other Iran-backed groups to launch the pre-planned attack against

Israel, using Iranian intelligence, training, and military supplies. 78


78
     See Summer Said, Iran Helped Plot Attack on Israel Over Several Weeks, WALL STREET JOURNAL, Oct. 8,
2023, available at https://www.wsj.com/world/middle-east/iran-israel-hamas-strike-planning-bbe07b25; see also
Jonathan Schanzer, Iran-Hezbollah Intelligence Center May Help Hamas Target Israel, FOREIGN POLICY, Sept.
13, 2022, available at https://foreignpolicy.com/2022/09/13/iran-hezbollah-hamas-israel-beirut-lebanon-
intelligence-sha ring-center; Paul Kirby, Israel faces ‘long, difficult war’ after Hamas attack from Gaza, BBC,
Oct. 8, 2023, available at https://www.bbc.com/news/world-middle-east-67044182; Shay Khatiri, Why It’s
Obvious Iran Approved Hamas Attack, WALL STREET JOURNAL, Oct. 17, 2023, available at
https://www.wsj.com/articles/why-its-obvious-iran- approved-hamas-attack-khamenei-nuclear-deal-f394c477.


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       390.    While it is conceivable that the “green light” was given at this meeting, it is

more likely that the discussions leading to the finalization of the plan were not discussed in

consultation with PIJ operatives—who would have been attending the meeting, but (again)

were not within the Qassam Brigades’ inner circle—and that the “green light” was given by

the IRGC a few weeks earlier.

       391.    Also on October 2, 2023, PIJ publicly mounted a training exercise on the

occasion of “Martyrs are the Harbingers of Victory” day, followed two days later by a military

parade in commemoration of its 36th anniversary as a terrorist organization in the Gaza Strip.

Whether intentionally or not, the flurry of PIJ activity in the days before the October 7 Attack,

likely served as a smokescreen concealing Hamas’s final preparations for the assault.

       392.    When, in the early morning of October 7, 2023, Hamas led the Iranian-financed-

and-approved attack against Israel, murdering, kidnapping, and injuring Plaintiffs, among

hundreds of others, Hamas apparently did not fully follow the agreed-upon coordinated plan

approved by the IRGC because neither Hezbollah nor the IRGC-armed and -trained Qassam

Brigades operatives in Lebanon attacked northern Israel in force on October 7 as “the Big

Project” envisioned.

       393.    Whether Hamas’s action was motivated by a desire to “get a jump” on its allies

and claim more of the glory or was necessitated by pressing operational considerations—such

as fear of imminent discovery—the October 7 Attack was unquestionably financed and

coordinated by Iran.

       C.      Syrian Support for Hamas in the Build-Up to the October 7 Attack.

       394.    For the “Big Project” to truly succeed as originally conceived—and receive not

only backing from the IRGC-QF but also genuine coordination on multiple fronts—Hamas

needed to repair its relationship with the Assad regime in Syria which was fully backed by Iran

and Hezbollah.



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       395.    As noted above, Hamas (a branch of the Sunni Muslim Brotherhood movement)

had backed Muslim Brotherhood affiliates (armed Sunni terrorist groups) fighting against

Hezbollah and the Assad regime during the Syrian civil war.

       396.    This created not only a rift between Hamas and the Syrian regime, but also

fostered lingering distrust between Hezbollah’s leadership and Hamas, particularly distrust of

Khaled Mashal’s faction within Hamas, which was perceived to be less enthusiastic about

reliance on Iranian support for the organization.

       397.    Hamas, now led outside of Gaza by Haniyeh instead of Mashal, urgently wanted

to improve ties with Damascus, to increase trust and coordination with Hezbollah, and to

solidify its plan for the “Big Project.”

       398.    Hamas documents recovered in Gaza include a letter written on June 10, 2022,

by Ismail Haniyeh to key IRGC-QF commander Muhammad Said Izadi (a/k/a Hajj Ramadan).

(Exhibit 4 to the Amended Complaint.) In that letter Haniyeh discusses a letter from Izadi

describing Izadi’s meeting with Hassan Nasrallah, Hamas leader Khalil al-Hayya, and another

individual identified as “Abu Hamdan.” The subject of that meeting was resumption of

Hamas’s relationship with the Assad regime in Syria, referred to in the correspondence as “the

decision.” Haniyeh states:

               As soon as he returned from Lebanon, Brother Abu Usama [Khalil al-
               Hayya] updated me on the meeting and what occurred during the
               meeting, including a lengthy conversation and ideas that help build this
               connection, in a way that optimizes the situation we are all in, as we are
               all in the same boat. We are in the process of studying and deliberating
               what had been accomplished between you, at the level of the team that
               monitors the decision’s implementation.

       399.    Haniyeh goes on to thank the IRGC-QF commander “for allocating a sum of

five million dollars, which is to be sent to me, and I request that you inform me what I should

send to the Brothers in Gaza, based on what you had mentioned to Brother Abu Usama [Khalil

al-Hayya].”



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       400.    Hamas documents recovered in Gaza also include a letter written by Haniyeh to

Sinwar on September 24, 2022. (Exhibit 5 to the Amended Complaint.) In the letter, Haniyeh

emphasizes Hamas’s internal efforts to achieve a consensus to reconcile with the Assad regime

in Syria—primarily to further cement relations with Nasrallah and Hezbollah, who backed

Assad throughout the Syrian civil war.

       401.    Furthermore, the document describes Hamas’s continuing efforts to normalize

its relationship with the Assad regime in Syria, but notes that while the “the majority of the

movement supports the decision,” there remained significant “noise” from some quarters

within the organization that opposed the initiative. The letter emphasizes the need to “leave no

room for excuses from brother Abu al-Walid [Khaled Mashal] and his group,” suggesting that

Mashal and his faction within Hamas were obstructing Haniyeh and the Gaza leadership of

Hamas. It goes on to criticize Mashal’s motives:

               We understand that Abu al-Walid’s [Khaled Mashal] opposition [to
               normalization with the Assad regime] is based on personal issues and
               not substantive ones. If the Syrians would open the door for him, he will
               be running towards them. However, our current priority is to proceed
               with the decision and take the step of meeting with the Syrian president,
               in line with the proposal put forth by his Eminence, A-Sayyid [Hasan
               Nasrallah].

       402.    Haniyeh goes on to assert that Hamas was strengthening its ties with Russia and

forming strong relationships with Algeria, while simultaneously maintaining its existing ties

with Turkey, Qatar, and Egypt. He believed “restoring relations with Syria, along with our

strategic partnerships with Iran and Hezbollah, will significantly enhance the [Hamas]

movement’s position and balance of power. This approach leverages the [Hamas] movement’s

formidable military capabilities in Gaza and its growing presence in the West Bank.”

       403.    Lastly, Haniyeh complains that his own funding streams from Turkey and Qatar

have not been flowing reliably over the past four months and that the Qassam Brigades needs




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to work through the IRGC-QF commander, Muhammad Said Izadi, to facilitate more regular

payment streams.

        404.    In late October 2022, Khalil al-Hayya and senior Hamas spokesman in Lebanon

Osama Hamdan formally met with Bashar al-Assad in Damascus. Al-Hayya said Assad was

“keen on Syria’s support to the Palestinian resistance” and called his visit a “glorious day.”

        405.    The minutes of the June 18, 2023, meeting of Hamas’s Rafah Brigade (attached

as Exhibit 6 to the Amended Complaint) further confirm the FSIA Defendants’ support to

Hamas prior to the October 7 Attack. The minutes describe Hamas’s relationship with

Hezbollah as “outstanding” noting that it was “prepared to collaborate with us in any upcoming

campaign.” It also described Hamas’s relationship with the IRGC as “good and fantastic” and

stated the “Syrian regime has opened the doors even wider to us….”

        406.    On October 7, 2023, the Assad regime issued a statement immediately praising

“Operation Al-Aqsa Flood,” the name that Hamas gave to its terror attack of that day. The

statement indicated that: “Syria raises its head high in honor of the martyrs of the Palestinian

revolution and the heroes who planned and achieved the Al-Aqsa Flood operation.”

IV.     The October 7 Attack.

        407.    On Saturday, October 7, 2023, Hamas launched Operation al-Aqsa Flood.

        408.    For the largely Jewish population of Israel, October 7, 2023, was the Sabbath

and the Jewish holiday of Simchat Torah, a festive day that celebrates the conclusion of the

yearly readings of the Torah. It was also the 50th anniversary of the Yom Kippur War.

        409.    At approximately 6:30 a.m., Hamas and PIJ terrorists fired thousands of rockets

and unleashed mortar fire from Gaza into Israel. According to the IDF, approximately 5,000

rockets were fired at Israel during the October 7 Attack, with approximately 4,000 fired within

the first four hours.




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        410.     The rockets and mortars largely targeted the civilian population in a variety of

locations throughout southern Israel. Within the first few minutes of the October 7 Attack, alert

sirens sounded in approximately 30 Israeli communities near the Gaza border. These southern

communities, including the cities of Ashkelon, Ashdod, and Sderot, were the primary targets.

But explosions were recorded as far away as Herzliyya and Tel Aviv to the north of Gaza and

the Bedouin village of al-Bat to Gaza’s east, where rockets killed five people.

        411.     In accordance with the plan agreed to with the IRGC-QF, Hamas also launched

unmanned drones carrying incendiary weapons and fired additional projectiles at military posts

located along the Gaza-Israel border. 79 The goal was to disable the IDF’s surveillance

equipment and capabilities—its first line of defense along the border with Gaza.

        412.     Shortly after 6:30 a.m., under the cover of rocket fire, Hamas-led terrorists

breached the fence between the Gaza Strip and Israel in approximately 30 locations using

explosives, bulldozers, tractors, wire cutters, and other means. All told, there were more than

one hundred breaches of the border fence during the October 7 Attack.

        413.     Heavily armed terrorists entered Israel on foot or using pickup trucks,

motorbikes, and other vehicles.

        414.     Other Hamas operatives, utilizing their prior training with the IRGC-QF in

Lebanon, breached the defensive perimeters of nearby kibbutzim using paragliders, following

the operational plans developed in coordination with the IRGC-QF. 80

        415.     Other Hamas commandos landed by sea at Zikim beach in southern Israel.

        416.     The Hamas-led terrorists were armed with automatic rifles, extensive

ammunition, and rocket-propelled grenades (RPGs), anti-tank weapons, and more.




79
    Several “Shahab” explosive-laden drone models, likely based on the Iranian military design of its “Ababil-
2” drones, were deployed by Hamas on October 7.
80
    These appear to have been single/double crewed paramotor gliders.


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        417.    Some terrorists wore fatigues to resemble Israeli army uniforms or were dressed

like Israeli police to confuse Israeli security forces and civilians.

        418.    Some carried radios for communication and zip ties to restrain hostages.

        419.    Some wore “Go-Pro” or other body cameras that allowed them to capture video

footage of the horrific acts they committed that day.

        420.    Over the course of October 7, approximately 3,800 Hamas-led terrorists—

including from Hamas’s Qassam Brigades, PIJ’s Al-Quds Brigades, and the PFLP’s Abu Ali

Mustafa Brigades, the PRC, and AAMB—crossed through the border fence. An additional

2,200 Gazans also crossed over, some of them to participate in looting and acts of sadism or

simply to witness and celebrate the horror.

        421.    Large groups of attackers targeted specific towns and villages (listed from south

to north): Holit, Sufa, Nir Itzhak, Pri Gan, Talmei Yosef, Mivtachim, Yesha, Amioz, Magen,

Nir Oz, Nirim, Ein Hashlosha, Kissufim, Re’im, Be’eri, Alumim, Nahal Oz, Kfar Aza,

Mefalsim, Yachini, Nir Am, Sderot, Netiv Ha’asara, Karmia, Zikim beach, and Ofakim, as well

as public spaces and outdoor festivals, such as the Nova Music Festival near kibbutz Re’im

and the Psyduck music festival located between Nirim and Nir Oz.

        422.    Ofakim was the easternmost town attacked on the ground that day.

        423.    Other terrorists focused their attacks on Israeli military installations. Terrorists

attacked the Re’im army base, which is the headquarters of the IDF’s Gaza Division, taking

control of the base before the IDF repelled them later on October 7.

        424.    They also attacked the army base at Nahal Oz, killing more than 60 Israeli

soldiers and taking six as hostages.

        425.    Hamas also attacked military posts at key crossing sites, including at the Erez

checkpoint, in the north of Gaza, and the Kerem Shalom crossing, located near Israel’s border

with Egypt.



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       426.    They also attempted to take over the base in Zikim, the site of the amphibious

landing.

       427.    Terrorists also laid ambushes on key roads leading from areas of Israel near the

Gaza border and targeted arriving Israeli Security Forces, including positions at junctions along

Road 232 where they ambushed civilians trying to escape and shot at medical transport and

security forces.

       428.    The horror of the October 7 Attack has been widely reported. Hamas-led

terrorists tried to murder as many people as they could. They infiltrated communities shooting

at anything that moved, killing and wounding men, women, children, and babies. Some people

were killed in sprays of machine gun fire; others were executed at close range. The terrorists

used grenades to kill en masse and burned victims alive. They lit homes on fire, where people

suffocated and burned in their safe rooms. They tortured and committed sexual violence against

women and girls including rape, assault, and mutilation. They beheaded the living and the dead

while laughing. They looted and burned homes, destroying entire communities. On the roads,

terrorists killed people in their cars and in the street. Cars riddled with bullets and burned from

RPGs and anti-tank weapons littered the roads.

       429.    Some survivors witnessed their loved ones being killed, wounded, or tortured,

as they too were fearful for their own lives. People hid in their safe rooms, in public shelters,

under dead bodies, and wherever else they could. For the duration of the October 7 Attack, they

were gripped with horror that they would also be killed, tortured and/or kidnapped. The

extreme mental anguish of their experience will be with them forever. Even those who were

not present were filled with the horror of what was happening to their family members,

sometimes communicating by cell phone with those under siege. More than one and a half

years later, the horror of the October 7 Attack still haunts the survivors.




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        430.     According to the U.S. Secretary of State, after reviewing some of the footage

and pictures from the day: “It’s hard to find the right words. It’s beyond what anyone would

ever want to imagine, much less, God forbid, experience .… A baby, an infant, riddled with

bullets. Soldiers beheaded. Young people burned alive. I could go on, but it’s simply depravity

in the worst imaginable way.” 81

        431.     The Hamas-led terrorists also took hostages to use as a bargaining chip for the

release of prisoners in Israeli jails. In all, 251 people from Israel were captured during the

October 7 Attack and brought to Gaza, including women, very young children, the elderly, and

the bodies of victims murdered on October 7.

        432.     As of the filing of this Amended Complaint, 59 hostages from October 7 remain

unaccounted for, including one American believed to be alive, and the bodies of four

Americans who were murdered, including Itay Chen, Omer Neutra, Judy Weinstein Haggai,

and Gad Haggai, whose estates and family members are Plaintiffs.

V.      Iran’s “Ring of Fire” and the Multiple Conflicts That Resulted from the October
        7 Attack.

        433.     Fighting continued inside Israeli territory on October 8 as the IDF fought the

remaining Nukhba Force operatives even after the main assault had stalled.

        434.     At the same time, Hezbollah joined the fray by firing anti-tank guided munitions

(ATGMs), rockets, drones, missiles, and other standoff weapons at Israeli military and civilian

targets, killing and wounded many, including Omer Balva, whose estate and family are

Plaintiffs, and forcing more than 50,000 Israelis to flee their homes.

        435.     Between October 7, 2023, and August 18, 2024, the average Hezbollah strike

occurred about 3 km into Israel. Between August 18 and the beginning of September, the




81
    Shannon C. Crawford, Blinken describes images of Hamas attack victims, pledges, US support on trip to
Israel, ABC News, Oct. 12, 2023, available at https://abcnews.go.com/International/blinken-meets-hamas-attack-
survivors-pledges-us-support/story?id=103925374.


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average depth of a Hezbollah strike was approximately 4 km into Israel. During the week of

September 22, the average depth of a Hezbollah strike was 28 km into Israel.

         436.   However, neither the Radwan Forces, nor the Qassam Brigades stationed in

Southern Lebanon, crossed the border in force as originally agreed upon.

         437.   The IRGC-QF likely did not initiate that contemplated ground assault into

northern Israel because they were caught off guard by Hamas’s unilateral decision to initiate

the “Big Project” on its own timetable.

         438.   Instead, for 10 months, Hezbollah (and to a lesser extent Hamas’s forces in

Lebanon) struck northern Israel on a daily basis “in solidarity” with Hamas in Gaza, and the

Houthis in Yemen have launched missiles and drones at Israel periodically, but without risking

a full-scale war with Israel.

         439.   In response to the October 7 Attack and the taking of over 200 hostages by

Hamas, Israeli ground operations in the northern Gaza Strip began on October 27, 2023, with

advances along three axes: a southward drive along the western coast toward al Shati camp, a

southwestward drive into Beit Hanoun, and a westward drive from Juhor ad Dik to the western

coast, thereby cutting the Gaza Strip in half and isolating the northern Strip from the southern

Strip.

         440.   Hamas began a delaying operation in which it sought gradually to trade space

for the time in which it expected that international pressure and domestic pressure to liberate

the hostages would force Israel to suspend operations.

         441.   For the past year and a half, the IDF has engaged in violent confrontations with

Hamas, PIJ, PFLP, AAMB, and PRC operatives seeking to inflict casualties on Israeli forces

in the Gaza Strip.

         442.   To date, over 800 IDF soldiers, including numerous dual American-Israeli

citizens, have been killed and many more injured (often severely injured) and approximately



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20% of the over 250 hostages held by Hamas and its co-conspirators, some of them U.S.

citizens, have been murdered by their captors.

VI.     The Plaintiffs Were Harmed by Defendants’ Conduct.

        A.     The Weiser Family

        443.   Roey Weiser was a citizen of the United States and a resident of the State of

Israel when he was killed by Hamas on October 7, 2023. He was 21 years old.

        444.   Roey was on his base guarding the Erez Crossing into Gaza. The Erez Crossing

is a border crossing between the Gaza Strip and Israel, located at the northern end of the Gaza

Strip between the Israeli kibbutz of Erez and the Palestinian town of Beit Hanoun. That crossing

is a place where food and goods are regularly transported into Gaza, and where thousands of

Gazans come and go to work in Israel or for medical care.

        445.   Early in the morning of October 7, 2023, Hamas terrorists breached the Erez

Crossing.

        446.   Although Roey was not on guard at the time, he leapt into action. One of two

commanders at the outpost, he assigned soldiers to positions, provided updates on the situation,

and ensured that as many non-combatant soldiers as possible reached the security room.

        447.   Seeing that his comrades were not reaching the security room because they were

pinned down by attacking Hamas terrorists, he conceived of a daring maneuver to outflank the

terrorists.

        448.   He led three soldiers out of cover and traveled under fire to join additional

soldiers to draw fire away from their other comrades.

        449.   For more than one hour, Roey and his comrades fought a fierce battle against

Hamas terrorists, killing dozens of them.

        450.   Running low on ammunition, Roey and his comrades decided to retreat to the

safe room area, but Hamas terrorists ambushed them along the way, killing Roey.



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       451.    Roey’s tactical thinking and heroism saved at least 12 of his fellow soldiers.

       452.    Roey’s parents, Naomi Feifer-Weiser and Yisrael Weiser, bring this action on

behalf of the Estate of Roey Weiser.

       453.    Plaintiff Naomi Feifer-Weiser also brings this action individually. She is a

citizen of the United States and is a resident of the State of Israel. She is the mother of Roey

Weiser.

       454.    Plaintiff Yisrael Weiser also brings this action individually. He is a citizen of

the United States and is a resident of the State of Israel. He is the father of Roey Weiser.

       455.    Plaintiff Shani Weiser is a citizen of the United States and is a resident of the

State of Israel. She is the sister of Roey Weiser.

       456.    Plaintiff Nadav Weiser is a citizen of the United States and is a resident of the

State of Israel. He is the brother of Roey Weiser.

       457.    As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate

of Roey Weiser experienced conscious pain and suffering and suffered economic loss.

       458.    As a direct and foreseeable result of the October 7 Attack and the death of Roey

Weiser, Plaintiffs Naomi Feifer-Weiser, Yisrael Weiser, Shani Weiser, and Nadav Weiser have

suffered severe mental anguish and extreme emotional distress, and economic loss.

       B.      The Morell Family

       459.    Maoz Morell was a citizen of the United States and a resident of the State of

Israel when he was murdered by Hamas. He was 21 years old.

       460.    In April 2022, Maoz was drafted into the IDF’s elite Paratroopers Brigade’s

reconnaissance unit.

       461.    On October 7, 2023, Maoz was on holiday from the IDF. As soon as he learned

of Hamas’s attack on Israel, he collected his army equipment and rushed to the fighting




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underway in Re’im—the site of the Nova Music Festival and a kibbutz of the same name, both

of which were under heavy attack from Hamas terrorists.

        462.    Maoz was relocated to Gaza, where he fought for seven weeks. During that time,

he was only able to call home once. The voicemail he left for his mother spanned 11 seconds,

and said: “Hi Mommy, it’s Maoz. Everything is sababa [Hebrew slang for great]. That’s it.

I’ve updated you.”

        463.    Maoz was injured on February 15, 2024, while fighting in the southern Gaza

Strip. He and his unit were positioned in an evacuated house when Hamas terrorists threw a

grenade inside one of the rooms, injuring many of the soldiers situated there. Maoz, who was

in a different room, immediately entered the room under attack and started administering

medical support to the wounded.

        464.    Once Maoz provided whatever support he could, he went up to the roof to assist

those engaged in active combat with the Hamas terrorists on the ground who were continuing

to attack.

        465.    An IDF tank providing cover fired at one of the buildings where the Hamas

terrorists were located. The blast dispersed fragmentation, a large piece of which struck Maoz

in his head, critically injuring him.

        466.    While Maoz was in the hospital, hundreds of his friends came to visit him. His

parents were told there was no hope for his recovery, but Maoz lived until February 19, 2024,

when he succumbed to his wounds.

        467.    Maoz’s parents, Varda and Eitan Morell, bring this action on behalf of the Estate

of Maoz Morell.

        468.    Plaintiff Varda Morell also brings this action individually. She is a citizen of the

United States and is a resident of the State of Israel. She is the mother of Maoz Morell.




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       469.      Plaintiff Eitan Morell also brings this action individually. He is a citizen of the

United States and is a resident of the State of Israel. He is the father of Maoz Morell.

       470.      Varda and Eitan Morell also bring this action on behalf of their minor child,

E.E.M. E.E.M. is a citizen of the United States and is a resident of the State of Israel. He is the

brother of Maoz Morell.

       471.      Varda and Eitan Morell also bring this action on behalf of their minor child,

C.M. C.M. is a citizen of the United States and is a resident of the State of Israel. She is the

sister of Maoz Morell.

       472.      Plaintiff Shachar Yehuda Morell is a citizen of the United States and is a

resident of the State of Israel. He is the brother of Maoz Morell.

       473.      Plaintiff Mordechai Eliezer Menachem Morell is a citizen of the United States

and is a resident of the State of Israel. He is the brother of Maoz Morell.

       474.      Plaintiff Dov Yerachmiel Morell is a citizen of the United States and is a

resident of the State of Israel. He is the brother of Maoz Morell.

       475.      As a direct and foreseeable result of the October 7 Attack and the attack which

followed on February 15, 2024, the Plaintiff Estate of Maoz Morell experienced conscious pain

and suffering and suffered economic loss.

       476.      As a direct and foreseeable result of the October 7 Attack and the attack that

followed on February 15, 2024, in which Maoz Morell was killed, Plaintiffs Varda and Eitan

Morell, E.E.M., C.M., Shachar Yehuda Morell, Mordechai Eliezer Menachem Morell, and Dov

Yerachmiel Morell have suffered severe mental anguish and extreme emotional distress, and

economic loss.

       C.        The Leiter Family

       477.      Moshe Yedidyah Leiter was a citizen of the United States and a resident of the

State of Israel when he was killed by Hamas on November 10, 2023. He was 39 years old.



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       478.    Moshe Leiter was a father of six children. He served in the IDF until he was 33,

when he retired from active duty as a Major. He then entered medical school and completed

his studies in August 2023, and was scheduled to begin hospital residency on October 8, 2023,

the day after the October 7 Attack. At the time of his death, he was serving as a company

commander in the reserves.

       479.    Moshe Leiter and three other IDF reservists were murdered by a Hamas booby

trap in the Beit Hanoun area of Gaza while inspecting a tunnel entrance.

       480.    Plaintiff Jay Michael (Yechiel) Leiter was a citizen of the United States at the

time Moshe Leiter was killed. He is currently serving as Israel’s ambassador to the United

States and, as a result, relinquished his U.S. citizenship. He is a resident of the State of Israel.

He is the father of Moshe Leiter.

       481.    Plaintiff Chana Leiter is a citizen of the United States and is a resident of the

State of Israel. She is the mother of Moshe Leiter.

       482.    Plaintiff Neriya Dov Leiter is a citizen of the United States and is a resident of

the State of Israel. He is the brother of Moshe Leiter.

       483.    Plaintiff Sara Bracha (Leiter) Attias is a citizen of the United States and is a

resident of the State of Israel. She is the sister of Moshe Leiter.

       484.    Plaintiff David Elimelech Leiter is a citizen of the United States and is a resident

of the State of Israel. He is the brother of Moshe Leiter.

       485.    Plaintiff Sophia (Leiter) Redler is a citizen of the United States and is a resident

of the State of Israel. She is the sister of Moshe Leiter.

       486.    Plaintiff Samuel Yair Leiter is a citizen of the United States and is a resident of

the State of Israel. He is the brother of Moshe Leiter.

       487.    Plaintiff Noam Elisha Leiter is a citizen of the United States and is a resident of

the State of Israel. He is the brother of Moshe Leiter.



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         488.     Plaintiff Amikam Tzion Leiter is a citizen of the United States and is a resident

of the State of Israel. He is the brother of Moshe Leiter.

         489.     As a direct and foreseeable result of the November 10, 2023, attack on and the

death of Moshe Leiter, Plaintiffs Jay Michael (Yechiel) Leiter, Chana Leiter, Neriya Dov

Leiter, Sara Bracha (Leiter) Attias, David Elimelech Leiter, Sophia (Leiter) Redler, Samuel

Yair Leiter, Noam Elisha Leiter, and Amikam Tzion Leiter have experienced severe mental

anguish and extreme emotional distress, and economic loss.

         D.       The Balva Family

         490.     Omer Balva was a citizen of the United States and a resident of Montgomery

County, Maryland, when he was murdered by Hezbollah on October 20, 2023. He was 22 years

old.

         491.     Omer was recalled to Israel from his home in Maryland, shortly after the

October 7 Attack. Before his flight, he bought supplies he knew the soldiers in his unit might

need, including knee pads, elbow pads, and earmuffs. Omer and his childhood friend spent

Omer’s last night in Maryland packing a duffel bag full of gear.

         492.     On Friday, October 20, 2023, Omer was killed at Netu’a, a moshav 82 in northern

Israel near the Lebanese border, after being struck by an antitank missile fired by Hezbollah

from Lebanon. Omer’s unit was located approximately two miles from the Lebanon border at

the time.

         493.     Omer’s parents, Eyal Balva and Sigalit Balva, bring this action on behalf of the

Estate of Omer Balva.

         494.     Plaintiff Eyal Balva also brings this action individually. He is a citizen of the

United States and is a resident of the State of Maryland. He is the father of Omer Balva.




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     A moshav refers to an Israeli cooperative farming village.


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       495.    Plaintiff Sigalit Balva also brings this action individually. She is a citizen of the

United States and is a resident of the State of Maryland. She is the mother of Omer Balva.

       496.    Plaintiff Shahar Balva is an Israeli citizen and a resident of the State of

Maryland. She is the sister of Omer Balva.

       497.    Plaintiff Itai Haim Balva is a citizen of the United States and is a resident of the

State of Maryland. He is the brother of Omer Balva.

       498.    Plaintiff Barak Balva is a citizen of the United States and is a resident of the

State of Maryland. He is the brother of Omer Balva.

       499.    As a direct and foreseeable result of the October 20, 2023, attack, the Plaintiff

Estate of Omer Balva suffered conscious pain and suffering and economic loss.

       500.    Plaintiffs Eyal Balva, Sigalit Balva, Shahar Balva, Itai Haim Balva, and Barak

Balva have experienced severe mental anguish and extreme emotional distress as a direct and

foreseeable result of the attack on and death of Omer Balva.

       E.      The Rousso Family

       501.    Ofek Rousso was a citizen of the United States and a resident of the State of

Israel when he was murdered by Hamas. He was 21 years old.

       502.    Just months before, Ofek had completed the grueling training course of Shayetet

13, an elite IDF combat unit that is often analogized to the U.S. Navy SEALs. Within his unit,

he was selected to serve as a combat medic and trained to provide first aid to his fellow soldiers.

       503.    On October 7, 2023, Ofek was on routine standby duty at his base. Early in the

morning, when reports of the ongoing terror attacks started to surface, Ofek and several other

soldiers from his unit were called to respond.

       504.    They first set out for Ofakim, one of the towns that had been infiltrated by

Hamas terrorists. By the time Ofek and his fellow soldiers arrived there, no terrorists remained,

and Ofek provided medical treatment to several civilians.



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       505.    At 4:15 p.m., Ofek arrived at Kibbutz Be’eri, along with several dozen soldiers

from Shayetet 13. They rushed into the kibbutz. For many hours, under the harshest of

conditions, Ofek and his comrades went from house to house, fighting Hamas terrorists and

rescuing civilians.

       506.    Ofek provided medical attention to both civilians and soldiers, including a

family with four children that his team had saved.

       507.    Ofek and his fellow soldiers took their first break around 1:45 a.m. in the early

hours of October 8, 2023. His unit had been fighting all day without food or water, wearing

heavy combat gear, and bearing witness to horrific atrocities against the residents of Kibbutz

Be’eri. But the shooting soon resumed, and Ofek immediately responded.

       508.    At 2:15 a.m., Ofek heard the shout of a fellow soldier who had been hit by

gunfire and needed a medic. Ofek was lying in a cover position about ten meters away. Ofek

was the only medic in the group. He signaled to his commander that he was going to the

wounded soldier, got approval, and immediately rushed toward him. Just as Ofek began

treating his wounded comrade, he was attacked by a burst of gunfire from Hamas terrorists.

One of the bullets struck Ofek’s right temple, killing him.

       509.    Ofek died on Sunday, October 8, 2023, at 2:15 a.m. His final messages to his

father, Yaniv, read “Go to sleep, everything’s fine, we’ll talk tomorrow. Goodnight.”

       510.    On the afternoon of October 8, Yaniv first learned from a father of one of the

soldiers in Ofek’s unit that Ofek had been hurt. Yaniv began contacting anyone he could who

might provide him with more information about Ofek. No one gave him any answers. Yaniv

did not know if his difficulty in gathering information was a product of the chaos unfolding in

southern Israel or if something had happened to Ofek and the army was withholding

information.




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       511.    Days went by without any contact from Ofek. The Rousso family experienced

tremendous stress as they awaited any word about their son’s fate. It was not until 3:40 a.m. on

October 11, 2023, that the doorbell rang. Two IDF officers had arrived to deliver the worst

possible news to Ofek’s parents, Yaniv and Fanny, and his sister, Inbar.

       512.    Ofek’s parents, Yaniv and Fanny Rousso, bring this action on behalf of the

Estate of Ofek Rousso.

       513.    Plaintiff Yaniv Rousso also brings this action individually. He is a citizen and

resident of the State of Israel. He is the father of Ofek Rousso.

       514.    Plaintiff Fanny Rousso also brings this action individually. She is a citizen of

the United States and is a resident of the State of Israel. She is the mother of Ofek Rousso.

       515.    Plaintiff Inbar Rousso is a citizen of the United States and is a resident of the

State of Israel. She is the sister of Ofek Rousso.

       516.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on October 8, 2023, the Plaintiff Estate of Ofek Rousso experienced conscious pain

and suffering and suffered economic loss.

       517.     As a direct and foreseeable result of the October 7 Attack and the attack that

followed on October 8, 2023, in which Ofek Rousso was killed, Plaintiffs Yaniv Rousso, Fanny

Rousso, and Inbar Rousso have suffered severe mental anguish and extreme emotional distress,

and economic loss.

       F.      The Chen Family

       518.    Itay Chen was a citizen of the United States and a resident of the State of Israel

when he was murdered by Hamas. He was 19 years old.

       519.    On October 7, 2023, Itay was serving on the Israel-Gaza border with his tank

unit, the Seventh Armored Brigade’s 75th Battalion. Itay was killed during an intense battle

with Hamas terrorists following their breach of Israel’s borders, and he was taken to Gaza.



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        520.    Itay’s family last heard from him early that morning. Two days later, the Chen

family learned that the IDF considered Itay to be missing in action, and that he was likely being

held in captivity by Hamas.

        521.    For months, Itay’s family believed that Itay was being held alive as a hostage in

Gaza. The Chen family became, and has remained, outspoken advocates for the families of

hostages being held by Hamas.

        522.    In March 2024, five months after the October 7 Attack, Itay’s family received

word that Itay had in fact been killed on October 7, 2023. The IDF was able to confirm his

death based on intelligence and findings it had obtained from troops operating in Gaza.

        523.    Then President Joe Biden released a statement on March 12, 2024, recalling

when “Itay’s father and brother joined me at the White House, to share the agony and

uncertainty they’ve faced as they prayed for the safe return of their loved one. No one should

have to endure even one day of what they have gone through.”

        524.    Itay’s parents, Ruby and Hagit Chen, bring this action on behalf of the Estate of

Itay Chen.

        525.    Plaintiff Ruby Chen also brings this action individually. He is a citizen of the

United States and is a resident of the State of Israel. He is the father of Itay Chen.

        526.    Plaintiff Hagit Chen also brings this action individually. She is a citizen and

resident of the State of Israel. She is the mother of Itay Chen.

        527.    Plaintiff Roy Chen is a citizen of the United States and is a resident of the State

of Israel. He is the brother of Itay Chen.

        528.    Ruby and Hagit Chen also bring this action on behalf of their minor child A.C.

A.C. is a citizen of the United States and is a resident of the State of Israel. He is the brother of

Itay Chen.




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       529.    As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate

of Itay Chen experienced conscious pain and suffering and suffered economic loss.

       530.    As a direct and foreseeable result of the October 7 Attack and the death of Itay

Chen, Plaintiffs Ruby Chen, Hagit Chen, Roy Chen, and A.C. have suffered severe mental

anguish and extreme emotional distress, and economic loss.

       G.      The Shay Family

       531.    Yaron Oree Shay was a citizen of the United States and a resident of the State

of Israel when he was murdered by Hamas on October 7, 2023. He was 21 years old.

       532.    Yaron was the youngest child of Plaintiffs Izhar and Hilla Shay and the younger

brother of Plaintiffs Shir, Lior, and Ophir Shay.

       533.    Yaron was born in New Jersey on December 13, 2001, and moved to Israel with

his family when he turned four. He attended the American School in Israel for four years and

was a proud dual American-Israeli citizen.

       534.    For several weeks prior to October 7, Yaron was serving on active duty within

a special unit of the Nahal Brigade of the IDF that was stationed at the Gaza border at the

Kerem Shalom military base, guarding the southern end of the Gaza Strip around the Kerem

Shalom border crossing between Israel and Gaza.

       535.    His parents had planned to travel to Yaron’s base on the Gaza border as part of

a pre-planned visit with their son on October 7.

       536.    Yaron messaged his parents by WhatsApp at 6:29 a.m. on October 7 to tell them

that Israel had been attacked, they should not come to visit, and he would update them later in

the day.

       537.    He subsequently sent a message via WhatsApp to his uncle who lived in another

kibbutz within the Gaza Envelope warning him of the attack. It was the only warning that

kibbutz received that morning.



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        538.   Yaron and two other soldiers from his unit drove to the entrance of the nearby

kibbutz at Kerem Shalom and held off dozens of Hamas Nukhba terrorists for more than an

hour.

        539.   Their heroic battle saved the lives of hundreds of civilians at the kibbutz and the

adjacent military base. Sometime between 8 and 9 a.m., Yaron was severely wounded and

eventually airlifted to a hospital in Jerusalem where he was pronounced dead. His two

comrades were both wounded in the same firefight but survived.

        540.   Yaron’s parents lost contact with him after his initial message to them at 6:29

a.m., and they called various military personnel during the following 24 hours trying to obtain

information about him, to no avail.

        541.   The October 7 Attack caused confusion and chaos inside Israel, and reliable

information was difficult to obtain. On Sunday morning of October 8, Plaintiffs Izhar and Hilla

Shay received news that a number of Yaron’s fellow soldiers had been wounded, and that one

of them had been airlifted to Hadassah Ein Kerem Hospital in Jerusalem. Later that afternoon,

they decided to make their way to the hospital.

        542.   They arrived there on Sunday afternoon and encountered masses of other

families who were also looking for their loved ones.

        543.   Amid the chaos, Yaron’s mother stopped a female military officer tasked with

updating the families about the conditions and whereabouts of their relatives, asking if she had

any news about their son. The officer assured her that if something had happened to Yaron, the

family would have been notified by that point. Hilla pressed the officer and gave her Yaron’s

full name – Yaron Oree Shay.

        544.   The officer immediately recognized the unusual middle name and decided to

inform them that Yaron had been pronounced dead at the hospital the day before rather than

force them to wait for an official notification.



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       545.    Plaintiff Izhar Shay immediately called his three surviving children to break the

news to them that their brother had died so they would hear it first from him before the media

announced it. Izhar had been a minister in the Israeli government, and as a public figure, the

media would have been keen to report this tragic news about his family. Indeed, moments after

Izhar finished relaying the terrible news to his children, Yaron’s death was made public and

reported on widely.

       546.    Izhar called his oldest son Lior first. Lior had been on his honeymoon in the

south of Argentina and was on the second leg of his flight back to Israel after being called back

to emergency duty by his unit. Izhar then called Ophir, his middle son, who was also boarding

a plane back to Israel after cutting short a vacation in the Philippines. Lastly, Izhar called his

daughter Shir, who was at home with her husband and their then-two-month-old child.

       547.    There are special procedures for the delivery of tragic news about the death of

a soldier in the IDF which have been developed over many years and many thousands of cases.

Dedicated professionals are trained for a number of years before they are allowed to deliver

news of death to a victim’s family members, and there is a strict protocol which has to be

followed. The delivery of the tragic news about Yaron’s death to his parents by non-

professionals at the hospital and to his siblings by phone broke with this protocol and added

significant mental anguish and extreme emotional distress to them.

       548.    All five surviving relatives of Yaron (Hilla, Izhar, Shir, Lior, and Ophir)

required emotional support counseling, and some continue to receive treatment.

       549.    Yaron’s parents, Hilla Shay and Izhar Shay, bring this action on behalf of the

Plaintiff Estate of Yaron Oree Shay.

       550.    Plaintiff Hilla Shay also brings this action individually. She is a citizen of the

United States and is a resident of the State of Israel. She is the mother of Yaron Oree Shay.




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       551.    Plaintiff Izhar Shay also brings this action individually. He is a citizen and

resident of the State of Israel. He is the father of Yaron Oree Shay.

       552.    Plaintiff Shir Shay is a citizen of the United States and is a resident of the State

of Israel. She is the sister of Yaron Oree Shay.

       553.    Plaintiff Lior Shay is a citizen of the United States and is a resident of the State

of Israel. He is the brother of Yaron Oree Shay.

       554.    Plaintiff Ophir Shay is a citizen of the United States and is a resident of the State

of Israel. He is the brother of Yaron Oree Shay.

       555.    Hilla Shay quit her job as an interior designer as a result of her son’s murder.

Ophir Shay was only able to resume his professional career three months after October 7, 2023,

and worked part-time until June 2024.

       556.    As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate

of Yaron Oree Shay experienced conscious pain and suffering and suffered economic loss.

       557.    As a direct and foreseeable result of the October 7 Attack and the death of Yaron

Oree Shay, Plaintiffs Hilla Shay, Izhar Shay, Shir Shay, Lior Shay, and Ophir Shay have

suffered severe mental anguish and extreme emotional distress, and economic loss.

       H.      The Ziering Family

       558.    Aryeh Ziering was a citizen of the United States and a resident of the State of

Israel when he was killed by Hamas on October 7, 2023. He was 27 years old.

       559.    Aryeh was a member of the IDF’s Oketz (canine) unit. He was at his parents’

home for the Jewish holiday when he was called to duty in southern Israel to respond to the

October 7 Attack.

       560.    He went to his base to meet other members of his unit and get his combat gear

and headed to defend an instillation near Zikim, which had been attacked by Hamas.




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       561.    Aryeh was killed sometime around midday on October 7 during a firefight with

Hamas terrorists.

       562.    Aryeh’s parents, Mark and Deborah Ziering, bring this action on behalf of the

Estate of Aryeh Ziering.

       563.    Plaintiff Mark Ziering also brings this action individually. He is a citizen of the

United States and is a resident of the State of Israel. He is the father of Aryeh Ziering.

       564.    Plaintiff Deborah Ziering also brings this action individually. She is a citizen of

the United States and is a resident of the State of Israel. She is the mother of Aryeh Ziering.

       565.    After Aryeh left home that Saturday morning, Mark and Deborah did not hear

from him and assumed he and his unit were engaging the terrorists. Because Aryeh was an

experienced soldier and a strong, confident, and seemingly indestructible young man, even

though they worried about him, his parents assumed he would be okay. Around 11:30 p.m. on

Saturday night, after some confusion in the notification, Mark and Deborah received a knock

on the door from IDF representatives notifying them of Aryeh’s death.

       566.    Plaintiff Eliana Ziering is a citizen of the United States and is a resident of the

State of Israel. She is the sister of Aryeh Ziering.

       567.    On October 7, Eliana was in her apartment in Jerusalem which she shared with

her roommates. Like most people in Israel that day, Eliana learned of the attack that morning,

but unlike her siblings, she had completed her army service so when IDF representatives

knocked on her apartment door in the middle of the night (during the early hours of October

8), she assumed they had come to summon her roommate (who was still doing her military

service) to report for emergency duty. Unfortunately, the knock on the door was for her and

she was notified of her brother’s death.

       568.    Plaintiff Yonatan Ziering is a citizen of the United States and is a resident of the

State of Israel. He is the brother of Aryeh Ziering.



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        569.    Like his brother, Yonatan was called back to active duty in the IDF on the

morning of October 7 to respond to the attack. At some point during the day, he learned from

a fellow soldier that Aryeh had been shot, but he did not assume the worst because he could

not imagine his older brother would fall in the battle. He was later informed by his commanding

officer that Aryeh had been killed and was sent home to join his family.

        570.    Plaintiff Tal Ziering is a citizen of the United States and is a resident of the State

of Israel. She is the sister of Aryeh Ziering.

        571.    Tal was also at home with her parents on October 7 but left to go back to the

army that morning once she was notified that she was needed. She was later informed by her

commanding officer that Aryeh had been killed and was sent home to join her family.

        572.    As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate

of Aryeh Ziering experienced conscious pain and suffering and suffered economic loss.

        573.    As a direct and foreseeable result of the October 7 Attack and the death of Aryeh

Ziering, Plaintiffs Mark Ziering, Deborah Ziering, Eliana Ziering, Yonatan Ziering, and Tal

Ziering have experienced severe mental anguish and extreme emotional distress, and economic

loss.

        I.      The Glisko Family

        574.    Itai Glisko was a citizen of the United States and a resident of the State of Israel

when he was killed by Hamas on October 7, 2023. He was 20 years old.

        575.    Itai was born in New Jersey and moved with his family to Israel as a baby. On

October 7, 2023, he had served in the IDF for just twenty months.

        576.    Itai was not scheduled to be on base on October 7; he had plans to spend the

Jewish holiday with his parents and brothers. A friend went on leave that day, and Itai offered

to take his place.




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       577.    Itai was positioned 500 meters from the Gaza border when 3,000 terrorists

invaded.

       578.    He sent his family a WhatsApp message at 6:30 a.m. telling them not to worry,

and that he was in a bomb shelter. His family turned on the news and continued to message

him.

       579.    The severity of the attack became apparent quickly, and at 11:00 a.m., Itai

messaged his family saying he was not sure if his messages would be his last. Throughout the

attack on Itai’s base, Itai, along with the battalion’s medic, evacuated the wounded into the

base’s dining room to receive first aid.

       580.    At 2:30 p.m., Hamas terrorists burned the entrance to the dining room to try and

suffocate the soldiers who were sheltering inside. Itai and three more troops went out to fight

and try to save the others. At 5:00 p.m., the army arrived to rescue those who had survived.

Twenty-four soldiers were saved.

       581.    For four days, Itai’s family did not know what had happened to him. They

tracked his phone, whose GPS location was 20 kilometers away from Itai’s base. They checked

every list of kidnapped and missing Israelis, but his name was not on them. They held out hope

that Itai was still alive until October 11, 2023, when the IDF knocked on the Gliskos’ door to

inform them that Itai had been killed.

       582.    The State of New Jersey honored Itai by issuing a proclamation that was

delivered to the Glisko family’s home. In part, it reads:

       Be It Resolved by the Senate and General Assembly of the State of New Jersey:

       That this Legislature hereby salutes the memory of Itay Ofek Glisko, pays

       tribute to his valiant service, and extends sincere sympathy and profound

       condolences to all who mourn his passing.




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        583.    Itai’s parents, Oren and Liat Glisko, bring this action on behalf of the Estate of

Itai Glisko.

        584.    Plaintiff Oren Glisko also brings this action individually. He is a citizen and

resident of the State of Israel. He is the father of Itai Glisko.

        585.    Plaintiff Liat Glisko also brings this action individually. She is a citizen and

resident of the State of Israel. She is the mother of Itai Glisko.

        586.    Plaintiff Ori Glisko is a citizen and resident of the State of Israel. He is the

brother of Itai Glisko.

        587.    Oren and Liat Glisko also bring this action on behalf of their minor child, Y.G.

Y.G. is a citizen and resident of the State of Israel and the brother of Itai Glisko.

        588.    As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate

of Itai Glisko experienced conscious pain and suffering and suffered economic loss.

        589.    As a direct and foreseeable result of the October 7 Attack and the death of Itai

Glisko, Plaintiffs Oren Glisko, Liat Glisko, Ori Glisko, and Y.G. have suffered severe mental

anguish and extreme emotional distress, and economic loss.

        J.      The Schenkolewski Family

        590.    Yakir Schenkolewski was the second youngest child of Plaintiff Tova

Schenkolewski and her husband Ariel Schenkolewski, and the brother of Yehuda, Aviraz, Ofer,

and Renana. He was 21 years old when he was killed by Hamas.

        591.    Yakir was born in Israel and lived with his parents and siblings in Kibbutz

Migdal Oz. He enlisted in the IDF and was proud of his service with the 188th Armored

Brigade’s 53rd Battalion. Just before he enlisted, Yakir learned that he had a medical issue with

his foot that would prevent him from becoming a combat soldier candidate. He delayed his

enlistment by four months in order to complete physical therapy and thus be eligible to become

a combat soldier.



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       592.    Prior to October 7, 2023, Yakir was serving on active duty with his tank unit.

       593.    On the morning of October 7, Yakir’s parents and eldest brother, Yehuda, with

his wife and children, were at the family home. They were woken up by Ariel’s phone, which

was receiving calls and messages alerting the family that Israel had been attacked.

       594.    The family went to their synagogue, where they saw many people outside,

including the rabbi and security forces. The family learned that war had broken out, and

everyone in the kibbutz was instructed to shelter in place because the fighting could reach them.

       595.    Later in the evening of October 7, Yakir called his parents to tell them that his

unit had been called up to go south and assist with efforts to repel the attack. Within twenty-

four hours, Yakir’s three older brothers had been drafted into service as well: Yehuda as a tank

commander, Aviraz as part of a special army ranger unit, and Ofer as security for Kibbutz

Migdal Oz.

       596.    For the next two months, Yakir was on the front lines of Israel’s war against

Hamas in the south of Israel and Gaza. He only had intermittent access to his cell phone, and

his family waited anxiously to hear from him during periods when he could not be in contact.

During one conversation, Yakir asked his mother if she would ask him to stop serving. His

mother responded that as much as she did not want him to be in danger, she knew Yakir would

be angry if she tried to stop him. Yakir agreed and said “yes, I am supposed to go.”

       597.    On two occasions during this time, Yakir was allowed to visit his family for

short periods of leave.

       598.    On Wednesday, November 29, 2023, Yakir’s parents and younger sister Renana

came to visit him in the south. On the morning of December 1, 2023, he called to tell his family

that his unit was preparing to go back into Gaza. Yakir’s parents lost contact with him before

he entered Gaza and waited anxiously for his next call.




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       599.      The following Monday, on December 4, 2023, Yakir’s tank came under fire by

Hamas terrorists from short range. Yakir and two other soldiers in his tank were killed in the

blast. The tank driver was badly wounded but survived.

       600.      That day, three officers knocked on the door of the Schenkolewski family home.

Tova was home alone and opened the door. As soon as she saw the officers, she knew her son

had been killed.

       601.      Her husband Ariel and son Ofer returned home from synagogue a few minutes

later. Tova and Ariel immediately broke the news that Yakir had been killed to their other

children so that they would hear of their brother’s death from their family before the media

announced it. Shortly thereafter, Yakir’s death was made public.

       602.      Plaintiff Tova Schenkolewski is a citizen of the United States and is a resident

of the State of Israel. She is the mother of Yakir Schenkolewski.

       603.      As a direct and foreseeable result of the October 7 Attack and the attack that

followed on December 4, 2023, in which Yakir Schenkolewski was killed, Plaintiff Tova

Schenkolewski has suffered severe mental anguish and extreme emotional distress, and

economic loss.

       K.        The Haggai Family

       604.      Judy Weinstein Haggai and Gad Haggai were U.S. citizens and residents of the

State of Israel when they were murdered by Hamas on October 7, 2023.

       605.      They lived in Kibbutz Nir Oz and shared four children, Iris Weinstein Haggai,

Ahl Haggai, Rahm Haggai, and Zohar Haggai, and seven grandchildren. Judy is also survived

by her 95-year-old mother.

       606.      Judy was an English teacher who worked with children with special needs and

also used meditation and mindfulness techniques to treat children suffering from anxiety

caused by years of rocket fire over the kibbutz from Gaza.



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        607.   On Saturday, October 7, Judy and Gad took a walk around their kibbutz and its

surrounding nature, as they did every Saturday morning.

        608.   The couple was in the field when the first sirens sounded at 6:30 am. They heard

the rockets and took shelter by lying flat on the ground.

        609.   Their daughter texted Judy upon hearing of the attacks, and Judy responded,

“We’re outside. Face down in the field. We see tons of rockets.”

        610.   Around 6:50 a.m., Hamas terrorists passed Judy and Gad, who were lying down

on the ground, on motorcycles. They shot Gad in the head, and Judy once in the face and once

in the arm.

        611.   At 7:15 a.m., an Israeli ambulance service called Judy, who described her

husband’s fatal injury and her own injury. Terrorists, however, had taken over the roads, and

the ambulance never arrived.

        612.   Judy’s phone was shut off by 7:26 a.m., and she was not heard from again.

        613.   Terrorists picked up the couple’s bodies and brought them into Gaza.

        614.   For weeks, Judy and Gad’s family did not know what had happened to their

loved ones. They did not know whether the couple was dead.

        615.   Then, when Judy was not released during the November 2023 hostage release,

their family members came to believe she was the last American woman still held hostage in

Gaza.

        616.   On December 22, 2023, it was reported that Gad had been murdered, and his

body was being held in Gaza. One week later, the news came that Hamas had also killed Judy,

and her lifeless body was being held in Gaza. Plaintiff Hoshea Haggai, Gad’s older brother,

was tasked by the Israeli intelligence agency to identify his brother’s and sister-in-law’s bodies

through images.




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        617.    In response to the tragic news, President Biden first released a statement that

said he was “heartbroken by the news” and praying “for the well-being and safe return” of

Judy.

        618.    Then, upon the announcement that Judy had also been murdered, President

Biden issued another statement, which said that he and First Lady Jill Biden “are devastated to

learn” of her death. He added that he “will never forget what their daughter, and the family

members of other Americans held hostage in Gaza, have shared with [him]. They have been

living through hell for weeks. No family should have to endure such an ordeal.”

        619.    Judy and Gad’s children and siblings have suffered immeasurably. Initially,

they believed that Judy and Gad had been badly injured but were being held alive in Gaza.

Then, when they learned that Judy and Gad had been murdered, they still could not find peace,

as their bodies are still being held in Gaza. Knowing that the terrorists continue to hold Judy

and Gad’s bodies is torture for their family members. Their grief is overbearing.

        620.    Judy Weinstein Haggai and Gad Haggai’s daughter, Iris Weinstein Haggai,

brings this action on behalf of the Estates of Judy Weinstein Haggai and Gad Haggai.

        621.    Plaintiff Iris Weinstein Haggai also brings this action individually. She is a

citizen of the United States and is a resident of the State of Israel.

        622.    Plaintiff Ahl Haggai is a citizen of the United States and is a resident of the State

of Israel. He is the son of Judy Weinstein Haggai and Gad Haggai.

        623.    Plaintiff Rahm Haggai is a citizen of the United States and is a resident of the

State of Israel. He is the son of Judy Weinstein Haggai and Gad Haggai.

        624.    Plaintiff Zohar Haggai is a citizen of the United States and is a resident of the

State of Israel. She is the daughter of Judy Weinstein Haggai and Gad Haggai.

        625.    Plaintiff Hoshea Haggai is a citizen of the United States and a resident of the

State of Israel. He is the brother of Gad Haggai.



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       626.    As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estates

of Judy Weinstein Haggai and Gad Haggai experienced conscious pain and suffering and

suffered economic loss.

       627.    As a direct and foreseeable result of the October 7 Attack and the deaths of Judy

Weinstein Haggai and Gad Haggai, Plaintiffs Iris Weinstein Haggai, Ahl Haggai, Rahm

Haggai, Zohar Haggai, and Hoshea Haggai have suffered severe mental anguish and extreme

emotional distress, and economic loss.

       L.      The Rosenfeld Family

       628.    Maya Treger Rosenfeld was a citizen of the United States and a resident of the

State of Israel when she was injured by Hamas on October 7, 2023.

       629.    Maya and her husband, Dvir Rosenfeld, lived in Kfar Aza with their then-11

months old son, Z.R. On the morning of October 7, Z.R. woke his parents up early. Soon after,

at about 6:00 a.m., they heard loud explosions, so the family headed into their safe room, which

was their baby’s room.

       630.    Dvir left the house briefly to bring the family’s dogs inside. He returned without

the dogs, but left the door open for them. The Rosenfelds were later told by a neighbor that five

terrorists passed by their house right after Dvir went back inside, and likely did not enter

because the door was open. The terrorists assumed that the house was already under attack.

       631.    The Rosenfeld family hid in their safe room for the next 24 hours, hearing

terrorists roaming outside and explosions periodically throughout the ordeal. They had lost

electricity and were without air conditioning, water or food throughout the extremely hot day

and night. Dvir held the door closed the entire time, and Maya held the baby and kept him

quiet, which sometimes meant covering his mouth with her hand.

       632.    Maya and Dvir received constant WhatsApp messages about neighbors and

other people they knew who had been murdered as well as people who were injured and needed



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help. They felt helpless; they knew if they went out to try to assist others, they would likely be

killed.

          633.   For example, Dvir’s sister messaged Maya at about 6:55 a.m. to tell her that she

and her twin babies were safe.

          634.   Hours later, at about noon, Maya and Dvir received a message that the twins

needed to be rescued. Dvir wanted to go, but Maya begged him not to. She continues to feel

guilty for not letting him go.

          635.   That night, while still barricaded in their safe room, Maya and Dvir were told

that Dvir’s sister and brother-in-law had been killed. They found out later that Dvir’s sister was

shot through a window and then shot a second time when the terrorists entered the house. After

the terrorists shot Dvir’s brother-in-law, they left the twin babies in the house as bait, and shot

at anyone who tried to rescue them. The babies were left in the safe room with their dead father

for 14 hours.

          636.   Maya and Dvir received messages during the ordeal that they needed to stay in

their safe room and could not be rescued yet. They heard that terrorists were burning down

houses, and so they kept feeling the walls of their room to see if their own house was on fire.

At some point that night, their mobile phones died.

          637.   At about 5:30 a.m. on October 8, Maya and Dvir woke up to guns in their faces.

The IDF had come to evacuate them, and warned them that terrorists were still outside, and

they had just minutes to pack and leave.

          638.   The soldiers took them to another building within the kibbutz, where they joined

19 other civilians who had also been evacuated from their homes. The building had no

electricity, water, or food. The group stayed there for almost five more hours while the IDF

fought off the terrorists that continued to attack the kibbutz. Maya, Dvir and their son were

released at about 10:00 a.m., and learned more about the devastation that had taken place. Over



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60 residents of their kibbutz had been murdered, among them Dvir’s sister, brother-in-law, and

cousin. The family’s babysitter was kidnapped into Gaza along with 17 others. Two of the

hostages have died in Gaza.

       639.      Maya, Dvir and their son have not been back in their home since the attack.

       640.      Maya and Dvir attend therapy together and individually; they’ve lost weight

from not eating, and suffer from nightmares. It took each of them months to return to work;

Maya currently works on a part-time schedule. She misses her sister-in-law immensely; the

two had babies at the same time and were in the maternity ward together. Maya suffered a

miscarriage recently, and attributes her loss to the stress and grief the attack caused her.

       641.      As a direct and foreseeable result of the October 7 Attack, Plaintiff Maya Treger

Rosenfeld suffered severe physical and mental anguish and extreme emotional distress, and

economic loss.

       642.      Plaintiff Dvir Rosenfeld is a citizen and resident of the State of Israel.

       643.      Maya Treger Rosenfeld and Dvir Rosenfeld also bring this action on behalf of

their minor son Z.R., a citizen and resident of the State of Israel.

       644.      Plaintiffs Dvir Rosenfeld and Z.R. have experienced severe mental anguish,

extreme emotional distress, and economic loss as a direct and foreseeable result of the attack

on Maya Treger Rosenfeld.

       M.        The Levy Family

       645.      Roy Joseph Levy was a citizen of the United States and a resident of the State

of Israel when he was killed by Hamas on October 7, 2023. He was 44 years old.

       646.      Roy moved from Massachusetts to Israel as a child with his family and spent

his career in the IDF. He had achieved the rank of colonel at the time of his death.




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       647.    On the morning of October 7, Roy received a call informing him of the

unfolding attacks in southern Israel. He left his house by 7:45 a.m. after warning his wife, Yael

Levy Oppenheimer, that it would be a long day.

       648.    Roy drove south and headed straight into the battle – a highly unusual move for

a colonel. Around this time, Roy spoke to his brother Iddo, instructing Iddo to shelter in place

and telling him that he was on a mission to save lives. These were the last words that Roy’s

family ever heard from him.

       649.    At approximately 10:30 a.m., Roy arrived in the vicinity of Re’im (near the

Gaza border), where he encountered heavy gunfire from Hamas terrorists who had infiltrated

the area. Roy engaged the terrorists. Advancing from home to home, under heavy gunfire and

massively outnumbered by terrorists, Roy liberated captives and saved families. Many lived to

tell how Roy personally saved them from captivity, torture, and death.

       650.    In the course of battle, Roy was shot in his wrist. He paused to bandage the

wound and kept fighting. He then took another more serious wound to his torso. Nonetheless,

Roy pushed through the pain to pick up his rifle and continue fighting.

       651.    At about 1:30 p.m., as Roy was attempting to stop further murder and

kidnapping of civilians in Re’im, a Hamas terrorist shot Roy in the heart.

       652.    At about 5 p.m., Roy’s brother Iddo received a call from a friend, asking about

Roy because of something the friend had heard about Roy having been shot, and possibly

killed. Roy had not answered any calls or messages from his family, who were anxiously

checking on his well-being. Nor did he return home that night.

       653.    At about 12:30 a.m. on October 8, two officers appeared on Yael Levy

Oppenheimer’s doorstep to deliver the tragic news of Roy’s death.

       654.    The Plaintiff Estate of Roy Joseph Levy is represented here by his wife, Yael

Levy Oppenheimer.



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        655.    Plaintiff Yael Levy Oppenheimer also brings this action individually. She is a

citizen and resident of the State of Israel.

        656.    Plaintiff Yael Levy Oppenheimer also brings this action on behalf of her three

minor children, Plaintiffs I.O., Y.L., and J.L. They are citizens and residents of the State of

Israel. I.O. is Roy’s stepson. Y.L. and J.L. are Roy’s sons.

        657.    Plaintiff Tzuria Levy is a citizen and resident of the State of Israel. She is Roy

Joseph Levy’s daughter.

        658.    Plaintiff Zohar Levy is a citizen and resident of the State of Israel. She is Roy

Joseph Levy’s daughter.

        659.    Naomi Kahana brings this action on behalf of Plaintiff A.L., who is a citizen

and resident of the State of Israel. A.L. is Roy Joseph Levy’s minor daughter.

        660.    Plaintiff Judith Levy is a citizen and resident of the State of Israel. She is Roy

Joseph Levy’s mother.

        661.    Plaintiff Shlomo Levy is a citizen and resident of the State of Israel. He is Roy

Joseph Levy’s father.

        662.    Plaintiff Eliyahu Levy is a citizen and resident of the State of Israel. He is Roy

Joseph Levy’s oldest brother.

        663.    Plaintiff Iddo Moshe Levy is a citizen of the United States and a resident of the

State of Israel. He is Roy Joseph Levy’s brother.

        664.    Plaintiff Nir Yehezkel Levy is a citizen and resident of the State of Israel. He is

Roy Joseph Levy’s youngest brother.

        665.    As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate

of Roy Joseph Levy experienced conscious pain and suffering and suffered economic loss.

        666.    As a direct and foreseeable result of the October 7 Attack and the death of Roy

Joseph Levy, Plaintiffs Yael Levy Oppenheimer, I.O., Y.L., J.L., Tzuria Levy, Zohar Levy,



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A.L., Judith Levy, Shlomo Levy, Eliyahu Levy, Iddo Moshe Levy, and Nir Yehezkel Levy

have suffered severe mental anguish and extreme emotional distress, and economic loss.

       N.        The Shalom Family

       667.      Ram Shalom was a citizen of the State of Israel when he was murdered by

Hamas on October 7, 2023. He was 24 years old.

       668.      Ram was attending the Nova Music Festival near Kibbutz Re’im in Israel. He

was there with ten friends when the festival was overrun by Hamas terrorists, who proceeded

to massacre more than 350 civilians.

       669.      At 6:30 a.m. on October 7, Ram and his friends fled the festival at the sight and

sounds of rockets.

       670.      By around 8:00 a.m. on October 7, Ram had escaped the Nova Music Festival

by car. An hour or two later, he and his friend left the car to hide and shelter by the side of the

road. As shooting erupted around them, they remained quiet. In a surviving video from where

Ram was sheltering among vehicles to the side of the road, automatic gunfire can be heard,

followed by Ram observing: “these are not soldiers, they are terrorists.”

       671.      Shortly thereafter, the terrorists approached Ram’s hiding spot. Ram was

determined not to allow himself and those around him to be executed. He attacked one of the

terrorists, but other terrorists fired an RPG at Ram’s position, murdering Ram, and most of

those hiding with him.

       672.      For the next few hours, Ram’s mother, Nurit, and his brother, Plaintiff Tom

Shalom, made every call and inquiry they could to locate Ram. For hours and then days, they

heard nothing.

       673.      On Monday, October 9, 2023, Tom flew to Israel. No news about Ram arrived

for two more days.




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        674.      On Thursday, October 12, 2023, two army officers knocked on Nurit Shalom’s

door. They informed Nurit and Tom that Ram had been murdered on October 7.

        675.      Thousands attended Ram’s funeral and visited during the shiva period. Tom

stayed in Israel for weeks trying to piece together Ram’s final moments.

        676.      Plaintiff Tom Shalom is a citizen of the United States. He is the brother of Ram

Shalom.

        677.      As a direct and foreseeable result of the October 7 Attack and the death of Ram

Shalom, Plaintiff Tom Shalom has suffered severe mental anguish and extreme emotional

distress, and economic loss.

        O.        The Beniashvili / Ben Zvi Family

        678.      Sagiv Baylin Ben Zvi was murdered by Hamas while fleeing the Nova Music

Festival on October 7, 2023. He was 24 years old.

        679.      Sagiv is the son of Plaintiff Guram Beniashvili, a citizen of the United States.

        680.      At around 2:00 am on October 7, Sagiv returned home from work and then

drove with a friend to attend the Nova Music Festival. The last thing he said to his mother was

that she should not worry and that he would be back home in a few hours.

        681.      At around 6:30 am, as alarms blared around the music festival, Sagiv had just

left the festival, driving home in his friend’s car. Between 6:55 and 7:00 a.m., Sagiv reached

the road into the town of Mefalsim in search of a place to shelter.

        682.      As Sagiv drove to the entrance of Mefalsim, he encountered a contingent of

Hamas-led terrorists ambushing cars and murdering civilians. One terrorist launched an RPG

at Sagiv’s car. Sagiv swerved, avoided the grenade, and took a hard right turn.

        683.      The Mefalsim town gates were closed, as Mefalsim’s residents were fighting

off the attack.




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        684.    A group of terrorists executed an assault on Sagiv’s car: a terrorist approached

the car and shot Sagiv in the head and then murdered his friend, Roni Petrovski, who died next

to Sagiv in the passenger seat.

        685.    At 9:18 a.m. on October 7, Sagiv’s mother filed a missing person report with

the Israeli police.

        686.    Sagiv’s relatives in Israel began scouring hospitals, going room to room and

then car to car, looking for him among the wounded victims and hoping that he had been

brought in for medical treatment. They posted to Facebook, Instagram, and Twitter seeking

any news of Sagiv.

        687.    At 9:41 a.m., Sagiv’s phone tracked to the Indonesian Hospital in Gaza.

        688.    For three days after October 7, there was no news of Sagiv. His parents spent

those days in agony, calling hospitals for any sign of Sagiv and not getting any sleep. Then, on

October 11, 2023, security personnel from Mefalsim informed Sagiv’s parents that the car he

was driving had been found outside Mefalsim, bullet-ridden, blood-soaked, but with no sign of

Sagiv. The seatbelts had been cut.

        689.    On October 15, 2023, Israeli authorities informed Sagiv’s parents that he had

been kidnapped by Hamas and taken to Gaza.

        690.    His family joined a group advocating for hostages; they printed posters. New

York newspapers covered Guram’s search for his missing son.

        691.    The New York Daily News quoted Guram Beniashvili: “I am trying everything,

with everyone, to try to find my son…. I called everyone…. You sit down and wait and wait

and wait and you don’t know what you are waiting for.”

        692.    For 19 days, Sagiv’s parents experienced extreme emotional agony, believing

that their son was not only missing and injured, but also being held captive under the Hamas-

controlled Indonesian Hospital in Gaza, where his phone was last located online.



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       693.    On October 25, 2023, Israeli authorities recovered Sagiv’s body and informed

his parents. The next day, Sagiv’s funeral was held in Israel.

       694.    As a direct and foreseeable result of the October 7 Attack and the death of Sagiv

Baylin Ben Zvi, Plaintiff Guram Beniasvhili has experienced severe mental anguish and

extreme emotional distress, and economic loss.

       P.      The Zimbalist Family

       695.    Eliyahu Moshe Zimbalist, nicknamed “Eli Mo,” was a citizen of the United

States born in Silver Spring, Maryland, who was murdered by Hamas. He was 21 years old.

       696.    He was the fourth of seven children. His family moved to Israel in 2005 when

he was two years old.

       697.    A member of the IDF’s Combat Engineering Battalion 601, Eliyahu was killed

by Hamas alongside seven fellow soldiers on June 15, 2024.

       698.    They were engaged in an operation targeting Hamas terrorist infrastructure in

Rafah (in the southernmost part of the Gaza Strip) when their armored personnel carrier was

hit by an anti-tank missile launched from a few meters away by Hamas terrorists. The missile

hit the back section of their vehicle which held ammunition and caused a massive explosion.

       699.    As a member of the IDF’s Combat Engineering Corps, Eliyahu’s

responsibilities included locating and destroying Hamas terrorist infrastructure such as tunnels

and buildings used by terrorists.

       700.    On the Saturday morning of June 15, 2024, three IDF soldiers came to Eliyahu’s

home to inform his family of his death. One of Eliyahu’s sisters, Plaintiff Nechama Zimbalist,

was in her own home about 25 miles away. Eliyahu’s parents, Plaintiffs Simeon and Sara

Zimbalist, did not want to send the soldiers to their daughter’s house, fearing it would cause

unnecessary panic among the residents in her community. Instead, Eliyahu’s parents contacted




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their daughter’s father-in-law, asking him to break the news to her personally. They also

ensured that the news did not become public until the entire family had been informed.

        701.   Plaintiffs Simeon and Sara Zimbalist, both of whom are citizens of the United

States, bring this action individually as Eliyahu’s parents and on behalf of the Estate of Eliyahu

Moshe Zimbalist.

        702.   Plaintiffs Simeon and Sara Zimbalist also bring this action on behalf of their

minor daughters, Plaintiff S.Z. and Plaintiff B.Z., who are both citizens of the United States.

        703.   Plaintiffs Simeon and Sara Zimbalist also bring this action as legal guardians of

their son, Plaintiff A.Z., who is a citizen of the United States.

        704.   Plaintiff Nechama Zimbalist is a citizen of the United States. She is the sister of

Eliyahu Moshe Zimbalist.

        705.   Plaintiff Aviva Zimbalist is a citizen of the United States. She is the sister of

Eliyahu Moshe Zimbalist.

        706.   Plaintiff Shira Zimbalist is a citizen of the United States. She is the sister of

Eliyahu Moshe Zimbalist.

        707.   As a direct and foreseeable result of the October 7 Attack and the attack that

followed on June 15, 2024, the Plaintiff Estate of Eliyahu Moshe Zimbalist experienced

conscious pain and suffering and suffered economic loss.

        708.   As a direct and foreseeable result of the October 7 Attack and the attack that

followed on June 15, 2024, in which Eliyahu Moshe Zimbalist was killed, Plaintiffs Simeon

Zimbalist, Sara Zimbalist, Nechama Zimbalist, Aviva Zimbalist, Shira Zimbalist, A.Z., S.Z.,

and B.Z. have suffered severe mental anguish and extreme emotional distress, and economic

loss.




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        Q.     The Neutra Family

        709.   Omer Maxim Neutra was a dual citizen of the United States and the State of

Israel when he was murdered by Hamas on October 7, 2023. He was 21 years old.

        710.   Born in New York City and raised in Long Island, Omer had been accepted to

study at SUNY Binghamton, but after spending time in Israel post-high school, he decided

instead to enlist in the IDF.

        711.   Omer became a tank platoon commander in the IDF. On October 7, 2023, Omer

was on duty as the commander of a post called the White House, in charge of two tanks and a

platoon from the Golani Brigade. The White House post is situated between Kibbutz Nirim and

Kibbutz Nir Oz.

        712.   Omer was last seen in Hamas video footage taken on the morning of the October

7 Attack. In the video, he was lying on the ground outside his tank at the Gaza border, injured.

        713.   Omer was taken hostage into Gaza. For almost 14 months, Omer’s family

believed that he was still alive. But on December 2, 2024, Israeli intelligence revealed that

Omer had been killed on October 7, 2023, a few hours after he was forced into the tunnels in

Gaza.

        714.   Upon this announcement, New York Governor Kathy Hochul ordered flags to

be flown at half-staff on the day of Omer’s funeral. A section of road in the Long Island town

where Omer grew up us was renamed “Captain Omer Neutra Way.”

        715.   Hamas still holds Omer’s body hostage.

        716.   Plaintiffs Ronen Neutra and Orna Esther Neutra bring this action on behalf of

the Estate of Omer Maxim Neutra.

        717.   Plaintiffs Ronen Neutra and Orna Esther Neutra also bring this action

individually. They are dual citizens of the United States and the State of Israel and the parents

of Omer Maxim Neutra.



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       718.    Plaintiff Daniel Yum Neutra is a dual citizen of the United States and the State

of Israel. He is the younger brother of Omer Maxim Neutra.

       719.    Plaintiff Or Joseph Rahbek is a Danish citizen. He is the older half-brother of

Omer Maxim Neutra.

       720.    Plaintiff Keren Rahbek is a Danish citizen. She is an older half-sister of Omer

Maxim Neutra. Omer had recently celebrated Keren’s wedding in Copenhagen in May 2023.

       721.    Plaintiff Leah Rahbek is a Danish citizen. She is an older half-sister of Omer

Maxim Neutra.

       722.    As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate

of Omer Maxim Neutra experienced conscious pain and suffering and suffered economic loss.

       723.    As a direct and foreseeable result of the October 7 Attack, and the abduction

and murder of Omer Maxim Neutra, Plaintiffs Ronen Neutra, Orna Esther Neutra, Daniel Yum

Neutra, Or Joseph Rahbek, Keren Rahbek, and Leah Rahbek have suffered severe mental

anguish and extreme emotional distress, and economic loss.

       R.      The Shafer Family

       724.    Plaintiff Shoshana Bracha Shafer was a citizen of the United States when she

was severely injured by Hamas on November 30, 2023. She was 22 years old.

       725.    Shoshana Bracha was waiting at a bus stop on David Ben Gurion Boulevard in

Jerusalem when two Hamas gunmen got out of a vehicle and opened fire on civilians at

approximately 7:40 a.m. Three people were killed in the attack.

       726.    The attack was carried out by brothers Murad Namr, 38, and Ibrahim Namr, 30,

both Hamas operatives who had previously been jailed for terror activities. Murad was jailed

between 2010 and 2020 for planning terror attacks under directions from the Qassam Brigades

in the Gaza Strip, and Ibrahim was jailed in 2014 for undisclosed terror activity.




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        727.      The terrorists were armed with an M-16 assault rifle and a handgun. Police

found large amounts of ammunition in their vehicle.

        728.      Two off-duty soldiers and an armed civilian in the area returned fire, killing the

two terrorists.

        729.      Hamas claimed responsibility for the attack that afternoon, hailing the

perpetrators as “jihad-waging martyrs.”

        730.      Shoshana Bracha sustained a bullet entry wound in her back and an exit wound

through her lower abdomen, leaving nine holes in her body. She has undergone three surgeries

to repair severe injuries to multiple internal organs, as well as broken bones. She has yet to

return to her beloved job as a teacher for middle school students and is still in outpatient

rehabilitation in the hospital.

        731.      Shoshana Bracha’s parents, Plaintiffs Michael Martin Shafer and Rivka

Yehudis Shafer, were both in the United States at the time of the attack. It was very rare for

them both to have traveled abroad at the same time, but they had been invited to celebrate a

family wedding. Shoshana Bracha was on the phone with her grandmother, Rivka’s mother

with whom Rivka was staying in the U.S., when the shooting started. Shoshana Bracha hung

up the phone quickly, and Rivka’s mother commented to Rivka that she heard a lot of

commotion.

        732.      Rivka called her daughter twice with no answer, and after Shoshana Bracha

called back to tell her she had been in an attack and was bleeding, Rivka called her older

children in Israel and instructed them to go find their sister immediately. In fact, Plaintiff

Nechama Sorah Gove, Shoshana Bracha’s oldest sister, met Shoshana Bracha in the hospital

as she was being wheeled to a pre-surgery CT scan. She had rushed to the attack scene and one

of the emergency responders there drove her to the hospital right away.




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          733.   Rivka and Michael made immediate arrangements to fly back to Israel and

arrived at about 11:00 a.m. the next day. They rushed straight from the airport to the hospital,

and have stayed by Shoshana Bracha’s side since, remaining with her during her inpatient stays

in the hospital and at rehab.

          734.   Shoshana Bracha’s nine brothers and sisters have also been a tremendous source

of support, while each, like their parents, has experienced the anguish of witnessing their

sister’s prolonged pain. The family has experienced newfound fears and anxiety since the

terrorist attack.

          735.   Plaintiffs Michael Martin Shafer and Rivka Yehudis Shafer, both of whom are

citizens of the United States, bring this action individually and on behalf of their minor

children, Plaintiff A.S., Plaintiff E.L.S., and Plaintiff E.P.S., who are all citizens of the United

States.

          736.   Plaintiff Yehuda Shafer is a citizen of the United States. He is a brother of

Shoshana Bracha Shafer.

          737.   Plaintiff Yisroel Meir Shafer is a citizen of the United States. He is a brother of

Shoshana Bracha Shafer.

          738.   Plaintiff Yitzchok Shafer is a citizen of the United States. He is a brother of

Shoshana Bracha Shafer.

          739.   Plaintiff Nechama Sorah Gove, née Shafer, is a citizen of the United States. She

is the sister of Shoshana Bracha Shafer.

          740.   Plaintiff Chana Shira Abraham, née Shafer, is a citizen of the United States. She

is the sister of Shoshana Bracha Shafer.

          741.   Plaintiff Chaim Shafer is a citizen of the United States. He is a brother of

Shoshana Bracha Shafer.




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       742.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on November 30, 2023, Plaintiff Shoshana Bracha Shafer suffered severe physical

and mental anguish and extreme emotional distress, and economic loss.

       743.    As a direct and foreseeable result of the October 7 attack and the attack that

followed on November 30, 2023, during which Shoshana Bracha Shafer was injured, Plaintiffs

Michael Martin Shafer, Rivka Yehudis Shafer, Yehuda Shafer, Yisroel Meir Shafer, Yitzchok

Shafer, Nechama Sorah Gove, née Shafer, Chana Shira Abraham, née Shafer, Chaim Shafer,

A.S., E.L.S., and E.P.S. have experienced severe mental anguish and extreme emotional

distress, and economic loss.

       S.      The Goldberg-Polin Family

       744.    Hersh Goldberg-Polin was a dual citizen of the United States and the State of

Israel when he was murdered by Hamas in August 2024. He was 23 years old.

       745.    Hersh was born in Berkeley, California, and then moved to Israel with his family

when he was eight years old.

       746.    Hersh attended high school and completed his mandatory IDF service in April

2023. He planned to travel through Asia before attending college and was scheduled to begin

his trip during the last week of December 2023.

       747.    Hersh had a deep passion for music, which is what brought him to the Nova

Music Festival on the Saturday morning of October 7, 2023. He had turned 23 on October 3

and wanted to celebrate his birthday there with his childhood friend, Aner Shapira.

       748.    The Goldberg-Polin family had been at the home of their friends for Shabbat

dinner the night before the festival. At about 11:00 p.m., Hersh picked up the backpack he had

brought with him to dinner and left to meet Aner and go to the festival. On his way out, Hersh

kissed his mother goodbye.




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       749.    The next morning, sirens blared across Jerusalem, where the Goldberg-Polins

live, starting at about 8:00 a.m. Plaintiff Rachel Goldberg, Hersh’s mother, woke up her two

daughters and they went to the safe room in their apartment. She turned on her phone at about

8:20 a.m. to make sure Hersh was safe and saw two messages from him at 8:11 a.m. The first

said “I love you,” and the second said “I’m sorry.”

       750.    Rachel immediately knew something terrible was happening. She responded at

8:23 a.m., “Are you okay?” Receiving no response, Rachel sent another message at 8:29 a.m.:

“Please let me know you are okay.” At 8:36 a.m., Rachel wrote: “I’m leaving my phone on.

Let us know you are okay.”

       751.    Hersh’s parents later found out that he and his friend had tried to escape from

the massacre that was taking place at the Nova Music Festival by hiding with approximately

30 others in a roadside bomb shelter. Hamas terrorists threw grenades inside, and Hersh’s

friend managed to pick up seven and throw them back out. The eighth exploded in his hands,

killing him. Two more detonated inside. The terrorists then fired an RPG into the shelter and

sprayed the room with gunfire.

       752.    The dust settled, and the Hamas terrorists entered the shelter. Most of the fleeing

festivalgoers inside were dead, and some hid under bodies pretending to be dead. Those are the

witnesses who described to Hersh’s parents how the terrorists ordered Hersh and a few other

young men to stand. They did so, and it was apparent that Hersh’s left arm had been blown off

below the elbow. He had managed to fashion a tourniquet for himself to stop the bleeding and

was able to walk outside, where he and the other men were loaded onto a pickup truck.

       753.    Hersh’s last cellphone signal was at 10:25 a.m., from inside Gaza.

       754.    On April 24, 2024, Hamas released a video of Hersh, the first proof that he

survived his capture on October 7 despite being badly wounded. The video showed Hersh

sitting in a chair, addressing the camera. Gesturing occasionally with his injured arm, he



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identifies himself and gives his date of birth and parents’ names. He states that he had been

“here for almost 200 days” (April 24, 2024, was the 201st day since his abduction).

       755.    In the video, Hersh appeared significantly thinner than before his capture. He

was missing most of his left arm, and it was apparent that he had not received proper medical

treatment for the severe injuries he sustained during the initial attack.

       756.    On August 31, 2024, Israeli forces recovered Hersh’s body along with five other

hostages from a tunnel beneath Rafah in southern Gaza. Medical examinations indicated they

had been executed one by one shortly before Israeli forces reached them.

       757.    The two hostages who had been loaded onto the pickup truck with Hersh have

since been released. One of these two hostages, Or Levy, described how, on their 52nd day of

captivity, Hersh told him: “He who has a ‘why’ can bear with any ‘how.’” Levy tattooed the

quote onto his arm after his release. Levy learned from Hersh’s parents that the line is from

Nietzsche and was cited in Viktor Frankl’s “Man’s Search for Meaning” to describe the mental

strength required of him to survive the Holocaust.

       758.    Hersh’s funeral was held on September 2, 2024, and was attended by tens of

thousands of mourners.

       759.    Plaintiffs Rachel Goldberg and Jon Polin bring this action on behalf of the Estate

of Hersh Goldberg-Polin. They are both dual citizens of the United States and the State of Israel

and the parents of Hersh Goldberg-Polin.

       760.    Plaintiffs Rachel Goldberg and Jon Polin also bring this action individually.

They have become prominent advocates for hostage families, having traveled extensively to

meet with political leaders worldwide, including former President Biden and the late Pope

Francis.

       761.    Plaintiff Leebie Goldberg-Polin is a dual citizen of the United States and the

State of Israel. She is the younger sister of Hersh Goldberg-Polin.



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       762.    Plaintiff Orly Goldberg-Polin is a dual citizen of the United States and the State

of Israel. She is the younger sister of Hersh Goldberg-Polin.

       763.    As a direct and foreseeable result of the October 7 Attack and 330 days in

captivity, the Plaintiff Estate of Hersh Goldberg-Polin experienced conscious pain and

suffering and suffered economic loss.

       764.    As a direct and foreseeable result of the October 7 Attack, and the abduction,

captivity, and murder of Hersh Goldberg-Polin, Plaintiffs Rachel Goldberg, Jon Polin, Leebie

Goldberg-Polin, and Orly Goldberg-Polin have suffered severe mental anguish and extreme

emotional distress, and economic loss.

       T.      The Sasi Family

       765.    Avraham Sasi was a citizen of the United States and a resident of the State of

California when he was murdered by Hamas at the Nova Music Festival on October 7, 2023.

He was 64 years old.

       766.    Avraham was the fourth of 12 siblings in a close-knit family. He married

Plaintiff Ester Sasi in 1982, and the couple raised three daughters – Plaintiffs Moran Sasi,

Danielle Sasi, and Natalie Sasi – in Woodland Hills, California.

       767.    Plaintiff Ester Sasi is a citizen of the United States and a resident of the State of

California. She is the wife of Avraham Sasi.

       768.    Plaintiff Moran Sasi is a citizen of the United States and a resident of the State

of California. She is the daughter of Avraham Sasi.

       769.    Plaintiff Danielle Sasi is a citizen of the United States and a resident of the State

of California. She is the daughter of Avraham Sasi.

       770.    Plaintiff Natalie Sasi is a citizen of the United States and a resident of the State

of California. She is the daughter of Avraham Sasi.




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        771.    In September 2023, Avraham and Ester traveled to Israel for the Jewish holidays

with their daughter Danielle to visit Natalie, who was living in Israel at the time (after the

October 7 Attack, Natalie moved back to California from Israel), along with various siblings,

nieces, and nephews. During that trip, Avraham’s niece, Plaintiff Lee Meltz Sasi, got engaged.

        772.    During that trip, Avraham attended the Nova Music Festival with his daughter,

Plaintiff Danielle Sasi, her husband, Maor, and Plaintiff Lee Meltz Sasi. Alex, a longtime

family friend who traveled with them, also joined, along with Nitzan, another one of Avraham’s

nieces, and her boyfriend, Lidor.

        773.    Danielle was dancing with her father at the festival when air raid sirens started,

followed by incoming rockets and mortar fire. Avraham instructed everyone in the Sasi family

group to run to their cars, and the group divided up into two and drove to two separate roadside

shelters. Nitzan and Lidor took refuge inside the same shelter that U.S. citizen Hersh Goldberg-

Polin hid in before his arm was shot off and he was taken hostage into Gaza. Nitzan and Lidor

were both murdered at the scene.

        774.    Avraham, Danielle, Maor, Lee, and Alex arrived at a shelter at 7:06 a.m., which

was already packed with young people fleeing from the Hamas terrorists attacking at the Nova

Music Festival. Avraham, a former high-ranking service member in the IDF during the First

Lebanon War, positioned himself at the shelter entrance, assembled men with him, and told

them not to let any of the terrorists enter.

        775.    Hamas gunmen approached the shelter, shot Alex, and then lobbed a grenade

into the shelter, murdering Avraham. The terrorists then threw an explosive into the shelter and

stepped inside, walking over the bodies of the people that they had just murdered. The Hamas

gunmen, wielding AK-47 rifles, fired into the bodies huddled in the shelter. Danielle was shot

in the leg and her elbow was fractured. A young woman in front of her was shot in her torso




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and screamed and cried as she died. Danielle and her husband Maor tried to help the injured

woman, but she died of her wounds.

         776.   Lee was sheltered by the bodies of the people in front of her who had been

killed. Black smoke filled the shelter and began to suffocate Lee. She put her jacket over her

mouth but blacked out. When she opened her eyes to check on whether her uncle Avraham was

okay, she saw that he was dead. All but 13 of those inside the shelter were killed in the initial

attack, including Avraham and Alex. Five more would die over the course of the next few

hours.

         777.   After the initial assault, the terrorists remained positioned around the shelter,

shooting at cars and passersby on the road. About every 15 to 20 minutes, they returned to

shoot and throw stun grenades and hand grenades into the shelter. It seemed to Danielle and

Lee that another survivor in the shelter died in each new assault. Danielle covered her face with

blood from her leg wound to appear to the terrorists to have already been killed. Maor sheltered

Danielle beneath the just-murdered bodies of fellow Nova Music Festival attendees. The body

of a third person fell on Danielle’s legs. She started counting the seconds between explosions

to estimate whether the terrorists had retreated far enough for the survivors to try to escape.

         778.   Lee spent time in between waves of attacks encouraging survivors to stay

positive and stay alive, while she texted their location to others. She also called her mother,

Plaintiff Samantha Meltz, to say goodbye.

         779.   Shrapnel had embedded itself all over Danielle’s body and had entered her

lungs. Lee felt the blast of each grenade and sensed a strange taste on her tongue. It was the

taste of someone else’s flesh that had been blown into her mouth.

         780.   After a few hours of these attacks, Hamas terrorists fired an RPG at the back of

the structure. The resulting explosion was so powerful that it lifted Lee off the ground.




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         781.   More than seven hours after the Sasi family arrived at the shelter, the father of

a young woman in the shelter arrived with a car at about 2:30 p.m., escorted by soldiers. He

sped the survivors away—there were only eight.

         782.   Avraham’s daughters Moran and Natalie, his wife Ester, and his niece Gital had

heard from Lee that Avraham had been murdered earlier that day, but they refused to believe

it. As she was being evacuated, Danielle called and confirmed that her father Avraham had

been murdered in front of her at the roadside shelter near Be’eri and that his body was still

there.

         783.   Moran, her husband, and their three young children flew from California to

Israel that day (most airlines canceled flights to and from Israel immediately following the

October 7 Attack, and just two airlines were offering emergency flights).

         784.   Danielle, Maor, and Lee went to Soroka Hospital where, at about 3:30 p.m. on

October 7, they joined the throng of horrifically injured people emerging from the Hamas-

perpetrated massacre. All around them, people were missing limbs, bloodied, and dead. The

doctors advised Danielle to wash her bullet wound with soap and water, explaining that they

would not be able to operate that day.

         785.   Danielle was then taken to a hospital further north in Netanya. The doctors there

removed the bullet from her leg. She was hospitalized for two weeks.

         786.   Avraham’s body was not found for over a week. His funeral was held on

October 15. Thousands of mourners attended.

         787.   Plaintiff Danielle Sasi lived near her parents. She has struggled to return to life

after witnessing the murder of her father and so many others. In addition to the pain and

suffering from the bullet wound, Danielle has pain and ongoing medical needs resulting from

the shrapnel embedded throughout her body, including in her lungs. She has undergone further




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surgery for her leg and suffers from tinnitus. She has seen specialists for damage sustained to

her nervous system.

         788.   Plaintiff Lee Meltz Sasi is a citizen of the United States and a resident of the

State of California.

         789.   She has not been the same since the October 7 Attack. She has had difficulty

eating, working, and engaging in ordinary tasks. Formerly social, she now wants only to be

alone.

         790.   Lee’s parents, Plaintiffs Samantha Meltz and Eli Sasi (who is Avraham’s

brother), and siblings, Plaintiffs Daniel Lawrence Sasi, Elin Levy Sasi, and Tal Meltz Sasi, are

all citizens of the United States. They are suffering extreme emotional distress from Lee’s

trauma and worry deeply about her. Despite everything they have been doing to help her

recover, she continues to struggle.

         791.   Avraham’s siblings have suffered extreme emotional distress in the aftermath

of his murder. Plaintiffs Shulamith Zani, Ronit Rahoum (Nitzan’s mother), Ester Halif, Yosef

Sasi, Vito Sasy, and Izhak Sasi are citizens of the State of Israel; Plaintiffs Bekhor Sassi and

Meir Sasy are citizens of the United States and residents of the State of Israel; and Plaintiffs

Eli Sasi (Lee’s father) and Yaaqov Sasi are citizens of the United States and residents of the

State of California.

         792.   As a direct and foreseeable result of the October 7 attack, Plaintiffs Danielle

Sasi and Lee Meltz Sasi have suffered serious physical injuries and severe mental anguish and

extreme emotional distress, and economic loss.

         793.   Danielle also brings this action on behalf of her minor son R.P.

         794.   R.P. is a citizen of the United States and a resident of the State of California.

         795.   As a direct and foreseeable result of the October 7 Attack and the injuries to his

mother, Danielle Sasi, R.P. has suffered severe mental anguish and extreme emotional distress.



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       796.     As a direct and foreseeable result of the October 7 Attack and the death of their

brother, Avraham Sasi, Plaintiffs Shulamith Zani, Ronit Rahoum, Ester Halif, Yosef Sasi, Vito

Sasy, Izhak Sasi, Bekhor Sassi, Meir Sasy, Eli Sasi, and Yaaqov Sasi have suffered severe

mental anguish and extreme emotional distress, and economic loss.

       797.     As a direct and foreseeable result of the October 7 Attack and the injuries to his

daughter, Lee Meltz Sasi, Plaintiff Eli Sasi has also suffered severe mental anguish and extreme

emotional distress, and economic loss.

       798.     As a direct and foreseeable result of the October 7 Attack and the injuries to her

daughter, Lee Meltz Sasi, Plaintiff Samantha Meltz has suffered severe mental anguish and

extreme emotional distress, and economic loss.

       799.     As a direct and foreseeable result of the October 7 Attack and the injuries to

their sister, Lee Meltz Sasi, Plaintiffs Daniel Lawrence Sasi, Elin Levy Sasi, and Tal Meltz

Sasi have suffered severe mental anguish and extreme emotional distress, and economic loss.

       800.     Plaintiff Ester Sasi brings this action individually and on behalf of the Estate of

Avraham Sasi.

       801.     As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate

of Avraham Sasi experienced conscious pain and suffering and suffered economic loss.

       802.     As a direct and foreseeable result of the October 7 Attack and the death of her

husband, Avraham Sasi, and the injuries to her daughter, Danielle Sasi, Plaintiff Ester Sasi has

suffered severe mental anguish and extreme emotional distress, and economic loss.

       803.     As a direct and foreseeable result of the October 7 Attack and the death of their

father, Avraham Sasi, Plaintiffs Moran Sasi, Danielle Sasi, and Natalie Sasi have suffered

severe mental anguish and extreme emotional distress, and economic loss.




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       804.    Plaintiffs Moran Sasi and Natalie Sasi have also suffered economic loss and

severe mental anguish and extreme emotional distress as a direct and foreseeable result of the

October 7 Attack and the injuries to their sister, Danielle Sasi.

       U.      The Katsman Family

       805.    Hayim Katsman was a dual citizen of the United States and the State of Israel

when he was murdered by Hamas on October 7, 2023. He was 32 years old.

       806.    Hayim was one of six children born to Hannah Wacholder Katsman, a writer

and women’s rights activist, and Daniel Katsman. The couple moved to Israel in 1990, and

Hayim was born there a year later.

       807.    Hayim was a peace activist who studied philosophy and earned a PhD in

political science from the University of Washington’s Henry M. Jackson School of

International Studies.

       808.    When Hamas struck on October 7, Hayim lived in Kibbutz Holit, where he

worked as a gardener, landscaper, and deejay. Hayim also taught at various colleges and pre-

army programs.

       809.    On the morning of October 7, 2023, Hayim was awoken by the sounds of sirens

and gunshots. He sent his mother a message letting her know he was okay at about 7:15 a.m.

       810.    He ran to his safe room but could not lock it from the inside. He then left to go

to his neighbor’s house, where he hid with a neighbor in the closet within their safe room.

       811.    For a time, Hayim stayed on the phone with his friend until he heard terrorists

nearby. He hung up and continued texting.

       812.    Terrorists then attacked the safe room in which he was hiding. Hayim shielded

his neighbor by placing himself closest to the door of the closet. He absorbed the bullets fired

into the closet, thereby saving his neighbor’s life.




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       813.    Hayim’s mother initially thought he had been taken hostage into Gaza. His body

was later identified and his family notified early the next day, Sunday, October 8.

       814.    Hannah Wacholder Katsman brings this action on behalf of the Plaintiff Estate

of Hayim Katsman.

       815.    Plaintiff Hannah Wacholder Katsman also brings this action individually. She

is a citizen of the United States and is a resident of the State of Israel. She is the mother of

Hayim Katsman.

       816.    As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate

of Hayim Katsman experienced conscious pain and suffering and suffered economic loss.

       817.    As a direct and foreseeable result of the October 7 Attack and the death of

Hayim Katsman, Plaintiff Hannah Wacholder Katsman has suffered severe mental anguish and

extreme emotional distress, and economic loss.

       V.      The Abramov Family

       818.    Laor Abramov was murdered by Hamas on October 7, 2023.

       819.    He had lived in New Jersey for some time before moving back to Israel where

he was raised in the hopes of following the footsteps of his father, a famous Israeli disk jockey

known as DJ Darwish. His first headlined event was scheduled for November 24, 2023. It was

called “To The Light,” an English translation of Laor’s Hebrew name. Laor had plans to travel

the world after that event before returning to study music editing.

       820.    Prior to his death, Laor spoke daily to his mother, Plaintiff Michal Halev. They

also traveled together, having toured London in June 2023. The two were close; Laor was

Michal’s only child.

       821.    On October 6, Laor and his lifelong friend, Tamar, headed to southern Israel to

attend the Nova Music Festival. Laor sent a message to his mother that he was out with friends

and assured her that they would talk the next day.



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       822.    On the morning of October 7, at the sound and sight of rockets, Laor fled the

Nova Music Festival and called his family to say that he was okay and on his way home. But

as he and Tamar drove north, they hit a Hamas roadblock, came under fire, and sought shelter.

       823.    By 7:48 a.m., Laor updated his family that he was in a roadside shelter—

unharmed, doing well, but staying silent to avoid getting caught up in the fighting unfolding

around them. His text read: “I am going into a missile shelter, a bomb shelter, and don’t worry.

I’m not going to be able to speak because it’s very noisy.”

       824.    Pictures and videos from Laor’s last known location—the roadside shelter near

Re’im—show Laor’s towering figure among those who took refuge within the structure,

including Hersh Goldberg-Polin. Taller than almost everyone else inside, he reported to the

others what he was seeing on the road.

       825.    Hamas terrorists then approached the shelter and threw hand grenades inside

(the first several of which were thrown back out by Hersh’s friend Aner Shapira, as well as by

Laor and Tamar). The terrorists then fired upon everyone in their line of sight and entered the

shelter, instructing the survivors to march outside and board a pickup truck.

       826.    Laor and Tamar never made it out of the shelter alive.

       827.    After Laor’s text to his family, they did not hear from him again. As the hours

and days passed, they received mixed and confusing information: A photo showed Laor at the

roadside shelter near Re’im, but Laor’s phone tracked closer to a fortified shelter near Be’eri.

       828.    Michal was in the United States at the time and managed to get onto the last seat

of an October 8 flight to Israel.

       829.    On Monday evening, October 9, a woman who survived from the roadside

shelter near Re’im told Laor’s parents that she saw someone who she thought was Laor taken

as a hostage onto the back of a pickup truck. Michal hoped her son was still alive.




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          830.   On the evening of Wednesday, October 11, two soldiers and two social workers

knocked on the door of Laor’s home in Israel. Before Laor’s family heard even a word, they

began to scream. The family was notified that Laor’s body had been recovered.

          831.   Laor’s body was later identified by Michal’s brother, and for months after,

Michal called him to confirm that he was sure he had correctly identified Laor’s body.

          832.   She gathered as much information as she could about Laor’s final moments but

is still haunted by the lack of certainty.

          833.   Plaintiff Michal Halev is a dual citizen of the State of Israel and the United

States.

          834.   As a direct and foreseeable result of the October 7 Attack and the death of Laor

Abramov, Plaintiff Michal Halev has experienced severe mental anguish and extreme

emotional distress, and economic loss.

          W.     The Bomflek Family

          835.   Sarah Bomflek is a dual citizen of the United States and the State of Israel, and

a resident of the State of Israel.

          836.   She is the wife of Nir Bomflek and the mother of their two young children.

          837.   In the early hours of October 7, Hamas overran the IDF military base at Nahal

Oz where Nir Bomflek served as the deputy battalion commander and the base’s highest-

ranking officer.

          838.   Nir Bomflek was shot in the head before 7:00 a.m. by Hamas terrorists. His

soldiers managed to drag him away from the firefight, and for the next eight hours, kept him

alive without proper medical equipment, ensuring that Nir remained conscious by talking to

him and preventing him from lying down.




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       839.     At about 3:00 p.m., a rescue unit transported Nir to a makeshift field hospital,

where he was intubated and then subsequently transported by helicopter to Sheba Medical

Center about two to three hours later.

       840.     It was during that helicopter ride on the late afternoon of October 7 that Plaintiff

Sarah Bomflek, Nir’s wife, finally received notification of her husband’s whereabouts and

condition; she had been trying to reach him unsuccessfully since 6:30 a.m. when the sirens first

sounded. A casualty officer informed Sarah that her husband was in critical condition and was

in the midst of transport. In the chaos, the officer told Sarah that Nir was being taken to Soroka

Medical Center, Israel’s trauma center in the South. Sarah traveled there amidst the continuing

attacks and arrived to find out that Nir was not there. She started to return home in order not to

miss a call regarding Nir’s location, and while on the road, her support network of family and

friends was able to finally reach a doctor at Sheba Medical Center, who confirmed that Nir had

been brought there.

       841.     Upon arrival at Sheba Medical Center, Nir was immediately taken into surgery

in critical condition, unresponsive, and with life-threatening injuries. Sarah raced to his side

immediately, leaving her baby daughter and toddler son with family members.

       842.     Nir remained in intensive care for approximately five weeks, following which

he underwent months of pulmonary rehabilitation for breathing difficulties and for traumatic

brain injury.

       843.     Nir’s recovery has been, and continues to be, arduous. As a result of the gunshot

wound, he has suffered catastrophic brain injuries, including damage to the right side of his

brain, aphasia (speech impairment), immobility of his left leg and left hand, and significant

cognitive impairment.

       844.     Nir continues to suffer from severe communication deficits, currently able to

speak only one or two words at a time and struggling to form basic three-word sentences.



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       845.    He continues to require ongoing daily rehabilitation treatment and intensive

therapy, including speech therapy, physical therapy, and occupational therapy.

       846.    Plaintiff Sarah Bomflek has been forced to simultaneously navigate her own

trauma, become her husband’s primary caregiver, and help their young children process

complex emotions about their father’s drastically altered condition. The family attends various

forms of counseling.

       847.    As a direct and foreseeable result of the October 7 Attack and the serious injury

to her husband, Plaintiff Sarah Bomflek has experienced severe mental anguish and extreme

emotional distress, and economic loss.

       X.      The Airley Family

       848.    Benyamin Airley was a citizen of the United States and a resident of the State

of Israel when he was murdered by Hamas. He was 21 years old.

       849.    Benyamin Airley was a member of the Paratroopers Brigade’s 101st Battalion

in the IDF.

       850.    On November 18, 2023, Benyamin was fighting Hamas terrorists in the northern

Gaza Strip when he was murdered. Benyamin was in the Gaza Strip as a direct result of the

October 7 Attack.

       851.    Benyamin and fellow soldiers were staying in a beach house in Gaza. They were

eating breakfast, when at 7:30 a.m., they were called to the scene of a house that had been

invaded by Hamas terrorists.

       852.    Benyamin insisted on joining his fellow soldiers on this mission, believing his

Negev gun would keep him safe. He and two other soldiers entered the house and began

scouting rooms. They saw a terrorist on the floor and assumed he was alone, but there was

another hiding behind a couch. That terrorist shot and killed all three of the soldiers.




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       853.    Benyamin’s parents, Robert and Jennifer Airley, bring this action on behalf of

the Estate of Benyamin Airley.

       854.    Plaintiff Robert Airley also brings this action individually. He is a citizen of the

United States and is a resident of the State of Israel. He is the father of Benyamin Airley.

       855.    Plaintiff Jennifer Airley also brings this action individually. She is a citizen of

the United States and is a resident of the State of Israel. She is the mother of Benyamin Airley.

       856.    Plaintiff Robert Airley also brings this action as parent and natural guardian of

minors A.A., C.A., and Y.A. A.A., C.A., and Y.A. are all citizens of the United States and

residents of the State of Israel. They are siblings of Benyamin Airley.

       857.    Plaintiff Sarah Airley is a citizen of the United States and a resident of the State

of Israel. She is the sister of Benyamin Airley.

       858.    Plaintiff Yehuda Airley is a citizen of the United States and a resident of the

State of Israel. He is the brother of Benyamin Airley.

       859.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on November 18, 2023, attack, the Plaintiff Estate of Benyamin Airley experienced

conscious pain and suffering and suffered economic loss.

       860.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on November 18, 2023, during which Benyamin Airley was murdered, Plaintiffs

Robert Airley, Jennifer Airley, Sarah Airley, Yehuda Airley, A.A., C.A., and Y.A. have

suffered severe mental anguish and extreme emotional distress, and economic loss.

       Y.      The Bours Family

       861.    Aaron Bours was a citizen of the United States and a resident of the State of

Israel when he was injured by Hamas. He was 33 years old at the time.




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       862.    Aaron was in the United States, en route to a conference in Las Vegas on

October 7, 2023. When he landed in Las Vegas, he had 20 messages from his wife trying to

reach him to inform him of the invasion of Israel by Hamas.

       863.    Aaron was called up to his IDF reserve unit, the Givati Brigade serving under

the Southern Command, almost immediately following the events of October 7, 2023.

       864.    Aaron was part of the ground invasion into Gaza. He was going house-to-house

looking for Hamas terrorists and Hamas tunnels for the combat engineers to destroy.

       865.    He was in Gaza for two weeks before he was injured.

       866.    On November 14, 2023, Aaron was with his unit heading toward a home in Beit

Hanoun in the Gaza Strip. His unit was the last to cross the street in open view of a school that

was affiliated with UNWRA. As is protocol, Aaron’s commander stopped to ask permission to

enter the house, and Aaron felt like someone was watching him. When he arrived at the house,

he turned back to see if his officer was behind him, but at that same time, Aaron heard two

gunshots and saw his officer and a communications person fall to the ground. Aaron saw at

least two, and as many as four, Hamas terrorists with AK-47s and a sniper shooting at them.

       867.    Aaron began to shoot back at the school. He stopped to look at his officer, who

according to Aaron, “looked terrible.” Aaron decided to attempt to rescue his officer to try to

save his life. Aaron ran to grab his officer but was only able to travel a few feet before he was

shot in the right leg, shattering his bone. He was crawling back to the safety of the house when

he was shot in the left leg. He continued to crawl to the house and was rescued by the Unit 669

rescue team.

       868.    He was brought to Sheba Medical Center, where he underwent three surgeries

to his right leg, including a bone graft. Aaron spent five months in recovery and underwent

months of intensive rehabilitation afterward. In addition to the injuries to his legs, Aaron

currently suffers from difficulty concentrating and sleeping.



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       869.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on November 14, 2023, Plaintiff Aaron Bours has suffered severe physical and mental

anguish and extreme emotional distress, and economic loss.

       Z.      The Davidovich Family

       870.    Rivka Davidovich was a citizen of the United States and a resident of the State

of Israel when she was injured by Hamas. She was 33 years old at the time of the attack.

       871.    Rivka was at home in Ofakim, Israel, with her children on October 7, 2023. Her

husband and oldest son were at the synagogue from 6:00 a.m. until approximately 12:00 p.m.

because it was the Jewish holiday of Simchat Torah.

       872.    Rivka reports hearing many alarms and feeling a great deal of fear on October

7, 2023.

       873.    In the first week following October 7, 2023, neither Rivka, nor her family, left

their home, even to buy bread and milk, due to the intense fear and trauma. Remaining shut in

her home was extremely difficult because two of her children were diagnosed with ADHD and

were intensely affected by the atmosphere both inside and outside of the house.

       874.    Once the family was able to leave their home, the entire family, including Rivka,

received emotional and art therapy to process their trauma.

       875.    Plaintiff Rivka Davidovich brings this claim individually.

       876.    Plaintiff Rivka Davidovich also brings this action on behalf of Plaintiff Y.D., a

minor child, as his legal guardian. Y.D. is a citizen of the United States and a resident of the

State of Israel. He is the son of Rivka Davidovich.

       877.    Plaintiff Rivka Davidovich also brings this action on behalf of Plaintiff M.D., a

minor child, as her legal guardian. M.D. is a citizen of the United States and a resident of the

State of Israel. She is the daughter of Rivka Davidovich.




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       878.    Plaintiff Rivka Davidovich also brings this action on behalf of Plaintiff A.D., a

minor child, as his legal guardian. A.D. is a citizen of the United States and a resident of the

State of Israel. He is the son of Rivka Davidovich.

       879.    Plaintiff Rivka Davidovich also brings this action on behalf of Plaintiff Mi.D.,

a minor child, as her legal guardian. Mi.D. is a citizen of the United States and a resident of the

State of Israel. She is the daughter of Rivka Davidovich.

       880.    Plaintiff Rivka Davidovich also brings this action on behalf of Plaintiff H.M.D.,

a minor child, as his legal guardian. H.M.D. is a citizen of the United States and a resident of

the State of Israel. He is the son of Rivka Davidovich.

       881.    Plaintiff Rivka Davidovich also brings this action on behalf of Plaintiff S.E.D.,

a minor child, as his legal guardian. S.E.D. is a citizen of the United States and a resident of

the State of Israel. He is the son of Rivka Davidovich.

       882.    Plaintiff Rivka Davidovich also brings this action on behalf of Plaintiff A.E.D.,

a minor child, as her legal guardian. A.E.D. is a citizen of the United States and a resident of

the State of Israel. She is the daughter of Rivka Davidovich.

       883.    As a direct and foreseeable result of the October 7 Attack, Plaintiff Rivka

Davidovich has suffered severe physical and mental anguish and extreme emotional distress,

and economic loss.

       884.    As a direct and foreseeable result of the October 7 Attack on and the injuries of

Rivka Davidovich, Plaintiffs A.D., H.M.D., Mi.D., M.D., S.E.D., Y.D. and A.E.D. have

experienced severe mental anguish and extreme emotional distress, and economic loss.

       AA.     The Ben Zaken Family

       885.    Chana Sarah Ben Zaken was a citizen of the United States and a resident of the

State of Israel when she was injured by Hamas. She was 31 years old at the time.




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         886.    Chana Sarah Ben Zaken was at home with her family in Ofakim, Israel, on

October 7, 2023.

         887.    When the terrorists invaded Ofakim, Chana and her children hid in the safe

room in their home. Her husband, who was outside, saw the terrorists shooting in the vicinity

of their home.

         888.    Following the October 7 Attack, Chana and her family were displaced until

December 2023 from their home in Ofakim to Hever, a villa donated to refugees from the

South.

         889.    Chana Sarah Ben Zaken suffers from anxiety, panic attacks, insomnia, and

paranoia as a result of the October 7 Attack.

         890.    Plaintiff Chana Sarah Ben Zaken brings this action individually.

         891.    Plaintiff Chana Sarah Ben Zaken also brings this action on behalf of Plaintiff

S.L., a minor child, as her legal guardian. S.L. is a citizen and resident of the State of Israel.

She is the daughter of Chana Sarah Ben Zaken.

         892.    Plaintiff Chana Sarah Ben Zaken also brings this action on behalf of Plaintiff

A.L., a minor child, as his legal guardian. A.L. is a citizen and resident of the State of Israel.

He is the son of Chana Sarah Ben Zaken.

         893.    Plaintiff Chana Sarah Ben Zaken also brings this action on behalf of Plaintiff

Ay.B.Z.., a minor child, as her legal guardian. Ay.B.Z. is a citizen and resident of the State of

Israel. She is the daughter of Chana Sarah Ben Zaken.

         894.    Plaintiff Chana Sarah Ben Zaken also brings this action on behalf of Plaintiff

Av.B.Z., a minor child, as his legal guardian. Av.B.Z. is a citizen and resident of the State of

Israel. He is the son of Chana Sarah Ben Zaken.




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       895.      As a direct and foreseeable result of the October 7 Attack, Plaintiff Chana Sarah

Ben Zaken has suffered severe physical and mental anguish and extreme emotional distress,

and economic loss.

       896.      As a direct and foreseeable result of the October 7 Attack on their mother,

Plaintiffs S.L., A.L., Ay.B.Z., and Av.B.Z. have suffered severe mental anguish and extreme

emotional distress, and economic loss.

       BB.       The Goodman Family

       897.      Donald R. Goodman was a citizen of the United States and a resident of the

State of Israel when he was injured by Hamas. He was 70 years old at the time.

       898.      On October 7, 2023, Donald was at home in Kibbutz Nir Yitzhak, with his wife

and granddaughter. They were asleep at 6:30 a.m., when Donald and his family heard the alarm

in their community instructing them to take cover within 15 seconds. They heard booming

sounds and 50-60 rocket attacks.

       899.      Donald and his family got into their safe room with water and crackers and

attempted to get information on their cell phones.

       900.      Hamas terrorists invaded Donald’s home, smashed windows, destroyed his

computer, and stole money and kitchen appliances from his home.

       901.      Donald and his family were also displaced from their home. When the IDF

released the alarm, the Goodmans were told to relocate into four shelters, each housing 120

people. Donald and his family slept on the floor and had no accessible bathroom.

       902.      As a direct and foreseeable result of the October 7 Attack, Plaintiff Donald

Goodman has suffered severe physical and mental anguish and extreme emotional distress, and

economic loss.




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        CC.    The Ben Hamo Family

        903.   Hadas Pnina Saffer Ben Hamo was a citizen of the United States and a resident

of the State of Israel when she was injured by Hamas. She was 31 years old at the time.

        904.   On October 7, 2023, Hadas was at home in Ofakim with her three young

children, ranging in age from five years old to less than a year old, when the terrorists invaded.

Her husband was in synagogue for the Jewish holiday of Simchat Torah, unaware of what was

happening in town.

        905.   Hadas’s next-door neighbors were shot by the terrorists, causing Hadas intense

fear.

        906.   Hadas and her children were stuck in their home for two days.

        907.   Hadas suffers from psychological trauma, insomnia, and inability to re-

acclimate to normal life.

        908.   Plaintiff Hadas Pnina Saffer Ben Hamo brings this claim individually.

        909.   Plaintiff Hadas Pnina Saffer Ben Hamo also brings this action on behalf of

Plaintiff N.B.H., a minor child, as his legal guardian. N.B.H. is a citizen and resident of the

State of Israel. He is the son of Hadas Pnina Saffer Ben Hamo.

        910.   Plaintiff Hadas Pnina Saffer Ben Hamo also brings this action on behalf of

Plaintiff R.B.H., a minor child, as his legal guardian. R.B.H. is a citizen and resident of the

State of Israel. He is the son of Hadas Pnina Saffer Ben Hamo.

        911.   Plaintiff Hadas Pnina Saffer Ben Hamo also brings this action on behalf of

Plaintiff M.B.H., a minor child, as her legal guardian. M.B.H. is a citizen and resident of the

State of Israel. She is the daughter of Hadas Pnina Saffer Ben Hamo.

        912.   As a direct and foreseeable result of the October 7 Attack, Plaintiff Hadas Pnina

Saffer Ben Hamo has suffered severe physical and mental anguish and extreme emotional

distress, and economic loss.



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       913.    As a direct and foreseeable result of the October 7 Attack and the injuries to

their mother, Plaintiffs N.B.H., R.B.H., and M.B.H. have suffered severe mental anguish and

extreme emotional distress, and economic loss.

       DD.     The Klughaupt Family

       914.    Amichay Klughaupt was a citizen of the United States and a resident of the State

of Israel when he was injured by Hamas. He was 19 years old at the time.

       915.    Amichay was a member of the IDF when he was injured by Hamas terrorists on

December 8, 2023. Amichay’s commander was standing outside the door of their tank when

terrorists ambushed them. The commander was shot and fell into the tank, where Amichay

attempted, unsuccessfully, to resuscitate him by administering CPR. The tank was bombarded

with so many RPGs that it flipped over, landing upside down in a ditch on the side of the road.

For the next six hours before Amichay and his team were evacuated, Amichay believed he

would die.

       916.    As a result of the attack, two fingers from Amichay’s hands detached and he

incurred shrapnel to his thigh, back and hands.

       917.    Amichay has had two surgeries thus far, and a third will be necessary in the near

future to attempt to restore feeling and function to the re-attached fingers. The likelihood of

success is very low.

       918.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on December 8, 2023, Plaintiff Amichay Klughaupt has suffered severe physical and

mental anguish and extreme emotional distress, and economic loss.

       EE.     The Moses Family

       919.    Elitzur Moses was a citizen of the United States and a resident of the State of

Israel when he was injured by Hamas. He was 42 years old at the time.




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       920.    On December 2, 2023, Elitzur was serving as a member of the IDF in Gaza

when he was wounded by an RPG that was shot at him by a terrorist, injuring his left hand.

       921.    Elitzur wrapped his injured hand and tried to continue fighting, but he was told

he had to leave battle and was sent to Barzillai Hospital. He had a 90% tear to the tendon in his

hand, which had to be surgically repaired at Sheba Hospital.

       922.    Plaintiff Dafna Moses is a citizen and resident of the State of Israel. She is the

wife of Elitzur Moses.

       923.    Plaintiff Elitzur Moses brings this action individually.

       924.    Plaintiff Elitzur Moses also brings this action on behalf of Plaintiff Y.M., a

minor child, as his legal guardian. Y.M. is a citizen and resident of the State of Israel. He is the

son of Elitzur Moses.

       925.    Plaintiff Elitzur Moses also brings this action on behalf of Plaintiff Ei.M., a

minor child, as his legal guardian. Ei.M. is a citizen and resident of the State of Israel. He is

the son of Elitzur Moses.

       926.    Plaintiff Elitzur Moses also brings this action on behalf of Plaintiff Ey.M., a

minor child, as his legal guardian. Ey.M. is a citizen and resident of the State of Israel. He is

the son of Elitzur Moses.

       927.    Plaintiff Elitzur Moses also brings this action on behalf of Plaintiff T.M., a

minor child, as her legal guardian. T.M. is a citizen and resident of the State of Israel. She is

the daughter of Elitzur Moses.

       928.    Plaintiff Elitzur Moses also brings this action on behalf of Plaintiff C.M., a

minor child, as her legal guardian. C.M. is a citizen and resident of the State of Israel. She is

the daughter of Elitzur Moses.




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       929.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on December 2, 2023, Plaintiff Elitzur Moses has suffered severe physical and mental

anguish and extreme emotional distress, and economic loss.

       930.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on December 2, 2023, during which Elitzur Moses was injured, Plaintiffs Dafna

Moses, Y.M., Ei.M., Ey.M., T.M., and C.M. have experienced severe mental anguish and

extreme emotional distress, and economic loss.

       FF.     The Newman Family

       931.    David Newman was a citizen and resident of the State of Israel when he was

murdered by Hamas. He was 21 years old.

       932.    On October 7, 2023, David was attending the Nova Music Festival in Kibbutz

Re’im when terrorists invaded Israel and began attacking the people at the festival.

       933.    David was with his girlfriend at a party at the festival when they heard what

they thought were fireworks, but what turned out to be missiles. David remained calm and

started to leave the festival with his girlfriend. David and his girlfriend realized the terrorists

were inside the festival, wearing Israeli military uniforms, so David told his girlfriend to lie

down with her hands covering her head. They would remain like that until the shooting

subsided before trying to flee. David and his girlfriend got to a large metal dumpster and

climbed inside of it, with anywhere between ten to fifteen other people. They hid in the

dumpster, underneath garbage bags, for approximately four hours. During their time hiding in

the dumpster, David remained calm and tried to keep the others calm as well.

       934.    David texted a friend who was a high-level official within the IDF asking to be

rescued. Unfortunately, his phone died before his location could be shared with the friend.

       935.    At some point, the group heard people outside the dumpster speaking in Arabic.




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        936.   The terrorists came right up to the dumpster, and with David on top, began

shooting. Only four of the people hiding in the dumpster came out alive. David was shot dead.

        937.   Plaintiff Mitchel Newman is a citizen of the United States and is a resident of

the State of Israel. He is the father of David Newman.

        938.   Plaintiff Noach Newman is a citizen of the United States and is a resident of the

State of Israel. He is the brother of David Newman.

        939.   Plaintiff Gavriel Newman is a citizen of the United States and is a resident of

the State of Israel. He is the brother of David Newman.

        940.   Plaintiff Dvir Tuvia Newman is a citizen of the United States and is a resident

of the State of Israel. He is the brother of David Newman.

        941.   Plaintiff Batya Leah Sprei is a citizen of the United States and is a resident of

the State of Israel. She is the sister of David Newman.

        942.   As a direct and foreseeable result of the October 7 Attack and the death of David

Newman, Plaintiffs Mitchel Newman, Noach Newman, Gavriel Newman, Dvir Tuvia

Newman, and Batya Leah Sprei have suffered severe mental anguish and extreme emotional

distress, and economic loss.

        GG.    The Rothner Family

        943.   Avraham Rothner was a citizen of the United States and a resident of the State

of Israel when he was injured by Hamas. He was 22 years old at the time of the attack.

        944.   On October 7, 2023, Avraham was in Kfar Aza Kibbutz. He saw the brutality

of the Hamas terrorists firsthand and witnessed the murders of countless innocent Israeli

civilians.

        945.   During the attack, he made great efforts to help the wounded, but many of those

died before Avraham’s eyes.




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       946.      Avraham is suffering from severe PTSD and mental and emotional trauma as a

result of the events of October 7, 2023.

       947.      As a direct and foreseeable result of the October 7 Attack, Plaintiff Avraham

Rothner has suffered severe physical and mental anguish and extreme emotional distress, and

economic loss.

       HH.       The Shindman Family

       948.      Nadav Benjamin Shindman was a citizen of the United States and a resident of

the State of Israel when he was injured by Hamas. He was 21 years old at the time.

       949.      Nadav was a member of the IDF on March 31, 2024.

       950.      On March 31, 2024, Nadav and his unit were in an armored IDF vehicle

evacuating the wounded when they were injured by an RPG. Nadav was injured by shrapnel

and the shockwave of the RPG.

       951.      Nadav still has three pieces of shrapnel in his throat, four in his arm, and one in

his knee. Nadav lives in constant pain, making daily tasks a challenge.

       952.      As a direct and foreseeable result of the October 7 Attack and the attack that

followed on March 31, 2024, Plaintiff Nadav Benjamin Shindman has suffered severe physical

and mental anguish and extreme emotional distress, and economic loss.

       II.       The Spitz Family

       953.      Aaron Moshe Spitz was a citizen of the United States and a resident of the State

of Israel when he was injured by Hamas. He was 21 years old at the time.

       954.      Aaron was a combat soldier in the Givati Brigade.

       955.      Aaron was severely injured on February 27, 2024, while serving as an IDF

soldier in the neighborhood of Zeitoun in the Northern Gaza Strip. Aaron lost both of his legs

and his right hand due to an explosion and was thought to be dead by fellow soldiers who




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observed the attack. Aaron had a weak pulse and was quickly evacuated and then air-lifted to

Soroka Medical Center.

        956.    He underwent a complex and prolonged surgery while there. In total, Aaron

received over 30 blood transfusions to save his life and was unconscious for 41 days before

waking up.

        957.    Plaintiff Leah Spitz is a citizen of the United States and is a resident of the State

of Israel. She is the mother of Aaron Moshe Spitz.

        958.    Plaintiff Gavriel Binyamin Spitz is a citizen of the United States and is a resident

of the State of Israel. He is the father of Aaron Moshe Spitz.

        959.    Plaintiff Avital Miriam Spitz is a citizen of the United States and is a resident

of the State of Israel. She is the sister of Aaron Moshe Spitz.

        960.    Plaintiff Leah Spitz also brings this action on behalf of Plaintiff A.H.S., a minor

child, as her legal guardian. A.H.S. is a citizen of the United States and is a resident of the State

of Israel. She is the sister of Aaron Moshe Spitz.

        961.    Plaintiff Leah Spitz also brings this action on behalf of Plaintiff A.S.S., a minor

child, as her legal guardian. A.S.S. is a citizen of the United States and is a resident of the State

of Israel. She is the sister of Aaron Moshe Spitz.

        962.    Plaintiff Leah Spitz also brings this action on behalf of Plaintiff I.J.S., a minor

child, as his legal guardian. I.J.S. is a citizen of the United States and is a resident of the State

of Israel. He is the brother of Aaron Moshe Spitz.

        963.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on February 27, 2024, Plaintiff Aaron Moshe Spitz has suffered severe physical and

mental anguish and extreme emotional distress, and economic loss.

        964.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on February 27, 2024, during which Aaron Moshe Spitz was injured, Plaintiffs Leah



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Spitz, Gavriel Binyamin Spitz, Avital Miriam Spitz, A.H.S., A.S.S., and I.J.S. have suffered

severe mental anguish and extreme emotional distress, and economic loss.

       JJ.     The Thaler Family

       965.    Aryeh Thaler was a citizen of the United States and a resident of the State of

Israel when he was injured by Hamas. He was 23 years old at the time of the attack.

       966.    Aryeh was a graduate of the ultra-Orthodox Netzah Yehuda Battalion and an

officer in the IDF.

       967.    On December 8, 2023, Aryeh was fighting in Gaza when an IED exploded and

a large piece of shrapnel entered his lower abdomen, causing severe damage to his lower

internal organs and intense bleeding. He survived by being airlifted to Ashdod Hospital, while

receiving blood transfusions. He was on the operating table within an hour of being attacked.

He spent 2.5 weeks in the hospital and is currently still in rehab.

       968.    Plaintiff Jeffrey Thaler is a citizen of the United States and is a resident of the

State of Israel. He is the father of Aryeh Thaler.

       969.    Plaintiff Karen Thaler is a citizen of the United States and is a resident of the

State of Israel. She is the mother of Aryeh Thaler.

       970.    Plaintiff Zev Thaler is a citizen of the United States and is a resident of the State

of Israel. He is the brother of Aryeh Thaler.

       971.    Plaintiff Eliyahu Thaler is a citizen of the United States and is a resident of the

State of Israel. He is the brother of Aryeh Thaler.

       972.    Plaintiff Yosef Thaler is a citizen of the United States and is a resident of the

State of Israel. He is the brother of Aryeh Thaler.

       973.    Plaintiff Pesha Thaler is a citizen of the United States and is a resident of the

State of Israel. She is the sister of Aryeh Thaler.




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        974.    Plaintiffs Jeffrey Thaler and Karen Thaler bring this action on behalf of Plaintiff

A.T., a minor child, as his legal guardians. A.T. is a citizen of the United States and is a resident

of the State of Israel. He is the brother of Aryeh Thaler.

        975.    Plaintiffs Jeffrey Thaler and Karen Thaler bring this action on behalf of Plaintiff

L.T., a minor child, as her legal guardians. L.T. is a citizen of the United States and is a resident

of the State of Israel. She is the sister of Aryeh Thaler.

        976.    Plaintiffs Jeffrey Thaler and Karen Thaler bring this action on behalf of Plaintiff

R.T., a minor child, as her legal guardians. R.T. is a citizen of the United States and is a resident

of the State of Israel. She is the sister of Aryeh Thaler.

        977.    Plaintiffs Jeffrey Thaler and Karen Thaler bring this action on behalf of Plaintiff

H.T., a minor child, as her legal guardians. H.T. is a citizen of the United States and is a resident

of the State of Israel. She is the sister of Aryeh Thaler.

        978.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on December 8, 2023, Plaintiff Aryeh Thaler has suffered severe physical and mental

anguish and extreme emotional distress, and economic loss.

        979.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on December 8, 2023, during which Aryeh Thaler was injured, Plaintiffs Jeffrey

Thaler, Karen Thaler, Zev Thaler, Eliyahu Thaler, Yosef Thaler, Pesha Thaler, A.T., L.T., R.T.,

and H.T. have suffered severe mental anguish and extreme emotional distress, and economic

loss.

        KK.     The Vardi Family

        980.    Laurie Vardi was a citizen and resident of the State of Israel when she was

murdered by Hamas. She was 24 years old.

        981.    Laurie Vardi was at the Nova Music Festival on October 7, 2023, when rockets

began to fall in the vicinity of the festival. She and her boyfriend got into their car and attempted



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to leave but then took shelter in a concrete bomb shelter near Kibbutz Alumim. Hamas terrorists

threw a grenade at the bomb shelter, and Laurie went outside for air because of the smoke and

was shot and killed immediately outside the bomb shelter.

       982.    Plaintiff Ariel Vardi is a citizen of the United States and a resident of the State

of Massachusetts. He is the brother of Laurie Vardi.

       983.    As a direct and foreseeable result of the October 7 Attack and the death of Laurie

Vardi, Plaintiff Ariel Vardi has suffered severe mental anguish and extreme emotional distress,

and economic loss.

       LL.     The Zer-Chen Family

       984.    Leor Zer-Chen was a citizen of the United States and a resident of the State of

Israel when he was injured by Hamas. He was 25 years old at the time.

       985.    On October 7, 2023, Leor was in synagogue services in Ashkelon, Israel, when

the attacks began. Though Israeli security forces set up protection in the vicinity of the

synagogue, Leor felt compelled to reach his family. It took him thirty minutes to reach his

family by foot. There were rockets landing in the streets near him, and armed people were all

over. Leor feared for his safety because he did not know if the gunmen he saw were Israeli

security forces or terrorists, and he worried that his family would never see him again.

       986.    He was finally able to obtain a ride in an ambulance to reach his wife and son.

       987.    Leor has been diagnosed with depression caused by the October 7 Attack.

       988.    Plaintiff Yaakov Zer-Chen is a citizen of the United States and is a resident of

the State of Israel. He is the son of Leor Zer-Chen.

       989.    Plaintiff Yael Zer-Chen is a citizen of the United States and is a resident of the

State of Israel. She is the spouse of Leor Zer-Chen.




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       990.      As a direct and foreseeable result of the October 7 Attack, Plaintiff Leor Zer-

Chen has suffered severe physical and mental anguish and extreme emotional distress, and

economic loss.

       991.      As a direct and foreseeable result of the October 7 Attack and the injuries of

Leor Zer-Chen, Plaintiffs Yaakov Zer-Chen and Yael Zer-Chen have suffered severe mental

anguish and extreme emotional distress, and economic loss.

       MM. The Edan Family

       992.      Smadar Mor Edan was a citizen of the United States and a resident of the State

of Israel when she was murdered by Hamas. She was 38 years old.

       993.      Roee Edan was a citizen and resident of the State of Israel when he was

murdered by Hamas. He was 43 years old. He was Smadar’s husband.

       994.      A.E. was a dual U.S.-Israeli citizen when she was kidnapped by Hamas on

October 7, 2023. She was three years old when she was kidnapped. She was the youngest

American hostage to be taken on October 7, 2023.

       995.      M.E. was a dual U.S.-Israeli citizen when he saw his parents murdered and his

sister kidnapped by Hamas on October 7, 2023. He was nine years old.

       996.      Am.E. was a dual U.S.-Israeli citizen when she saw her parents murdered and

her sister kidnapped by Hamas on October 7, 2023. She was six years old.

       997.      On October 7, 2023, the family was at home in Kibbutz Kfar Aza, just a few

miles from the Gaza border.

       998.      After infiltrating the kibbutz, Hamas terrorists came into the home and shot and

killed Smadar in front of A.E., M.E., and Am.E. The three children ran outside and saw their

father, a newspaper photographer, running toward the house. Roee took A.E. into his arms with

his other children beside him.




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       999.    Roee was shot from behind and fell with A.E. in his arms. M.E. and Am.E.

thought both their father and youngest sister were dead. They immediately ran back into their

house and hid on shelves in a closet next to where their mother’s body lay.

       1000. Roee collapsed on top of A.E., but his body had shielded her from the bullets.

She managed to free herself and ran, covered in her father’s blood, to a neighbor’s house where

she took shelter with Avihai and Hagar Brodetz and their children.

       1001. Avihai went outside to defend the kibbutz while A.E. stayed with Hagar and her

children. A.E., Hagar Brodetz, and the Brodetz children were taken hostage into Gaza.

       1002. A.E. was held in Gaza for 50 days before being released as part of a 4-day

ceasefire between Israel and Hamas on November 26, 2023. She celebrated her fourth birthday

in captivity in Gaza.

       1003. M.E. and Am.E. hid in the closet next to where their mother’s body lay for

nearly 14 hours. They had a phone and spoke with a social worker for a long part of this time,

but it was not clear if it was safe for them to come out of hiding until soldiers with the IDF

came to rescue them.

       1004. Smadar’s parents, Eitan Mor and Shlomit Miriam Mor, bring this action on

behalf of the Estate of Smadar Mor Edan.

       1005. Plaintiff Eitan Mor also brings this action individually. He is a citizen and

resident of the State of Israel. He is the father of Smadar Mor Edan.

       1006. Plaintiff Shlomit Miriam Mor also brings this action individually. She is a

citizen of the United States and is a resident of the State of Israel. She is the mother of Smadar

Mor Edan.

       1007. Leron Mor and Zoltan Ivan Gyongyosi bring this action on behalf of minor

Plaintiffs, A.E., M.E., and Am.E., as their legal guardians.




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       1008. Leron Mor also brings this action individually. She is a citizen and resident of

the State of Israel and the sister of Smadar Mor Edan.

       1009. As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate

of Smadar Edan experienced conscious pain and suffering and suffered economic loss.

       1010. As a direct and foreseeable result of the October 7 Attack, Plaintiff A.E. suffered

severe physical and mental anguish and extreme emotional distress, and economic loss, from

being in the line of fire when her father was shot and killed, witnessing her mother being

murdered in front of her, and being taken hostage into deplorable and life-threatening

conditions in Gaza for 50 days when she was only three years old.

       1011. As a direct and foreseeable result of the October 7 Attack, Plaintiffs M.E. and

Am.E. suffered severe physical and mental anguish and extreme emotional distress, and

economic loss, from witnessing both of their parents being murdered, believing that they had

witnessed their youngest sister being murdered, and fearing for their life as they hid from

terrorists for nearly 14 hours in a closet in their home with their mother’s dead body

immediately outside the closet door.

       1012. As a direct and foreseeable result of the October 7 Attack, the murder of Smadar

Mor Edan, and A.E. being taken hostage, Plaintiffs Eitan Mor, Shlomit Miriam Mor, Leron

Mor, A.E., M.E., and Am.E. have suffered severe mental anguish and extreme emotional

distress, and economic loss.

       1013. As a direct and foreseeable result of the October 7 Attack and the murder of

their father Roee Edan, Plaintiffs A.E., M.E., and Am.E. have also suffered severe mental

anguish and extreme emotional distress, and economic loss.

       NN.     The Zafrani Family

       1014. Itay Zafrani was a citizen of the United States and a resident of the State of

Israel when he was murdered by Hamas. He was 35 years old.



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        1015. Itay was attending the Nova Music Festival in Re’im Negev, Israel, on October

7, 2023. Itay left the festival immediately by car when the rockets started at approximately 6:35

a.m. and drove toward the Mefalsim junction where he first encountered Hamas terrorists. He

tried to make a U-turn but was shot and killed there at 6:52 a.m. The terrorists then pulled Itay

out of the car to see what they could steal from him, taking his iPhone and Apple Watch.

        1016. Plaintiff Michal Zipporah Zafrani is a citizen of the United States and is a

resident of the State of Israel. She is the mother of Itay Zafrani. She brings this action

individually, and on behalf of the Estate of Itay Zafrani.

        1017. Plaintiff Inbal Chen is a citizen and resident of the State of Israel. She brings

this action individually, as the surviving spouse of Itay Zafrani, and as the legal guardian of

A.Z., the surviving child of Itay Zafrani.

        1018. Plaintiff David Zafrani is a citizen and resident of the State of Israel. He is the

father of Itay Zafrani.

        1019. Plaintiff Ori Zafrani is a citizen of the United States and a resident of the State

of Israel. He is the brother of Itay Zafrani.

        1020. Plaintiff Osnat Tal Zafrani is a citizen and resident of the State of Israel. She is

the sister of Itay Zafrani.

        1021. Plaintiff Roni Zafrani is a citizen of the United States and a resident of the State

of Israel. She is the sister of Itay Zafrani.

        1022. As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate

of Itay Zafrani experienced conscious pain and suffering and suffered economic loss.

        1023. As a direct and foreseeable result of the October 7 Attack and the murder of Itay

Zafrani, Plaintiffs Inbal Chen, A.Z., David Zafrani, Michal Zipporah Zafrani, Ori Zafrani,

Osnat Tal Zafrani, and Roni Zafrani have suffered severe mental anguish and extreme

emotional distress, and economic loss.



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       OO.     The Natan Family

       1024. Odeya Chen Natan, a/k/a Odeya Chen Teicher, was a citizen of the United States

and a resident of the State of Israel when she was injured by Hamas. She was 30 years old at

the time.

       1025. Odeya was at home in Sderot on October 7, 2023. She heard the events of

October 7, 2023, unfolding outside her home and took her children, father-in-law, and brother-

in-law to their safe room to hide. They barricaded themselves in the safe room for 48 hours

until the IDF was able to rescue them. They heard non-stop rockets as well as the gunfire all

around them from the terrorists who were lurking on the streets of Sderot.

       1026. While Odeya, her father-in-law, brother-in-law, and her children were hiding in

the safe room in her home, Odeya’s husband Eitan had heard the rocket sirens going off in

Sderot and proceeded in his vehicle to the entrance to Sderot where he was attacked by a pickup

truck filled with terrorists who were infiltrating Sderot. Eitan was shot in the arm, but he

continued to drive until his vehicle could no longer move after continuing to be hit with gunfire.

He got into another resident’s vehicle who had also been shot. Eitan plugged the other

individual’s gunshot wound with his finger, and the two were able to get north of Sderot where

they found an ambulance to receive care.

       1027. Odeya did not know what happened to her husband as she was holed up in the

safe room for 48 hours. She believed him to be among the dead or captured and, aside from the

emotional distress she endured because of her own personal ordeal within the safe room, she

also suffered emotional distress from the belief that her husband had been killed. While Eitan

survived, he has undergone multiple surgeries, physical therapy, and emotional trauma that has

caused additional emotional distress for Odeya.

       1028. Plaintiff Naomi Teicher is a citizen of the United States and a resident of the

State of Israel. She is the mother of Odeya Chen Natan, a/k/a Odeya Chen Teicher.



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        1029. Plaintiff Michael Jay Teicher is a citizen of the United States and a resident of

the State of Israel. He is the father of Odeya Chen Natan, a/k/a Odeya Chen Teicher.

        1030. As a direct and foreseeable result of the October 7 Attack, Plaintiff Odeya Chen

Natan, a/k/a Odeya Chen Teicher, has suffered severe physical and mental anguish and extreme

emotional distress, and economic loss.

        1031. As a direct and foreseeable result of the October 7 Attack and the injuries of

Odeya Chen Natan, a/k/a Odeya Chen Teicher, Plaintiffs Naomi Teicher and Michael Jay

Teicher have suffered severe mental anguish and extreme emotional distress, and economic

loss.

        PP.      The Amar Family

        1032. Naama Saffer Amar was a citizen of the United States and a resident of the State

of Israel when she was injured by Hamas. She was 34 years old at the time.

        1033. Naama Saffer Amar was at home in Ofakim on October 7, 2023, when Hamas

terrorists invaded. Terrorists surrounded Naama’s house shooting, prohibiting her and her

family from leaving their building for two days. There were 50 deaths in the neighborhood,

with many, if not all, of her neighbors dying, leaving her to fear for her safety.

        1034. Naama was displaced from her home for two weeks.

        1035. Plaintiff A.A. is a citizen of the United States and a resident of the State of

Israel. Plaintiff Naama Saffer Amar, as guardian of A.A., brings this claim on behalf of A.A.,

a minor child.

        1036. Plaintiff G.A. is a citizen of the United States and a resident of the State of

Israel. Plaintiff Naama Saffer Amar, as guardian of G.A., brings this claim on behalf of G.A.,

a minor child.




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        1037. Plaintiff O.A. is a citizen of the United States and a resident of the State of

Israel. Plaintiff Naama Saffer Amar, as guardian of O.A., brings this claim on behalf of O.A.,

a minor child.

        1038. Plaintiff A.M.A. is a citizen of the United States and a resident of the State of

Israel. Plaintiff Naama Saffer Amar, as guardian of A.M.A., brings this claim on behalf of

A.M.A., a minor child.

        1039. Plaintiff A.E.A. is a citizen of the United States and a resident of the State of

Israel. Plaintiff Naama Saffer Amar, as guardian of A.E.A., brings this claim on behalf of

A.E.A., a minor child.

        1040. As a direct and foreseeable result of the October 7 Attack, Plaintiffs Naama

Saffer Amar, A.A., G.A., O.A., A.M.A., and A.E.A. suffered severe physical and mental

anguish and extreme emotional distress while also being forced to relocate from their home,

and economic loss.

        QQ.      The Goodman Family

        1041. Plaintiff Yehoshua Goodman was a citizen of the United States and a resident

of the State of Israel when he was injured by Hamas. He was 43 years old at the time.

        1042. Plaintiff Shira Goodman was a citizen of the United States and a resident of the

State of Israel when she was injured by Hamas. She is the wife of Yehoshua Goodman.

        1043. On October 7, 2023, Yehoshua and Shira were in Tifrach, Israel, unable to get

back to their home in Ofakim. Rockets fell two houses away from where their family was

staying and shattered windows in the house where they were staying, causing them to fear for

their safety.

        1044. When Yehoshua and Shira were able to return home to Ofakim, they were afraid

to leave their house.




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       1045. Plaintiff A.G. is a citizen of the United States and a resident of the State of

Israel. Plaintiff Yehoshua Goodman, as guardian of A.G., brings this claim on behalf of A.G.,

a minor child.

       1046. Plaintiff Ba.G. is a citizen of the United States and a resident of the State of

Israel. Plaintiff Yehoshua Goodman, as guardian of B.G., brings this claim on behalf of B.G.,

a minor child.

       1047. Plaintiff Y.G. is a citizen of the United States and a resident of the State of

Israel. Plaintiff Yehoshua Goodman, as guardian of Y.G., brings this claim on behalf of Y.G.,

a minor child.

       1048. Plaintiff Bi.G. is a citizen of the United States and a resident of the State of

Israel. Plaintiff Yehoshua Goodman, as guardian of B.G., brings this claim on behalf of BG., a

minor child.

       1049. Plaintiff M.G. is a citizen of the United States and a resident of the State of

Israel. Plaintiff Yehoshua Goodman, as guardian of M.G., brings this claim on behalf of M.G.,

a minor child.

       1050. Plaintiff N.G. is a citizen of the United States and a resident of the State of

Israel. Plaintiff Yehoshua Goodman, as guardian of N.G., brings this claim on behalf of N.G.,

a minor child.

       1051. As a direct and foreseeable result of the October 7 Attack, Plaintiffs Yehoshua

Goodman, Shira Goodman, A.G., Ba.G., Y.G., Bi.G., M.G., and N.G. suffered severe physical

and mental anguish and extreme emotional distress, and economic loss.

       RR.       The Gutstein Family

       1052. Avraham Gutstein was a citizen of the United States and a resident of the State

of Israel when he was injured by Hamas. He was 43 years old at the time.




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       1053. On October 7, 2023, Avraham Gutstein was in Ashkelon when rockets began

falling in the area where he had been attending synagogue. A rocket fell in a nearby parking

lot, shattering windows, and causing him to fear for his safety.

       1054. Avraham owns two kindergarten centers in Ashkelon, and these locations were

damaged by rockets, resulting in collapsed walls and damage to the buildings.

       1055. Avraham is also a volunteer with an organization known as “Zaka,” which

provides first-responder and search-and-rescue operations, among other activities, in the

aftermath of mass-casualty events. In this capacity, Avraham was stationed at the hospital

where he saw the casualties, including dead bodies, coming from various locations as a result

of the October 7 Attack.

       1056. Avraham suffers from emotional trauma, sleep disturbances, endless thoughts

of mortality, and PTSD.

       1057. Plaintiff Miriam Gutstein is a citizen of the United States and is a resident of

the State of Israel. She is the spouse of Avraham Gutstein.

       1058. Plaintiff Z.C.G. is a citizen of the United States and is a resident of the State of

Israel. Plaintiff Miriam Gutstein, as next-of-kin of Z.C.G., brings this claim for Z.C.G. as the

minor child of Avraham Gutstein.

       1059. Plaintiff Yitshak Yisachar Gutstein is a citizen of the United States and is a

resident of the State of Israel. He is the son of Avraham Gutstein.

       1060. Plaintiff Tamar Gutstein is a citizen of the United States and a resident of the

State of Israel. She is the daughter of Avraham Gutstein.

       1061. Plaintiff S.G. is a citizen of the United States and is a resident of the State of

Israel. Plaintiff Miriam Gutstein, as next-of-kin of S.G., brings this claim for S.G. as the minor

child of Avraham Gutstein.




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       1062. As a direct and foreseeable result of the October 7 Attack, Plaintiff Avraham

Gutstein has suffered severe physical and mental anguish and extreme emotional distress, and

economic loss.

       1063. As a direct and foreseeable result of the October 7 Attack and the injuries to

Avraham Gutstein, Plaintiffs Miriam Gutstein, Tamar Gutstein, Z.C.G., Yitshak Yisachar

Gutstein, and S.G. have suffered severe mental anguish and extreme emotional distress, and

economic loss.

       SS.       The Tawil Family

       1064. Shelomo Tawil was a citizen of the United States and a resident of the State of

Israel when he was injured by Hamas. He was 27 years old at the time.

       1065. On October 7, 2023, Shelomo Tawil was an IDF reservist. Following Hamas’s

invasion of Israel, Shelomo was called up to serve in the 646th Brigade.

       1066. Shelomo served in Gaza and Lebanon for over 170 days, from October 7, 2023,

through March 29, 2024. He was part of the 646th Brigade’s evacuation squad, clearing out

damaged homes and bodies, including the bodies of dead friends.

       1067. As a direct and foreseeable result of the October 7 Attack, Plaintiff Shelomo

Tawil has suffered severe mental anguish and extreme emotional distress, and economic loss.

       TT.       The Elitzur Family

       1068. Plaintiff Barak Elitzur was a citizen of the United States and a resident of the

State of Israel when he was injured by Hamas on December 4, 2023.

       1069. Barak was a Paratrooper in the IDF. His brigade was one of the first military

forces to enter Gaza.

       1070. Barak and his team were stationed in Gaza’s Shuja’iyya neighborhood, a central

and highly populated enclave controlled by Hamas.




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        1071. On December 4, 2023, Barak and his team were on operational duty, riding in

an armored personnel carrier (“APC”) used to transport soldiers deployed in the Gaza Strip. 83

        1072. As the team was preparing to exit the APC, an anti-tank missile fired at close

range blasted through the vehicle and exploded, causing a fire to quickly spread inside the

vehicle. The team began to flee in disarray through the vehicle’s hatch.

        1073. Before Barak could react, his entire body caught on fire, and he screamed in

agony for his team to help him. Because no one responded, he assumed that his team had been

killed outside the APC by terrorists. Barak realized that these might be his final moments alive.

        1074. Barak desperately reached out and located the emergency exit handle in the

APC and faced a choice between dying from the fire or exiting the APC to be ambushed by

terrorists. He grabbed the exit handle and burst out of the APC.

        1075. To his relief, no terrorists were outside the vehicle, and Barak instinctively

began rolling on the ground to extinguish the fire, covering his burning body with sand. He

was able to put out the fire, but his hands were severely burned, and he was unable to operate

his weapon. He was bleeding profusely and was in excruciating pain.

        1076. The night before this particular mission, Barak and his team received a donation

of fire-resistant uniforms, and this uniform helped save Barak’s life.

        1077. Eventually, Barak was located by his team, evacuated out of Gaza, and picked

up by an ambulance. The 20-minute ambulance ride felt like hours and Barak was overcome

with emotion believing he would never see his wife and son again.

        1078. Barak was airlifted to a hospital in Jerusalem where he was diagnosed with

serious third-degree burns and hospitalized for three and a half weeks. He underwent daily




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    The APC is armed with three machine guns on its exterior and has an emergency hatch-exit on top and can
hold 10 soldiers.


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treatments to clean and re-bandage his burns. The pain was unbearable during these treatments,

bringing him to tears despite being administered pain medication.

        1079. Since his discharge from the hospital, Barak has suffered from severe pain and

has large scars on his body. As part of the healing process, he must apply silicone cream to his

scars and wear pressure and silicone bandages.

        1080. Barak is also subject to burdensome restrictions including non-exposure to the

sun. This has greatly affected his quality of life, as Israel is subject to intense heat and sunlight

for the majority of the year. Barak must wear long-sleeve shirts, even in the hot summer

months, and must constantly apply sunscreen lotion.

        1081. Barak is currently undergoing physiotherapy and hydrotherapy in an effort to

improve body mobility and prevent future complications. While these treatments are often very

painful, they are necessary to maintain what is left of Barak’s normal mobility.

        1082. Plaintiff Barak Elitzur brings this action individually, and as the co-legal

guardian of his minor child M.E., who is a citizen of the United States and a resident of the

State of Israel.

        1083. Plaintiff Rivka Tamar Elitzur is a citizen of the United States and a resident of

the State of Israel. She brings this action individually, and as the co-legal guardian of minor

child M.E. She is the wife of Barak Elitzur.

        1084. Plaintiff Shai Elitzur is a citizen and resident of the State of Israel. He brings

this claim as the father of Plaintiff Barak Elitzur.

        1085. Plaintiff Rivka Ahuva Elitzur is a citizen of the United States and a resident of

the State of Israel. She is the mother of Plaintiff Barak Elitzur.

        1086. Plaintiff Daniel Menachem Elitzur is a citizen of the United States and a resident

of the State of Israel. He is the brother of Plaintiff Barak Elitzur.




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       1087. As a direct and foreseeable result of the October 7 Attack and the attack that

followed on December 4, 2023, Plaintiff Barak Elitzur has suffered severe physical and mental

anguish and extreme emotional distress, and economic loss.

       1088. As a direct and foreseeable result of the October 7 Attack and the subsequent

December 4, 2023, attack in which Plaintiff Barak Elitzur was injured, Plaintiffs Rivka Tamar

Elitzur, Shai Elitzur, M.E., Rivka Ahuva Elitzur, and Daniel Menachen Elitzur have suffered

severe mental anguish and extreme emotional distress, and economic loss.

       UU.     The Ben Chaim Family

       1089. Plaintiff Dvir Ben Chaim was a citizen of the United States and a resident of the

State of Israel when he was injured by Hamas on December 4, 2023, in the same attack as

Plaintiff Barak Elitzur.

       1090. Dvir Ben Chaim holds the rank of Senior Sergeant Major in the IDF.

       1091. As a result of the October 7 Attack in Israel by Hamas, Dvir was deployed into

Gaza on November 26, 2023. He and his team were on operational duty on December 4, 2023,

in the Shuja’iyya neighborhood in Gaza.

       1092. As part of his operational duty, Dvir and his team were riding in an armored

personnel carrier (APC) when an anti-tank missile hit the APC at close range and exploded

inside causing a fire to spread quickly.

       1093. Panic and chaos ensued, and Dvir was disoriented and felt intense heat from the

blast on his upper body. He determined that his right arm was on fire, and he was bleeding

profusely from shrapnel wounds.

       1094. Once the team extinguished the fire, Dvir discovered that his teammate, Barak

Elitzur, was seriously injured. Despite his serious injuries, Dvir attended to Barak, displaying

his deep concern and allegiance to his comrades.




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        1095. Dvir was airlifted from Gaza and transported to a hospital in Jerusalem where

he spent two weeks in the hospital and underwent multiple painful surgeries and treatments for

his injuries.

        1096. The night before the mission, Dvir and his team received a donation of new fire-

resistant uniforms which were essential to saving Dvir’s life, as he would likely have perished

in the fire without the fire-resistant uniform.

        1097. Following his release from the hospital, Dvir has undergone months of

rehabilitation and will continue to receive further surgeries in the foreseeable future as he has

significant scarring all over his body.

        1098. Prior to the October 7 Attack, Dvir was calm, patient, and easy-going. However,

he is now irritable and impatient, which has significantly affected his relationships with loved

ones.

        1099. Dvir is subject to burdensome restrictions including non-exposure to the sun on

his arm. This has a lasting impact on his quality of life in Israel, as the country experiences

intense heat and sunlight for the majority of the year. Dvir must keep the injured areas on his

body covered, even during Israel’s blistering summer months.

        1100. Plaintiff Dvir Ben Chaim brings this action individually, and as the co-legal

guardian of his minor children, M.B.C. and A.B.C., both of whom are citizens and residents of

the State of Israel.

        1101. Plaintiff Shachar Ben Chaim is a citizen and resident of the State of Israel. She

is the wife of Dvir Ben Chaim.

        1102. Plaintiff Shachar Ben Chaim also brings this action as the co-legal guardian of

her minor children, M.B.C. and A.B.C.

        1103. Plaintiff Yaron Ben Chaim is a citizen of the United States and a resident of the

State of Israel. He is the father of Dvir Ben Chaim.



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        1104. Plaintiff Orly Ben Chaim is a citizen of the United States and a resident of the

State of Israel. She is the mother of Dvir Ben Chaim.

        1105. Plaintiff Oriya Ben Chaim a citizen of the United States and a resident of the

State of Israel. She is the sister of Dvir Ben Chaim.

        1106. Plaintiff Tal Ben Chaim is a citizen of the United States and a resident of the

State of Israel. He is the brother of Dvir Ben Chaim.

        1107. Plaintiff Shiloh Ben Chaim is a citizen of the United States and a resident of the

state of Israel. He is the brother of Dvir Ben Chaim.

        1108. Plaintiff Roni Ben Chaim is a citizen of the United States and a resident of the

State of Israel. He is the brother of Dvir Ben Chaim.

        1109. As a direct and foreseeable result of the October 7 Attack and the attack that

followed on December 4, 2023, Plaintiff Dvir Ben Chaim has suffered severe physical and

mental anguish and extreme emotional distress, and economic loss.

        1110. As a direct and foreseeable result of the October 7 Attack and the attack that

followed on December 4, 2023, in which Plaintiff Dvir Ben Chaim was injured, Plaintiffs

Shachar Ben Chaim, Yaron Ben Chaim, Orly Ben Chaim, Oriya Ben Chaim, Tal Ben Chaim,

Shiloh Ben Chaim, Roni Ben Chaim, M.B.C., and A.B.C. have suffered severe mental anguish

and extreme emotional distress, and economic loss.

        VV.    The Lahav Family

        1111. Plaintiff Lotus Lahav is a citizen of the United States and a resident of the State

of Israel.

        1112. Plaintiff Irit Lahav is a citizen and resident of the State of Israel. She is the

mother of Plaintiff Lotus Lahav.




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          1113. On the morning of October 7, 2023, at approximately 6:35 a.m., Plaintiff Lotus

Lahav and her mother, Irit Lahav, were fast asleep in their home in Kibbutz Nir Oz when they

were jolted awake by the sound of incoming rockets and sirens.

          1114. Irit rushed to the family’s safe room and frantically yelled for Lotus to join her.

Lotus quickly grabbed the family dog and Irit’s cell phone and ran to join her mother.

Immediately after they closed the door to their safe room, they heard gunshots and voices

outside their window.

          1115. Panicked by this development, Lotus and Irit immediately locked the safe room

windows and turned off all the lights — but there was no lock to secure the safe-room door.

          1116. Forced to find a solution with their lives on the line, Irit frantically messaged

her brother and sister for help. Her brother responded with a picture of his safe-room door

secured with two broomsticks, but Lotus and Irit had no broomsticks.

          1117. Hysteria began to creep into the mother and daughter.

          1118. Irit located a vacuum cleaner hose, a boat oar, and a leather strap, and using her

ingenuity, she knotted the leather strap and strategically placed the oar and vacuum hose by the

door to create a makeshift lock that she prayed would be enough to keep her and her daughter

alive.

          1119. As they hid, Lotus and Irit heard the sounds of gunshots, grenades, and RPGs

and learned that those sounds were coming from Hamas terrorists who had infiltrated Kibbutz

Nir Oz.

          1120. At approximately 10:30 a.m., they heard male voices shouting in Arabic and a

barrage of gunfire toward the house. Moments later, terrorists burst through the back door of

their home.




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       1121. Lotus and Irit sat in horrified silence as they listened to the sounds of the

terrorists destroying their home, hearts pounding as the gunshots and crashing grew closer and

closer. Within minutes, the terrorists discovered the safe room.

       1122. The terrorists started shouting and beating on the door, pushing Irit’s makeshift

lock to the brink.

       1123. Believing they were going to die, Lotus and Irit held each other close, said their

goodbyes, and braced for their deaths.

       1124. Remarkably, Irit’s lock withstood nearly ten minutes of terrorists clawing at the

door. Finally, the terrorists gave up and moved on to a neighboring home.

       1125. Approximately 45 minutes later, the terrorists returned. Lotus and Irit held their

breath in their safe room, their lives flashing before their eyes as terrorists burst back into the

house, shouting and shooting indiscriminately. The terrorists made their way back to the safe-

room door, attempting to pry it open, but they were unsuccessful once again.

       1126. The terrorists attempted to breach the safe-room door on five separate occasions

that day causing what felt like a never-ending cycle of terror for Lotus and Irit. With each

pound on the door, they prepared for their imminent deaths.

       1127. For nearly 12 hours, Lotus and Irit hid in the safe room in complete silence and

utter darkness as the sounds of terrorists decimating their community echoed around them.

       1128. At approximately 6 p.m., they heard a Hebrew-speaking man identify himself

as an IDF soldier. Lotus and Irit were immediately wary of the man. They had heard stories of

Hamas terrorists pretending to be soldiers to try to coax civilians out of hiding, only to brutally

murder them. Extraordinarily, the IDF soldier was a friend of Irit’s brother, and mentioning

this fact convinced Lotus and Irit to cautiously emerge from the safe room. They found their

home completely destroyed.




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       1129. The IDF soldier promptly escorted them to a safer location on the kibbutz along

with other survivors. The brief sense of relief they felt from their rescue was quickly replaced

by agonizing grief. As they walked through the ashes of their close-knit kibbutz community,

the ruthless devastation by the brutal Hamas attack was overwhelming. It was clear that their

kibbutz would never be the same.

       1130. On October 8, 2023, after a sleepless night in the community shelter, Lotus and

Irit were finally allowed to return home. IDF soldiers escorted them through the ruins of their

beloved community, guarding them closely as they cautiously navigated around unexploded

grenades.

       1131. When they arrived, Lotus barely recognized her home. Everything was in

disarray: all the windows were shattered, and their belongings were ransacked and stolen. The

terrorists had even raided Irit’s jewelry – stealing an extremely sentimental necklace that had

been passed down from her mother, among scores of other valuables.

       1132. Lotus and Irit only had five minutes to gather their belongings and leave their

lifelong home. Lotus froze — she could barely bring herself to touch anything, knowing that

her possessions had been touched by the same hands that murdered her friends and neighbors.

       1133. With their allotted five minutes quickly coming to a close, Lotus dug through

the debris searching for her phone, wallet, and ID, but they were impossible to find in all the

chaos. When she left, she took only one pair of pants, one T-shirt, and her toothbrush.

       1134. The horrors of that day continue to traumatize Plaintiffs Lotus and Irit Lahav.

Lotus has difficulty functioning in her daily life due to her mental suffering. Her life will never

be the same. Irit has suffered from extreme insomnia, anxiety, crying spells, hyperawareness,

anger and a constant general sense of unease — all of which rendered her unable to return to

work until January 1, 2024. The terrorists not only destroyed her home but shattered her sense

of peace and security.



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        1135. Plaintiff Ivonei Da Silva Daniel is a citizen and resident of Brazil. He is the

father of Lotus Lahav.

        1136. As a direct and foreseeable result of the October 7 Attack, Plaintiff Lotus Lahav

has suffered severe physical and mental anguish and extreme emotional distress, and economic

loss.

        1137. As a direct and foreseeable result of the October 7 Attack in which Plaintiff

Lotus Lahav was injured, Plaintiffs Irit Lahav and Ivonei Da Silva Daniel have suffered severe

mental anguish and extreme emotional distress, and economic loss.

        WW. The Rubin Family

        1138. Amichai Rubin was a citizen of the United States and a resident of the State of

Israel when he was murdered by Hamas. He was 23 years old.

        1139. Amichai Rubin was serving in the Golani Brigade in the IDF.

        1140. On October 7, 2023, Amichai and his fellow soldiers were stationed at a small

outpost along the Gaza border, near Kibbutz Kissufim.

        1141. In the early morning hours of Simchat Torah—a sacred holiday on the Jewish

calendar—rocket sirens erupted in a deafening cry, piercing the once tranquil skies, as barrages

of mortar shells and projectiles rained down, unleashing chaos and terror on Southern Israel.

        1142. Bewildered by the unexpected and incessant wailing of the rocket sirens,

Amichai and his comrades followed protocol and rushed to the outpost’s cafeteria, which also

served as a bomb shelter.

        1143. Amichai, armed with his Negev machine gun, and his fellow soldiers began

hearing gunshots and violent screams in Arabic growing closer and closer. Only then did

Amichai and his comrades realize that dozens of Hamas terrorists had breached the Gaza border

and infiltrated the outpost where they were stationed.




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        1144.    For 30 minutes, Hamas terrorists relentlessly attempted to break into the

cafeteria with machine guns, grenades, and other explosive devises. After an RPG managed to

knock down the front door to the cafeteria, Amichai and his commanding officer were forced

to fight back and defend their unarmed fellow soldiers by opening fire on the onslaught of

terrorists outside.

        1145. Amichai and his commander managed to kill numerous terrorists and prevent

them from entering the cafeteria. They waged a four-hour gunfight with the Hamas terrorists

and successfully shielded their comrades from complete annihilation. During the siege,

Amichai was shot by Hamas terrorists in the hand and leg, but he continued battling fiercely.

        1146. Another bullet grazed Amichai’s head, but he continued to fight on for another

20 minutes before he finally collapsed from his injuries.

        1147. Because of the sustained chaos and brutality surrounding the attack, six hours

passed before Israeli rescue teams managed to evacuate Amichai to a Jerusalem hospital, where

medical teams fought for two days to save his life.

        1148. Amichai was eventually declared brain dead, and his family made the noble

decision to donate his organs, thereby saving the lives of five individuals.

        1149. Amichai and his commander, along with two other soldiers, were killed, and

several others were wounded while battling Hamas terrorists at the small outpost near Kibbutz

Kissufim.

        1150. Plaintiff Yishai Rubin is a citizen of the United States and a resident of the State

of Israel. He brings this action individually, as the surviving father of Amichai Rubin, and also

as the heir-at-law for the Estate of Amichai Rubin.

        1151. Plaintiff Batya Rubin is a citizen of the United States and a resident of the State

of Israel. She brings this action individually, as the surviving mother of Amichai Rubin, and

also as the heir-at-law for the Estate of Amichai Rubin.



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       1152. Plaintiff David Rubin is a citizen of the United States and a resident of the State

of Israel. He is the brother of Amichai Rubin.

       1153. Plaintiff Yedidya Rubin is a citizen of the United States and a resident of the

State of Israel. He is the brother of Amichai Rubin.

       1154. Plaintiff Oz Rubin is a citizen of the United States and a resident of the State of

Israel. He is the brother of Amichai Rubin.

       1155. Plaintiff Eitan Rubin is a citizen of the United States and a resident of the State

of Israel. He is the brother of Amichai Rubin.

       1156. Plaintiff Yair Rubin is a citizen of the United States and a resident of the State

of Israel. He is the brother of Amichai Rubin.

       1157. Plaintiff Odeya Ben Shimol is a citizen of the United States and a resident of

the State of Israel. She is the sister of Amichai Rubin.

       1158. Plaintiff Amiya Tiferet is a citizen of the United States and a resident of the

State of Israel. She is the sister of Amichai Rubin.

       1159. Since Amichai perished, the lives of his family members have drastically

changed forever. Stricken by grief and sorrow, Plaintiff Batya Rubin finds herself struggling

to focus on even the simplest of tasks, her mind clouded and distracted by loss and pain. Her

ability to work full-time has been severely compromised, and she fights daily to maintain a

routine while caring for the remaining members of her family, who are all grappling with the

emotional toll of their devastating loss.

       1160. Plaintiff Yishai Rubin’s ability to carry out his work duties has also been

severely affected. Once a sharp and proactive manager, he is now forced to invest every ounce

of his remaining energy just to meet expectations, leaving him drained and exhausted at the

end of each day.




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       1161. As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate

of Amichai Rubin experienced conscious pain and suffering and suffered economic loss.

       1162. As a direct and foreseeable result of the October 7 Attack and the death of

Amichai Rubin, Plaintiffs Yishai Rubin, Batya Rubin, David Rubin, Yedidya Rubin, Oz Rubin,

Eitan Rubin, Yair Rubin, Odeya Ben Shimol, and Amiya Tiferet have suffered severe mental

anguish and extreme emotional distress, and economic loss.

       XX.     The Atzili Family

       1163. Aviv Atzili was a citizen of Israel and a resident of Israel when he was murdered

by Hamas terrorists on October 7, 2023.

       1164. Liat Atzili was a citizen of the United States and a resident of the State of Israel

when she was taken hostage by Hamas terrorists on October 7, 2023.

       1165. Ofri Atzili is a citizen of the United States and a resident of Israel when he was

brutally attacked by Hamas on October 7, 2023. He is the son of Aviv and Liat Atzili.

       1166. Netta Atzili is a citizen of the United States and a resident of Israel when he was

brutally attacked by Hamas on October 7, 2023. He is the son of Aviv and Liat Atzili.

       1167. Ayah Atzili is a citizen of the United States and a resident of Israel when her

family members were brutally attacked by Hamas on October 7, 2023. She is the daughter of

Aviv and Liat Atzili.

       1168. Aviv Atzili and his wife Liat Atzili—an American citizen—had known each

other since they were 14. After years of friendship, their bond deepened, and they became a

couple at 19. Together, they built a life centered around their family, raising three children and

building a home in Kibbutz Nir Oz, where they were deeply involved in the community they

loved. As their children began pursuing their own paths, the couple eagerly looked forward to

the next chapter of their lives, already planning the trips and adventures they would share.




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        1169. Growing up in Kibbutz Nir Oz, Aviv always knew he wanted to raise his own

family there. A man of action, he was the first to lend a helping hand to neighbors in need.

From managing the community garage to repairing tractors and maintaining the farming

equipment that sustained their livelihoods, he became a central part of the kibbutz who earned

the trust and admiration of all who knew him.

        1170. On October 7, 2023, at approximately 6:30 a.m., Aviv and Liat awoke to the

deafening sounds of rockets and explosions. They rushed to their safe room and contacted their

children, two of whom – Netta and Ofri – were in their own apartments within the kibbutz, to

check on their safety. Having lived along the Gaza border for years and endured countless

rocket attacks, the family followed a grimly familiar routine: each member huddled in their

safe rooms, waiting for the barrage to subside.

        1171. At approximately 6:45 a.m., Aviv heard the chilling sound of gunfire outside

their home. The kibbutz had been breached. Known for his unwavering commitment to those

around him, Aviv left his home driven by a fierce love for his community and a determination

to protect it at all costs.

        1172. While briefly emerging from the safe room in his apartment, Ofri saw a

frightening scene—terrorists walking through the streets of the kibbutz, riding in a Toyota

truck, searching for their next target.

        1173. Netta also heard the gunshots, and he saw messages from neighbors that

terrorists were breaking into homes and attacking. Netta snuck out of his safe room, grabbed a

knife, and turned off the lights. He was terrified of being seen and certain he would be

murdered, though he hoped to at least put up some resistance.

        1174. On that fateful morning, Ayah Atzili was in Lotan, in northern Israel where she

was volunteering on a farm. A friend alerted her to the events unfolding in Nir Oz. When Ayah

checked the Nir Oz community chat on her phone, she found over 300 messages describing



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terrorists attacking the town—burning houses, firing weapons, and setting off explosives.

People were begging for help. Terrified for her family’s safety, Ayah called Netta, Ofri, and

her mother, Liat. They were unharmed but told her they couldn’t talk and had to stay hidden

and silent. Ayah fell into deep despair—crying, panicking, and feeling utterly hopeless. A

friend had to intervene to help her breathe and calm down as she witnessed the horror through

her phone.

       1175. While hiding in the safe room, Liat Atzili endured the relentless sounds of

gunfire, explosions, and screams. Reports from the kibbutz chat group began to filter in,

confirming missing and murdered members. Alone with her dog, she was paralyzed by fear

and consumed with concern for her children and husband. Her desperate attempts to contact

Aviv went unanswered.

       1176. At some point, terrorists entered Netta’s apartment. Terrified, he listened as

Arabic shouts grew louder and closer. The intruders ransacked the apartment, stealing his

belongings, but thankfully, they did not breach the safe room.

       1177.     At around 7:15 a.m. Aviv briefly returned to check on Liat, reassuring her that

everything would be okay. Unbeknownst to them, this would be their final moment together.

They had no chance to say goodbye. At approximately 8:30 a.m., Aviv sent a message to the

family group, reporting that terrorists had infiltrated the kibbutz, that he had confronted and

neutralized several attackers, and that everything would be fine. These were the last words his

family would ever hear from him.

       1178. Around 9:00 a.m., Aviv was shot and killed by Hamas terrorists in Nir Oz. His

body was taken to Gaza, where it remains to this day, denying his family the chance to provide

him with a proper burial.

       1179. Around 11:00 a.m., the nightmare took a harrowing turn. Two armed terrorists

stormed into her safe room, their intent unmistakable: she was to be their captive. With their



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loaded weapons, they barked orders at her leaving her with no choice but to comply. The

terrorists set fire to the home she had built with Aviv, erasing decades of memories in seconds.

Before leaving, they coldly shot the family’s dog, robbing her of even the smallest comfort.

Utterly alone, helpless, and paralyzed by fear, the terrorists forced her into a cramped stolen

car, already packed with five armed men, stripping her of her freedom as they headed toward

the Gaza Strip.

       1180. For 54 days, Liat was held hostage by Hamas in Khan Younis. Armed terrorists

controlled every aspect of her life—what she ate, when she slept, and how she moved. Each

day blurred into the next, a monotonous cycle of terror, uncertainty, and despair. She clung to

a single hope: that she might survive for the sake of her family, who she prayed were still alive.

       1181. At about 3:00 p.m., Ofri was rescued from his apartment. At about 5:30 p.m.,

Netta was rescued. They met at an evacuation point but their parents were not accounted for.

Ofri and Netta updated Ayah that they were okay but that they had not yet located Liat or Aviv.

       1182. On November 29, 2023, during the final day of a temporary ceasefire and

hostage deal, Liat Atzili was finally freed. Upon her release, she experienced immense relief

as she learned that her children were safe, but this peace was short-lived as she learned her

beloved husband Aviv was listed as injured and missing. Reuniting with her children brought

an overwhelming wave of relief and unimaginable emotions, yet the joy was overshadowed by

the aching absence of her beloved husband.

       1183. The following day, November 30, Liat was summoned into a room where

officials delivered the devastating news: Aviv had been killed. The confirmation came through

tissue samples—blood and brain tissue—while his remains were absent, leaving behind a brutal

and clinical finality that crushed the fragile hope she had clung to throughout her captivity. A

day after reuniting with her children, she told them that their father was gone.




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        1184. Since Aviv Atzili’s murder, the lives of his family have been irrevocably

altered. Liat Atzili is now a widow carrying the unbearable weight of loss while stepping into

the role of being the sole parent to their children. Aviv had been the rock of the family—the

one who brought stability, support, and love to their lives. Together, they had shared a lifetime

of memories: teenage romance, army service, raising children, and dreaming of a future they

would never experience.

        1185. Following the unprecedented attack and its tragic aftermath, Liat and the

children are each trying to cope in different ways. Ofri canceled his travel plans. Netta has been

unable to return to work or school. Ayah threw herself into volunteer work while grieving the

loss of her father.

        1186.   Their family home—a sanctuary where they had built their lives together—

now lies in ash and rubble. For nearly a year, Liat and their grown children lived in temporary

housing, a stark reminder of the life they lost. The once-thriving kibbutz community they

cherished is now a shadow of what it was, leaving them to navigate a future filled with grief

and uncertainty.

        1187. Plaintiff Liat Atzili brings this action as someone who was taken hostage by

Hamas terrorists on October 7, 2023, and subsequently released, and as the surviving spouse

of Aviv Atzili who was killed in Kibbutz Nir Oz on October 7, 2023.

        1188. As a direct and foreseeable result of the October 7 Attack, Plaintiff Liat Atzili

suffered severe physical and mental anguish and extreme emotional distress, and economic

loss, as a result of being taken hostage by Hamas terrorists who held her in captivity for 54

days before her release from Gaza.

        1189. Plaintiff Liat Atzili also suffered severe mental anguish and extreme emotional

distress as a direct and foreseeable result of the October 7, 2023, attack in which her husband,

Aviv Atzili, was killed.



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       1190. Plaintiffs Ofri Atzili, Netta Atzili and Ayah Atzili suffered severe mental

anguish and extreme emotional distress, and economic loss, as a direct and foreseeable result

of the October 7, 2023, attack in which their father, Aviv Atzili, was killed and their mother,

Liat Atzili, was attacked and taken hostage by Hamas terrorists.

       YY.     The Lavi and Barak Families

       1191. Plaintiff Mor Levzelter Lavi was a citizen of the United States and a resident of

the State of Israel when he was injured by Hamas.

       1192. He was traveling in Northern Israel when his mother and his brother in Kibbutz

Kerem Shalom came under attack by Hamas on October 7, 2023.

       1193. At approximately 6:30 a.m., Mor’s mother, Iris Lavi, was home alone when

rocket alarms started blaring through the kibbutz. Wasting no time as missiles fired overhead,

she rushed to the safe room. Suddenly, she heard gunfire and threatening voices in Arabic just

outside her window.

       1194. Nearby in the kibbutz, Mor’s brother, Raz Lavi, had just returned home from a

birthday party in the city of Be’er Sheva when the rocket alarms started blaring. Terrified by

the thought of being alone during the attack, he ran to his friend’s apartment next-door and

joined him and his girlfriend in their safe room.

       1195. At approximately 7:00 a.m., Mor was shaken awake by a barrage of calls from

his friends and family back home in Kibbutz Kerem Shalom. His heart sank and his head spun

as his loved ones detailed the horrors that were unfolding at home. He could not bear the

thought of being away from his family while their lives hung in the balance.

       1196. Desperate to make it back to his family, Mor began driving south around noon.

As more details emerged about the extent of the terrorist infiltration, Mor came to the gut-

wrenching realization that he would not be able to save his family.




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          1197.   Mor drove to Kibbutz Ein Hashofet, a community in Northern Israel and

gathering point for civilians displaced by the Hamas attacks. He met other displaced civilians

from Kibbutz Nahal Oz, a community that was also under attack by Hamas. Anguished by the

fear of losing their family and friends, they all sat glued to their TVs and their phones, waiting

for any sign of hope.

          1198. Meanwhile, Iris’s heart pounded out of her chest as the grenades and gunfire

exploded all around her home. Her mind began to race with panic as she pictured her son, Raz,

alone in his apartment nearby on the kibbutz. Unable to reach him, she was consumed by the

fear that they would not survive the massacre.

          1199. Iris was no stranger to tragedy. Her brother had been murdered in a terror attack,

and her sister had been killed in a car accident. She trembled at the thought that her life would

end in a similar fate as her beloved family members.

          1200. Iris’ terror turned into overwhelming guilt as she feared her mother would soon

lose a third child. She questioned whether her mother could survive that pain for a third time.

          1201. At the same time, Raz feared for his mother. The thought of her sitting

defenseless in her home terrified him. He briefly thought of leaving the safety of his shelter to

join her – but as horrifying news of terrorists hunting civilians in the streets came in, he knew

he had to stay put if he wanted to survive.

          1202. Iris and Raz remained in the confines of their safe rooms for over 24 agonizing

hours as explosions from grenades and gunfire blasted outside. They sat defenseless, ravaged

by the fear of what the terrorists could be doing to their family and bracing for their imminent

deaths.

          1203. Mor frantically monitored reports about what was unfolding in Southern Israel,

desperate to understand what was happening to his family and his beloved home.




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       1204. On the evening of October 8, 2023, Iris and Raz were finally evacuated from

their safe rooms. This would be the last time they set foot in their homes to date. They emerged

from hiding exhausted, emotionally devastated, and horrified by the terror they had endured.

       1205. With his home in Kibbutz Kerem Shalom in ruins, Mor was airlifted to a

temporary residence near Eilat alongside other displaced civilians from Kibbutz Kerem

Shalom. He then relocated to the small village of Ashalim in southern Israel, where he was

forced to start his life anew. He has yet to return home.

       1206.      Mor continues to grieve as he mourns the loss of several close community

members who were brutally murdered by Hamas on October 7, 2023. Some of his close friends

are still held hostage in Gaza, and he struggles to focus on his personal responsibilities knowing

his friends remain in captivity.

       1207. With the infrastructure of the kibbutz community destroyed, the responsibility

now falls on civilians like Mor to keep the community afloat. Mor now manages the education

system for Kerem Shalom’s displaced children out of necessity.

       1208. Mor continues to struggle with the loss of life as he knew it. Amid such extreme

uncertainty, he suffers from severe mental anguish and from persistent anxiety-induced pain in

his muscles surrounding his lungs, neck and back, and struggles with shortness of breath.

       1209. Plaintiff Golan Barak is a citizen and resident of the United States. He is Iris

Lavi’s brother.

       1210. As a direct and foreseeable result of the October 7 Attack on their family

members, Iris Lavi and Raz Lavi, in Kibbutz Kerem Shalom, Plaintiffs Mor Levzelter Lavi and

Golan Barak have suffered severe mental anguish and extreme emotional distress, and

economic loss.




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        ZZ.    The Sanandaji Family

        1211. Plaintiff Raquel Natalie Sanandaji was a citizen and resident of the United

States when she was injured by Hamas.

        1212. Raquel Natalie traveled to Israel in the Summer of 2023 to visit family and

friends. She extended her trip into the Fall, in order to celebrate the Jewish High Holidays while

in Israel.

        1213. Raquel Natalie had also heard about the Nova Music Festival, which was being

held the weekend of October 7, 2023. She and her friends made plans to attend the festival,

which was being held three miles from the Gaza Strip in the Negev desert. The festival was

also being held on the sacred holiday of Simchat Torah in the Jewish calendar. Raquel Natalie

was elated to be celebrating this momentous holiday, dancing to the music she loves with her

close friends and thousands of other Israelis, who share the same passion.

        1214. Raquel Natalie and her friends arrived at the Nova Music Festival at

approximately 1:00 a.m. on Saturday, October 7. Upon arriving at the festival, Raquel Natalie

was welcomed by a larger group, who led her to their campsite, and she unpacked her things.

Raquel Natalie and her friends then congregated with the thousands of other festival-goers,

where they danced freely through the night, never anticipating the terror and tragedy which

would arrive in a few short hours. At approximately 3:30 a.m., Raquel Natalie retired back to

the campsite to get some rest, and she and her friends planned to return to the party for sunrise.

        1215. At approximately 6:30 a.m., rockets began being fired and intercepted from

Gaza into Israel in close vicinity to the festival grounds.

        1216. During this initial rocket attack, Raquel Natalie was asleep and was woken by

a friend. While Raquel Natalie understood that the festival’s close proximity to Gaza added

some security risks, her friend calmly explained that rocket attacks on Israel were normal

during Jewish holidays, especially so close to Gaza, and that it would eventually pass.



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        1217. As Raquel Natalie counted several dozen rockets continuing to be fired, she

became increasingly wary of a full-scale attack on Israel. This was further exacerbated when

the festival organizers turned off the music and soon informed festival-goers to pack their

things and evacuate the festival grounds immediately.

        1218. Not yet having an understanding of the terror ensuing around her, Raquel

Natalie took her time to get ready in the portable bathrooms, as she assumed traffic would be

very slow on the two-lane dirt road leading out. She and her group departed this area, and days

later, she learned that the portable bathrooms had been shot up by terrorists just moments after

she left.

        1219. Raquel Natalie and her friends anxiously began driving down a congested road

with thousands of others toward the festival exit, following security’s directions. After roughly

ten minutes of driving, further panic ensued when security began screaming for everyone to

get out of their vehicles and run.

        1220. Raquel Natalie was confused and did not understand why attendees were being

directed to run. Moments later, she heard gunshots ring out and understood that there were

terrorists on foot and shooting indiscriminately at the festival goers.

        1221. Not knowing what direction or area the terrorists were coming from, and

without any other choice, Raquel Natalie and her friends exited their vehicle and began running

aimlessly, following in the direction of others.

        1222. During this time, Raquel Natalie’s mother, who lives in the United States and

suffers from multiple sclerosis, telephoned her, as she knew Raquel Natalie was at a music

festival and heard Israel was under attack. Knowing that stress can greatly exacerbate

symptoms of multiple sclerosis, Raquel Natalie dishonestly told her that she was not in the area

nor at the Nova Music Festival. This was a very difficult decision, as Raquel Natalie knew she

may not make it out alive and was lying to her mother in a moment of life and death. However,



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Raquel Natalie was in contact with other friends and informed them of her situation, bracing

herself for her own impending fate.

       1223. By approximately 9:00 a.m., Raquel Natalie and her friends had been running

for about two hours without any direction, in an effort to avoid being seen by terrorists. At one

point, Raquel Natalie reunited with others she knew from the festival, who were hiding in a

large ditch in the ground. The group urged Raquel Natalie and her friends to hide with them,

stating they would not be noticed by the terrorists. However, Raquel Natalie saw that they were

essentially a group of sitting ducks and would have no chance at survival if terrorists arrived

and began shooting at them. Raquel Natalie and her friends decided to leave the group and

again began haphazardly running to find a proper hiding spot from the terrorists. Raquel Natalie

would later learn that terrorists ambushed the group in the ditch, and none of them survived.

       1224. Several minutes later, Raquel Natalie and her friends found a police officer, the

first they had seen since the attacks started that day. The officer explained that terrorists had

intercepted police radio signals, and he could not call for backup without compromising their

location. The officer accompanied them until they encountered a large group of festival-goers

walking toward the town of Patish, which they learned had not been infiltrated by terrorists. At

the suggestion of the officer, Raquel Natalie and her friends joined the group headed for Patish.

       1225. Approximately thirty minutes later, Raquel Natalie and about ten other

individuals stopped to rest for a moment by a small tree. The group caught their breath for

roughly ten minutes, when suddenly, they noticed a pickup truck in the distance, driving toward

them. As videos of terrorists ravaging through Israel in pickup trucks that morning were being

circulated over Telegram and WhatsApp, the group realized they were in grave danger and

believed this to be terrorists. They had two options: run and risk being chased by the terrorists

driving or stay in their spot and hope that the terrorists would not notice them.




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          1226. Understanding that they could not compete with armed terrorists in a moving

vehicle, Raquel Natalie and the group accepted that this may be their last moments alive.

Raquel Natalie knew that within minutes, the terrorists would arrive at their spot and kill them

where they sat.

          1227. As the pickup truck approached where the group was hiding, a woman wearing

a festival wristband could be seen signaling to them. Raquel Natalie realized that the pickup

truck was actually coming to rescue them. Raquel Natalie and the group climbed onto the back

of the truck and were taken to Patish.

          1228. The driver, Moshe Sati, took Raquel Natalie and the group to an auditorium

which was sheltering many of the survivors, and he then drove back toward the festival to save

others.

          1229. By approximately 11:30 a.m., Raquel Natalie had miraculously made it out of

the Nova Music Festival alive. In Patish, she was fed and was later able to return home. Upon

returning home, Raquel Natalie informed her mother that she had been at the festival and was

directly in the line of fire.

          1230. Since the events of the October 7 Attack, Raquel Natalie Sanandaji has become

a global voice and advocate, outlining the events of October 7, 2023, and recalling her own

experience to audiences around the world.

          1231. Before October 7, 2023, Raquel Natalie had not suffered from anxiety nor had

panic attacks. Now something as simple as a loud noise on the street can trigger memories of

machine guns and rocket sirens blaring that fateful day.

          1232. Being a recognizable advocate for Israel and a known Jew has also resulted in

Raquel Natalie being subject to harassment in public and private spaces and being more self-

conscious of her Jewish heritage and outward symbols identifying her as Jewish such as her

Star of David necklace.



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        1233. Plaintiff Dalia Yerushalmi is a citizen and a resident of the United States. She

is the mother of Raquel Natalie Sanandaji.

        1234. As a direct and foreseeable result of the October 7 Attack, Plaintiff Raquel

Natalie Sanandaji suffered severe mental anguish and extreme emotional distress, and

economic loss.

        1235. As a direct and foreseeable result of the October 7 Attack during which her

daughter was injured, Plaintiff Dalia Yerushalmi suffered severe mental anguish and extreme

emotional distress, and economic loss.

        AAA. The Shahar Family

        1236. Plaintiff Avraham Shahar is a citizen of the United States and a resident of the

State of Israel.

        1237. Plaintiff Idit Shahar is a citizen and resident of the State of Israel. She is the

wife of Avraham Shahar.

        1238. At approximately 6:30 a.m., on October 7, 2023, Avraham and his minor child,

Z.S., were training for a cycling triathlon in the vicinity of Kibbutz Kfar Aza, which is

approximately three miles from the Israel-Gaza border.

        1239. Avraham was supervising his minor child and another minor cyclist and was

following behind them in his vehicle.

        1240. As they began their training, alarms began to sound causing the two minor

children to seek protection on the ground outside Avraham’s vehicle. Avraham quickly

instructed the children to get into the car, and they drove away from the area.

        1241. As they approached Kibbutz Mefalsim, approximately four miles from the Gaza

Strip, Avraham noticed what he believed to be a group of IDF soldiers, and he proceeded to

slow down; however, as they got closer, Avraham’s son began screaming in terror as he

realized that the group were terrorists.



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        1242. Suddenly, the terrorists unleashed a barrage of machine gunfire at the vehicle,

and a bullet pierced Avraham’s right arm, just above his elbow. Despite the excruciating pain,

Avraham focused on protecting the two children in his vehicle. As they attempted to navigate

through the attack, Avraham’s son was shot in his left shoulder, and he was in agonizing pain.

        1243. Avraham and his son did their best to maintain their composure and try to help

each other maneuver the car because Avraham was unable to do it independently. They

managed to make a U-turn and speed away from the terrorists, back toward Kibbutz Kfar Aza.

        1244. Near Kibbutz Kfar Aza, they stopped for medical help to treat the two gunshot

wounds.

        1245. They later encountered another member of the children’s cycling club, who

drove them to a nearby city, Netivot. From there, they took an ambulance to Soroka Medical

Center in Be’er Sheva.

        1246. Avraham was eventually transferred to Wolfson Medical Center in central

Israel, where he stayed for approximately one month. Then, he began rehabilitation in order to

regain functionality in his arm. Avraham still does not have full functionality or movement of

his right hand.

        1247. Avraham’s minor child was also transferred to Wolfson Medical Center, where

he remained for approximately two weeks. Since being discharged, he has focused on his

rehabilitation. A large, disfiguring scar remains on his shoulder.

        1248. The other child was also significantly injured on his face, and he lost vision in

his right eye.

        1249. When the terrorists attacked Kibbutz Or Ha Ner on October 7, 2023, Avraham’s

wife, Idit, was alone with her young daughter, R.S., and they were forced to shelter in the safe

room of their home to hide from the attack occurring on the other side of the door. While Hamas

terrorists unleashed a barrage of heavy gunfire, grenades, explosive charges and sniper fire



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against the innocent civilian residents of the Kibbutz Or Ha Ner, Idit and her daughter endured

the trauma of listening to the massacre of their community.

        1250. Since that fateful day, Idit has left her job to care for her traumatized family

members.

        1251. Plaintiff Yarden Shahar is a citizen of the United States and a resident of the

State of Israel. She is the daughter of Avraham Shahar and Idit Shahar. Although she was in

San Diego, California, at the time of the attacks, she suffered trauma and fear for her family as

she followed the horrors unfold upon her family.

        1252. Plaintiff Avraham Shahar brings this action individually and as legal guardian

of his minor children, Z.S. and R.S., both of whom are citizens of the United States and

residents of the State of Israel.

        1253. As a direct and foreseeable result of the October 7 Attack, Plaintiff Avraham

Shahar and his children, Plaintiffs Z.S. and R.S., has suffered severe physical and mental

anguish and extreme emotional distress, and economic loss.

        1254. As a direct and foreseeable result of the October 7 Attack on their family

members, Plaintiffs Avraham Shahar, Idit Shahar, Yarden Shahar, Z.S., and R.S. have suffered

severe mental anguish and extreme emotional distress, and economic loss.

        BBB. The Ben Zvi Family

        1255. Amitai Ben Zvi was a citizen of the United States and a resident of the State of

Israel when he was murdered by Hamas. He was 80 years old.

        1256. On October 7, 2023, Amitai was in his home in Kibbutz Nir Oz, with his

devoted caregiver, Jimmy. Amitai suffered from Parkinson’s disease and had relied on Jimmy’s

attentive care for four years.

        1257. At approximately 6:30 a.m., sirens blared through the kibbutz, shattering the

morning calm. Jimmy hurried into the safe room, which also served as Amitai’s bedroom.



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         1258. Fear and panic set in as the roar of six terrorists screaming on motorcycles

circled Amitai’s home. He realized that terrorists had infiltrated Kibbutz Nir Oz and he could

not mobilize quickly enough to escape. He pleaded with Jimmy to tell his children he loved

them and to flee to save himself. However, Jimmy steadfastly refused to abandon Amitai.

         1259. Terrorists yelling in Arabic burst through the door to Amitai’s home searching

for potential victims. Jimmy hid under the bed while Amitai laid on top of it. They could hear

the sound of shattering glass as the terrorists ransacked the home.

         1260. Eventually, the terrorists left the house, but moments later, the terrorists

returned, blew open the safe room door, and executed Amitai, a defenseless elderly man lying

in his bed.

         1261. The terrorists spotted Jimmy hiding under the bed and violently dragged him

from his hiding place. As Jimmy passed Amitai’s lifeless body, he begged for and was granted

one final embrace of the man that he lovingly called “Abba,” meaning father in Hebrew.

         1262. Go-pro cameras worn by the terrorists captured videos of Jimmy handcuffed

and taken captive in a car, Amitai’s home set on fire, and later Jimmy in Gaza surrounded by

a mob.

         1263. Jimmy was mercilessly held hostage in Gaza for 49 agonizing days before his

release on November 24, 2023.

         1264. In the days following the October 7 Attack, Amitai’s children suffered

tremendous fear and distress as news flooded in from every direction, with no precise or official

confirmation of their father’s situation. Finally, on October 19, 2023, they received official

confirmation that their father had been murdered in cold blood.

         1265. Plaintiff Avishay Ben Zvi brings this action individually and also as an heir-at-

law for the Estate of Amitai Ben Zvi. He is a citizen and resident of the United States. He is a

surviving son of Amitai Ben Zvi.



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       1266. Plaintiff Gilad Ben Zvi brings this action individually and also as an heir-at-law

for the Estate of Amitai Ben Zvi. He is a citizen and resident of the State of Israel. He is a

surviving son of Amitai Ben Zvi.

       1267. Plaintiff Hagar Madnik brings this action individually and also as an heir-at-law

for the Estate of Amitai Ben Zvi. She is a citizen and resident of the United States. She is a

surviving daughter of Amitai Ben Zvi.

       1268.     Plaintiff Orna Avisrur brings this action individually and also as an heir-at-law

for the Estate of Amitai Ben Zvi. She is a citizen and resident of the State of Israel. She is a

surviving daughter of Amitai Ben Zvi.

       1269.     Plaintiff Ido Ben Zvi brings this action individually and also as an heir-at-law

for the Estate of Amitai Ben Zvi. He is a citizen and resident of the State of Israel. He is a

surviving son of Amitai Ben Zvi.

       1270.     Ido Ben Zvi was present at Kibbutz Erez when it was attacked by Hamas on

October 7, 2023.

       1271. As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate

of Amitai Ben Zvi experienced conscious pain and suffering and suffered economic loss.

       1272.     As a direct and foreseeable result of the October 7 Attack and the death of their

father Amitai Ben Zvi, Plaintiffs Avishay Ben Zvi, Gilad Ben Zvi, Ido Ben Zvi, Orna Avisrur,

and Hagar Madnik have suffered severe mental anguish and extreme emotional distress, and

economic loss.

       CCC. The Dan Family

       1273. Carmela Dan was a citizen of the United States and a resident of Israel when

she was murdered by Hamas. She was murdered 10 days before she turned 80 years old.




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       1274. Believing that Carmela had been taken hostage, her family celebrated her

birthday, calling for her release, together with the release of four other members of her family,

including three minors, her grandchildren.

       1275. On the morning of October 7, 2023, at approximately 6:30 a.m., Carmela and

her minor granddaughter, N.D., were awakened by the blaring sound of rocket sirens in Kibbutz

Nir Oz. Carmela’s 12-year old granddaughter, N.D., who insisted on spending the night with

her grandmother, was diagnosed with autism. The two shared a very special bond and a close

relationship, with N.D. often visiting her grandmother and staying overnight.

       1276. The previous evening, the entire family were celebrating Simchat Torah at Galit

Dan’s new home in Kissufim. Galit had left Nir Oz only a month or two earlier. Galit is the

younger of Carmela’s daughters. After the holiday dinner, N.D. insisted on sleeping over at

Carmela’s house, and Hadas Kalderson, Carmela’s eldest daughter, drove Carmela and N.D.

to Carmela’s home in Nir Oz.

       1277. Hadas’s two minor children were spending the holiday with their father, Ofer

Kalderon, in Nir Oz. Her son Rotem was staying in his own apartment at Nir Oz, and her eldest

daughter, Gaia, was staying in Tel Aviv.

       1278. They all went to sleep in their respective homes.

       1279. In the early morning of October 7, Galit Dan was at home in Kibbutz Kissufim

with her youngest daughter and her partner when the sirens began wailing. They went to their

safe room.

       1280. At 6:30 am, sirens also went off in Nir Oz. Carmela and N.D. began hearing a

barrage of gunfire from outside the house. Horrified and frightened, Carmela texted Galit that

terrorists had entered her home and were ravaging and looting it.

       1281. N.D. wrote her mother and told her she heard a loud “boom” and that she was

terrified. There is an audio recording N.D. sent her mother Galit, horrified.



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         1282. Carmela was alive and communicated by WhatsApp messages with her

children, until noon.

         1283. The terrorists were in Carmela’s house for many hours. They entered several

times, looting at first. Carmela wrote on WhatsApp that she could hear her house being looted;

she also heard large explosions.

         1284. The electricity was cut off in Kibbutz Kissufim, and there was sparse cellphone

reception. Galit spent 22 hours in her safe room in Kibbutz Kissufim before being rescued by

security forces.

         1285. When the IDF arrived at Kibbutz Nir Oz, Carmela and N.D. were reported

missing.

         1286. Initially, Carmela and N.D. were believed to have been taken hostage into Gaza.

Galit clung to the hope that they were both still alive. On October 16, 2023, she appeared on

TV to plead for their release and looking straight to the camera, sent them a heart-breaking

message, promising them “Ima [mother], [N.D], I love you, we are fighting for you, please be

well.”

         1287. On October 18, 2023, while Galit was evacuated to a hotel near the Dead Sea,

Israeli officers arrived to inform her of the devastating news. The bodies of Carmela and N.D.

had been identified. They were found dead in Carmela’s safe room, embraced. They were

inseparable in death, as in life.

         1288. Hadas Kalderon is Carmela’s eldest daughter. She was home alone in Kibbutz

Nir Oz at the time of the October 7 Attack and spent 8 hours trapped in her safe room, without

any food or water. She held the handle of her safe room shut, severely bruising her wrist. Hadas

was alone, with only a handle between her and terrorists who penetrated her home several times

and attempted to forcefully open the door, without success.




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       1289. Hadas’s two minor children, S.K. and E.K, spent the night between October 6

and 7 at their father’s house. Ofer and Hadas Kalderon had been living separately in Nir Oz

since two years before the October 7 Attack.

       1290. Hadas and Ofer were in contact during the attack. Ofer told Hadas they left the

safe room because they had no choice, and they were hiding in the bushes. Hadas urged Ofer

to go back to the safe room with the kids. Infamously, there is a video made by the terrorists

themselves, with one of them impersonating a freelance journalist, where E.K is seen being

taken away by the attackers. In the video, the terrorists grab the arms of the helpless 12-year-

old.

       1291. Hours later, only after being rescued by Israeli security forces, did Hadas and

Rotem realize, to their horror, that Ofer, S.K., and E.K. had been taken hostage by Hamas. The

video of E.K. had been posted on social media hours after the attack.

       1292. Hadas immediately began waging a public fight to secure the release of her two

children and their father from Hamas captivity. S.K. and E.K. were released in the first hostage

deal on November 27, 2023. Their father, Ofer, remained in Hamas captivity for 484 days and

was finally released on February 1, 2025.

       1293. Dor Dan is Carmela’s youngest child. At the time of the attack, Dor was at his

home in Harish with his family.

       1294. For 11 long days, he did not know if his mother was dead or alive, captive in

Gaza with his niece, or dead somewhere in the kibbutz. On October 18, 2023, Dor was informed

that they had both been murdered. The circumstances of how exactly they died or where they

were found was only revealed months later, as Galit tracked and found the officer who rescued

their bodies from the debris of Carmela’s house.

       1295. Galit, an educator, is teaching again. She moved to a new house near Karmei

Gat. Her youngest daughter’s new school dedicated a library to N.D., who was an avid Harry



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Potter fan. The family continues to struggle with the loss of her child, an older sister to Galit’s

other daughter, T.D.

       1296. Hadas spent 50 days fighting for her children’s release, and hundreds more for

their father’s release. She was first evacuated from Nir Oz to Eilat and then relocated to Tel

Aviv until her children were released. She even missed her own mother’s and beloved niece’s

funeral as she exhausted her efforts to get her daughters and their father freed.

       1297. Rotem, who survived cancer several years before the attack, was with Hadas

often in Tel Aviv. After E.K. and S.K. were finally released, Hadas moved back to Eilat, to

attempt to rehabilitate in a new location. With Ofer still in captivity, they could not, and Hadas

moved again with her children and the Nir Oz community to Karmei Gat. She continued to

fight for Ofer’s release until he was finally able to embrace their four children.

       1298. Plaintiff Hadas Kalderon brings this action individually and also as an heir-at-

law for the Estate of Carmela Dan. She is a citizen and resident of Israel. She is a surviving

daughter of Carmela Dan.

       1299. Plaintiff Galit Dan brings this action individually and also as an heir-at-law for

the Estate of Carmela Dan. She is a citizen and resident of Israel. She is a surviving daughter

of Carmela Dan.

       1300. Plaintiff Dor Dan brings this action individually and also as an heir-at-law for

the Estate of Carmela Dan. He is a citizen and resident of Israel. He is a surviving son of

Carmela Dan.

       1301. As a direct and foreseeable result of the October 7 Attack, the Estate of Carmela

Dan, a U.S. citizen, experienced conscious pain and suffering and economic loss.

       1302. As a direct and foreseeable result of the October 7 Attack and the death of their

mother Carmela Dan, Plaintiffs Hadas Kalderon, Galit Dan, and Dor Dan have each

experienced severe mental anguish and extreme emotional distress, and economic loss.



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        DDD. The Sherman Family

        1303. Plaintiff Arie Sherman is a citizen of the United States and a resident of the

State of Israel.

        1304. Plaintiff Livnat Sherman is a citizen and resident of the State of Israel. She is

the wife of Arie Sherman.

        1305. Plaintiff K.A.S., the minor daughter of Arie Sherman, is a citizen of the United

States and a resident of the State of Israel.

        1306. Plaintiff G.S., the minor son of Arie Sherman, is a citizen of the United States

and a resident of the State of Israel.

        1307. Plaintiff S.S., the minor daughter of Arie Sherman, is a citizen of the United

States and a resident of the State of Israel.

        1308. Plaintiff Arie Sherman brings this action individually and as legal guardian of

his three minor children, K.A.S., G.S., and S.S.

        1309. Arie Sherman, his wife Livnat Sherman, K.A.S. G.S., and S.S. are hereinafter

referred to as “The Sherman Family.”

        1310. At approximately 6:30 a.m. on October 7, 2023, the Sherman Family awoke to

loud explosions that affected the structural integrity of their home. Arie and Livnat Sherman

grabbed K.A.S., who was lying in bed with them, and frantically ran to their safe room. G.S.

and S.S. quickly awoke and joined their parents and sibling in the safe room.

        1311. Gunshots rang out in close proximity to their home, and the Sherman Family

embraced each other in fear for their lives. Realizing the severity of the situation, the minor

children began trembling while their parents tried to comfort them.

        1312. Terrorists appeared from outside the walls of the safe room and began to pry

open the window, which was only secured by a locked, steel shutter, but the terrorists were

only able to open a small crack in the window and left.



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        1313. The Sherman Family then heard gunshots piercing their home’s sliding-glass

door. Hamas terrorists were heard shouting in Arabic outside the safe room, confirming the

horrific reality that their home had been invaded.

        1314. The terrorists attempted to open the safe room door, and Arie summoned all his

strength to pull back the inside door handle. For a moment, the Sherman Family believed they

had fooled the terrorists into believing the safe room was locked.

        1315. Seconds later, the Sherman Family heard the whistle of a live grenade rolling

on the floor, and an explosion blew open the safe room door. K.A.S. wailed, and Livnat

attempted to hide K.A.S.’s small body with clothing. Arie stood at the door in a fighting stance,

ready to protect his family at all costs.

        1316. When the door to the safe room burst open, the Sherman Family were overcome

with relief to discover that, inexplicably, no one was outside the safe room. Arie hurriedly

closed the door.

        1317. At one point, the family could hear voices speaking in Arabic nearby. Livnat

believed the terrorists were using their home, or the area in its vicinity, as cover against the

IDF, who eventually arrived on the kibbutz to fight back against the terrorists. The Sherman

family remained in utter silence for hours.

        1318. Livnat texted with family members pleading for help. However, due to the vast

number of Hamas terrorists who had invaded the area, no one could directly help the family.

        1319. After hiding in their home for roughly ten hours, at approximately 2:30 p.m.,

the IDF arrived and evacuated the Sherman Family from their home to nearby Kibbutz Gvulot.

Driving away from their home, they were horrified to see lifeless bodies lying on the road, as

well as charred vehicles and tanks.

        1320. For over two months after the events of October 7, the Sherman Family lived in

a hotel near the Ein Gedi Nature Reserve in southern Israel.



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       1321. Living at the hotel was incredibly difficult for Livnat.

       1322. Arie was also deeply depressed, and Livnat felt all familial responsibility fall

onto her as she tried to navigate her own healing.

       1323. Eventually, Arie made the decision to travel from Israel to the United States

with his family. They stayed there for nine months, and the Sherman Family continued to

experience emotional difficulty being so far from home. Arie and Livnat both suffered

debilitating emotional trauma, which had a difficult effect on parenting their minor children.

       1324. Arie continues to struggle in his daily life with difficulty focusing, high anxiety,

anger management problems, and nightmares.

       1325. The events of October 7 also had an effect on K.A.S.’s emotional and physical

development. Prior to October 7, Livnat was in the process of weaning K.A.S. from breast-

feeding; however, this process was greatly disrupted on October 7, stunting K.A.S.’s eating

development. G.S. and S.S. have suffered as well with increased anxiety and fears of the outside

world around them.

       1326. Livnat also believes that K.A.S. absorbed much of the trauma experienced by

her family on October 7, even though she was too young to fully grasp the immediate situation.

In addition, K.A.S. also attends Chinese acupuncture as a form of body and mind healing.

       1327. As a direct and foreseeable result of the October 7 Attack, Arie Sherman,

K.A.S., G.S., and S.S. have suffered severe physical and mental anguish and extreme emotional

distress, and economic loss.

       1328. As a direct and foreseeable result of the October 7 Attack in which their family

members were injured, Plaintiffs Arie Sherman, Livnat Sherman, K.A.S., G.S., and S.S. have

suffered severe mental anguish and extreme emotional distress, and economic loss.




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        EEE. The Abrams Family

        1329. Plaintiff Efraim Abrams was a citizen of the United States and a resident of the

State of Israel when he was injured by Hamas.

        1330. Efraim was a Commander in the IDF. His brigade was one of the first military

forces to enter Gaza.

        1331. On October 7, 2023, Efraim was at his apartment in Jerusalem, preparing for

the Jewish holiday of Simchat Torah. At approximately 8:00 a.m., he received a call from his

commanding officer. His heart dropped immediately as his commander never called him on a

Saturday. Efraim knew something must be terribly wrong.

        1332. The commanding officer explained that terrorists had infiltrated the Gaza border

and were firing rockets into Israeli territory. Efraim’s heart sank deeper. Within moments of

hanging up the call, rockets flew over his home miles away in Jerusalem, which was a rare

occurrence in central Israel. In that moment, Efraim understood that his life would never be the

same.

        1333. Efraim’s first task was to get a bus to pick up all the soldiers in his battalion that

lived in his district. Driving on Shabbat, which is forbidden according to Jewish tradition that

he upholds, was unusual, so it was unnerving for him.

        1334. At approximately 10:00 a.m., Efraim received a series of phone calls directing

him to report to his base in the Golan Heights. He quickly quieted his anxiety and snapped into

commander mode. Within 48 hours, Efraim and his battalion had packed up all their materials

and headed toward the Gaza border.

        1335. While on the bus ride south, Efraim looked around at his fellow soldiers, all of

whom were in their late teens and early 20s. His stomach churned knowing that some of them

would not make it out alive. The images of that bus ride have haunted him ever since.




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       1336. When the bus arrived at the Gaza border, Efraim was immediately struck by a

deeply pungent, rotten smell. He learned that it was the smell of the decaying bodies of the

victims from the kibbutzim in the vicinity of the Gaza-Israel border. That nauseating smell has

lingered in his senses and tormented him ever since.

       1337. After a two-week training period under constant rocket fire, Efraim’s battalion

received clearance to enter Gaza. As a commander, Efraim was responsible for several

extremely dangerous missions. Every day, he fought for his life, uncertain whether his next

breath would be his last.

       1338. After nearly six grueling months of fighting, one of the battalion’s armored

excavators broke down on a mission after being pummeled by an endless barrage of Hamas

fire. Efraim knew that if they abandoned the tank, the Hamas terrorists would hijack it and use

it against Israeli troops. He could not bear that possibility, so Efraim and his team had no choice

but to tow the vehicle out of Gaza themselves.

       1339. Towing the excavator without proper equipment significantly injured Efraim.

As they maneuvered through Hamas-ridden territory, the excavator continuously crashed into

his body at full speed for nearly three miles. Efraim remarkably swallowed his tears and pushed

through the excruciating pain to get his team out of Gaza.

       1340. They finally arrived back on base the following day. Efraim’s body was

damaged and destroyed. Several doctors and specialists on base immediately treated him, but

the damage was too severe. Efraim spent the next month in excruciating pain, attending

intensive physical therapy sessions that failed to provide any relief.

       1341. Efraim’s physical injuries extend beyond his spine. After further medical

inspection, a neurologist diagnosed him with a traumatic brain injury from whiplash and from

being in such close proximity to numerous explosions. As a result, Efraim experiences ongoing




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memory issues, cognitive processing problems, and struggles with slurring words or even

forgetting entire sentences.

       1342. An ear specialist assessed that the proximity to explosions and gunfire for such

an extended period caused permanent hearing sensitivities and ear pressure pain for Efraim,

compounding his physical torment.

       1343. In addition to his numerous severe physical injuries, Efraim continues to endure

extreme mental and emotional suffering as a result of the October 7 Attack and he no longer

feels like himself.

       1344. Efraim’s constant physical agony has rendered him unable to work, and

psychologically, he continues to struggle with the emotional aftermath of the attack. He feels

as if his life ended on October 7, 2023.

       1345. Plaintiff David Abrams is a citizen of the United States and a resident of the

State of Israel. He is the father of Efraim Abrams.

       1346. Plaintiff Arlene Abrams is a citizen of the United States and a resident of the

State of Israel. She is the mother of Efraim Abrams.

       1347. Plaintiff Rachel Levy is a citizen of the United States and a resident of the State

of Israel. She is the sister of Efraim Abrams.

       1348. As a direct and foreseeable result of the October 7 Attack, Plaintiff Efraim

Abrams suffered severe physical and mental anguish and extreme emotional distress, and

economic loss.

       1349. As a direct and foreseeable result of the October 7 Attack and the subsequent

injuries inflicted upon their son and brother, Plaintiffs David Abrams, Arlene Abrams, and

Rachel Levy have suffered severe mental anguish and extreme emotional distress, and

economic loss.




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        FFF. The Amar Family

        1350. Plaintiff Shai Amar is a citizen of the United States and a resident of the State

of Israel.

        1351. Plaintiff Natalia Amar is a citizen of the United States and a resident of the State

of Israel.

        1352. Plaintiff Shirley Amar, the mother of Shai Amar and Natalia Amar, is a citizen

and resident of the United States. Although she was in the United States at the time of the

attacks, she suffered trauma and fear for her family as she followed the horrors unfolding upon

her family.

        1353. On the evening of October 6, 2023, Shai and a group of ten close friends

ventured from Moshav Amioz to the city of Be’er Sheva, about 30 miles away, to celebrate a

friend’s birthday. The group considered continuing their festivities at the Nova Music Festival

that was starting that night, but most of them decided against it. One member of the group, a

young man named Dan, decided to go to the nearby festival.

        1354. Around 6:00 a.m., Shai returned to his apartment in Moshav Amioz and crashed

on his bed from exhaustion, still dressed in his party clothes. The joyous memories of dancing

and singing with his friends still flashed in his mind as he drifted off into a short slumber.

        1355. Approximately 30 minutes later, the piercing wail of rocket sirens jolted him

awake. His heart was pounding in his chest as he leapt to his feet and sprinted to the nearest

safe room at his grandmother’s house nearby. He arrived at the safe room and joined his

grandmother, sister Natalia Amar, and six cousins just as explosions from rockets shook the

ground.

        1356. Shai grabbed his phone and saw a substantial number of message notifications

from friends declaring that they were under attack. He proceeded to call his mother, knowing

that a catastrophe was unfolding.



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       1357. Through the phone, Shirley heard the sirens and explosions. She was all too

familiar with those sounds because she too had lived on the moshav before moving to the

United States. A sense of dread loomed over her as she realized she could not protect her

children. The weight of helplessness overtook her, and panic set in.

       1358. Shirley turned on the television, desperate for information, but the news was

scarce. On social media, she could only find posts, videos, and images from friends in real-

time. She watched as the horror unfolded, powerless to stop it.

       1359. As the terrorists infiltrated Moshav Amioz, they were met by the community’s

security team. In an instant, a ferocious exchange of gunfire erupted. The deafening sounds of

explosions and relentless gunshots filled the air and reverberated through the walls of the safe

room. Trapped in the darkness of the shelter, Shai and his family prayed desperately that the

bullets would not reach them.

       1360. Shai continued to monitor his phone as the terrorists uploaded videos across

social media, depicting the murder, mutilation of bodies, sexual violence, kidnapping, and

destruction that was ensuing across the Gaza Envelope. The sounds in each video mirrored the

sounds that he heard clearly just outside of his shelter. Shai and Natalia then realized that their

lives were in grave danger.

       1361. Convinced their end was imminent, Shai and Natalia made one final, heart-

wrenching call to their mother, believing it would be their last chance to speak with her. They

told her they loved her, finding fleeting solace in speaking those words one last time. Their

voices cracked under the weight of emotion, struggling to bring comfort to Shirley, who could

do nothing but listen helplessly from afar.

       1362. Fear gripped Shai as he scanned the cramped, suffocating safe room, frantically

searching for anything to protect his family. All he could find was a small knife and a can of

pepper spray. The sounds of violence outside never stopped.



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       1363. While they waited for more than 24 harrowing hours to be rescued by security

forces, Shai could not stop thinking back to the early morning hours of that day, when he was

still with his friends, celebrating life, dancing and singing. Finally, in the morning hours of

October 8, 2023, the IDF arrived and rescued Shai and Natalia and their family.

       1364. Shai and Natalia were taken to Kibbutz Lotan, a safer place in the south. All of

the residents of Moshav Amioz lost everything. Their community was reduced to ruins, and

they were all displaced.

       1365. Moshav Amioz had been a place of life and community. Its residents took pride

in their shared experiences and the bond of living so close to the Gaza border. But on October

7, 2023, that pride was shattered. None of the residents have been able to return to their homes.

       1366. Shai eventually learned that his friend, Dan, who continued celebrating at the

Nova Music Festival, was murdered there by Hamas terrorists, along with many other friends.

Shai constantly replays the decision to abstain from the Nova Music Festival in his head,

wondering what would have happened if he had gone.

       1367. Shai’s life is forever changed by the October 7 Attack. He struggles to find

meaning and purpose in his life, plagued by the immense loss of friends and the displacement

of his community at the hands of Hamas terrorists. He is riddled with survivor’s guilt and

spends his time visiting lost friends’ graves and speaking with other survivors. Shai has not

been able to return to any semblance of normalcy since the attacks.

       1368. Natalia’s life has also changed drastically since October 7, 2023. Once a vibrant,

social woman, she now struggles to even leave her apartment. Natalia has not been able to hold

a job due to her extreme mental distress.

       1369. Shirley continues to struggle with the terror she experienced on October 7, 2023,

while her children were subjected to the threat of death for 30 agonizing hours. She is tormented

by the thoughts of Moshav Amioz, empty and desecrated. Her fond memories of walking the



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fields with her friends are now replaced with the devastating massacre of that day. Shirley

struggles to eat and barely leaves her house. She has not returned to work since the attacks and

still avoids leaving her house. Loud noises, or helicopters flying above, triggers her emotions

and thoughts of October 7, 2023.

       1370. As a direct and foreseeable result of the October 7 Attack, Plaintiffs Shai Amar

and Natalia Amar have suffered severe physical and mental anguish and extreme emotional

distress, and economic loss.

       1371. As a direct and foreseeable result of the October 7 Attack on her children,

Plaintiff Shirley Amar has suffered severe mental anguish and extreme emotional distress, and

economic loss.

       GGG. The Bareli Family

       1372. Plaintiff Amit Bareli was a citizen of the United States and a resident of the

State of Israel when he was injured by Hamas.

       1373. Amit was a Reservist in the IDF. His brigade was one of the first military forces

to enter Gaza.

       1374. On October 7, 2023, at approximately 7:30 a.m., Amit turned on his phone to

find it flooded with missed calls and frantic messages. Something terribly wrong was unfolding

at the Gaza border, and he had been urgently called up for reserve duty.

       1375. At approximately 5 p.m., Amit and his team arrived outside Kibbutz Kissufim,

a tight-knit agricultural community along the Gaza border. Reality quickly set in.

       1376. The scene was utter chaos. Amit watched in horror as injured civilians and

soldiers alike sought help from anyone who was able. Missiles constantly fired overhead,

sending everyone scrambling for cover.

       1377. Amit and his team were tasked with securing the area and rescuing civilians

trapped in their homes. Tragically, they found mostly dead bodies.



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       1378. Despite the unimaginable sights of terror, Amit and his team spent the next two

days loading the mangled bodies into military hummers and searching the area for any terrorists

still hiding among the wreckage.

       1379. Amit went straight from fighting terrorists in Kibbutz Kissufim to fighting

terrorists in Gaza, where he was deployed for the next six months. Risking his life daily, he felt

extremely fragile and constantly under threat.

       1380. A glimmer of hope amid the chaos came on March 28, 2024. As Amit prepared

to get a few hours of sleep after a long day of fighting, he found a moment to call his wife, Zee

Chana Joshua. She had life-changing news. She was pregnant with their first child.

       1381. For a brief moment, the death and destruction surrounding Amit faded away and

his heart filled with joy and hope. He pushed away the thought of the gut-wrenching possibility

that he may never meet his child.

       1382. The next morning, on March 29, 2024, Amit awoke and began preparing for

another day of combat with his team. They didn’t notice the two terrorists watching them from

the neighboring complex.

       1383. A split second later, the terrorists fired an RPG at the structure where Amit and

his team had been staying. The RPG blasted through the structure’s window, knocking Amit

unconscious instantly.

       1384. When Amit slowly regained consciousness, everything was foggy. Lying on his

side with his head spinning and ears ringing, he struggled to make sense of his surroundings.

The room was ablaze and everything around him was gray with ash. In his half-conscious state,

he summoned the strength to pull himself up and distance himself from the flames.

       1385. Still disoriented, Amit saw his friends lying injured in pools of blood on the

floor, screaming in agony. Overwhelmed by excruciating pain, Amit realized he had a severe

stomach injury.



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       1386. Slowly, he lifted his shirt to find a massive protrusion in his abdomen and a

gaping, bloody hole in his side. The sight of his severe injury coupled with the extreme pain

almost rendered Amit unconscious once again.

       1387. Six pieces of scorching shrapnel had seared through Amit’s body — two in his

knee, one in his thigh, one in his arm, and one in his stomach. The piece lodged in his stomach

severed his large intestine, causing severe internal bleeding. He was immediately evacuated

and airlifted to a hospital for emergency surgery.

       1388. As he fought for his life, Amit prayed he would get to see his wife and future

child and prayed that his friends, whom he last saw lying in pools of their own blood, would

survive. He later learned that one of his team members was immediately killed in the blast, and

another did not survive his injuries.

       1389. As Amit was wheeled into the operating room, his wife burst through the door.

The joy of becoming parents that she and Amit shared just a day earlier was replaced by all-

consuming doom. They had just a few fleeting seconds to speak before the operating room

doors closed.

       1390. In order to save his life, doctors removed eight inches of Amit’s large intestine,

along with the shrapnel lodged in his stomach. The shrapnel in his knee and arm, however,

were too deeply embedded for doctors to safely remove.

       1391. In the weeks following his surgery and due to his severe injuries, Amit could

neither sit up in bed nor eat solid food, leaving him completely dependent on others for care.

He still experiences stomach pain and struggles to get out of bed.

       1392. With shrapnel now permanently lodged in his knee, Amit will never be able to

move freely again. He must now live with debilitating pain as the shrapnel presses into his

muscles and bone.




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        1393.    Amit experiences paranoia when he is in public or in crowds, and shakes

uncontrollably while sleeping, among other symptoms.

        1394.    Amit also still grapples with the loss of two of his team members. He can barely

accept the painful reality that they have perished.

        1395. Plaintiff Zee Chana Joshua is a citizen of the United States and a resident of the

State of Israel. She is the wife of Amit Bareli.

        1396. Plaintiff Bezalel Bareli is a citizen of the United States and a resident of the

State of Isreal. He is the father of Amit Bareli.

        1397. Plaintiff Davira Bareli is a citizen of the United States and a resident of the State

of Israel. She is the mother of Amit Bareli.

        1398. As a direct and foreseeable result of the October 7 Attack and the attack which

followed on March 29, 2024, Plaintiff Amit Bareli has suffered severe physical and mental

anguish, and economic loss.

        1399.    As a direct and foreseeable result of the October 7 Attack and the attack which

followed on March 29, 2024 in which Amit was injured, Plaintiffs Zee Chana Joshua, Bezalel

Bareli, and Davira Bareli have suffered severe mental anguish and extreme emotional distress,

and economic loss.

        HHH. Edri Family

        1400. Plaintiff Eitan Edri is a citizen of the United States and a resident of the State

of Israel.

        1401. Plaintiff Tair Edri is a citizen and resident of the State of Israel. She is the wife

of Eitan Edri.

        1402. Plaintiffs B.H.E. and N.S.E. are citizens and residents of Israel. They are the

minor children of Eitan Edri and Tair Edri, who bring claims on their behalf as parents and

legal guardians of their minor children.



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       1403. Plaintiff Itzhak Edri is a citizen of the United States and a resident of the State

of Israel. He is a brother of Eitan Edri.

       1404. Plaintiff Itamar Edri is a citizen of the United States and a resident of the State

of Israel. He is a brother of Eitan Edri

       1405. Plaintiff Ariel Edri is a citizen of the United States and a resident of the State of

Israel. He is a brother of Eitan Edri.

               i. Eitan Edri and his family

       1406. On the morning of October 7, 2023, at approximately 6:30 a.m., Eitan Edri and

his family awoke to the deafening sound of rockets and sirens. Having lived in Sderot for ten

years, they had endured multiple rocket attacks, but this time was different—the sheer volume

of rockets was far beyond anything they had ever experienced.

       1407. Eitan Edri and his wife Tair Edri hurried their minor children into the safe room

as they shook with fear. Suddenly, another horrifying sound erupted: gunfire, followed by the

chilling screams of their neighbors. Huddled in the bomb shelter, they prayed that they would

not be hit by the rockets—or worse, that the terrorists would find them. With no help on the

horizon, as the police station had been overrun, Eitan, Tair, and their children remained

confined in their safe room for the next 24 hours without food, water, or access to a bathroom,

unable to escape the relentless danger outside.

       1408. The next morning, on October 8, 2023, they packed their car and fled north,

shielding their children’s eyes from the horrors outside. As they drove out of Sderot, the trauma

of what they witnessed became etched in their minds: pools of blood staining the streets,

vehicles abandoned in the middle of the road with entire families—children included—

slaughtered inside. Town residents scrambled to recover bodies from the roads amidst the

devastation.




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       1409. The family was evacuated, moving between hospitals and a hotel, displaced

from their home with no access to their belongings. They learned that Tair’s father, Haim Sasi,

had been shot four times during the attack while trying to provide medical treatment to the

injured. Their world had collapsed entirely, leaving them with no clarity about how to move

forward.

       1410. Since the October 7 Attack, Eitan has not been the same. The trauma of that day

left him feeling incapable of supporting his family—financially or emotionally. Before the

attack, he ran a thriving business specializing in team-building and empowerment workshops

in the Gaza Envelope. However, as a direct result of Hamas’s attack, the business was forced

to shut down entirely.

       1411. Eitan’s family has also been deeply affected. His wife, once a confident and

independent professional, is now paralyzed by fear. Overwhelming anxiety prevents her from

commuting to her job as Head of the Digital Department at a finance company. His children

are struggling socially and academically.

               ii. Itzhak Edri

       1412. On the morning of October 7, 2023, at approximately 8:00 am, Itzhak Edri, a

reservist soldier in the IDF, received a call from his commander ordering him to report to base

immediately. After a short preparation, Itzhak and his team headed toward Moshav Mivtachim,

a community only a few miles east of the Gaza Strip that was overrun by Hamas terrorists.

       1413. Along the way, they spotted what appeared to be a police vehicle stationed at

an intersection. Assuming it was a checkpoint, they cautiously approached—only to realize too

late that it was an ambush. Suddenly, machine guns, grenades, and RPGs were unleashed upon

them. In the chaos, Itzhak and his team fought back, managing to neutralize the attackers.

       1414. What awaited them at the junction was beyond comprehension. Vehicles filled

with civilians—including children, the elderly, and law enforcement officers—lay abandoned,



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their lifeless bodies bearing the unmistakable signs of execution. The sheer brutality of the

massacre was unlike anything Itzhak had ever seen.

        1415. The horrors continued as Itzhak’s team entered Moshav Mivtachim. Every turn

revealed another tragic scene. Families had been slaughtered, their homes turned into

battlefields. The most devastating moment came when two of his long-time comrades were

killed in a gunfight. No matter how fast they moved, they were always “one second too late”

to save lives.

        1416. By nightfall, exhausted both mentally and physically, his team was sent to

secure Moshav Pri-Gan approximately five miles to the southwest of Moshav Mivtachim,

stationed at a local manufacturing site. For the first time that day, his heart rate began to slow—

but the horrors were far from over. As daylight revealed their surroundings, they found

themselves surrounded by the bodies of fallen security officers. One officer’s phone lay on the

ground, filled with missed calls from his wife and family—an image that will haunt Itzhak

forever.

        1417. Since the October 7 Attack, Itzhak has not been the same. Immediately upon

returning home, the nightmares began. He wakes up drenched in sweat, his heart pounding

uncontrollably. On multiple occasions, he has woken to find that he has wet the bed. Even

routine tasks like driving have become unbearable. Along Route 12 near the Egyptian border,

flashbacks of ambushes consume him. In one instance, his distracted state caused him to lose

control of his vehicle, crashing into a guardrail and requiring hospitalization.

                 iii. Itamar Edri

        1418. On the morning of October 7, 2023, Itamar Edri, an on-duty vehicle officer, left

his wife and three children behind as he prepared military vehicles for deployment. Among the

soldiers he helped transport was his younger brother, Itzhak Edri.




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       1419. On May 21, 2024, during a mission in the Gaza Strip, Itamar was tasked with

providing critical support under intense combat conditions. Under fire from grenades, gunfire,

and missiles, he narrowly escaped physical harm. Yet, the traumatic events left an indelible

mark, replaying in his mind endlessly.

       1420. Since the attack, Itamar has been plagued by sleepless nights and a constant fear

for his safety and that of his family. The anxiety has disrupted his daily life, and the prolonged

separation from his family during the chaos has strained his relationships, making him feel like

an outsider in his own home.

               iv. Ariel Edri

       1421. As a combat reservist in the IDF, Ariel Edri was called to duty on the morning

of October 7, 2023. The following day, he was deployed to the Gaza Envelope to search for

additional threats and assist in evacuating civilians. During this mission, Ariel was exposed to

unimaginable atrocities and cruelty carried out by Hamas terrorists.

       1422. Following the October 7 Attack, Ariel’s unit operated in the Gaza Strip. On

November 5, 2023, his team was assigned to conduct ambushes on Hamas terrorists attempting

to reach the border in the Jabalia neighborhood of northern Gaza. However, within days, on

November 11, their position was discovered by Hamas operatives. Chaos erupted instantly –

snipers opened fire, at least five missiles and RPGs were launched, and indiscriminate gunfire

rained down on them.

       1423. As the bullets and explosions surround them, Ariel fought to protect himself and

his team, all while witnessing his friends getting injured. He returned fire, determined to hold

the line and evacuate the wounded. Moments later, reinforcements arrived, allowing Ariel and

his team to withdraw. Tragically, during that incident, he lost one of his closest friends.

       1424. Since the October 7 Attack and the harrowing events that followed, Ariel is no

longer the same person. Over the past year, he has been forced to be absent from his job as a



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firefighter—jeopardizing the position he worked. His role as a husband and father has suffered

due to his prolonged absence and the weight of the trauma he carries. The memory of being

ambushed, of losing a friend by his side, refuses to leave his mind. He is haunted by those

moments daily, easily triggered by reminders, and tormented by the unbearable thought that

his friend’s family is left without a father.

        1425. Plaintiff Sarah Edri is a citizen of the United States and a resident of the State

of Israel. She is the mother of Eitan Edri, Itzhak Edri, Ariel Edri and Itamar Edri.

        1426. Plaintiff Eliyahu Edri is a citizen and resident of the State of Israel. He is the

father of Eitan Edri, Itzhak Edri, Ariel Edri and Itamar Edri.

        1427. Since October 7, Eliyahu and Sarah Edri have suffered immense emotional

distress and ongoing anxiety. They are haunted by persistent thoughts of “what if”—what could

have happened had events taken an even darker turn. Their thoughts remain consumed with

concern for the safety and wellbeing of their children and grandchildren.

        1428. Plaintiff Avidan Edri is a citizen of the United States and a resident of the State

of Israel. He is the brother of Eitan Edri, Itzhak Edri, Ariel Edri and Itamar Edri.

        1429. Avidan Edri was a source of calm and confidence for his family. Now, he

struggles to manage his panic and fear, often visibly distressed and urgently guiding his family

to the safe room during alarms. As a direct result of the October 7 Attack, Avidan and his

family are profoundly changed.

        1430. Plaintiff Achiya Edri is a citizen of the United States and a resident of the State

of Israel. He is the brother of Eitan Edri, Itzhak Edri, Ariel Edri and Itamar Edri.

        1431. For Achiya Edri, his brothers were a source of shared laughter, conversation,

security, and belonging. But since the attack, every gathering has been overshadowed by the

trauma they endured. Their conversations have turned into emotional discussions about coping




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with their collective pain and processing the horrors they witnessed. The profound suffering

they experienced has irreversibly changed their lives and strained their relationships.

          1432. As a direct and foreseeable result of the October 7 Attack and subsequent attacks

in which they were injured, Plaintiffs Eitan Edri, Itzhak Edri, Ariel Edri, and Itamar Edri have

suffered severe physical and mental anguish and extreme emotional distress, and economic

loss.

          1433. As a direct and foreseeable result of the October 7 Attack and subsequent attacks

involving their immediate family members, Plaintiffs Tair Edri, B.H.E., N.S.E., Sarah Edri,

Eliyahu Edri, Eitan Edri, Itzhak Edri, Ariel Edri, Itamar Edri, Achiya Edri, and Avidan Edri

each suffered severe mental anguish and extreme emotional distress, and economic loss.

          III.    The Stern Family

          1434. Jonathan Stern is a citizen of the United States and a resident of the State of

Israel.

          1435.   Jonathan holds the ranking of First Sergeant Major in the IDF and is a reservist

in the Givati Brigade’s Reconnaissance Battalion.

          1436. As a result of the October 7 Attack, Jonathan was deployed into Gaza on

October 28, 2023.

          1437. On the evening of November 11, 2023, Jonathan’s team was assigned a mission

to clear an UNRWA school, where large amounts of Hamas weapons, ammunition, laptops and

other equipment were being held.

          1438. UNRWA has established various social and health services in Gaza, including

hospitals and schools, and the majority of Palestinian civilians in Gaza rely on their services.

Since October 7, 2023, many of these sites have been uncovered by the IDF as Hamas hideouts,

which are embedded within the dense civilian population of Gaza. Moreover, the IDF has




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discovered several Hamas tunnel-shafts inside UNRWA schools, which puts many innocent

Palestinian children in Gaza at serious risk of danger and injury.

       1439. Jonathan and his team were in the midst of their mission near the UNRWA

school when a tank shell exploded at the team’s location. Jonathan’s body was jolted by the

intense blast. A hard object punctured Jonathan’s face with a strong force. He was in

excruciating pain and had blood gushing through his mouth. The force of the blast caused his

front tooth to avulse, striking a nerve around it as well.

       1440. One of the team’s security officers is a dentist by profession and ordered

Jonathan’s evacuation from Gaza, in an effort to save his life from serious infection. Jonathan

was immediately taken to the hospital, and after only one day of recovery, he re-entered Gaza

to continue operational duty with his unit.

       1441. On November 16, 2023, Jonathan and his team were on a mission to secure the

perimeter of a newly-discovered Hamas tunnel. The team hurried through the dense and

confined area when an RPG struck an apartment building next to them. There was a large

explosion, and the area filled with dust and smoke. Before Jonathan or his team could react, a

second explosion occurred, and the intense blast threw several soldiers to the ground.

       1442.    Jonathan could barely see through the dense clouds of smoke and dust. Chaos

ensued, and several soldiers were screaming in pain and agony. Jonathan realized his combat

partner, Dvir, had severely injured his arm, leg, and several ribs, and blood was gushing

through his uniform. Dvir was stabilized and safely evacuated by helicopter. However, this

event left a lasting effect on Jonathan.

       1443. In the midst of the chaos, Jonathan’s team was cornered by terrorists. Twelve

RPGs were fired at Jonathan and his team, trapping them, along with several other soldiers,

and putting them in dire need of medical attention. Death seemed imminent as the team was




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trapped for thirty grueling minutes before other IDF battalions arrived to rescue and evacuate

them from Gaza.

        1444. Footage of Jonathan and his team being attacked from a comrade’s Go-Pro was

later uncovered and presented on one of Israel’s major news channels. Jonathan could only

bear to watch seconds of the footage before he began to panic and hyperventilate in his home,

eventually collapsing. Jonathan is constantly triggered by the sights and sounds of war,

including loud booms or the sound of a person screaming, which cause him debilitating anxiety.

Moreover, Jonathan has developed a strong sense of survivor’s guilt, as his friends and

comrades were left with debilitating permanent injuries from which they will suffer the rest of

their lives.

        1445.     Jonathan still cannot bring himself to listen to the screams of his comrades in

the footage from the incident, particularly Dvir, and will live with these horrific memories for

the rest of his life.

        1446. The events of October 7, 2023, and his time in reserve duty has affected

Jonathan’s relationships with others. He has found himself gravitating to individuals with

similar experiences from the war, and he finds it harder to connect with others who are far

removed. Moreover, Jonathan has become more irritable and impatient, especially around his

family. He has also found it difficult to develop romantic relationships as he is consumed by

trauma, which has made it difficult for him to care for others.

        1447. October 7 and the events which followed have impeded Jonathan’s ability to

pursue higher education and maintain employment. Jonathan studies economics and business

administration, and as a result of the war, he has missed an entire year of school and is behind

on final exams. Professionally, his business has also been adversely affected.




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        1448. As a direct and foreseeable result of the October 7 Attack and the events that

followed, including the November 16, 2023, attack, Plaintiff Jonathan Stern has suffered severe

physical and mental anguish and extreme emotional distress, and economic loss.

        JJJ.       The Lamdan Family

        1449. Plaintiff Yosef Lamdan is a citizen of the United States and a resident of the

State of Israel.

        1450. Plaintiff Maya Lamdan is a citizen of the United States and a resident of the

State of Israel. She is the daughter of Yosef Lamdan.

        1451. Plaintiff Sylvia Arad is a citizen of the United States and a resident of the State

of Israel. She is the mother of Yosef Lamdan and the grandmother of Maya Lamdan.

    i. Yosef Lamdan

        1452. On the morning of October 7, 2023, at approximately 6:15 a.m., Yosef Lamdan

and his wife, Einav Vered, were training with his triathlon team in the vicinity of Kibbutz

Sa’ad, approximately three miles from the Israel-Gaza border. Yosef is the team’s coach, and

on that fateful morning, he was leading 24 participants, including twelve women and five

children. While the team rode their bicycles ahead, Yosef followed along in his car to ensure

their safety.

        1453. Within minutes of beginning their ride, the group could hear a barrage of

machine-gun fire close to their location. There was no proper shelter near them, so the team

positioned itself on a partly covered area on the road, waiting for the attack to stop. At this

point, Yosef bravely left the group to drive one parent, their child, and another participant to

their car close by. He decided to return to the group in order to help lead them to safety.

        1454. Eventually, Yosef was able to locate a proper bomb shelter nearby, and he

transported team members by car to the shelter, prioritizing women and children. Just when the

team reached the proper shelter, a vehicle carrying terrorists stormed it and began shooting at



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the group with machine guns. Yosef instinctively led the group to protection and was the last

person to enter inside the tightly spaced shelter, putting his team’s safety before his own.

        1455. In the midst of running for cover from the gunfire, Yosef fell and injured his

ankle. Nonetheless, his focus remained on leading his team out of the crossfire to safety.

        1456. The team began to realize the true severity of the attacks in Israel as they began

to meet attendees from the nearby Nova Music Festival, who had managed to escape the deadly

scene. Some party-goers managed to evacuate the festival with the dead bodies of attendees

who had been murdered. Yosef assisted in transferring the injured and dead bodies from

vehicles to arriving ambulances and the bomb shelter. He also coordinated the evacuation of

his team out of the area.

        1457. Yosef has since returned to his home on Kibbutz Mefalsim. However, his family

has not yet joined him at their home, as it is still too emotionally difficult for them to return.

As a result of his injuries on October 7, 2023, Yosef has experienced difficulty walking

normally, and he can no longer physically participate in team practice, which has affected his

position as team leader and coach. This has greatly affected his quality of life, and he also

struggles with performing daily functions and is currently undergoing physical therapy.

        1458. Prior to October 7, Yosef lived an active lifestyle, which was an important outlet

for stress relief, and his inability to live an active lifestyle has impaired his mental health.

        1459. Since October 7, Yosef has not been able to be as supportive to his family as he

would like. He has continued to act as an emotional crutch for the triathlon team members and

other survivors, which has taken much of his time away from his family, while living with his

own trauma. Oftentimes, his daughter, Maya, will only see her father when they meet at

funerals. Yosef now lives a very secluded life, which further exacerbates his mental and

physical difficulties.

    ii. Maya Lamdan



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       1460. On the morning of October 7, 2023, Maya Lamdan was staying with a friend at

Kibbutz Nahal Oz, a short distance from her home in Kibbutz Mefalsim. At approximately

6:20 a.m., Maya was awoken by sirens, and she and her friend immediately sought refuge in

her friend’s safe room.

       1461. While the sirens only lasted for 10 minutes, it felt like hours, and Maya knew

this was not a normal attack. At approximately 7:00 a.m., nearly 30 terrorists descended upon

Kibbutz Mefalsim.

       1462. Maya and her friend remained in the safe room for nearly twelve hours. At

approximately 5:00 p.m., the power went out in the safe room, and Maya and her friend decided

to go to another friend’s house nearby. Maya then learned the scale of the massacre within the

kibbutz.

       1463. While the kibbutz security team was able to ward off some of the terrorists,

Maya learned that several civilians had been murdered and taken hostage just steps away from

them. Horrible devastation would further settle in when she saw a video posted of a very close

friend being kidnapped by terrorists.

       1464. After remaining at the kibbutz until the early hours of October 9, Maya and her

friend made the difficult decision to leave the kibbutz and drive two hours north to Caesarea,

to stay with family friends. They left the kibbutz with just the clothes on their back, navigating

through dark roads littered with dead bodies and overturned cars. The sound of nearby gunfire

in the background was audible.

       1465. The trauma Maya felt on October 7 continues to haunt her to this day. She

struggles with continual flashbacks, sleepless nights, nightmares and panic attacks.

       1466. Maya has not felt safe in Israel since the attack, and she has relocated several

times over the past year. As part of her efforts to heal from the trauma she experienced, Maya




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traveled to and lived in Thailand for a time. However, the nightmares and anxiety persisted

during her time there.

       1467.    Maya has since returned to Israel and currently lives in Tel Aviv. However,

every day is a continual battle, and she is not able to be gainfully employed at the moment.

       1468. The events of October 7 have also deeply affected Maya’s relationship with her

father. Yosef Lamdan has continued supporting his team throughout the year, by organizing

events and visiting survivors in the hospital. She is very supportive and proud of her father’s

efforts on and after October 7. However, it is apparent to her that a part of her father’s spirit

has not yet returned.

   iii. Sylvia Arad

       1469. On the morning of October 7, 2023, Sylvia Arad was at her home, where she

lived alone, in Kibbutz Mefalsim.

       1470. At approximately 6:30 a.m., red alert sirens began, which were not uncommon

in Mefalsim due to its proximity to the Israel-Gaza border. Sylvia Arad remained in her

bedroom, which also serves as a safe room, waiting for the sirens to cease.

       1471. Sylvia was horrified to hear a barrage of machine-gun fire within close

proximity to her home. She knew this was not a typical rocket attack from Gaza, and a serious

situation was unfolding in Israel.

       1472. At this point, Sylvia was consumed with anxiety and unease, which was further

intensified when the power in her house went out. Sylvia had not yet learned that dozens of

terrorists had infiltrated Kibbutz Mefalsim and were hunting down its residents.

       1473. The hours continued to pass into the night, and Sylvia remained alone hiding in

her safe room. She was in contact with her granddaughter, Maya Lamdan, at nearby Kibbutz

Nahal Oz, who planned to leave by car that night. However, Sylvia’s car battery had died the

day before, and she was effectively stranded in the terrorist-infested kibbutz.



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       1474. On October 8, 2023, another resident on Kibbutz Mefalsim telephoned Sylvia

and invited her to leave the kibbutz with her and her son. Sylvia fearfully left her home with

few items to meet her ride. This was incredibly nerve-wracking, as it was the first time Sylvia

had left her home in over 24 hours, and the threat of terrorists still loomed within the kibbutz.

       1475.    Sylvia was able to evacuate Kibbutz Mefalsim, and she later arrived in Ramat

Hasharon in central Israel where she stayed at a friend’s home for over one month.

       1476. Following the October 7 Attack, Sylvia traveled to the United States and stayed

until March 2024 as she was not emotionally ready to return to Israel. When she returned, she

stayed in a hotel in the city of Herzliya with other Kibbutz Mefalsim residents who had not

returned home yet.

       1477. Sylvia has since returned to her home, while members of her family have

refused to come back since October 7. She continues to live an isolated life on the kibbutz,

constantly reminded of death and destruction.

       1478. The trauma endured by Sylvia on October 7, 2023, is everlasting. It manifests

itself in various ways, including a physical tremor in her right hand, which intensifies when

she is experiencing stress and anxiety. Immediately after the attack on Kibbutz Mefalsim,

Sylvia became physically ill, and she believes the trauma she has experienced has compromised

her body’s immune system. She also now has nightmares and problems sleeping.

       1479. As she has struggled to heal from the events of October 7, she was further

devastated to learn that her brother, who lived in the United States, was terminally ill, and he

eventually passed away. This further exacerbated the emotional trauma she has lived with since

October 7, 2023.

       1480. Plaintiff Einav Vered is a citizen and resident of the State of Israel. She is the

wife of Yosef Lamdan.




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        1481. Plaintiff Tom Lamdan is a citizen of the United States and a resident of the State

of Israel. He is the son of Yosef Lamdan, the brother of Maya Lamdan, and the grandson of

Sylvia Arad.

        1482.    Plaintiff Guy Lamdan is a citizen of the United States and a resident of the State

of Israel. He is the son of Yosef Lamdan, the brother of Maya Lamdan, and the grandson of

Sylvia Arad.

        1483. As a direct and foreseeable result of the October 7 Attack (on themselves and

their family members), Plaintiffs Yosef Lamdan, Maya Lamdan, and Sylvia Arad have suffered

severe mental anguish and extreme emotional distress, and economic loss. Additionally,

Plaintiff Yosef Lamdan suffered physical injury as a direct and foreseeable result of the

October 7 Attack.

        1484. As a direct and foreseeable result of the October 7 Attack on their family

members, Plaintiffs Einav Vered, Tom Lamdan, and Guy Lamdan have suffered severe mental

anguish and extreme emotional distress, and economic loss.

        KKK. The Lilintal-Huri Family

        1485. Plaintiff Moshe Yehuda Lilintal is a citizen of the United States and a resident

of the State of Israel.

        1486. Plaintiff Esther Perel Lilintal is a citizen of the United States and a resident of

the State of Israel. She is the wife of Moshe Yehuda Lilintal.

        1487.    Plaintiff Elia Natan Lilintal is a citizen of the United States and a resident of

the State of Israel. He is the son of Moshe Yehuda Lilintal and Esther Perel Lilintal.

        1488.    Plaintiff Yaakov Lilintal is a citizen of the United States and a resident of the

State of Israel. He is the son of Moshe Yehuda Lilintal and Esther Perel Lilintal.

        1489. Plaintiff Chana Lilintal Bialistoki is a citizen and resident of the State of Israel.

She is the wife of Yaakov Lilintal.



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        1490. Plaintiffs Chana Lilintal Bialistoki and Yaakov Lilintal bring this action as the

co-legal guardians of their minor children T.L., N.R.L., S.L., and E.S.L., who are all citizens

and residents of the State of Israel.

        1491.      Plaintiff Yeshayahu Lilintal is a citizen of the United States and a resident of

the State of Israel. He is the son of Moshe Yehuda Lilintal and Esther Perel Lilintal.

        1492. Plaintiff Tamar Lilintal is a citizen and resident of the State of Israel. She is the

wife of Yeshayahu Lilintal.

        1493. Plaintiffs Tamar Lilintal and Yeshayahu Lilintal bring this action as the co-legal

guardians of their minor children Y.M.L., T.L., and S.L., who are citizens and residents of the

State of Israel.

        1494. Plaintiff Daniel Lilintal is a citizen of the United States and a resident of the

State of Israel. He is the son of Moshe Yehuda Lilintal and Esther Perel Lilintal.

        1495. Plaintiff Gal Lilintal is a citizen and resident of the State of Israel. She is the

wife of Daniel Lilintal.

        1496. Plaintiffs Gal Lilintal and Daniel Lilintal bring this action as the co-legal

guardians of their minor children J.M.L. and A.L., who are citizens and residents of the State

of Israel.

        1497.      Plaintiff Chaim Tuvia Lilintal is a citizen of the United States and a resident of

the State of Israel. He is the son of Moshe Yehuda Lilintal and Esther Perel Lilintal.

        1498.      Plaintiff Talya Lilintal is a citizen and resident of the State of Israel. She is the

wife of Chaim Tuvia Lilintal.

        1499. Plaintiffs Talya Lilintal and Chaim Tuvia Lilintal bring this action as the co-

legal guardians of their minor child M.L., who is a citizen and resident of the State of Israel.

        1500.      Plaintiff Chana Lilintal Huri is a citizen of the United States and a resident of

the State of Israel. She is the daughter of Moshe Yehuda Lilintal and Esther Perel Lilintal.



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       1501. Plaintiff Evyatar Saadya Shalom Huri is a citizen and resident of Israel. He is

the husband of Chana Lilintal Huri.

       1502. On October 7, 2023, the members of the Lilintal family were ruthlessly attacked

by Hamas in different locations along the Gaza border.

   i. The Lilintal family in Moshav Naveh

       1503. Plaintiffs Esther Perel Lilintal, Moshe Yehuda Lilintal, and Chana Lilintal Huri

(and Chana’s husband, Evyatar Saadya Shalom Huri) lived on Moshav Naveh, a small

agricultural community in Southern Israel. On October 7, 2023, Plaintiff Yeshayahu Lilintal

and his wife and minor children, and Plaintiff Daniel Lilintal and his wife and minor children

were visiting for the Jewish holiday of Simchat Torah.

       1504.   Esther’s love for hosting was shared by her children. Nearby, Chana and

Evyatar were delighted to host Evyatar’s parents and sister in their cozy trailer home.

       1505. On October 7, 2023, at approximately 6:30 a.m., Esther was shaken awake by

the sounds of sirens and missiles exploding overhead. Living near the Gaza border, she was no

stranger to rocket attacks, but this time the volume and magnitude of the explosions were

extremely unusual. She felt a pit form in her stomach.

       1506.   Esther and Moshe hurriedly gathered all 12 of their family members from their

respective rooms and ran to the shelter. Chana and Evyatar joined them shortly afterward, along

with Evyatar’s parents and sister.

       1507. Sounds of explosions and gunfire erupted outside. Terror swept over the family

as they squeezed together in the tiny safe room. Between the 16 family members, there was

barely room to breathe.

       1508. Still struggling to grasp the reality of their own situation, the family soon

learned that the terrorists had infiltrated into Moshav Naveh’s neighboring communities.

Esther, Yeshayahu, and Chana were forced to hide their own horror in order to calm the frantic



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children — silencing their sobs so that they could remain undiscovered by the terrorists lurking

outside.

         1509. It was more than 24 petrifying hours before the Lilintal family members in

Moshav Naveh were finally evacuated and received word that their family members in

neighboring communities were safe.

         1510.   Esther, Moshe, Chana, and Evyatar were evacuated to a hotel in Jerusalem.

They have yet to return to their homes, or their lives as they knew them.

         1511. Esther continues to struggle with disrupted sleep that routinely makes her late

to work – a rare occurrence for her prior to the October 7 Attack. She and her husband, Moshe,

socialize far less than they used to, and they rarely leave their immediate community.

         1512. Chana and her husband no longer sleep in their bedroom – they now sleep in

their safe room every night, desperate for a sense of security. Chana is haunted by the horrors

of that day on a daily basis. She experiences extreme anxiety in crowded areas – her heart

begins pounding and she often feels like she is going to faint.

         1513. Since October 7, life has not been the same for Yeshayahu and his family. His

3-year-old daughter, who was potty-trained before the October 7 Attack, is now back in diapers

and has developed a disabling stutter. All of their children are still unable to sleep through the

night.

   ii. Chaim Tuvia Lilintal and his family in Kibbutz Kerem Shalom

         1514. Chaim Tuvia Lilintal and his wife and minor child lived in Kerem Shalom.

Chaim invited his friends to stay with him and his family for the holiday of Simchat Torah.

         1515. At approximately 6:30 a.m., Chaim jerked out of bed to the sound of piercing

sirens. Within seconds of rushing his family and friends into a safe room, gunfire rang out from

directly outside the house.




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        1516. Cautiously, Chaim peered out the safe room window. To his horror, he watched

as a barrage of terrorists gunned down the soldiers guarding the gate of their kibbutz

community.

        1517. Suddenly, Chaim’s phone rang. It was a member of the kibbutz security team.

The wife of one of the kibbutz security team members had been left alone in her home,

completely defenseless. They were desperately searching for someone to go save her.

        1518. While his heart pounded out of his chest, Chaim swallowed his fear, grabbed

his pistol, and set out with his friend to rescue the woman. Miraculously, he reached her and

brought her safely back to his safe room. The woman stayed with them for the entire duration

of the attack.

        1519. On Sunday morning, as the fighting raged on in the kibbutz, Chaim decided it

was time to take action to protect his family and community. He reached out to the kibbutz

security team and asked to join them. He fought alongside the security team for the rest of the

day as they defended the kibbutz community.

        1520. Against all odds, Chaim survived and so did his family, friends, and the woman

he had rescued. They were finally reunited on Sunday evening. The relief and jubilance of

knowing that their family was still intact was fleeting, as they took in the destruction around

them.

        1521.    Chaim and his wife and child were evacuated south, but Chaim had more work

to do. While his wife and child moved in with their friends in Beer Sheva, Chaim returned to

the kibbutz to continue defending what was left of their community. The family was soon

reunited again — this time, in attendance of several funerals in Jerusalem for their friends who

did not make it out alive.

    iii. Yaakov Lilintal and his family in Kibbutz Kerem Shalom




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       1522. Yaakov Lilintal and his wife, Chana, and their children lived in Kibbutz Kerem

Shalom. Like his mother, sister, and brother, Yaakov was overjoyed to host family for Simchat

Torah. They were joined by Chana’s parents, grandmother, and brother. It was a full house,

packed with excitement and anticipation for the holiday.

       1523. At approximately 6:30 a.m., the whole family jolted awake to several blaring

rocket alert sirens. Yaakov’s stomach churned as he hurried his family into their safe room.

Suddenly, the sounds of the sirens were met by sounds of explosions and a barrage of gunfire.

       1524. Chana’s family began to panic. With little information about what was

happening outside, Yaakov and Chana quieted their own fears and desperately tried to calm

their family and young children.

       1525. With no clear picture of the threat outside and with his family’s lives on the line,

Yaakov called the kibbutz security coordinator. The coordinator told him to remain in the safe

room with his family for the time being, and that they might ask him to join the emergency

response team if they could get him proper gear.

       1526. Later that evening, Yaakov received a call from the kibbutz coordinator. He

shared devastating news—several members of the emergency response team had been

murdered and injured, and families were being massacred by terrorists in their homes.

       1527. The coordinator begged Yaakov to help one family in particular. Terrorists had

broken into their home and attacked the father, critically injuring him. The kibbutz team was

able to evacuate the father to a hospital, but the rest of the family needed a place to stay.

       1528.    Yaakov did not hesitate to take in the family. All together, the 17 of them

packed into the tiny safe room. By that time, there was no more electricity or cell service.

Petrified, they remained in the shelter as the violence raged on overnight.

       1529. On the evening of October 8, they were finally given clearance to evacuate.

Yaakov and his family quickly packed up their belongings and rushed to their cars, where they



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were escorted out of the area by the military. Yaakov braced for the possibility that they would

never see their home again.

          1530.   Yaakov and his family initially moved in with Chana’s parents in Jerusalem,

before relocating to a hotel in Eilat with other displaced families.

          1531. Life in the hotel was extremely difficult. As a family of six in a small room,

there was no privacy and no sense of routine. Their lives had been completely disrupted.

          1532. During their time in the hotel, Yaakov’s children began suffering from trauma-

related symptoms. Previously confident, they grew extremely wary of strangers and unable to

separate from their parents. They struggled with severe insomnia, which in turn kept Yaakov

and Chana awake at night. They constantly feared that terrorists were hiding under their beds

or in their rooms. The suffering escalated to the point that Yaakov’s son told him that he wanted

to die.

          1533. This unbearable hotel life dragged on for three months. Yaakov and his family

then relocated to Kibbutz Ashalim, alongside other displaced families.

          1534. Finally, the family decided to move back to Kerem Shalom. However, when

they returned, they barely recognized their home. The vast majority of the kibbutz remained in

shambles. With their house still uninhabitable, they moved into a trailer.

          1535.   Yaakov and his wife continue to grapple with the murder of several of their

close friends. The grief is overwhelming at times.

          1536. Their minor children continue to suffer from the same severe insomnia, fear of

strangers, and loud noises as they did during their time in the hotel.

          1537. The trauma of this experience is deeply ingrained in the children’s development.

The first words of their two-year-old included the terms “terrorist,” “hostage,” and “alarm.”




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   iv. Elia Natan Lilintal in Kibbutz Sufa

       1538.    In the early morning hours of October 7, 2023, Elia Natan Lilintal and his

girlfriend returned home to Kibbutz Sufa, a tight-knit agricultural community near the Gaza

border. They had spent the night ringing in the Simchat Torah holiday with Elia Natan Lilintal’s

parents in Moshav Naveh, and were just getting to sleep at approximately 4:30 a.m.

       1539. Two hours later, they were startled awake by wailing sirens warning of

incoming rockets. As the security coordinator of the kibbutz, Elia immediately sent a message

to kibbutz residents instructing them to take shelter, and ran to his safe room with his girlfriend.

       1540. At approximately 6:45 a.m., Elia received a call from the operations room of

the Amitai battalion of the IDF, with whom he was in frequent contact as security coordinator

for the nearby kibbutz. They said terrorists had infiltrated Kibbutz Sufa. Elia’s heart started to

pound, but he didn’t have time to panic – he needed to keep a clear head to protect his

community.

       1541. At approximately 6:55 a.m., gunfire erupted outside of Elia’s home. He urgently

called the IDF company commander for information, but no one picked up.

       1542. When Elia finally got in touch with the battalion’s operations officer, his fears

were confirmed—the company commander was injured, the medic was injured, and all of the

troops were already overwhelmed. No one was coming to help Kibbutz Sufa. His final words

to Elia were “Good Luck.”

       1543.    Elia understood he had to take matters into his own hands if he wanted to

survive. He held his panicking girlfriend and told her to remain in the safe room, and gave her

a walkie talkie so that she could communicate with him.

       1544. With only his standard-issue firearm and the precarious cover of his bathroom

window, Elia desperately tried to fend off the infiltrating terrorists as they ravaged through the




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kibbutz, attempting to break into his and his neighbor’s homes. He engaged in two intense fire-

fights – and narrowly survived them both.

       1545. Trembling after two near-death experiences, Elia had no choice but to fight his

fear and press on. Quickly, Elia gathered four members of the rapid response team. Together,

they pushed their horror aside to protect their community.

       1546. Suddenly, Elia spotted approximately 20 Hamas terrorists attempting to

infiltrate the kibbutz fence. He and his team dove for cover beneath some bushes and started

firing at the incoming terrorists to stop the invasion.

       1547.     Elia realized that the bushes left them too exposed. He sprinted toward a large

concrete enclosure for cover, but the terrorists spotted him.

       1548. The terrorists threw three grenades directly at Elia. As he closed his eyes and

braced for his death, the grenade exploded just out of his vicinity.

       1549. Moments later, Elia watched in horror as Hamas terrorists gunned-down his

friend in plain sight. Choking back tears, he desperately tried to refocus on keeping himself

and his remaining three teammates alive.

       1550. The battle between Elia and his three remaining team members against waves

of incoming Hamas terrorists raged on until approximately 1:30 p.m., when six IDF soldiers

arrived and took over their positions. By approximately 2:00 p.m., the IDF had arrived in full

force, and by 6:00 p.m., the kibbutz had been secured. For the first time in over 12 hours, Elia

could breathe.

       1551. In the following days, Elia and the remaining Kibbutz Sufa residents were

evacuated to Eilat and then moved into temporary housing in Ofakim shortly after. Elia

desperately wants to move back home – but to this day, he has not been able to.

       1552. Since the attack, Elia is not the same. He still has not fully regained his hearing

following the grenade explosion. He now barely leaves his home and has lost the drive and



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ambition that were once central to his personality. He struggles to remember some of the events

and emotions of the day as the trauma has erased them from his memory.

        1553. As a direct and foreseeable result of the October 7 Attack (on themselves and

their family members), Plaintiffs Moshe Yehuda Lilintal, Esther Perel Lilintal, Elia Natan

Lilintal, Yaakov Lilintal, Yeshayahu Lilintal, Daniel Lilintal, Chaim Tuvia Lilintal, and Chana

Lilintal Huri have suffered severe mental anguish and extreme emotional distress, and

economic loss.

        1554.    Plaintiff Rachel Gur is a citizen of the United States and a resident of the State

of Israel. She is the daughter of Moshe Yehuda Lilintal and Esther Perel Lilintal.

        1555.    Plaintiff Yoseph Lilintal is a citizen of the United States and a resident of the

State of Israel. He is the son of Moshe Yehuda Lilintal and Esther Perel Lilintal.

        1556.    As a direct and foreseeable result of the October 7 Attack on their family

members, Plaintiffs Rachel Gur, Yoseph Lilintal, Chana Lilintal Bialistoki, T.L., N.R.L., S.L.,

E.S.L., Tamar Lilintal, Y.M.L., T.L., S.L., Gal Lilintal, J.M.L., A.L., Talya Lilintal, M.L., and

Evyatar Saadya Shalom Huri have suffered severe mental anguish and extreme emotional

distress, and economic loss.

        LLL. The Peles Family

        1557. Plaintiff Nadav Peles is a citizen of the United States and a resident of the State

of Israel.

        1558. Plaintiff Eyal Peles is a citizen of the United States and a resident of the State

of Israel.

        1559. Nadav Peles and Eyal Peles are twin brothers, and they both serve in the canine

special force’s unit in the IDF.

        1560. On October 7, 2023, Nadav was at home in Modi’in on a short vacation from

duty celebrating the Jewish holiday of Simchat Torah with his family. Woken by the shocking



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and terrifying news of what was unfolding in the south, Nadav soon received a call from his

commander, explaining that civilian communities were under attack.

         1561. After a quick preparation at base, Nadav headed south with his K-9 partner,

Cheetah, to Kibbutz Be’eri—one of the most severely attacked communities. The devastation

at Be’eri included 101 members brutally murdered, 31 kidnapped, and hundreds more injured,

including men, women, children, and the elderly.

         1562. Heading toward the mission with little information about what lay ahead, Nadav

and his team passed horrifying scenes that revealed the full scale of the catastrophe. From the

window of his vehicle, he saw mutilated and burned bodies, cars engulfed in flames, and scenes

of unimaginable destruction. At that moment, it became clear to him: he had entered a full-

blown war zone. These haunting images remain etched in his memory to this day.

         1563. Around midday, Nadav entered Kibbutz Be’eri and began the evacuation

process. Determined to help as many people as possible, Nadav and Cheetah went from house

to house, rescuing civilians who were injured or trapped in their homes. The chaos was

overwhelming, but Nadav remained committed to his mission, doing whatever he could to save

lives.

         1564. During a mission to rescue members of Kibbutz Magen, Eyal drove south,

passing rows of lifeless bodies. At first, he couldn’t process what he was seeing—entire

families brutally murdered. Inside the kibbutz, the atrocities became even more horrifying with

bodies scattered on the streets. At one point, while searching, he knelt without realizing there

was a body right next to him. The chaos and carnage were beyond what his mind could grasp.

         1565. The horrors he witnessed haunt Nadav to this day, affecting his daily life. The

smell of burning flesh often invades his senses unexpectedly, triggering painful memories.

Despite his need to recover, knowing there were still hostages in captivity and entire




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communities displaced from their homes, he believed there was no time to prioritize his own

needs.

            1566. On January 24, 2024, Nadav was operating in Khan Younis in southern Gaza.

His mission, alongside Cheetah, was to detect bombs planted by terrorists. After a long day of

operations, as the sun began to set, Nadav’s commander ordered the team to rest in a safe zone.

While searching for a suitable place, Nadav and his team inadvertently entered an exposed

area. Rushing to take cover, they entered a house without sending Cheetah to thoroughly search

it first.

            1567. Within seconds of entering the house, a massive explosion erupted. Nadav lost

consciousness immediately. When he awoke, barely disoriented, he found himself buried under

debris, utterly alone. Upon realizing he was alive; his first instinct was to check if he had lost

any limbs. His second thought was of Cheetah. Realizing she was gone, he forced himself to

push aside his grief and focus on surviving.

            1568. Trapped under heavy concrete, Nadav tried desperately to free himself but

found it impossible to move. After several failed attempts, he decided to wait for a rescue team.

Suddenly, a fire broke out in the house, quickly spreading toward him. Realizing time was

running out, Nadav used every ounce of strength to try and free himself while screaming for

help. As the fire drew closer, Nadav could feel the heat searing his legs, burning his uniform.

            1569. At last, a rescue team arrived and began working to pull him from the rubble.

The flames continued to spread, and the team struggled to free him, their gloves beginning to

burn from the intense heat. Just as the situation seemed hopeless, a second rescue team arrived.

Together, they managed to pull Nadav out of the wreckage and rushed him to receive medical

treatment.




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       1570. Struggling to breathe due to smoke inhalation and trauma, Nadav was sedated

and intubated to open his airway. A rescue helicopter transported him to a hospital in Israel,

where doctors performed emergency surgery to remove shrapnel lodged in his pelvis.

       1571. When Nadav woke up the following day, his ordeal was far from over. He

underwent a series of painful procedures, including skin grafts to treat third-degree burns on

various parts of his body, with the most severe damage on his legs. From that point on, he

began an agonizing journey of recovery.

       1572. As Eyal Peles prepared to go back into Gaza for another mission, his

commander informed him of the devastating news—his twin brother, Nadav, had been severely

injured. Overwhelmed with panic and dread, Eyal rushed to the hospital. The hour-long drive

was consumed by spiraling thoughts and fears. Upon arriving, as the first family member there,

he was met with the horrifying sight of his brother, sedated and intubated in intensive care, his

body covered in burns and blood, connected to an array of machines. Urged to step back, he

refused to leave his brother’s side, demanding answers from the medical team. But the absence

of clear information only deepened his torment.

       1573. On the evening of January 24, 2024, the Peles family was at home when a phone

call shattered their world. Hila Peles, Eyal and Nadav’s mother, answered to hear the calm but

detached voice of an IDF official. Speaking in a calm but detached manner, the official

informed her that Nadav had been seriously injured and was in intensive care at Soroka Medical

Center. Unable to accept this devastating news, Hila tried to convince herself it was a scam.

However, as the official repeated the message multiple times, the reality sank in, leaving her

overwhelmed with uncontrollable crying, screaming, and searing pain throughout her body.

       1574. Eyal met his family as they arrived at the hospital. Hila was so overcome with

grief and fear that she could barely walk, needing support to enter. Their father, Lior Peles,

broke down in tears—a sight Eyal had never seen before. Despite his own pain, Eyal felt like



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he had to be the strong one, trying to emotionally support his family while inwardly falling

apart.

         1575. After several weeks of caring for his family and his injured brother, Eyal—torn

between his family’s pleas for him to stay and his unwavering sense of duty—ultimately

returned to the front lines. One of the most harrowing moments for Eyal occurred during a

mission when, inside an APC (armored personnel carrier), he spotted a terrorist through the

camera sprinting toward them with an explosive device. Time seemed to stretch endlessly.

Trapped and unable to defend himself, all he could think about was his family—how they

would cope if he didn’t survive. For a few agonizing seconds, Eyal braced for the inevitable

explosion that, miraculously, never came. While the immediate danger passed, the mental

weight of those moments and the haunting thoughts of his family remain ever-present.

         1576. After nearly a month of being bedridden, Nadav could not perform simple tasks

like getting out of bed without excruciating pain. His recovery extended to two and a half

months in the hospital, where physical therapy felt like relearning how to walk. To this day,

Nadav continues to struggle with basic tasks, having lost much of his strength and flexibility,

which now severely limits the physical freedom he once enjoyed.

         1577. After being discharged from the hospital, Nadav was haunted by nightmares

replaying the harrowing moments when he was trapped in a burning building, unable to escape

or save anyone. He is tormented by feelings of how he is still alive, repeatedly questioning how

even the smallest change in events could have altered his fate. Nadav continues to carry this

heavy burden, knowing it will remain with him for life.

         1578. Since the October 7 Attack, and the bomb planted by Hamas terrorists, Nadav

is no longer the same person. He bears significant scars on his legs and arms from the burns

and must undergo ongoing treatments, such as laser therapy and the application of special

creams. He must always wear protective bandages to ensure his skin remains covered.



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Additionally, nerve damage in his leg has left him with permanent numbness, preventing him

from regaining his full physical abilities. He can no longer serve as an active combat soldier.

        1579. Nadav knows this struggle will accompany him for the rest of his life. He

continues to grapple with the trauma of the events he endured, the horrifying scenes of October

7, and the lingering pain over the loss of Cheetah and the guilt of leaving her behind.

        1580. Since the October 7 Attack, Eyal is no longer the same person. The trauma of

the sights of lifeless bodies in Kibbutz Magen, the constant danger in Gaza, his twin brother’s

injury, and his family’s suffering—continues to weigh on him. He has become hypersensitive

to every loud noise or sudden movement. At times, his heart races uncontrollably, triggering

anxiety attacks without warning. Every day, he carries the heavy burden of how much life has

changed since October 7.

        1581. Plaintiff Hila Peles is a citizen of the United States and a resident of the State

of Israel. She is the mother of Nadav and Eyal Peles.

        1582. Hila has struggled deeply to regain any sense of normalcy. Constant questions

and intrusive thoughts haunt her—replaying the moment of Nadav’s injury and imagining the

horrors he endured, along with the devastating “what-ifs.” The phone call from the IDF echoes

in her mind like a broken record, often reducing her to tears.

        1583. Plaintiff Lior Peles is a citizen of the United States and a resident of the State

of Israel. He is the father of Nadav and Eyal Peles.

        1584. Lior stopped working for several months to dedicate himself fully to supporting

Nadav and the rest of his family. Despite his efforts, the harrowing memories of those days

resurface often, triggering sleepless nights filled with fear and anxiety. Adding to the family’s

anguish was their worry for Eyal, who was still serving in the same military unit as Nadav, and

shortly after his brother’s injury returned to the front lines.




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        1585. Plaintiffs Lior Peles and Hila Peles also bring this action on behalf of their minor

daughter, D.P. D.P. is a citizen of the United States and a resident of the State of Israel. She is

the sister of Nadav and Eyal Peles.

        1586. For D.P., Nadav has always been her role model—the person she looked up to

for strength and confidence. The thought of losing him shattered her sense of security. She now

struggles with heightened anxiety and often finds herself unable to sleep. After being away

from school for several weeks, the trauma has made it difficult for her to fully return to her

studies or achieve her previous academic excellence.

        1587. Plaintiff Roy Peles is a citizen of the United States and a resident of the State of

Israel. He is the brother of Nadav and Eyal Peles.

        1588. The attack on Nadav completely upended the Peles family’s lives. For months,

they remained by his side, unable to work or attend school, consumed by the constant worry

over his condition. Even now, Nadav is still undergoing extensive treatment and has not fully

recovered. His injuries continue to define their daily lives, fueling ongoing trauma and anxiety

for the entire family.

        1589. As a direct and foreseeable result of the October 7 Attack and the events that

followed, Plaintiffs Nadav Peles and Eyal Peles suffered severe physical and mental anguish

and extreme emotional distress, and economic loss.

        1590. As a direct and foreseeable result of the October 7 Attack and the subsequent

January 24, 2023, attack in which Nadav Peles was injured, Plaintiffs Lior Peles, Hila Peles,

Eyal Peles, D.P., and Roy Peles have suffered severe mental anguish and extreme emotional

distress, and economic loss.

        MMM.             The Aharoni Family

        1591. Plaintiff Shanee Aharoni is a citizen of the United States and a resident of the

State of Israel.



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          1592. Shanee Aharoni was eager to celebrate her birthday with her friends on the

weekend of October 7, 2023. She made plans to meet up with them as soon as she finished her

shift working as a cashier at the Nova Music Festival in southern Israel.

          1593. On October 6, 2023, at approximately 9:00 p.m., Shanee arrived for her shift.

She was scheduled to work until 6:00 a.m. the next morning. When 6:00 a.m. arrived, her boss

asked her to stay an extra hour. That extra hour would change the course of her life forever.

          1594. At approximately 6:30 a.m., a massive barrage of rockets streaked through the

sky over the Nova Music Festival complex. Shanee gathered her friends and other partygoers

into her ticket booth and tried to keep everyone calm, including herself.

          1595. After nearly 40 terrifying minutes huddled in the booth, Shanee heard gunfire

and screams echoing from the festival crowds.

          1596.   Shanee desperately struggled to make sense of the chaos unfolding around her.

Armed terrorists fired into crowds of young partygoers, bodies falling to the ground in every

direction. Shanee watched, paralyzed in horror, as one of the terrorists shot her friend in the

leg.

          1597.   Shanee quickly snapped out of her panicked daze. She didn’t know how many

terrorists there were or how many people had already been shot—she just knew she had to

escape.

          1598.   Shanee, along with her friend Carmel and her boyfriend, ran to the parking lot,

hoping to drive to safety. However, they soon realized that they were boxed in as all the cars

were stuck in a massive traffic jam. They would later discover that the traffic jam was also a

product of the Hamas attack, as terrorists murdered partygoers in their cars all along the

highway.




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       1599. With no other way to escape, Shanee and her friends started to run. As they

sprinted for their lives, Shanee realized that terrorists were flying in on parachutes, raining

bullets on the crowd before continuing their carnage by foot.

       1600. Echoes of blood-curdling screams and gunfire drowned out all of Shanee’s

thoughts as she raced through the desert terrain as fast as she could. She witnessed fellow

partygoers gunned down beside her, people tripping over lifeless bodies as they desperately

tried to escape.

       1601.       Shanee and her friends finally arrived to an area where they could hide.

Scanning the landscape, now full of dead bodies, they located a public bomb shelter with

roughly 30 people packed inside. Shanee did not feel comfortable entering the bomb shelter,

so they continued on and found a few cars to hide underneath instead.

       1602.       That decision saved their lives. Soon after, Shanee watched in horror as a man

who had been ushering people into the bomb shelter then threw grenades into the shelter

murdering everyone inside.

       1603.       Shanee and her friends got out from underneath the cars and started to run

again. They came across an abandoned car with a set of car keys. With no time to spare, they

jumped in and drove off as fast as they could.

       1604. As they sped away from the Nova Music Festival grounds, Shanee fought to

keep her composure. They weaved through roads lined with lifeless bodies and abandoned

vehicles, praying with each turn that they didn’t run into the terrorists’ hands.

       1605.       At approximately 2:00 p.m., Shanee made it to her mother’s house in central

Israel alive. However, her life would never be the same.

       1606. Hamas terrorists murdered approximately 20 of Shanee’s friends that day. What

was supposed to a celebration of Shanee’s birthday turned into a massacre of her closest friends

and a trauma that would scar her for the rest of her life.



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        1607. In the weeks following the attack, Shanee’s mental state quickly deteriorated.

For the first two weeks, she barely uttered a single word.

        1608. Once a motivated, independent young woman working in the high-tech sector,

Shanee could no longer hold down a job and live alone in her apartment. She lost a significant

amount of weight as she struggled to eat. She began to self-isolate, unable to socialize or leave

her home. She cried constantly and had frequent outbursts of anger.

        1609. The continuous blaring of rocket sirens in central Israel triggered Shanee’s

trauma response. As a result, as of September 28, 2024, she has now moved in with her sister

in the United States.

        1610.   Shanee continues to suffer from extreme physical and mental side effects. She

experiences frequent stress-vomiting spells and can barely sleep through the night without

waking up from traumatizing night terrors. She is unable to partake in any social situations, or

even neutral situations where other people are present.

        1611.   Plaintiff Galit Aharoni is a citizen of the United States and residents of the State

of Israel.

        1612. Plaintiff Yaniv Aharoni brings this action individually and as a co-legal

guardian to his minor children R.A. and E.A. He is a citizen of the United States and a resident

of the State of Israel. He is the father of Shanee Aharoni.

        1613.   Galit Aharoni suffered severe emotional distress on October 7, 2023, fearing

for her daughter’s life. Since October 7, 2023, her life has revolved around helping her daughter

through her trauma. She will soon be relocating to the United States to help support Shanee

Aharoni.

        1614. Plaintiff Roy Aharoni is a citizen of the United States and a resident of the State

of Israel. Roy Aharoni is the brother of Shanee Aharoni.




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       1615. Plaintiff Etay Aharoni is a citizen of the United States and a resident of the State

of Israel. Etay Aharoni is the brother of Shanee Aharoni.

       1616.     As a direct and foreseeable result of the October 7 Attack, Plaintiff Shanee

Aharoni has suffered severe physical and mental anguish and extreme emotional distress, and

economic loss.

       1617.     As a direct and foreseeable result of the October 7 Attack on their daughter and

sister, Plaintiffs Galit Aharoni, Yaniv Aharoni, R.A., and E.A. have suffered severe mental

anguish and extreme emotional distress, and economic loss.

       NNN.       The Berkowitz Family

       1618. Eyal Berkowitz was a citizen of the United States and a resident of the State of

Israel when he was murdered by Hamas. He was 28 years old.

       1619. Eyal Berkowitz was serving in the elite Maglan commando unit in the IDF.

       1620. Upon learning about the unprecedented October 7 Attack on southern Israel,

Eyal, a newlywed and promising medical student, was called up for reserve duty. Without

hesitation, driven by his dedication to his comrades and his reeling country, he left everything

behind and rushed to the frontlines to join the fight against Hamas terrorists in the Gaza Strip.

       1621. On December 7, 2023, Eyal and his fellow soldiers set out on a courageous

mission to retrieve the bodies of two Israeli hostages who had been savagely abducted by

Hamas during the October 7 Attack. These hostages were violently hauled into the Gaza Strip

and were ultimately executed by Hamas terrorists.

       1622. Eyal and his comrades were on their way to the Jabaliya area in the Gaza Strip,

where intelligence indicated that the massacred bodies of the Israeli hostages were being held.

As Eyal’s convoy was advancing, a roadside explosive, planted by Hamas terrorists, was

detonated. Eyal and several of his fellow soldiers were critically wounded.




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       1623. Teetering on the brink of survival, Eyal was airlifted to an Israeli hospital, where

medical staff fought to save his life. Despite their relentless efforts, Eyal succumbed to his

wounds just hours later, leaving behind a mother, a father, five siblings, and a wife.

       1624. Plaintiff Michal Berkowitz brings this claim individually and also as the heir-

at-law for the Estate of Eyal Berkowitz. She is a citizen and resident of the State of Israel. She

is the surviving wife of Eyal Berkowitz.

       1625. Plaintiff Shmaya Berkowitz is a citizen of the United States and a resident of

the State of Israel. He is the surviving father of Eyal Berkowitz.

       1626. Plaintiff Rivka Berkowitz is a citizen of the United States and a resident of the

State of Israel. She is the surviving mother of Eyal Berkowitz.

       1627. Plaintiff Erez Berkowitz is a citizen of the United States and a resident of the

State of Israel. He is a surviving brother of Eyal Berkowitz.

       1628. Plaintiff Tzur Berkowitz is a citizen of the United States and a resident of the

State of Israel. He is a surviving brother of Eyal Berkowitz.

       1629. Plaintiff Tamar Berkowitz is a citizen of the United States and a resident of the

State of Israel. She is a surviving sister of Eyal Berkowitz.

       1630. Plaintiff Einav Berkowitz is a citizen of the United States and a resident of the

State of Israel. She is a surviving sister of Eyal Berkowitz.

       1631. Plaintiff Reut Berkowitz is a citizen of the United States and a resident of the

State of Israel. She is a surviving sister of Eyal Berkowitz.

       1632. The death of Eyal has had a devastating effect on his family. Michal is grief-

stricken by the loss of her husband. As a certified nurse, her ability to work and concentrate

has been severely compromised, and the painful absence of Eyal accompanies her at all times.

Since the death of her beloved husband, Michal has been experiencing insomnia, mood swings

and exhaustion. At times, she struggles with daily tasks, like merely getting out of bed.



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       1633. As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate

of Eyal Berkowitz experienced conscious pain and suffering and suffered economic loss.

       1634. As a direct and foreseeable result of the October 7 Attack and the death of their

family member Eyal Berkowitz, Plaintiffs Shmaya Berkowitz, Rivka Berkowitz, Erez

Berkowitz, Tzur Berkowitz, Tamar Berkowitz, Reut Berkowitz, Einav Berkowitz, and Michal

Berkowitz have each suffered severe mental anguish and extreme emotional distress, and

economic loss.

       OOO. The Guedalia Family

       1635. Joseph Guedalia was a citizen of the United States and a resident of the State of

Israel when he was murdered by Hamas.

       1636. Joseph Guedalia served in the elite Duvdevan Unit in the IDF.

       1637. Joseph and his wife, Senai Guedalia, were a young couple who had met at a

Jewish summer camp and dreamed of building a life together. Married for just one year, they

lived in a small apartment in Jerusalem with their whole future ahead of them.

       1638. On October 6, 2023, during the Jewish holiday of Simchat Torah, Joseph and

his family gathered in Jerusalem for their cherished tradition of dancing, dining, and celebrating

together.

       1639. The following morning, on October 7, 2023, at approximately 8:00 a.m., Joseph

received a call from his commander ordering him to report to base immediately, citing reports

of civilians being killed in the south. Moments later, the shocking sounds of rocket sirens and

explosions filled the air. Rockets targeting Jerusalem with such intensity was unusual, leaving

Joseph certain that something horrific was unfolding.

       1640. As one of the first from his team to arrive, Joseph immediately set out for Kfar

Aza where 64 community members had been killed, 19 kidnapped, and hundreds more injured

or raped by Hamas terrorists. Determined to act swiftly, he gathered his team and headed south.



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        1641. By the time Joseph arrived at approximately 11:00 am, Kfar Aza had become a

battlefield. Joseph and his team repeatedly braved enemy fire, rescuing injured civilians from

rooftops, roadsides, bushes, and transporting them to safety. On their third entry into Kfar Aza,

they decided to enter through the back to cover areas they hadn’t yet reached. Tragically, this

route led directly into the terrorists’ point of entry.

        1642. Fully aware of the dangers, Joseph and his team began driving through the

houses, determined to save lives. Spotting an abandoned RPG on the ground, they decided to

secure it before the terrorists could. It was a trap. Their vehicle came under heavy small-arms

and RPG fire. Forced to flee the vehicle, they jumped out just as the terrorists threw a grenade

at them.

        1643.      In the chaos, Joseph ran toward the back entrance to Kfar Aza where a group

of terrorists ambushed him near the fence. Alone, he managed to kill the terrorists but sustained

a fatal gunshot in the exchange ultimately leading to his death.

        1644.      Moments later, a backup team from his unit arrived and found one of Joseph’s

team members, severely injured. He directed them to search for Joseph. When they found him

lifeless, they discovered terrorists attempting to drag his body toward Gaza. The team opened

fire and recovered his body. Joseph’s body was transported to an army base designated for

fallen soldiers.

        1645. Plaintiff Asher Guedalia is a United States citizen and a resident of the State of

Israel. He is the surviving brother of Joseph Guedalia.

        1646. Asher Guedalia was serving as a reserve soldier in the special forces unit in the

IDF.

        1647.      On the morning of October 7, Asher and his brother Joseph had planned to

continue their holiday celebrations. However, air raid sirens in Jerusalem jolted Asher awake.

As a reserve combat soldier, he immediately reported to his unit and was deployed to the south.



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         1648.   By 10 a.m., Asher and his team had arrived in the south. They received reports

of terrorists ambushing an area near the Ma’on Junction. While attempting to locate the

terrorists, his commander was shot at and struck down. Asher witnessed the incident from

across the junction. Under heavy fire, he rushed to evacuate his commander while his team

killed the terrorists. Tragically, despite his efforts, the commander was pronounced dead.

         1649.   Amid his shock and overwhelming grief, Asher knew he had to press on with

the mission. Alongside his team, he cleared areas in Kibbutz Re’im and assisted forces

responding to injured civilians amidst ongoing clashes. Passing through the Nova Music

Festival site was a harrowing experience—scenes of unimaginable cruelty and devastation

seared into his memory of burned cars, mutilated and charred bodies, and shattered remnants

of what had once been a joyous celebration.

         1650. Asher returned to base around 9:00 p.m. to prepare for further operations.

Exhausted and emotionally drained, he tried to locate a teammate who hadn’t returned to base,

only to learn he had been killed. The realization shattered him—he had now lost two team

members. Notifying one of their wives was a heart-wrenching task that left him paralyzed with

grief.

         1651. At that point, Asher hadn’t even considered that his brother Joseph was near the

fierce battles against Hamas in the southern border because he usually operated in the West

Bank. However, during his deployment to the border to counter potential terrorist infiltrations,

he heard rumors that his brother’s unit had suffered losses in Kfar Aza. Desperately seeking

information, he reached out to mutual friends, but their fragmented responses only deepened

his anxiety.

         1652. Asher couldn’t sleep that night. Taking over night shifts from his teammates, he

was stormed by horrifying thoughts about his brother fighting in Kfar Aza. The following

morning, a phone call confirmed his worst fear—Joseph had been killed. Determined to be the



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one to deliver the heartbreaking news to their family, Asher worked tirelessly to coordinate his

arrival with IDF officials to the family house.

       1653. Before heading to his parents’ home, a devastating realization fell upon Asher:

his brother would leave no children, no legacy behind. The weight of this truth shattered him

completely. The two brothers were more than siblings – they were best friends. Living close to

one another in Jerusalem, they shared hobbies like sports, studies, and technology, building

dreams and inspiring each other. For Asher, Joseph is irreplaceable – a true partner in life.

Losing him has left a void that can never be filled.

       1654.    Since the attack, life has fundamentally changed for Asher. Losing his brother

felt like losing a part of himself; the man he was before October 7 no longer exists. The grief

and trauma have reshaped his perspective and priorities. He now struggles to find meaning and

purpose. Before the attack, Asher worked in a startup, managing a machine learning division.

The company was on the verge of a major breakthrough, promising significant financial gains.

But after October 7, the weight of the painful loss and the haunting memories prevented him

from working as he once could.

       1655. Plaintiff Senai Guedalia brings this claim individually and also as heir-at-law

on behalf of Joseph Guedalia. She is a citizen of the United States and a resident of the State

of Israel. She is the widow of Joseph Guedalia.

       1656. After two agonizing days of uncertainty, worry, and fear, Senai was notified of

her husband’s fate. On October 9, 2023, at approximately 6:00 p.m., IDF officials knocked on

her door to deliver the message that would change her life forever—Joseph had been brutally

murdered by Hamas terrorists.

       1657.    The loss of Joseph has devastated Senai’s life. She suffers from sleepless nights

and declining physical health and is unable to eat regularly despite feeling hunger. Social

settings, once a source of comfort, have become unbearable as she can no longer tolerate large



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crowds. Severe anxiety overwhelms her multiple times a day, disrupting her ability to function.

As a result, Senai has been forced to drastically reduce her workload in her social work studies,

unable to manage the demands she once handled with ease.

        1658.   Above all, the most profound loss for Senai is her stolen future. As a young

couple, Senai and Joseph dreamed of building a home, having children, and creating a family

together. That dream was cruelly taken from her, leaving a deep void and grief.

        1659. Plaintiff David Guedalia is a citizen of the United States and a resident of the

State of Israel. He is the surviving father of Joseph Guedalia.

        1660.   Plaintiff Dina Lea Guedalia is a citizen of the United States and a resident of

the State of Israel. She is the surviving mother of Joseph Guedalia.

        1661.   On October 9, 2023, David and Dina were supposed to celebrate their wedding

anniversary. Instead, a knock on the door would change their lives forever. David opened the

door to find his son, Asher, standing there with a pained expression, accompanied by two

somber IDF officers. Unable to accept the reality of what was happening, David repeatedly

asked, “Who? Who was killed?” Overwhelmed, he sat paralyzed on the stairs, breaking down

completely. Moments later, Dina arrived home, smiling and wishing him, “Happy

anniversary.” David looked at her and said, “Our son was killed.”

        1662.   A year later, David and Dina couldn’t bring themselves to say the words

“Happy anniversary,” and they will likely never celebrate their wedding anniversary again.

David is haunted by recurring nightmares of the moment he opened the door: the devastated

look on Asher’s face and the officers delivering the crushing news. Every time he enters his

home, he is confronted with the memory—seeing the officers standing in the doorway and the

stairs where he broke down. The trauma grips him daily, causing him immense emotional pain.

He struggles to work and manage the daily and weekly responsibilities that once shaped his

life.



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        1663. Plaintiff Shira Ephrat is a United States citizen and a resident of the State of

Israel. She is the sister of Joseph Guedalia.

        1664. Plaintiff Yael Guedalia is a United States citizen and a resident of the State of

Israel. She is a surviving sister of Joseph Guedalia.

        1665. Plaintiff Ester Guedalia is a United States citizen and a resident of the State of

Israel. She is a surviving sister of Joseph Guedalia.

        1666. Plaintiff Micha Guedalia is a United States citizen and a resident of the State of

Israel. He is a surviving brother of Joseph Guedalia.

        1667. Plaintiffs David Guedalia and Dina Lea Guedalia bring a claim on behalf of

E.G., their minor child, who is a United States citizen and a resident of the State of Israel. She

is a surviving sister of Joseph Guedalia.

        1668. As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate

of Joseph Guedalia experienced conscious pain and suffering and suffered economic loss.

Plaintiff Senai Guedalia brings claims as on behalf of his estate as its legal representative..

        1669. As a direct and foreseeable result of the October 7 Attack, Plaintiff Asher

Guedalia has suffered severe physical and mental anguish and extreme emotional distress, and

economic loss.

        1670. As a direct and foreseeable result of the October 7 Attack on and the death of

their family member Joseph Guedalia, Plaintiffs Senai Guedalia, Asher Guedalia, Micha

Guedalia, Esther Guedalia, Yael Guedalia, Shira Ephrat, Dina Lea Guedalia, David Guedalia,

and E.G. have suffered severe mental anguish and extreme emotional distress, and economic

loss.

        PPP. The Shani Family

        1671. Ori Mordechai Shani was a dual citizen of the United States and the State of

Israel when he was murdered by Hamas. He was 22 years old.



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        1672. Ori was serving in the rank of Captain in the IDF.

        1673. On October 7, 2023, Ori was stationed at the Kissufim Outpost near the border

fence between Gaza and Kibbutz Kissufim, along with five other soldiers.

        1674. At approximately 6:30 a.m., dozens of Hamas terrorists ripped through the

border fence and stormed through the gaping barrier with machine guns and other weapons. In

that moment, Ori and his team became the first line of defense against the unprecedented,

barbaric massacre that would soon ensue.

        1675. Ori and his team battled tirelessly to fend off the terrorists for three hours, but

they were far outnumbered and quickly ran out of ammunition.

        1676. Utterly overwhelmed and in desperate need of more ammunition, Ori and his

team realized their only hope was to retreat from the border fence and navigate back to their

nearby military base near Kibbutz Kissufim, where they could gather more weapons and

reinforcements.

        1677. Ori and his team arrived at their military base at approximately 4:00 p.m. An

hour later, after Ori and his team replenished their ammunition and set back out to battle,

terrorists fired a barrage of mortars directly at them. Ori shouted to his team members to take

cover, but it was too late.

        1678. One of the mortar shells directly struck Ori and another member of his unit.

After nearly nine and half hours of fighting for their lives and defending their country, they

were both killed instantly.

        1679. Plaintiff Miryam Shani brings this claim individually, as the legal guardian of

R.S., the minor child of Ori Mordechai Shani and Miryam Shani, and as an heir-at-law to the

Estate of Ori Mordechai Shani. She is a citizen and resident of the State of Israel. She is the

surviving wife of Ori Mordechai Shani.




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       1680. Plaintiff Shulamit Shani is a citizen of the United States and a resident of the

State of Israel. She is the surviving mother of Ori Mordechai Shani.

       1681. Plaintiff Yehoshua Shani is a citizen and resident of the State of Israel. He is the

surviving father of Ori Mordechai Shani.

       1682. Plaintiff Yishai Shani is a citizen of the United States and a resident of the State

of Israel. He is a surviving brother of Ori Mordechai Shani.

       1683. Plaintiff Zofiya Zaguri is a citizen of the United States and a resident of the

State of Israel. She is a surviving sister of Ori Mordechai Shani.

       1684. Plaintiff Nava Rotshten is a citizen and resident of the State of Israel. She is a

surviving sister of Ori Mordechai Shani.

       1685. Plaintiff Malachi Shani is a citizen of the United States and a resident of the

State of Israel. He is a surviving brother of Ori Mordechai Shani.

       1686.    Plaintiff Elysha Shani is a citizen of the United States and a resident of the State

of Israel. He is a surviving brother of Ori Mordechai Shani.

       1687.    Plaintiff Batzion Goldshtain is a citizen of the United States and a resident of

the State of Israel. She is a surviving sister of Ori Mordechai Shani.

       1688. Ori’s murder has shattered his entire family. Shulamit now walks through life

with a profound emptiness and suffers mentally, knowing she will never see her son again.

       1689. Once a joyful individual, Miryam now carries her grief everywhere she goes

and struggles to raise R.S. all by herself. She now lives off of a single income and frequently

relies on her parents to get through the day and care for her child.

       1690. As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate

of Ori Mordechai Shani experienced conscious pain and suffering and suffered economic loss.

       1691. As a direct and foreseeable result of the October 7 Attack on and the death of

their family member Ori Mordechai Shani, Plaintiffs Shulamit Shani, Yehoshua Shani, Yishai



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Shani, Zofiya Zaguri, Nava Rotshten, Malachi Shani, Elysha Shani, Batzion Goldshtain,

Miryam Shani, and R.S. have suffered severe mental anguish and extreme emotional distress,

and economic loss.

       QQQ. The Gilberg Family

       1692. Plaintiff Tali Gilberg was a citizen of the United States and a resident of the

State of Israel when she was injured by Hamas.

       1693. On the morning of October 7, 2023, Tali awoke at approximately 6:00 a.m. in

her apartment on Kibbutz Erez, which is located less than one mile from the Gaza Strip.

       1694. Approximately thirty minutes later, Tali began hearing rockets flying overhead,

followed by red-alert sirens. Being in such close proximity to Gaza, rocket attacks were

somewhat routine in the area. However, by 6:50 a.m., Tali heard gunshots in the distance from

her apartment.

       1695. At approximately 7:00 a.m., Tali received messages from other kibbutz

members informing residents to secure their homes and remain in their bomb shelters. Not yet

understanding the extent of the attacks, she contacted a friend who was serving in the IDF

stationed at the Erez Crossing. He warned Tali that Hamas terrorists had infiltrated Israel and

had reached the nearby city of Sderot.

       1696. Tali was alone in her apartment, forced to remain in utter silence, while listening

to the constant sound of RPG and small-arms fire in the distance. She soon met another resident

of the apartment complex who remained with her in the bomb shelter for several hours.

       1697. At approximately 7:00 p.m., Tali learned that a friend in Kibbutz Erez as well

as several other acquaintances had been viciously murdered that day by Hamas. Fearing for her

own safety, she felt compelled to leave her home, even though the IDF had not given residents

permission to safely evacuate. She decided to drive north to Herzliya.




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       1698. Tali was anxious and helpless, realizing the grave risk of driving in the

embattled area alone, after dark, and with no protection. She frantically drove for hours, fearing

that terrorists might be hiding all around her, waiting for the perfect opportunity to attack her.

Eventually, she reached her friend’s home in Herzliya.

       1699. Tali is traumatized and haunted by the events of October 7, 2023. Despite

having moved to Tel Aviv since the attack, she still struggles with psychological triggers,

including the sounds of motorcycles, the sight of pickup trucks like the ones driven by terrorists

on October 7, and the many hostage posters posted all over Israel.

       1700. Tali has also been vocal in sharing her story since October 7, speaking with

various international news organizations. As a freelance video editor, Tali also worked on a

documentary outlining the events of October 7. While these experiences have been

empowering for her, reliving the trauma of October 7 has adversely affected her mentally, and

she no longer feels safe and secure in the country she calls home.

       1701. As a direct and foreseeable result of the October 7 Attack, Plaintiff Tali Gilberg

has suffered severe mental anguish and extreme emotional distress, and economic loss.

       RRR. The Siman Tov, Butler, Hazoutte, and Vahaba Families

               i. The Siman Tov Family

       1702. Plaintiff Estate Carol Siman Tov was a citizen of the United States, a resident

of Israel, and was present on October 7, 2023, at Kibbutz Nir Oz when she was brutally

murdered by Hamas.

       1703. Plaintiffs Koren Siman Tov Hazoutte, Amit Siman Tov Vahaba, and Ranae

Butler bring this action as personal heirs-at-law, on behalf of the Estate of Carol Siman Tov.

       1704. Plaintiff (Estate of) Yahonatan Siman Tov was the son of Carol Siman Tov.

Yahonatan Siman Tov was a citizen of the United States and a resident of Israel, and was

present on October 7, 2023, at Kibbutz Nir Oz when he was brutally murdered by Hamas.



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       1705. Plaintiffs Koren Siman Tov Hazoutte, Amit Siman Tov Vahaba, and Ranae

Butler bring this action as personal heirs-at-law on behalf of the Estate of Yahonatan Siman

Tov.

       1706. Plaintiff (Estate of) Tamar Kedem Siman Tov was the wife of Yahonatan Siman

Tov. Tamar Kedem Siman Tov was a citizen and resident of the State of Israel and was present

on October 7, 2023, at Kibbutz Nir Oz when she was brutally murdered by Hamas.

       1707. Gad Kedem brings this action as personal heir-at-law on behalf of the Estate of

Tamar Kedem Siman Tov.

       1708. A.S.T. and S.S.T. were the five-year-old twin daughters of Yahonatan Siman

Tov and Tamar Kedem Siman Tov, were citizens of the United States, residents of the State of

Israel, and were present on October 7, 2023, at Kibbutz Nir Oz when they were brutally

murdered by Hamas.

       1709. O.S.T. was the two-year-old son of Yahonatan Siman Tov and Tamar Kedem

Siman Tov, was a citizen and resident of the State of Israel, and was present on October 7,

2023, at Kibbutz Nir Oz when he was brutally murdered by Hamas.

       1710. Gad Kedem brings this action as personal heir-at-law on behalf of the Estates

of A.S.T., S.S.T., and O.S.T.

       1711. Carol Siman Tov, Yahonatan Siman Tov, Tamar Kedem Siman Tov, A.S.T.,

S.S.T., and O.S.T. are hereinafter collectively referred to as “The Siman Tov Family.”

       1712. On October 7, 2023, in the early morning hours, Carol Siman Tov was alone in

her home in Kibbutz Nir Oz when Hamas terrorists broke through her door, violently invading

her home. They mercilessly executed her, ending her life in an act of unimaginable cruelty. She

was 70 years old. She was the mother of Ranae Butler, Yahonatan Siman Tov, Koren Siman

Tov Hazoutte, and Amit Siman Tov Vahaba. She was a proud and active grandmother of 11

grandchildren whom she loved dearly, lived near, and spent time together with daily.



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       1713. On October 7, 2023, at approximately 6:30 a.m., Yahonatan Siman Tov was at

home in Kibbutz Nir Oz, together with his wife, Tamar Kedem Siman Tov, and their five-year-

old twin daughters, S.S.T. and A.S.T., and their two-year-old son, O.S.T., when hundreds of

Hamas terrorists armed with machine guns, grenades, and other weapons breached Kibbutz Nir

Oz with the intent to assassinate, brutally attack, and ruthlessly abduct as many civilians as

possible. Out of the approximately 400 residents of this close community, over a quarter, 117,

were murdered or abducted, and at least two women were brutally raped, according to

interrogations of arrested Hamas terrorists.

       1714. The family fled to their safe room, but the door did not lock, providing no

protection from the horde of Hamas terrorists swarming their home. Desperately, Yahonatan

and Tamar exhausted all efforts to protect their children and blocked the door by leaning on it;

however, without weapons, they were defenseless as Hamas terrorists savagely barraged them

with machine guns through the safe room door.

       1715. Despite their fatal wounds, Yahonatan and Tamar valiantly managed to shield

their young children from the brutal gunfire attack. Nonetheless, as these brave parents

succumbed to their fatal gunshot wounds—first Yahonatan, followed by Tamar—the relentless

terrorists set their home ablaze, leaving the children to tragically suffocate from smoke

inhalation while clinging to their parents’ lifeless bodies.

               ii. The Butler Family

       1716. Plaintiff Ram Butler is a citizen of the United States and a resident of the State

of Israel, and was present on October 7, 2023, at Kibbutz Nir Oz when he was brutally attacked

by Hamas.

       1717. Plaintiff Larry Butler, father of Ram Butler, is a citizen of the United States, a

resident of the State of Israel, and was present on October 7, 2023, at Kibbutz Nir Oz when he

was brutally attacked by Hamas.



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       1718. Plaintiff Claris Butler is the wife of Plaintiff Larry Butler and the mother of

Plaintiffs Ram Butler and Shachar Butler. Plaintiff Claris Butler is a citizen and resident of the

State of Israel and was present on October 7, 2023, at Kibbutz Nir Oz when she was brutally

attacked by Hamas.

       1719. Plaintiff Shachar Butler is the son of Larry and Claris Butler, the brother of Ram

Butler and Ranae Butler, and the husband of Ninna Butler. Shachar Butler is a citizen of the

United States and resident of the State of Israel and was present on October 7, 2023, at Kibbutz

Nir Oz when he and his family were brutally attacked by Hamas.

       1720. Plaintiff Ninna Butler is the wife of Shachar Butler and a citizen and resident of

the State of Israel. She was present on October 7, 2023, at Kibbutz Nir Oz when her family

was brutally attacked by Hamas.

       1721. Plaintiff Shachar Butler also brings this claim as the legal guardian of his three

minor children, E.B, M.B., and Y.B., who are all citizens and residents of the State of Israel.

They are also the children of Ninna Butler, and they were present on October 7, 2023, at

Kibbutz Nir Oz when their family was brutally attacked by Hamas.

       1722. Larry Butler, Ram Butler, Claris Butler, Shachar Butler, Ninna Butler, E.B, a

minor child, M.B., a minor child, and Y.B., a minor child, are hereinafter collectively referred

to as “The Butler Family.”

       1723. At approximately 6:30 a.m., on October 7, 2023, sirens began wailing

throughout Kibbutz Nir Oz, waking Ram Butler immediately. Ram received a call from his

close friend and neighbor who informed him that he was not at home and that his young son

was by himself. Ram quickly left to retrieve the child from his home and brought him back to

Ram’s safe room for shelter.

       1724. Ram heard the front door open and saw his father, Larry Butler, enter. Ram and

Larry soon became aware of the storm of destruction that was taking place around them. They



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began to hear nearby gunshots and the whistling of RPGs piercing through the air followed by

the sound of shattering glass and blood-curdling screams.

       1725. Along with the neighbor’s child, Ram and Larry locked themselves in the safe

room. They tried to comfort the child that was under their care, urging him to hide under the

bed that was in the safe room, both clinging desperately to hope amidst unimaginable horror.

       1726. An overwhelming dread and concern weighed heavily upon Ram and Larry.

       1727. Claris Butler, Larry’s wife, and Shachar and Ram’s mother, was home alone,

and they could not leave to help her or reach her by phone.

       1728. Fortunately, when Claris woke to the piercing sound of the sirens at

approximately 6:30 a.m., members of the Kibbutz Nir Oz Security Team advised her to lock

the windows and doors, stay inside, and take refuge in her safe room. Her blood ran cold as she

saw from her window hundreds of armed terrorists storming the kibbutz intending grave harm

against her and her community.

       1729. Also in extreme peril was Larry’s son and Ram’s brother, Shahar Butler, who

was serving as the head of the Kibbutz Nir Oz Security Team. When Shahar could not be

reached by phone, they feared something terrible had happened to him and his family.

       1730. Shortly after rocket sirens pierced the skies over southern Israel, Shachar called

his fellow Security Team members in Nir Oz, and realized terrorists had infiltrated the kibbutz.

He rushed outside to get his combat gear from his car and saw pickup trucks with terrorists

inside, racing towards him. Shachar then rushed back into his home, slamming the windows

shut and locking the doors.

       1731. The terrorists began hurling grenades at Shachar’s house, knocking out the

electricity. To protect his wife and young children and prevent the terrorists on his patio from

breaking in, Shachar left the safe room. A firefight ensued between him and the terrorists

through the windows of the house.



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        1732. As the shooting persisted, Shachar was hit by a bullet. Realizing that he had

been injured, he called Ninna from outside the safe room. Ninna then opened the safe room

door and pulled him inside. She began applying pressure on his gunshot wound, while he was

lying on the floor and holding the safe room’s door handle. Whenever the terrorists’ voices

outside faded, they changed positions while guarding the door and caring for the children.

        1733. Thinking she had lost her mind, Ninna heard children speaking Arabic outside

their house. She contacted a neighbor who told her that Arab-speaking children had also entered

his house and were going through his family’s belongings.

        1734. Shachar, Ninna, and their children spent hours in the safe room, with the older

children having no choice but to use the diapers of the youngest child. Shachar and Ninna knew

that houses across Nir Oz had been set on fire, and prepared sheets covered with urine to block

smoke and fire from entering the safe room.

        1735. Eventually, Shachar, Ninna, and their three children were evacuated by security

forces to the kindergarten in Nir Oz, and Shachar was taken to the hospital. The sights of

scorched earth and burnt houses around them were heartbreaking. They met with other Nir Oz

survivors and waited for more to arrive, but many never did. As the night wore on and into the

next day, the devastating understanding seeped in: numerous members of Nir Oz had been

murdered or abducted. They lost close friends and family members, and their community was

shattered.

        1736. Shachar returned to Nir Oz from the hospital on the morning of October 8, 2023,

while terrorists were still hiding throughout the region.

        1737. Israeli security forces later found a map of Nir Oz on the only terrorist whose

body remained on the kibbutz. The map marked the location of Shachar’s house and identified

him as the head of the security team, enabling the terrorists to target and wound him at the start

of the attack.



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        1738. At approximately 11:00 a.m., the chaos continued as Hamas terrorists shattered

Ram’s kitchen window, followed by frantic banging on the safe room door. Inside, Ram and

Larry braced themselves for the terrorists to infiltrate the room and kill them. They quickly

moved the neighbor’s son into a closet, covering him with clothes in an attempt to conceal him

from the terrorists.

        1739. Hamas terrorists just outside the safe room were violently screaming, “Jews,

open the door. We will kill you.”

        1740. After an intense few minutes, the terrorists momentarily left, but the assault was

far from over. The terrorists returned several more times, firing machine guns at the safe room

door and relentlessly attempting to force their way in. Meanwhile, the assault on Kibbutz Nir

Oz continued to escalate.

        1741. Terrorists burst into the home of Claris Butler, maniacally tearing through her

home and destroying everything in sight. From the safe room, she could only hear the chaos

ensuing, her body paralyzed with fear as she imagined her impending death.

        1742. Terrorists then viciously set fire to her home and horrifyingly imprisoned her

for hours in the burning home. Thick smoke filled the air, causing her to lose consciousness at

least twice, and severely burning and blistering her feet.

        1743. Despite the harrowing circumstances, Claris managed to survive by

intermittently cracking open a window in the safe room.

        1744. Panic ensued as terrorists set fire to the home where Larry and Ram were

sheltering with their neighbor’s child. Thick suffocating smoke ominously began to fill the

home. Fortunately, at this critical moment, IDF forces arrived and rescued them at

approximately 3:00 p.m. Immediately, they implored the soldiers to quickly check on Claris.




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       1745. As Larry and Ram exited the home, they were confronted by the severity of the

attack—hundreds of gravely wounded and bleeding residents were being carried to safety, and

their beloved community was reduced to charred and ruined homes.

       1746. Accompanied by four soldiers, Ram traveled to Shachar’s home and discovered

it was riddled with bullet holes and grenade shrapnel during the fierce battle that raged

throughout the day. Upon reaching the safe room, they discovered that Shachar had suffered a

severe gunshot wound. His young children (E.B., M.B., and Y.B.) were forced to witness their

father suffer and in agonizing pain, and they all feared for his life.

       1747. Relieved that his brother and family were alive, Ram rushed to his mother’s

home. Upon arriving, Ram was elated to discover that although her home was reduced to ashes,

the safe room did not burn down, and his mother, Claris Butler, had survived despite suffering

severe smoke inhalation and third-degree burns to her body.

       1748. This joy was quickly replaced by inconsolable agony as The Butler Family

learned of the murders of their extended family: Carol Siman Tov, Yahonatan Siman Tov,

Tamar Kedem Siman Tov, A.S.T., S.S.T, and O.S.T. This overwhelming grief was

compounded by the loss of generations of lifelong friends in their community. The magnitude

of the October 7 massacre crystallized in front of them.

               iii. Ranae Butler

       1749. Plaintiff Ranae Butler brings this action individually. She is a citizen of the

United States and a resident of the State of Israel. She is the daughter of Carol Siman Tov and

Larry Butler, the sister of Yahonatan Siman Tov, Koren Siman Tov Hazoutte, Amit Siman Tov

Vahaba, Shachar Butler and Ram Butler, and the aunt of 14 nieces and nephews, all of whom

were viciously attacked by Hamas and three of whom were brutally and inhumanely murdered

by Hamas.




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       1750. On the morning of October 7, 2023, at approximately 6:30 a.m., Ranae Butler

was in her Tel Aviv home when the piercing sound of sirens rang throughout Israel.

Immediately, she took cover and then tried to contact her family who lived at the close-knit

community in Nir Oz in which she grew up, to ensure they were all safe from the heavy rocket

attack. Her brother, Yahonatan Siman Tov, only briefly replied, “Stay safe,” without providing

an update regarding his safety. Dread overtook her as she could not reach her mother, Carol

Siman Tov. Larry, her father, briefly informed her that there were terrorists in the kibbutz and

that people had been abducted. He told her not to call, fearing the terrorists would hear him

speak on the phone. Her sisters communicated later in the day with calls for help to send to Nir

Oz. Later, one of her sisters texted Ranae, “We love you,” which felt like a chilling goodbye

message.

       1751. Ranae was consumed by fear for the safety of her family. Her body trembled

involuntarily as she watched the horrific news reports and witnessed the barbaric attack in real-

time on social media and news channels.

       1752. On the evening of October 7, 2023, Ranae received a devastating call from her

brother-in-law informing her of the catastrophic loss of six of her family members who had

been murdered. Amid the overwhelming grief, a small, heart-wrenching sense of relief

emerged—her mother, Carol Siman Tov, had not been abducted, and would never have to face

the unbearable loss of her son, Yahonatan Siman Tov, her beloved daughter-in-law, Tamar

Kedem Siman Tov, and their three innocent young children, A.S.T., S.S.T., and O.S.T.

       1753. On October 8, 2023, Ranae boarded a bus to Eilat, desperate to be with her

remaining family. She arrived with her heart broken at the losses, but she was determined to

be a source of love and comfort for her young nieces and nephews who survived the horrors.

She held back her massive grief and tried to remain strong for them. As she embraced her

family tightly, the stench of fire and smoke filled her lungs as the smell of their clothes seemed



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to carry the essence of the inconceivable suffering that they endured at the hands of Hamas

terrorists that would forever scar them.

       1754. Ranae barely slept or ate in the days that followed. She experienced an inner

trembling that lasted for about three days, with her mind consumed by the relentless coverage

of the tragedy on the news, unable to escape the haunting reality of the devastation to her family

and community.

               iv. The Hazoutte Family

       1755. Plaintiff Koren Siman Tov Hazoutte is the daughter of Carol Siman Tov and the

sister of Yahonatan Siman Tov, Amit Siman Tov Vahaba, and Ranae Butler. She is a citizen

of the United States and resident of the State of Israel, and was present on October 7, 2023, at

Kibbutz Nir Oz when her family was brutally murdered by Hamas.

       1756. Plaintiff Guil Hazoutte is the husband of Koren Siman Tov Hazoutte and a

citizen and resident of the State of Israel. He was present on October 7, 2023, at Kibbutz Nir

Oz when his family was brutally attacked by Hamas.

       1757. Plaintiffs Koren Siman Tov Hazoutte and Guil Hazoutte also bring this claim

as the legal guardians of their four minor children Y.H., B.H., A.H., and M.H. who are all

citizens of the United States and residents of the State of Israel. They were present on October

7, 2023, at Kibbutz Nir Oz when their family was brutally attacked by Hamas.

       1758. Koren Siman Tov Hazoutte, Guil Hazoutte, Y.H., B.H., A.H., and M.H. are

hereinafter collectively referred to as “The Hazoutte Family.”

       1759. At the sound of the first rocket sirens slicing through the skies at 6:30 a.m.,

Koren and Guil were jolted awake and rushed into their safe room with their young children.

       1760. As the sirens persisted, Koren and Guil began receiving horrifying WhatsApp

messages from other kibbutz members, informing them that terrorists disguised as soldiers

were walking around Nir Oz.



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        1761. Koren repeatedly tried to contact her beloved mother, Carol Siman Tov, but to

no avail. Shortly after, Koren and Guil began hearing incessant gunfire accompanied by violent

shouts in Arabic growing nearer and nearer. Eventually, the terrorists managed to break into

the Hazoutte family home.

        1762. Sensing imminent danger and terrified for their lives, Guil positioned himself at

the door, guarding the handle. Koren stood beside him, her back against the wall, protecting

their dog with one hand and shielding Y.H., B.H., A.H., and M.H. with the other.

        1763. The terrorists shot twice at the safe room’s door, but due to the home’s structure,

the bullets ricocheted. The terrorists then decided to use the bathroom and eat from the

refrigerator while the Hazoutte Family was locked inside the safe room. Later, Koren and Guil

could hear women and children looting their home, laughing and shouting in Arabic.

        1764. When the IDF soldiers eventually arrived to rescue them from the safe room,

the house was in total chaos, and the floor was covered with their belongings. Koren and Guil

immediately told the soldiers to check on Yahonatan Siman Tov, Tamar Kedem Siman Tov,

and their children.

        1765. When the soldiers returned, they described what they had witnessed as “very

bad,” without elaborating. Koren, Guil, and their children were taken to an assembly point,

where they saw other kibbutz members arriving covered with smoke, barefoot, in their pajamas

and underwear, parched and shock-stricken.

        1766. Koren, a certified nurse, treated wounded kibbutz members who kept pouring

in with the little first aid she had.

        1767. As time passed and they still hadn’t seen Carol Siman Tov or the Siman Tov

Family arrive at the assembly point, Amit and Koren collapsed into each other’s arms,

suffocated with concern and uncertainty.

                v. The Vahaba Family



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       1768. Plaintiff Amit Siman Tov Vahaba is the daughter of Carol Siman Tov and the

sister of Yahonatan Siman Tov, Koren Siman Tov Hazoutte, and Ranae Butler. She is a citizen

of the United States and resident of the State of Israel, and was present on October 7, 2023, at

Kibbutz Nir Oz when her family was brutally murdered by Hamas.

       1769. Plaintiff Yishai Vahaba is the husband of Amit Siman Tov Vahaba, a citizen of

the United States and resident of the State of Israel. He was present on October 7, 2023, at

Kibbutz Nir Oz when his family was brutally attacked by Hamas.

       1770. Plaintiff Amit Siman Tov Vahaba also brings this claim as the legal guardian of

her four minor children G.V., N.O.V., N.E.V., and S.V., who are all citizens of the United

States and residents of the State of Israel. They are also the children of Yishai Vahaba, and they

were present on October 7, 2023, at Kibbutz Nir Oz when their family was brutally attacked

by Hamas.

       1771. Amit Siman Tov Vahaba, Yishai Vahaba, G.V., N.O.V., N.E.V., and S.V. are

hereinafter collectively referred to as “The Vahaba Family.”

       1772. Amit and Yishai were also awakened to the blaring sounds of rocket sirens and

grabbed their minor children on their way to their safe room.

       1773. Shortly thereafter, Amit and Yishai received a bloodcurdling voice message

from a friend on the kibbutz, informing them that terrorists had overrun it. Like Koren, Amit

also tried, unsuccessfully, to reach her mother Carol.

       1774. At approximately 9:00 a.m., the Vahaba Family heard the terrorists just outside

their door, callously shouting in Arabic. Soon after, the power went out, leaving them petrified

in the dark. The sound of their kitchen windows shattering was gut-wrenching, and they

realized they were now fighting for their lives.




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        1775. The terrorists kicked down the main door and tried to break into the Vahaba

Family’s safe room. For 45 minutes, Yishai and Amit struggled with them over the safe room

door handle.

        1776. Yahonatan Siman Tov, his wife Tamar Kedem Siman Tov, and their three

young children lived in vicinity of the Vahaba Family. Amit and Yishai knew via WhatsApp

messages that terrorists had also reached the Siman Tov Family’s house, and their inability to

communicate with them left them paralyzed with fear and concern.

        1777. At 11:00 a.m., a second group of terrorists entered the Vahaba family’s home.

The terrorists shot several times at the safe room door, causing the door handle to heat up. The

terrorist eventually set fire to the family’s house, and the smell of gunpowder and thick smoke

filled the air, leaving the Vahaba Family gasping for air.

        1778. The heat was so intense that G.V., N.O.V., N.E.V., and S.V. could not bear it

anymore. Desperate to save their children and aware of the tremendous risk they were taking,

Amit and Yishai opened a crack in the safe room window and allowed the children to sit under

it in turns.

        1779. When Israeli security forces arrived at the Vahaba Family’s home at

approximately 3:30 p.m., Amit and Yishai pleaded with them to go and rescue the Siman Tov

Family, with whom they had lost contact since the morning.

        1780. The Vahaba Family was also evacuated to the assembly point, where they met

other kibbutz members who had survived the massacre. Amit and Yishai were anxious to see

Yahonatan Siman Tov, Tamar Kedem Siman Tov, and their three children. However, as time

passed, the horrifying heart-breaking realization gradually sank in—the entire Siman Tov

Family had been wiped out by terrorists.




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        1781. Yishai went to Carol’s home to check on her and returned with a devastated

expression on his face. Amit asked if her beloved mother had been abducted to Gaza. She then

saw tears fill Yishai’s eyes, and he shook his head, signaling no.

        1782. As a direct and foreseeable result of the October 7 Attack on themselves and

their family members, Plaintiff Estate Carol Siman Tov, Plaintiff Estate Yahonatan Siman Tov,

Plaintiff Estate of Tamar Kedem Siman Tov, Plaintiff Estate A.S.T., a minor child, Plaintiff

Estate of S.S.T., a minor child, and Plaintiff Estate of O.S.T., a minor child, experienced severe

mental anguish and conscious pain and suffering and suffered economic loss.

        1783. As a direct and foreseeable result of the October 7 Attack on themselves and

their family members, Plaintiffs Larry Butler, Ram Butler, and Claris Butler have suffered

severe physical and mental anguish and extreme emotional distress, and economic loss.

        1784. Plaintiff Ranae Butler suffered severe mental anguish and extreme emotional

distress as a direct and foreseeable result of the attack on and the death of her family members

Carol Siman Tov, Yahonatan Siman Tov, Tamar Kedem Siman Tov, A.S.T., a minor child,

S.S.T., a minor child, and O.S.T., a minor child, and the attack on Koren Siman Tov Hazoutte,

Amit Siman Tov Vahaba, Larry Butler, Shachar Butler, Ram Butler, Claris Butler.

        1785. As a direct and foreseeable result of the October 7, 2023, Attack, Shachar Butler

suffered severe physical and mental anguish and extreme emotional distress, and economic

loss.

        1786. Plaintiffs Ninna Butler, E.B., M.B., and Y.B. suffered severe mental anguish

and extreme emotional distress, and economic loss, as a direct and foreseeable result of the

October 7 attack in which Shachar Butler sustained a gunshot wound in confrontations with

Hamas terrorists.

        1787. Plaintiff Koren Siman Tov Hazoutte suffered severe mental anguish and

extreme emotional distress, and economic loss, as a direct and foreseeable result of the attack



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on and the death of her family members Carol Siman Tov, Yahonatan Siman Tov, Tamar

Kedem Siman Tov, A.S.T., a minor child, S.S.T., a minor child, and O.S.T., a minor child, and

the attack on Amit Siman Tov Vahaba.

       1788. Plaintiff Amit Siman Tov Vahaba suffered severe mental anguish and extreme

emotional distress, and economic loss, as a direct and foreseeable result of the attack on and

the death of her family members Carol Siman Tov, Yahonatan Siman Tov, Tamar Kedem

Siman Tov, A.S.T., a minor child, S.S.T., a minor child, and O.S.T., a minor child, and the

attack on Koren Siman Tov Hazoutte.

       1789. Plaintiffs Guil Hazoutte, Y.H., B.H., A.H., and M.H suffered severe mental

anguish and extreme emotional distress, and economic loss, as a direct and foreseeable result

of the October 7 Attack.

       1790. Plaintiffs Yishai Vahaba, G.V., N.O.V., N.E.V., and S.V. suffered severe

mental anguish and extreme emotional distress, and economic loss, as a direct and foreseeable

result of the October 7 Attack.

       SSS.    The Korenstein Family

       1791. Plaintiff Joel Korenstein was a citizen of the United States and a resident of the

State of Israel when he was injured by Hamas.

       1792. Joel served as a radio operator in the Nahal Brigade of the IDF.

       1793. On September 25, 2024, Joel was deployed north to the Israel-Lebanon border.

For one month, his team secured roadblocks and prepared for and conducted military

operations inside the Lebanese villages of Blida and Aitaroun, both of which are located within

a three-mile radius from the border of Israel.

       1794. On October 26, 2024, Joel and his team were stationed in Aitaroun preparing

for their withdrawal from Lebanon. At approximately 2:45 p.m., Joel received a radio call




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reporting that an IDF platoon was ambushed in a building by Hezbollah operatives and there

were numerous injuries and casualties.

        1795. Joel and his team quickly collected their gear and rushed to assist the ambushed

platoon. Upon arrival at the scene, his team positioned themselves across the street from the

building and began evacuating injured soldiers, as well as retrieving the bodies of fallen

soldiers.

        1796. Joel and his team then went inside the building. Unfortunately, upon entering

the building’s courtyard, they failed to notice a Hezbollah terrorist hiding in the rubble.

        1797. The terrorist hurled a grenade at the team, and it landed just mere steps away

from Joel followed by a large explosion. Joel immediately felt the strong impact of the blast

with shrapnel lodging in his right shoulder, right arm, chest and lower body.

        1798. Joel was able to exit the building and was immediately assisted by his comrades.

He was in excruciating pain, but he remained conscious as he was evacuated out of Lebanon

and taken to an Israeli hospital.

        1799. After spending one week in the hospital, Joel was transferred to another facility

where he underwent five weeks of rehabilitation. To this day, he suffers from a debilitating

knee injury and experiences considerable pain in his lower body with several pieces of shrapnel

still lodged in his body.

        1800. Currently, Joel is on medical leave from the IDF and is undergoing physical

therapy and hydrotherapy. These sessions are often intense and physically draining for Joel,

and he feels constant fatigue and pain.

        1801. Joel has not been able to return to his job as a building engineer, which involves

significant walking and movement, and he cannot travel the long commute from his home in

the Golan Heights region to the city of Haifa, where he works, due to his injuries, physical

limitations, and constant pain.



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        1802. As a direct and foreseeable result of the October 7 Attack and the events that

followed on October 26, 2024, Plaintiff Joel Korenstein has suffered severe physical and

mental anguish and extreme emotional distress, and economic loss.

        1803. Plaintiff Meital Korenstein is a citizen and resident of the State of Israel. She is

the wife of Joel Korenstein.

        1804. Plaintiff Antony Korenstein is a citizen of the United States and a resident of

the State of Israel. He is the father of Joel Korenstein.

        1805. Plaintiff Marlene Korenstein is a citizen of the United States and a resident of

the State of Israel. She is the mother of Joel Korenstein.

        1806. Plaintiff Joel Korenstein also brings this action as legal guardian of his minor

children N.P.K., C.K., and S.M.K., all of whom are citizens of the United States and residents

of the State of Israel. N.P.K. is the son of Joel Korenstein, and C.K. and S.M.K. are the

daughters of Joel Korenstein.

        1807. Plaintiff Dina Nahir is a citizen of the United States and a resident of the State

of Israel. She is the sister of Joel Korenstein.

        1808. Plaintiff Yonah Korenstein is a citizen of the United States and a resident of the

State of Israel. He is a brother of Joel Korenstein.

        1809. Plaintiff Daniel Korenstein is a citizen of the United States and a resident of the

State of Israel. He is a brother of Joel Korenstein.

        1810. As a direct and foreseeable result of the October 7 Attack and the subsequent

October 26, 2024, attack in which Joel Korenstein was injured, Plaintiffs Meital Korenstein,

Antony Korenstein, Marlene Korenstein, N.P.K., C.K., S.M.K, Dina Nahir, Yonah Korenstein,

and Daniel Korenstein have suffered severe mental anguish and extreme emotional distress,

and economic loss.




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       TTT. The Spiegelman Family

       1811. Plaintiff Shmuel Spiegelman was a citizen of the United States and a resident

of the State of Israel when he was injured by Hamas.

       1812. Shmuel was a Reservist in the IDF. His brigade was one of the first military

forces to enter Gaza.

       1813. On October 7, 2023, Shmuel was urgently called up to reserve duty. With little

information about the horrors unfolding, he hugged his wife and two young children and set

out for the Shizafon military base in southern Israel.

       1814. Upon his arrival, military officials briefed Shmuel on the ongoing Hamas

massacre of Israeli communities along the Gaza Envelope. They assigned him to the 198th

Battalion, one of the first teams to enter the Gaza Strip as part of Israel’s defensive.

       1815. After three weeks of intense training, Shmuel and his team set out into the

Hamas-controlled Gaza Strip. Their mission was to capture Hamas strongholds in Jabalia, a

city in Northern Gaza.

       1816. After reaching Jabalia, on the morning of November 8, 2023, Shmuel and his

team began preparing for a long day of battle. At approximately 10 a.m., one of his teammates

spotted a terrorist lurking in the building across from their position.

       1817. As the team quickly filed into the alley beside the building, Shmuel and his

combat partner provided cover in the back.

       1818. Suddenly, Shmuel heard a massive explosion, and the air immediately filled

with suffocating smoke. A terrorist had thrown a grenade at Shmuel and his team from the

second floor of the building.

       1819. As Shmuel retreated with his team members, he heard his company commander

screaming out for help from the fog of the explosion. The commander had been critically

wounded in the explosion along with approximately five other soldiers from the unit.



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       1820. Shmuel and his other team members sprinted back to their original position to

grab the medic, who immediately rushed out to begin treating the wounded soldiers.

       1821. Forced into a leadership role, Shmuel quickly reorganized the team. Under

heavy fire, Shmuel led his team back out into the alley to fend off the terrorists while the medic

treated the wounded team members in a small hidden storage area in the alley.

       1822. Shmuel and his team later located the wounded team members being treated in

the hidden storage room. When they arrived, they found that the medic had been shot – twice

in the chest, once in the arm, and once again in the leg.

       1823. Now forced to act as both an interim medic and company commander, Shmuel

led his team in simultaneously fighting off terrorists and treating their fellow wounded soldiers.

       1824. Shmuel survived, and he and his team were able to evacuate the wounded

soldiers. The team quickly attempted to reposition to continue with their mission. Barely ten

minutes later, they were hit with a barrage of gunfire.

       1825. Shmuel was struck by a searing pain in his hand — he was one of four soldiers

hit by the gunfire. One was killed instantly; the other would later succumb to his wounds.

       1826. With blood gushing from his hand, Shmuel was evacuated to an Israeli hospital,

where he underwent two surgeries.

       1827. The bullet had torn multiple tendons in Shmuel’s hand, fractured his scaphoid

bone, and caused significant nerve damage.

       1828. To this day, Shmuel continues to experience limited mobility, pain, and nerve

sensitivity in his hand. This prevents him from engaging in countless aspects of his daily life

— from playing with his young children to playing sports that he once loved.

       1829. On top of his physical injuries, Shmuel continues to suffer mentally following

his near-death experience and traumatic attempt to rescue his fellow soldiers. These physical




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and emotional injuries have also negatively impacted Shmuel’s career, as he has been unable

to return to work.

        1830. Plaintiff Shmuel Spiegelman brings this action individually, and as the co-legal

guardian of his minor child I.S. I.S. is a citizen of the United States and a resident of the State

of Israel.

        1831. Plaintiff Yonina Spiegelman brings this action individually, and as the co-legal

guardian of her minor child I.S. She is a citizen of the United States and a resident of the State

of Israel. She is the wife of Shmuel Spiegelman.

        1832. Plaintiff Chana Spiegelman is a citizen of the United States and a resident of the

State of Israel. She is the mother of Shmuel Spiegelman.

        1833. Plaintiff Asher Spiegelman is a citizen of the United States and a resident of the

State of Israel. He is the father of Shmuel Spiegelman.

        1834. Plaintiff Amitai Spiegelman is a citizen of the United States and a resident of

the State of Israel. He is a brother of Shmuel Spiegelman.

        1835. Plaintiff Tamar Spiegelman is a citizen of the United States and a resident of

the State of Israel. She is a sister of Shmuel Spiegelman.

        1836. Plaintiff Nachshon Spiegelman is a citizen of the United States and a resident

of the State of Israel. He is a brother of Shmuel Spiegelman.

        1837. Plaintiff Avigayil Spiegelman is a citizen of the United States and a resident of

the State of Israel. She is a sister of Shmuel Spiegelman.

        1838. Plaintiff Ayelet Shitrit Spiegelman is a citizen of the United States and a resident

of the State of Israel. She is a sister of Shmuel Spiegelman.

        1839. As a direct and foreseeable result of the October 7 Attack, Plaintiff Shmuel

Spiegelman has suffered severe physical and mental anguish and extreme emotional distress,

and economic loss.



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       1840. As a direct and foreseeable result of the October 7 Attack on their family

member Shmuel Spiegelman, Plaintiffs Yonina Spiegelman, I.S., Chana Spiegelman, Asher

Spiegelman, Amitai Spiegelman, Tamar Spiegelman, Nachshon Spiegelman, Avigayil

Spiegelman, and Ayelet Shitrit Spiegelman have suffered severe mental anguish and extreme

emotional distress, and economic loss.

       UUU. The Haines Family

       1841. Plaintiff Eden Haines was a citizen of the United States and a resident of the

State of Israel when she was injured by Hamas.

       1842. Eden served as a non-combat air control operator in the IDF at the time of the

October 7 Attack.

       1843. On that ominous day, at approximately 6:30 a.m., Eden and her fellow soldiers

at Re’im Base in Southern Israel were abruptly jolted awake by the deafening sound of rockets

fired from the Gaza Strip, their sense of calm violently shattered. They followed protocol and

rushed to the nearest bomb shelter where they received the terrifying information that scores

of Hamas terrorists had breached the base.

       1844. The brutal assault was launched on the Jewish holiday of Simchat Torah, a time

when many soldiers were on leave, leaving only a minimal number of soldiers to secure the

base. Ultimately, 19 IDF soldiers were slaughtered at Re’im Base by the overwhelming

onslaught of at least 120 Hamas terrorists.

       1845. At the time of the October 7 Attack, the emergency squad on Re’im Base

consisted of nothing more than a commander and four non-combat soldiers.

       1846. In an inhumane display of violence and degradation, Hamas terrorists seized the

central area of the base, tearing down the Israeli flag and replacing it with the Hamas flag. They

mercilessly set fire to operations rooms and strategic infrastructure, while some structures were

struck by mortar shells. Eden was horrified to later learn that the terrorists relentlessly and



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indiscriminately wreaked havoc in every corner of the base in an attempt to create total and

utter destruction.

        1847. Eden and her fellow soldiers tried to shut all the doors to the bomb shelter.

Having no weapons or other means to defend themselves, they turned off the lights and hid

from the heavily armed Hamas terrorists.

        1848. Eden and her fellow soldiers endured the extreme trauma of being surrounded

for the next 10 excruciating hours by Hamas terrorists just outside their safe room. She heard

several of the terrorists yelling in Arabic, and the sound of rockets and machine guns blaring

through the air. At one point, one of the bomb shelter’s doors flew open on impact of a nearby

blast and shrapnel pierced through the wall.

        1849. The intense fighting at Re’im Base went on for hours before the terrorists were

subdued. Eden could hear the menacing sounds of gunshots outside the safe room, getting

closer and closer.

        1850. At approximately 4:30 p.m., security forces finally arrived to rescue Eden and

her fellow soldiers. Amid the chaotic fighting, the forces were initially unable to locate them.

Eden knew she had no choice but to act when she stepped outside the safe room into the

mayhem, bravely trying to guide the forces.

        1851. When stepping outside the safe room, Eden witnessed the gruesome sight of the

devastation caused by the terrorists’ invasion, and a wave of shock washed over her. She was

left appalled, unable to process the full extent of what had happened. She saw lifeless bodies

lying on the ground and scenes of violence that haunt her to this day.

        1852. Israeli army forces finally located Eden and her fellow soldiers, pulling them

from the bomb shelter as intense fighting raged around them, with the base still infested with

terrorists.




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       1853. Eden and her fellow soldiers were taken to an area of the base that had, by that

point, been cleared of terrorists. Despite the chaos and horror, and without hesitation, Eden

immediately took on her military duties as an air control operator, replacing a fellow soldier

who had completed a 10-hour shift.

       1854. Eden’s skills as an air control operator were essential at the time of the attack,

with helicopters constantly flying in to bring reinforcements and evacuate the wounded.

Despite the traumatizing ordeal she had endured just several hours earlier, she tirelessly

continued to perform her military duties alongside her fellow soldiers.

       1855. Eden was on shift until 3:00 a.m. on October 8, 2023, and her base was only

fully cleared of terrorists at approximately 7:00 p.m. that day. She remained on base until

October 10, 2023, while performing all of her military duties and doing everything in her power

to assist as many people as possible.

       1856. During that time, IDF soldiers and civilians continued reporting drone threats

and requesting help. Eden felt morally and humanely obligated to address reports and calls for

help – even when she was unable to assist – simply because she understood that people were

in dire distress and needed support.

       1857. Eden is devastated and overwhelmed by what she has lived through during the

October 7 Attack. She now feels distant from her inner circle, including her immediate family.

She is currently trying to cope with the life-changing ordeal she experienced on the day of the

attack and in the days that followed.

       1858. Eden’s ability to work has also been severely compromised, as she struggles to

interact with others and build trust-based relationships. Being in the vicinity of Arabic-speaking

colleagues makes her very unsettled and anxious, as she is constantly tormented by flashbacks

of Hamas terrorists shouting in Arabic and images of wreckage she witnessed on October 7.




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        1859. Eden’s inability to assist her fellow soldiers while she was confined to the safe

room took a terrible toll on her. It took months before she could sleep through the night, and

she still occasionally experiences nightmares and crying spells. Mental images from that day,

alongside a sense of anxiety and despair, constantly accompany her.

        1860. Eden’s anxiety is triggered by crowded spaces and exposure to loud noises. She

no longer believes that she is capable of leading a normal life and establishing a family.

        1861. As a direct and foreseeable result of the October 7 Attack, Plaintiff Eden Haines

has suffered severe physical and mental anguish and extreme emotional distress, and economic

loss.

        1862. Plaintiff Deena Goldfeld is a citizen of the United States and a resident of the

State of Israel. She is the mother of Eden Haines.

        1863. Plaintiff Michael Haines is a citizen of the United States and a resident of the

State of Israel. He is the father of Eden Haines.

        1864. Yoel Avraham Haines is a citizen of the United States and a resident of the State

of Israel. He is the brother of Eden Haines.

        1865. As a direct and foreseeable result of the October 7 Attack on their family

member Eden Haines, Plaintiffs Deena Goldfeld, Michael Haines, and Yoel Avraham Haines

have each suffered severe mental anguish and extreme emotional distress, and economic loss.

        VVV. The Strauss Family

        1866. Plaintiff Shalom Strauss is a citizen of the United States and a resident of the

State of Israel.

        1867. Plaintiff Yael Strauss is a citizen and resident of the State of Israel. She is the

wife of Shalom Strauss.




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        1868. Plaintiffs Shalom Strauss and Yael Strauss bring this action on behalf of their

three minor sons, Z.S., Y.S., and D.S., all of whom are citizens of the United States and

residents of the State of Israel.

        1869. Shalom Strauss, Z.S., Y.S., and D.S. are hereinafter collectively referred to as

“The Strauss Family.”

        1870. In the early hours of October 7, 2023, Shalom was fast asleep when the piercing

wail of sirens shattered the morning silence, echoing ominously outside the Strauss Family

home in Kibbutz Nir Yitzhak. He immediately jolted out of bed and rushed with his children

to their safe room for protection. Shalom’s wife, Yael, had not yet arrived home from her work

as a nurse at a hospital in the city of Be’er Sheva, and Shalom was caring for their three minor

children.

        1871.   The Strauss Family (except for Yael) huddled together anxiously in their safe

room, waiting for the rocket sirens to subside. However, their anxiety would soon transform

into immense fear when they heard gunfire coming from just outside their safe room.

        1872. At approximately 8:30 a.m., the Strauss Family were horrified to learn via

WhatsApp that terrorists had invaded their kibbutz and were hunting down residents. Shalom

had the difficult task of explaining these unprecedented events to his minor children and

instructed them to hide under the bed in the safe room. The gunfire continued to persist all day

as the Strauss Family patiently waited for the IDF to arrive and rescue them.

        1873. In the early hours of October 7, 2023, Hamas terrorists drove to the front gate

of Kibbutz Nir Yitzhak and set up sniper positions all around the area before entering the

kibbutz. The kibbutz security and response teams fought back. Tragically, six team members

were killed by the terrorists. The terrorists then unleashed horror on the residents of Kibbutz

Nir Yitzhak, setting fire to homes, vehicles, various kibbutz infrastructure, and anything of




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value to the Israeli residents living there. All together, five Israeli citizens were taken hostage

from Nir Yitzhak, and eight Nir Yitzhak residents were killed that day.

       1874. Throughout that dreadful day, Yael Strauss was overwhelmed with stress

knowing that the lives of her husband and sons were at serious risk while she was unable to

leave the hospital. She was gripped with fear and anxiety that she would need to identify the

bodies of her own husband and children. These intense feelings were further compounded by

the magnitude of casualties arriving at the hospital from the many areas in Southern Israel

under attack by Hamas.

       1875. After approximately twelve hours of nerve-wracking waiting, the IDF arrived

on the kibbutz and began evacuating residents from their homes. The Strauss Family were

instructed to hide in a kindergarten on the kibbutz with other families for the night.

       1876. The Strauss Family were horrified at the sight of the destruction and what

remained of their kibbutz – homes were ravaged with bullet holes, and destruction and chaos

prevailed. After spending the night in one of the kibbutz’s kindergartens, the family evacuated

south to the city of Eilat. Shalom was given one hour to pack belongings for himself, his

children, and his wife for an undetermined amount of time.

       1877.    Yael was anxious to reunite with her family as she had not seen them since the

day before the attacks. But it was too risky for her to travel south from Be’er Sheva. The Strauss

Family was finally reunited on October 8, 2023.

       1878. The Strauss Family remained in Eilat for two months where they tried their best

to create a normal routine – the children attended school; and Yael gained employment at a

hospital in Eilat. Shalom is employed part-time on their kibbutz, so he returned there weekly.

       1879. Eventually, the family made a full return to their home on Kibbutz Nir Yitzhak.

This was emotionally difficult for them as much of the kibbutz was still destroyed, and more

than half the evacuees have yet to return.



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        1880. The events of October 7, 2023, continue to traumatize the family. In the days

following the October 7 Attack, they were overwhelmed with sadness to learn of the people

they knew, both children and adults, who had been brutally murdered by terrorists and taken

hostage into Gaza. Tragically, a best friend of D.S. was taken hostage into Gaza on October 7.

This has caused D.S. significant emotional difficulty, and he now suffers from increased

anxiety. Furthermore, whenever he sees his friend’s photo on a hostage poster, he panics and

breaks down in tears.

        1881. Since October 7, Shalom has continued to struggle both physically and

mentally. His sense of security and safety for himself and his family has been shattered.

        1882. As a direct and foreseeable result of the October 7 Attack, Plaintiffs Shalom

Strauss, Z.S., Y.S. and D.S. have suffered severe physical and mental anguish and extreme

emotional distress, and economic loss.

        1883. As a direct and foreseeable result of the October 7 Attack on her family

members, Plaintiff Yael Strauss has suffered severe mental anguish and extreme emotional

distress, and economic loss.

        WWW.            The Shain Family

        1884. Plaintiff Binyamin Shain is a citizen of the United States and a resident of the

State of Israel.

        1885. Plaintiff Zlil Chen is a citizen and resident of the State of Israel. She is the

domestic partner of Binyamin Shain.

        1886. On the evening of October 6, Binyamin and Zlil, filled with anticipation for the

Nova Music Festival, decided to gather all 27 friends who were going to the festival and host

a holiday dinner for everyone in their apartment to celebrate the Jewish holiday of Simchat

Torah. Enjoying their time together and eager to continue the celebration, they set off for the

Nova Music Festival.



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       1887. On the morning of October 7, 2023, at approximately 6:30 a.m., Binyamin and

Zlil were among hundreds of party-goers who were jolted out of the Nova Music Festival’s

serene atmosphere by the rockets streaking through the pastel sunrise.

       1888. Binyamin, Zlil, and their friends immediately dropped to the ground for cover,

praying they would not be struck by the incoming rockets. Witnessing his panicking partner

and friends, Binyamin realized he either had to act or lose control entirely. From that moment

on, he led the group through this terrifying journey.

       1889. Plaintiff Dvorit Shain is a citizen of the United States and a resident of the State

of Israel. She is the mother of Binyamin Shain.

       1890. On the morning of October 7, Dvorit woke up to loud explosions overhead. She

quickly turned on the TV, only to be shocked by the news that the country was under attack.

Reports emerging from the south described the chaos at the Nova Music Festival, where

attendees were desperately fleeing for their lives. Worried for her son’s safety, she immediately

called Binyamin. At first, he answered calmly, telling her there were sirens and that they were

packing the car to return home.

       1891. Panic spread rapidly as machine gunfire erupted around Binyamin and Zlil.

Terrorists began shooting into the crowd indiscriminately, causing thousands of people to flee

for safety, blocking every exit in a frantic attempt to escape. Two of Binyamin and Zlil’s close

friends managed to break free from the festival grounds only to be brutally murdered just

outside the gates on Road 232.

       1892. The group of 27 friends who had begun this journey together separated as they

tried to navigate a path through the chaos. That day, each would experience their own

harrowing story, some of survival, and others, tragically, of loss.

       1893. Panic consumed Dvorit as she realized terrorists had breached the border from

Gaza. She soon phoned Binyamin again. This time, his voice was filled with terror as he said,



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“Mom, I can’t talk. We’re running in the fields. I have to go!” At that moment, Dvorit froze,

paralyzed by fear, realizing that her son’s life was in imminent danger.

       1894. Binyamin, Zlil, and three of their friends managed to get into a car. Desperate

to escape, Binyamin broke two posts to access a dirt road, hoping to find an alternate route out.

This path led them onto Road 232—a place he would later realize, hauntingly, where his two

friends had been murdered just minutes before.

       1895. With both directions of the road blocked, security directed them onto an

agricultural path. After driving only a short distance, they encountered yet another traffic jam.

Moments later, gunfire broke out nearby, forcing them to jump out of the car and seek cover

behind it. The shooting was relentless, with bullets tearing through the trees above them, hitting

anything in their path. Paralyzed by fear, they could only hope they would not be caught in the

storm of bullets.

       1896.    The group reconvened and ran to hide in a nearby riverbed, hoping to find

refuge. Binyamin considered heading to Kibbutz Be’eri but quickly learned from others that it

had been invaded by terrorists who were massacring and kidnapping civilians. With no reliable

information about where they could find safety, Binyamin led the group eastward, trying to

distance them from the Gaza border and the terrorists.

       1897. An hour into their eastward journey, Binyamin received a desperate call from

an old friend, crying for help and severely bleeding from injuries sustained while escaping

gunfire by jumping from a 50-foot cliff. His fall had been broken by barbed wire, saving his

life but leaving him with severe wounds on his arm. Despite the long distance between them,

the injured friend knew he could rely on Binyamin. Under the blazing sun, with no water, food,

or sleep, Binyamin guided him through first aid over the phone, tracked his live location, and

coordinated with someone who could pick him up and take him to Moshav Patish—an area

where other survivors had found refuge.



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       1898.    Following an arduous 10 miles and approximately 6-hour ordeal, exhausted

and haunted by moments when their lives seemed to hang by a thread, they finally arrived at

Moshav Patish. Upon arrival, Binyamin and Zlil were horrified seeing the severe injuries of

fellow survivors, including their friend Natan, whose arm bore a deep, ragged tear. Though

relieved to have reached a semblance of refuge, the distant sounds of gunfire, explosions, and

sirens reminded them that true safety was still elusive.

       1899.    Dvorit sat helplessly, waiting for any sign of life from Binyamin and Zlil. The

uncertainty of her son’s fate was torturous as reports of civilians being murdered and kidnapped

flooded in. She could only pray that her son and his partner were not among the victims.

       1900.    Finally, after about five agonizing hours, Dvorit’s phone rang. Binyamin told

her that after hours of running through fields, they had reached Moshav Patish. Though relieved

to hear his voice and learn that the terrorists hadn’t caught them, Dvorit remained terrified,

knowing that danger still loomed nearby.

       1901.    After hours of uncertainty and unrelenting tension, a bus finally arrived to take

Binyamin and Zlil to Be’er Sheva, where her mother awaited them. As the bus drove away,

just when they thought that the worst was over, they encountered gunfire from an exchange

between police and a suspicious vehicle. Forced to travel through the Hamas-ravaged town of

Ofakim, they passed the lifeless, battered bodies of local civilians, witnessing firsthand the

devastation—a horrific scene forever etched into their memories.

       1902.    Initially, Binyamin and Zlil believed the attack was focused solely on the Nova

Music Festival. However, the devastating scenes during that ride revealed the staggering scale

of the October 7 Attack—a reality they still struggle to fully comprehend. With immense relief,

Binyamin and Zlil finally reached Be’er Sheva and, eventually, home. Only that night did the

exhaustion overwhelm them— they had been awake for 40 hours, walked the equivalent of a

half marathon, and survived an unspeakable tragedy.



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       1903.    In the days that followed, Binyamin and Zlil felt as though everything was on

the verge of collapsing. They slowly learned which friends were missing and which had been

killed. Wracked with anxiety and dread, they attended a different funeral each day, mourning

the brutal massacre they had witnessed.

       1904. Traumatized by what had happened to Binyamin and Zlil, Dvorit is haunted by

relentless “what ifs.” The thought of her son running for his life while she was powerless to

help triggers overwhelming panic and anxiety that continues to disrupt her daily life. The

recurring sound of his panicked voice as he fled for safety is unbearable, especially knowing

that some of their friends were brutally murdered.

       1905. Binyamin experiences nightmares to this day and cannot leave the house

without fearing that something extreme might happen. The trauma has made him feel

uncomfortable even hiking in nature, fearing that danger could emerge suddenly from the trees.

When parking, he now searches for the closest spot to the entrance, seeking a quick exit in case

of an attack.

       1906. Since the October 7 Attack, Binyamin and Zlil are no longer the same people.

They once found joy in organizing celebrations for their friends, being the first two to buy

tickets to the Nova Music Festival and encouraging the group of 27 to join them. Now,

burdened by the guilt that not all 27 made it back home, they can no longer bring themselves

to gather their friends together. As part of their attempt to recover, they have tried attending

other parties to recapture some of the joy they once felt, but the music only triggers flashbacks

of that day. The terrorists took from them the freedom to do what they loved most.

       1907. Plaintiff Russel Shain is a citizen of the United States and a resident of the State

of Israel. He is the father of Binyamin Shain.

       1908. Plaintiff Michal Lukman is a citizen of the United States and a resident of the

State of Israel. She is the sister of Binyamin Shain.



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        1909. Plaintiff Ariel Shain is a citizen of the United States and a resident of the State

of Israel. He is the brother of Binyamin Shain.

        1910. Plaintiff Shay Shain brings this claim individually. She is a citizen of the United

States and a resident of the State of Israel. She is the sister of Binyamin Shain.

        1911. As a direct and foreseeable result of the October 7 Attack, Plaintiff Binyamin

Shain has suffered severe physical and mental anguish and extreme emotional distress, and

economic loss.

        1912. As a direct and foreseeable result of the October 7 Attack and injuries to

Binyamin Shain, Plaintiffs Zlil Chen, Dvorit Shain, Russel Shain, Michal Lukman, Ariel Shain,

and Shay Shain have suffered severe mental anguish and extreme emotional distress, and

economic loss.

        XXX.      The Leshem Family

        1913. Plaintiff Zion Leshem is a citizen of the United States and a resident of the State

of Israel. He is married to Rivka Leshem, and together they have seven children, five of whom

are minors.

        1914. Plaintiff Rivka Leshem is a citizen and resident of the State of Israel. She is the

wife of Zion Leshem.

        1915. Plaintiff Zion Leshem also brings this action on behalf of his minor children,

M.E.L., L.A.L., M.D.L., T.B.L., and T.N.L., as their legal guardian. All of these children are

citizens and residents of the State of Israel.

        1916. Plaintiff Yehuda Gur Aryeh Leshem is a citizen and resident of the State of

Israel. He is a son of Zion Leshem and Rivka Leshem.

        1917. Plaintiff Chemda Rachel Leshem is a citizen and resident of the State of Israel.

She is the daughter of Zion Leshem and Rivka Leshem.




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       1918. The weekend of October 7, 2023, was supposed to be a momentous time on

Moshav Naveh where the Leshem family lived, with its residents celebrating the Jewish

holiday of Simchat Torah – one of the most joyous holidays in the Jewish calendar. In the early

hours of October 7, 2023, Zion arrived at the moshav synagogue, along with 150 other men

from the community for morning prayers. The rest of the Leshem family remained at home and

planned to meet Zion later in the day to celebrate the holiday. Shortly after Zion arrived at the

synagogue, incessant rocket sirens began blaring across the skies of Moshav Naveh.

       1919. The Leshem family was forced to seek shelter in a safe room for over ten hours.

They did not have access to electricity, cell-phone service or any contact with the world outside

of their community. The Leshem family soon learned that a battle had taken place on the

outskirts of Moshav Naveh, between a Hamas terrorist battalion and Israeli soldiers. A map

and other materials would later be recovered from the terrorists, showing they had planned to

hunt and murder the residents of Moshav Naveh.

       1920. After hours of uncertainty, the Leshem family were warned that terrorists could

breach their moshav at any moment, and they needed to remain hidden.

       1921. Eventually, security officials instructed the Leshem family to evacuate the

moshav and travel to Jerusalem. They packed for nine family members in a matter of minutes

and for an unspecified amount of time. It would be two months before they were allowed to

return to their home on the moshav.

       1922. As regular roads were closed with lifeless bodies scattered everywhere, the

Leshem family had to use an alternative route which dangerously ran south along the Egyptian

border. Mentally, Zion was in a state of near-delirium, as he was exhausted and even had

trouble recalling the date. Being forced to drive a vehicle in this state, coupled with the sight

of many lifeless bodies, will be etched in Zion’s mind forever. After a long five-hour drive, the




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Leshem family reached Jerusalem, where they were housed in a hotel with thousands of other

evacuees.

        1923. Because many of the hotel workers were Arabs, Zion stated that he felt a general

sense of unease and animosity coming from these workers. Moreover, the October 7 Attack

further heightened the religious and ideological differences between Jews and Arabs in Israel,

which could be felt at the hotel. The Leshem family stayed at the hotel for two months before

returning home.

        1924. Since the October 7 Attack, Zion has not resumed his normal life. Instead, his

main focus is to protect his wife, seven children, and community by raising money to purchase

various types of equipment for the moshav including protective ammunition, computers and

communications technology. Zion now volunteers on the moshav security team. He trains

seven days a week, and this has been his only job and occupation since the attack. He sleeps

with his M-16 Rifle next to him in the event that an attack occurs in the middle of the night.

        1925. Before October 7, Zion lived a calm and quiet life. However, the events of

October 7, 2023, have shattered any sense of normalcy for his life and the lives of the other

members of the Leshem family, and their lives will never be the same.

        1926. The stress and anxiety experienced by Zion on October 7 and the immediate

days afterward was overwhelming.

        1927. Plaintiff Zvi Leshem is a citizen of the United States and a resident of the State

of Israel. He is the father of Zion Leshem.

        1928. Plaintiff Julie Leshem is a citizen of the United States and a resident of the State

of Israel. She is the mother of Zion Leshem and the wife of Zvi Leshem.

        1929. As a direct and foreseeable result of the October 7 Attack, Plaintiff Zion Leshem

has suffered severe physical and mental anguish and extreme emotional distress, and economic

loss.



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       1930. As a direct and foreseeable result of the October 7 Attack on the Leshem family

in Moshav Naveh and the injuries to Zion Leshem, Plaintiffs Rivka Leshem, Yehuda Gur

Leshem, Chemda Rachel Leshem, M.E.L., L.A.L., M.D.L., T.B.L., T.N.L., Zvi Leshem, and

Julie Leshem have suffered severe mental anguish and extreme emotional distress, and

economic loss.

       YYY. The Messner Family

       1931. Plaintiff David Messner was a citizen of the United States and a resident of the

State of Israel when he was injured by Hamas.

       1932. From 2023 to 2024, David served as a soldier in the IDF. On May 15, 2024,

David was involved in a firefight with Hamas terrorists in Gaza in which his company

commander was shot in the head and killed. David was in immediate danger due to his

proximity to Hamas terrorists.

       1933. During his time in Gaza, David was under constant duress from Hamas rockets,

IEDs, grenades, and other munitions being fired at him and his unit.

       1934. Since his discharge from the IDF, David has sought help from a mental health

professional, attending therapy sessions weekly, but he has suffered from substance abuse as a

result of his emotional trauma while in Gaza.

       1935. As a direct and foreseeable result of the October 7 Attack and his subsequent

deployment to Gaza to fight against Hamas, Plaintiff David Messner has experienced severe

physical and mental anguish and extreme emotional distress, and economic loss.

       ZZZ. The Benzakein Family

       1936. Plaintiff Eliezer Benzakein was a citizen of the United States and a resident of

the State of Israel when he was injured by Hamas.

       1937. Eliezer enlisted in the IDF in 2018 and continues to serve.




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        1938. From October 7, 2023, to present-day, Eliezer was called into service with the

IDF primarily along the border between Egypt and the southern portion of the Gaza Strip.

While in Gaza, he personally was involved in firefights that left his fellow soldiers dead or

severely injured.

        1939. Since the attacks, Eliezer has sought help from a mental health professional,

attending therapy weekly due to his experiences of seeing dead bodies, entering blood-soaked

and ransacked homes, and his experiences in combat with Hamas terrorists. He has been

diagnosed with PTSD, for which he takes medication. He continuously suffers from night

terrors as a result of his experiences.

        1940. As a direct and foreseeable result of the October 7 Attack and continued

violence perpetrated by Hamas, Plaintiff Eliezer Benzakein has experienced severe physical

and mental anguish and extreme emotional distress, and economic loss.

        AAAA.           The Holtzman Family

        1941. Plaintiff Aharon Holtzman was a citizen of the United States and a resident of

the State of Israel when he was injured by Hamas.

        1942. On October 7, 2023, Aharon was a soldier for the IDF engaging with Hamas

terrorists in Kissufim near the border with Gaza. During the attack, he was in immediate danger

due to his close proximity to Hamas terrorists in which he experienced shootings, mortar

attacks, and rocket attacks for the next three days while trying to maintain security in Kissufim.

        1943. For the next month, Aharon was engaged in operations in Gaza and the Gaza

Envelope in which he was on a constant state of alert for Hamas terrorists. From the middle of

November 2023 to August 2024, Aharon fought against Hamas terrorists in Gaza where he

witnessed other members of his unit be killed in the fighting.

        1944. He also served in areas within Lebanon and Syria following the October 7

Attack where he continued fighting terrorist enemies while witnessing unimaginable violence.



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         1945. As a direct and foreseeable result of the October 7 Attack and continued

violence perpetrated by Hamas, Plaintiff Aharon Holtzman has experienced severe physical

and mental anguish and extreme emotional distress, and economic loss.

         BBBB.         The Sapir Family

         1946. Plaintiff Shilo Sapir was a citizen of the United States and a resident of the State

of Israel when he was injured by Hamas.

         1947. Shilo enlisted in the IDF on December 29, 2022, and continues to serve as a

soldier to this day.

         1948. Shilo was an active-duty soldier on October 7, 2023, and was immediately

placed in the kibbutzim that were under attack in the Gaza Envelope where he witnessed dead

bodies along with burned houses. He remained in the area as part of the protection force for the

kibbutzim for several weeks after the October 7 Attack. When he was subsequently deployed

into Gaza, Shilo was involved in active combat against Hamas terrorists. Shilo inhaled

numerous toxins such as burnt gunpowder and rubble dust, which led to lung infections. This

resulted in him being in the army hospital for about two weeks.

         1949. Once released from the hospital, he was back on the frontlines in Gaza where

he was almost hit with shrapnel and gunshots or explosives multiple times for several months.

These events have led to trauma, sleep disorders, and sensitivity to sounds.

         1950. He later was readmitted to the hospital after breaking his ankle in Lebanon when

he walked into a trap set by terrorists operating along the Lebanese border. After being treated

at the hospital, he underwent three months of rehabilitation and recuperation for his broken

ankle.

         1951. As a direct and foreseeable result of the October 7 Attack and continued

violence perpetrated by Hamas, Plaintiff Shilo Sapir has experienced severe physical and

mental anguish and extreme emotional distress, and economic loss.



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       CCCC.       The Susskind Family

       1952. Plaintiff Nathan Susskind was a citizen of the United States and a resident of

the State of Israel when he was injured by Hamas.

       1953. Nathan was a soldier in the IDF on October 7, 2023, when he was called up to

Kibbutz Reim near Gaza. Once there, he encountered dead bodies everywhere. He then had to

move on to Be’eri where he sought out Hamas terrorists and their entrapments. Nathan was

tasked with looking for Hamas terrorists, its booby traps, its weaponry and explosives, as well

as corpses.

       1954. On or about July 9, 2024, Nathan sustained a shrapnel wound during one of his

many encounters with Hamas terrorists in Gaza.

       1955. He was redeployed to Gaza in November 2024, where he has lost five comrades,

and he himself has been shot at by Hamas and had near-misses with Hamas explosives on

numerous occasions.

       1956. As a direct and foreseeable result of the October 7 Attack and continued

violence perpetrated by Hamas, Plaintiff Nathan Susskind has experienced severe physical and

mental anguish and extreme emotional distress, and economic loss.

       DDDD.       The Werde Family

       1957. Plaintiff Shlome Werde was a citizen of the United States and a resident of the

State of Israel when he was injured by Hamas.

       1958. Shlome has been a solder in the IDF since August 2022. On October 7, 2023,

he was at the training base in the vicinity of the Gaza Envelope when he heard and saw rockets

overhead. Many of his friends died that day as a result of the attack.

       1959. In January 2024, Shlome entered Gaza with his IDF unit where he encountered

RPGs, gunfire, and grenades. Later, he was sent to Lebanon. Shlomo continued to face heavy

gunfire and bombings.



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        1960. As a result of the Hamas terrorist attacks, Shlomo has suffered both physical

and mental injuries. He has a back injury, as well as a sensitivity to noise. Psychologically, he

suffers from trauma due to the violence he has witnessed as a soldier in the IDF.

        1961. As a direct and foreseeable result of the October 7 Attack and continued

violence perpetrated by Hamas, Plaintiff Shlome Werde has experienced severe physical and

mental anguish and extreme emotional distress, and economic loss.

        EEEE.      The Blisko Family

        1962. Plaintiff Samuel Blisko was a citizen of the United States and a resident of the

State of Israel when he was injured by Hamas.

        1963. Samuel was a reservist with the IDF on October 7, 2023, and subsequently

served in Gaza, Syria, and Lebanon following the Hamas attacks on October 7.

        1964. As a direct and foreseeable result of the October 7 Attack and his subsequent

deployment to Gaza, Syria, and Lebanon to fight against Hamas, Plaintiff Samuel Blisko has

experienced severe physical and mental anguish and extreme emotional distress, and economic

loss.

        FFFF.      The Engle Family

        1965. Plaintiff Reut Engle was a citizen of the United States and a resident of the State

of Israel when she was injured by Hamas.

        1966. Reut was a physician’s assistant with the IDF from 2023, continuing to the

present. She was at the Gaza border on October 7, 2023. She was part of the field surgery unit

in Gaza in November 2023, and was responsible for evacuating the injured and performing

field treatment.

        1967. As a result of this physician’s assistant work, as well as being in the combat

zone, Reut has experienced burst eardrums, scratched corneas, three herniated disks,

trenchfoot/fungal infections, and psychological trauma.



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       1968. As a direct and foreseeable result of the October 7 Attack and her subsequent

deployment to Gaza to fight against Hamas, Plaintiff Reut Engle has experienced severe

physical and mental anguish and extreme emotional distress, and economic loss.

       GGGG.       The Cherney Family

       1969. Plaintiff Noa Morgan Cherney was a citizen of the United States and a resident

of the State of Israel when she was injured by Hamas.

       1970. Noa was a naval combatant in the IDF from January 2022 through January 2024.

       1971. On October 7, 2023, Noa was in Kibbutz Erez, when, at 6:30 a.m., rockets began

to fall. Noa experienced rocket fire in the shelter she was in and buildings shaking before being

called to her IDF base 20 minutes after the attack began. There were 40 terrorists outside of

Kibbutz Erez, with just seven kibbutz members trying to fight them off. The kibbutz members

were able to hold off the terrorists for three hours.

       1972. During the crossfire, Noa’s mentor was killed, and her host family was injured.

       1973. Hamas cut the WiFi on Kibbutz Erez, so she had to leave her safe room in order

to contact her base. She was receiving alerts on her phone, which provided her the details of

the attack, the number of dead, etc. Throughout the day, Noa experienced constant booms, and

she had no food. Noa volunteered to join the security team guarding the kibbutz, but there were

not enough weapons for her to do so.

       1974. On the evening of October 7 into October 8, Noa was placed under an

evacuation order, which was subsequently canceled.

       1975. At 10:00 a.m. on October 8, she left Kibbutz Erez in the direction of Ashkelon,

in order to make it to Haifa to join her ship. On the ride to her ship, she encountered rockets,

rocket alerts, UAVs, and other threats.

       1976. Once on her IDF ship, Noa sailed to every border, guarding oil rigs. While at

sea, she was under constant threat from Hamas via the air.



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        1977. As a direct and foreseeable result of the October 7 Attack and her subsequent

deployment to fight against Hamas, Plaintiff Noa Morgan Cherney has experienced severe

physical and mental anguish and extreme emotional distress, and economic loss.

        HHHH.        The Libin Family

        1978. Plaintiff Ethan Libin was a citizen of the United States and a resident of the

State of Israel when he was injured by Hamas.

        1979. Ethan was a member of the IDF on October 7, 2023.

        1980. As a member of the IDF, Ethan had to fight his way past the terrorists into Gaza.

He saw hundreds of burned cars, and bodies injured and dismembered, shot and killed by

explosions.

        1981. Ethan was present at a grenade attack at Gama intersection, and had to evacuate

injured civilians.

        1982. As a consequence of the attacks, Ethan did not sleep for months, and

experienced night terrors, flashbacks, and PTSD.

        1983. As a direct and foreseeable result of the October 7 Attack and his subsequent

deployment to Gaza to fight against Hamas, Plaintiff Ethan Libin has experienced severe

mental anguish and extreme emotional distress, and economic loss.

        IIII.        The Daniels Family

        1984. Plaintiff Gil Boaz Daniels was a citizen of the United States and a resident of

the State of Israel when he was injured by Hamas.

        1985. Gil Boaz Daniels was at home in his kibbutz Nir Erez, which borders Gaza, on

October 7 when Hamas attacked. Gil spent most of October 7 on the phone calling his family,

his IDF unit, and his IDF unit commander. The Army did not arrive until very late in the day.

There was almost constant gunfire and explosions from the terrorists outside his home.




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       1986. Gil was sheltered with other people from his kibbutz throughout the day, and

they were crying as they learned of the deaths of family and friends.

       1987. Upon leaving the shelter, Gil and the others had to walk through the devastation

caused by the terrorists outside the shelter.

       1988. As an IDF soldier, Gil entered Gaza after the attacks and spent 45 days there.

His direct commander and deputy commander were killed serving alongside him.

       1989. Gil’s father suffered a heart attack due to the stress of the situation.

       1990. Gil remains displaced from his home as he is unable to move back to his kibbutz.

       1991. As a direct and foreseeable result of the October 7 Attack and his subsequent

deployment to Gaza to fight against Hamas, Plaintiff Gil Boaz Daniels has experienced severe

physical and mental anguish and extreme emotional distress, and economic loss.

       JJJJ. The Kassel Family

       1992. Plaintiff Chana Rachel Kassel is a citizen of the United States and a resident of

the State of Israel who was involved in an attack by Hamas.

       1993. Plaintiff Chana Rachel Kassel brings this action individually.

       1994. Plaintiff Chana Rachel Kassel also brings this action on behalf of Plaintiff

M.S.K., a minor child, as his legal guardian. M.S.K. is a citizen of the United States and resident

of the State of Israel. M.S.K. is the son of Chana Rachel Kassel.

       1995. Plaintiff Chana Rachel Kassel also brings this action on behalf of Plaintiff Sh.K.

a minor child, as his legal guardian. Sh.K. is a citizen of the United States and resident of the

State of Israel. Sh.K. is the son of Chana Rachel Kassel.

       1996. Plaintiff Chana Rachel Kassel also brings this action on behalf of Plaintiff S.K.

a minor child, as her legal guardian. S.K. is a citizen of the United States and resident of the

State of Israel. S.K. is the daughter of Chana Rachel Kassel.




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       1997. Plaintiff Chana Rachel Kassel also brings this action on behalf of Plaintiff

D.C.K., a minor child, as his legal guardian. D.C.K. is a citizen of the United States and resident

of the State of Israel. D.C.K. is the son of Chana Rachel Kassel.

       1998. Plaintiff Chana Rachel Kassel also brings this action on behalf of Plaintiff Av.K.

a minor child, as his legal guardian. Av.K. is a citizen of the United States and resident of the

State of Israel. Av.K. is the son of Chana Rachel Kassel.

       1999. Plaintiff Chana Rachel Kassel also brings this action on behalf of Plaintiff

Y.Y.K. a minor child, as his legal guardian. Y.Y.K. is a citizen of the United States and resident

of the State of Israel. Y.Y.K. is the son of Chana Rachel Kassel.

       2000. Plaintiff Chana Rachel Kassel also brings this action on behalf of Plaintiff Ah.K.

a minor child, as his legal guardian. Ah.K. is a citizen of the United States and resident of the

State of Israel. Ah.K. is the son of Chana Rachel Kassel.

       2001. Plaintiff Chana Rachel Kassel also brings this action on behalf of Plaintiff E.K.

a minor child, as his legal guardian. E.K. is a citizen of the United States and resident of the

State of Israel. E.K.is the son of Chana Rachel Kassel.

       2002. Plaintiff Chana Rachel Kassel also brings this action on behalf of Plaintiff B-

S.K. a minor child, as her legal guardian. B-S.K. is a citizen of the United States and resident

of the State of Israel. B-S.K. is the daughter of Chana Rachel Kassel.

       2003. Plaintiff Chana Rachel Kassel also brings this action on behalf of Plaintiff Ye.K.

a minor child, as his legal guardian. Ye.K. is a citizen of the United States and resident of the

State of Israel. Ye.K. is the son of Chana Rachel Kassel.

       2004. Plaintiff Yishai Kassel is a citizen and a resident of the State of Israel. He is the

spouse of Chana Rachel Kassel.

       2005. Chana Rachel Kassel was at home with her children in Okafim, Israel on

October 7, 2023.



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       2006. As terrorists infiltrated Ofakim, Chana and her children feared for their lives as

they heard rockets and gunfire in the area surrounding their home not knowing if their home

would be the next one to be attacked.

       2007. Chana and her children continue to live in fear, and her children have difficulty

sleeping alone at night as a result of their experiences on October 7.

       2008. As a direct and foreseeable result of the October 7 attack, Plaintiffs Chana

Rachel Kassel, M.S.K., Sh.K., S.K., D.C.K., Av.K., Y.Y.K., Ah.K., E.K., B-S.K., and Ye.K.

have suffered severe mental anguish and extreme emotional distress, and economic loss.

       2009. As a direct and foreseeable result of the October 7 Attack on his family

members, Plaintiff Yishai Kassel has suffered severe mental anguish and extreme emotional

distress, and economic loss.

       KKKK.           The Azulai Family

       2010. Plaintiff Tayyir Azulai is a citizen of the United States and a resident of the

State of Israel who was involved in an attack by Hamas.

       2011. Tayyir Azulai was at home with her family in Moshav Yevul, Israel, on October

7, 2023.

       2012. Plaintiff Tayyir Azulai brings this action individually.

       2013. Plaintiff Tayyir Azulai also brings this action on behalf of Plaintiff L.A., a minor

child, as his legal guardian. L.A. is a citizen and resident of the State of Israel. L.A. is the son

of Tayyir Azulai.

       2014. Plaintiff Tayyir Azulai also brings this action on behalf of Plaintiff H.A., a

minor child, as her legal guardian. H.A. is a citizen and resident of the State of Israel. H.A. is

the daughter of Tayyir Azalai.




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        2015. Plaintiff Tayyir Azulai also brings this action on behalf of Plaintiff T.A., a minor

child, as her legal guardian. T.A. is a citizen and resident of the State of Israel. T.A. is the

daughter of Tayyir Azulai.

        2016. Plaintiff Tayyir Azulai also brings this action on behalf of Plaintiff Y.A., a

minor child, as her legal guardian. Y.A. is a citizen and resident of the State of Israel. Y.A. is

the daughter of Tayyir Azulai.

        2017. As a direct and foreseeable result of the October 7 attack, Plaintiff Tayyir Azulai

has suffered severe mental anguish and extreme emotional distress, and economic loss.

        2018. As a direct and foreseeable result of the October 7 Attack on their mother,

Plaintiffs L.A., H.A., T.A., and Y.A. have suffered severe mental anguish and extreme

emotional distress, and economic loss.

        LLLL.      The Fayazi Family

        2019. Plaintiff Leah Fayazi is a citizen of the United States and a resident of the State

of Israel.

        2020. Plaintiff Ebrahim Fayazi is a citizen of the United States and a resident of the

State of Israel. He is a son of Leah Fayazi.

        2021. Plaintiff Avigail Aharonov is a citizen of the United States and a resident of the

State of Israel. She is a daughter of Leah Fayazi.

        2022. Plaintiff Malka Michael is a citizen of the United States and a resident of the

State of Israel. She is a daughter of Leah Fayazi.

        2023. Plaintiff Shlomo Fayazi is a citizen of the United States and a resident of the

State of Israel. He is a son of Leah Fayazi.

        2024. Plaintiff Shlomo Fayazi also brings this action on behalf of Plaintiff L.F., a

minor child, as her legal guardian. L.F. is a citizen of the United States and a resident of the

State of Israel. L.F. is the daughter of Shlomo Fayazi.



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       2025. Plaintiff Shlomo Fayazi also brings this action on behalf of Plaintiff Y.F., a

minor child, as his legal guardian. Y.F. is a citizen of the United States and a resident of the

State of Israel. Yi.F. is the son of Shlomo Fayazi.

       2026. Plaintiff Naomi Aronof is a citizen of the United States and a resident of the

State of Israel. She is a daughter of Leah Fayazi.

       2027. Plaintiff Hadassa Mizrachi is a citizen of the United States and a resident of the

State of Israel. She is a daughter of Leah Fayazi.

       2028. Plaintiff Elisheva Haziza is a citizen of the United States and a resident of the

State of Israel. She is a daughter of Leah Fayazi.

       2029. Plaintiff David Fayazi is a citizen of the United States and a resident of the State

of Israel. He is a son of Leah Fayazi.

       2030. Plaintiff Ayala Peretz is a citizen of the United States and a resident of the State

of Israel. She is a daughter of Leah Fayazi.

       2031. Plaintiff Yocheved Fayazi is a citizen of the United States and a resident of the

State of Israel. She is a daughter of Leah Fayazi.

       2032. Plaintiff Leah Fayazi brings this action on behalf of Plaintiff Yo.F., a minor

child, as his legal guardian. Yo.F. is a citizen of the United States and a resident of the State of

Israel. He is a son of Leah Fayazi.

       2033. Prior to October 7, 2023, the Fayazi family—consisting of Leah Fayazi, 11 of

her children, and two of her grandchildren—converged on the Israeli town of Sderot near the

Gaza border to celebrate the Jewish holiday of Simchat Torah together.

       2034. Alarms and sirens began sounding in the early morning of October 7, 2023, and

the family began to desperately search for one another in Sderot as rockets began flying

overhead and landing nearby.




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        2035. Soon thereafter, terrorists began to infiltrate Sderot shooting in all directions,

and the Fayazi family members sought to escape and flee from the terrorist attack.

        2036. The Fayazi family members have undergone psychological treatment to attempt

to address the emotional trauma they experienced on that day.

        2037.    As a direct and foreseeable result of the October 7 Attack, Plaintiffs Leah

Fayazi, Ebrahim Fayazi, Avigail Aharonov, Malka Michael, Shlomo Fayazi, L.F., Yi.F.,

Naomi Aronof, Hadassa Mizrachi, Elisheva Haziza, David Fayazi, Ayala Peretz, Yocheved

Fayazi, and Yo.F. have suffered severe mental anguish and extreme emotional distress, and

economic loss.

        MMMM. The Hordiner Family

        2038. Plaintiff Chaya Mushka Hordiner is a citizen and resident of the United States.

        2039. On October 7, 2023, Chaya Mushka Hordiner was stationed at an IDF base in

the northern part of Israel.

        2040. In approximately September 2024, Chaya was repositioned near and in Gaza

where she operated and read IDF drone information over Gaza.

        2041. Because of her proximity to the fighting, Chaya was constantly in the line of

fire for rockets being fired from Gaza and also shooting from terrorists within Gaza while also

obtaining visuals of precisely what was taking place on the ground in Gaza through her piloting

of drones.

        2042. Chaya has been emotionally traumatized by her experiences both within the

zone of danger on the ground in Gaza and from what she witnessed as a drone pilot.

        2043. As a direct and foreseeable result of the October 7 Attack and the subsequent

IDF action in Gaza, Plaintiff Chaya Mushka Hordiner has suffered severe physical and mental

anguish and extreme emotional distress, and economic loss.




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        NNNN.        The Koskas Family

        2044. Plaintiff Barak Koskas is a citizen of the United States and a resident of the

State of Israel.

        2045. Barak Koskas resides in Ashkelon. On October 7, 2023, he feared for his life as

rockets began to rain down on the areas around Ashkelon and the proximity of Ashkelon to the

Gaza Envelope and the infiltrating terrorists made that fear even more palpable.

        2046. Since October 7, 2023, Barak has sought medical and psychological treatment

as he has had extreme difficulty sleeping at night and has experienced nightmares about

October 7 even when he is able to sleep.

        2047. As a direct and foreseeable result of the October 7 Attack, Plaintiff Barak

Koskas has suffered severe mental anguish and extreme emotional distress, and economic loss.

        OOOO.      The Russek Family

        2048. Plaintiff Naomi Russek is a citizen of the United States and a resident of the

State of Israel.

        2049. Plaintiff Naomi Russek brings this action individually and also on behalf of

Plaintiffs R.R., S.R., T.R., A.R., Ef.R., C.P.R., M.H.R., Ep.R., and Av.R., her minor children

who are all citizens of the United States and residents of the State of Israel.

        2050. On October 7, 2023, Naomi Russek was at her home in Ofakim with her nine

children when the attacks began.

        2051. Naomi and her children collectively sheltered in place in their home as terrorists

infiltrated Ofakim and she could hear shooting and screaming within her vicinity.

        2052. The events of October 7 have impacted the Russek family tremendously as

Naomi and her children have sought psychological treatment to try and cope with the emotional

strain and trauma caused by the October 7 Attack.




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        2053. As a direct and foreseeable result of the October 7 Attack, Plaintiffs Naomi

Russek, R.R., S.R., T.R., A.R., Ef.R., C.P.R., M.H.R., Ep.R., and Av.R. have suffered severe

mental anguish and extreme emotional distress, and economic loss.

        PPPP.          The Kama Family

        2054. Plaintiff Shachar Hanna Kama is a citizen of the United States and a resident of

the State of Israel.

        2055. Shachar Hanna Kama was working as a teacher in Ofakim as part of her national

service for Simchat Torah.

        2056. As the terrorists infiltrated portions of Ofakim, Shachar could hear the gunshots

and screaming, but she found herself stranded and alone on the road outside of Ofakim without

a phone to call for help.

        2057. Knowing what was likely taking place not far from her location, and recognizing

that she was a young female walking alone on the road has resulted in psychological trauma.

        2058. As a direct and foreseeable result of the October 7 Attack, Plaintiff Shachar

Hanna Kama has suffered severe mental anguish and extreme emotional distress, and economic

loss.

        QQQQ. The (David) Tawil Family

        2059. Plaintiff David Tawil is a citizen of the United States and a resident of the State

of Israel.

        2060. David Tawil served in Gaza in the IDF reserves for several two-month periods

from October 2023 through the present where he was engaged with gunfire, grenades, and

rockets, and he also encountered IEDs emplaced by terrorists within Gaza.

        2061. As a direct and foreseeable result of the October 7 Attack and the subsequent

IDF action in Gaza, Plaintiff David Tawil has suffered severe mental anguish and extreme

emotional distress, and economic loss.



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        RRRR.          The Kassin Family

        2062. Plaintiff Naomi Rachel Kassin is a citizen of the United States and a resident of

the State of Israel.

        2063. Naomi Rachel Kassin was visiting cousins in Ofakim for the Simchat Torah

holiday.

        2064. On the morning of October 7, 2023, Naomi and her cousins heard the sirens

indicating rocket fire and then later heard gunfire and screaming. She saw terrorists roaming

the streets in Ofakim, so she hid in the house.

        2065. As a result of the fear that she experienced on October 7, 2023, Naomi would

not go outside for nearly a month and a half after the attacks.

        2066. She has sought psychological treatment to address the fear that continues to

overtake her.

        2067. As a direct and foreseeable result of the October 7 Attack, Plaintiff Naomi

Rachel Kassin has suffered severe mental anguish and extreme emotional distress, and

economic loss.

        SSSS.          The Berger Family

        2068. Plaintiff Lisa Berger is a citizen of the United States and a resident of the State

of Israel.

        2069. On the morning of October 7, 2023, Lisa Berger was at her home in Ofakim

when rocket sirens began to blare.

        2070. The sirens and rockets were then accompanied by the sounds of gunfire and

screaming as terrorists infiltrated Ofakim which was the furthest east point of terrorist

infiltration on October 7, 2023.

        2071. As a result of the October 7 Attack, Lisa was displaced from her home in

Ofakim without designated shelter, and she has undergone various different types of therapy



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to address the emotional wounds she experienced that day including group therapy, art therapy,

and play therapy.

          2072. As a direct and foreseeable result of the October 7 Attack, Plaintiff Lisa Berger

has suffered severe mental anguish and extreme emotional distress, and economic loss.

          TTTT. The Apelbaum Family

          2073. Plaintiff David Apelbaum is a citizen of the United States and a resident of the

State of Israel.

          2074. Plaintiff Nechama Apelbaum is a citizen of the United States and a resident of

the State of Israel. She is the wife of David Apelbaum.

          2075. David and Nechama Apelbaum resided in Ofakim, Israel; however, on the night

of October 6 into the morning of October 7, 2023, they were visiting friends in nearby Moshav

Tifrach when rockets began to fall in the direct vicinity of Tifrach.

          2076. With rockets falling nearby and learning of the devastation occurring elsewhere

in the Gaza Envelope and in their home of Ofakim, the Apelbaums were overwhelmed with

fear for their safety as they feared the terrorists would move from Ofakim to Tifrach while

rockets would continue to fall in Tifrach.

          2077. As a direct and foreseeable result of the October 7 Attack, Plaintiffs David

Apelbaum and Nechama Apelbaum have suffered severe mental anguish and extreme

emotional distress, and economic loss.

          UUUU.      The Saffer Family

          2078. Plaintiff Devorah Rachel Saffer is a citizen of the United States and a resident

of the State of Israel.

          2079. On October 7, 2023, Devorah Rachel Saffer was at her home in Maslool, Israel,

a moshav immediately west of the town of Ofakim and approximately 15 miles from the Gaza

border.



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        2080. Four young women who had fled from the Nova Music Festival came to

Devorah’s home and began to frantically tell her what had happened at the Festival.

        2081. Recognizing that the young woman might have been followed by the terrorists,

Devorah experienced a panic attack as fear washed over her.

        2082. As the anticipation of the potential infiltration of Maslool overtook her, Devorah

continued to experience panic attacks which continued for two weeks after October 7.

        2083. As a direct and foreseeable result of the October 7 Attack, Plaintiff Devorah

Rachel Saffer has suffered severe mental anguish and extreme emotional distress, and

economic loss.

        VVVV.       The Biton Family

        2084. Plaintiff Elior Biton is a citizen of the United States and a resident of the State

of Israel.

        2085. Plaintiff Elior Biton brings this action individually and on behalf of Plaintiffs

E.S.N. and R.N., his minor children. Both E.S.N. and R.N. are citizens of the United States and

residents of the State of Israel.

        2086. On October 7, 2023, Elior Biton and his two daughters were at home in

Ashkelon when sirens began to go off indicating a barrage of rocket fire from Gaza.

        2087. Since October 7, Elior Biton and his two daughters have suffered from tightness

in the chest, anxiety, panic, loss of security, and difficulty sleeping. They have sought

psychiatric treatment.

        2088. As a direct and foreseeable result of the October 7 Attack, Plaintiffs Elior Biton,

E.S.N. and R.N. have suffered severe mental anguish and extreme emotional distress, and

economic loss.




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        WWWW. Haim Katzin

        2089. Plaintiff Haim Katzin is a citizen of the United States and a resident of the State

of Israel.

        2090. On the morning of October 7, 2023, Haim Katzin was with friends in Sderot

near the Gaza border.

        2091. When the attack began, Haim could not remember where he was: all he could

remember was shooting from the terrorists and screaming, and then he ran.

        2092. With the adrenaline, his friends later told him that he fell down the stairs as they

sought to escape the oncoming terrorists, and he subsequently required two months of recovery

for the injuries he sustained in his fall that did not come to light until nearly a week after the

fact.

        2093. Haim has sought psychological treatment in the aftermath of his experience in

escaping from the terrorists who were infiltrating Sderot on October 7.

        2094. As a direct and foreseeable result of the October 7 Attack, Plaintiff Haim Katzin

has suffered severe physical and mental anguish and extreme emotional distress, and economic

loss.

        XXXX.           Israel Katzin

        2095. Plaintiff Israel Katzin is a citizen of the United States and a resident of the State

of Israel.

        2096. On October 7, 2023, Israel Katzin was with cousins and friends in Ashkelon

when he heard sirens and saw rockets falling close by to where he was. He also heard gunfire

in the distance and proceeded to hide at his cousin’s house for a full day fearful that the

terrorists would attack Ashkelon, which was the closest large Israeli city to Gaza.




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        2097. Israel Katzin has sought psychological treatment as a result of the October 7

Attack, and he has also been diagnosed with a sleep disorder related to his psychological

trauma.

        2098. As a direct and foreseeable result of the October 7 Attack, Plaintiff Israel Katzin

has suffered severe mental anguish and extreme emotional distress, and economic loss.

        YYYY.          The Bing Family

        2099. Plaintiff Michal Berger Bing is a citizen of the United States and a resident of

the State of Israel.

        2100. Michal Berger Bing resided in Moshav Tifrach and was at her home on October

7, 2023, when the attack began.

        2101. When the attack began, rockets began to fall in the direct vicinity of Tifrach.

        2102. With rockets falling nearby and learning of the devastation occurring elsewhere

in the Gaza Envelope, Michal feared the terrorists would continue their march to Tifrach.

        2103. Since October 7, 2023, Michal has sought assistance through one-on-one

counseling, art therapy, play therapy, and support groups to address her fear and emotional

trauma.

        2104. As a direct and foreseeable result of the October 7 Attack, Plaintiff Michal

Berger Bing has suffered severe mental anguish and extreme emotional distress, and economic

loss.

        ZZZZ.          The Frank Family

        2105. Plaintiff Yonatan Frank is a citizen of the United States and a resident of the

State of Israel.

        2106. Yonatan Frank was at his home in Ofakim on October 7, 2023. As set forth in a

psychiatric report issued following the attack, Yonatan was exposed to the infiltration of Hamas

terrorists into Ofakim, and since that time, he suffers from Adjustment Disorder with Anxiety.



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       2107. As a direct and foreseeable result of the October 7 Attack, Plaintiff Yonatan

Frank has suffered severe mental anguish and extreme emotional distress, and economic loss.

       AAAAA. The Cohen Family

       2108. Sandra Cohen was a citizen and resident of the State of Israel when she was

injured on October 7, 2023, by Hamas.

       2109. Plaintiff Natali Rotches is a citizen and resident of the United States. She is the

sister of Sandra Cohen.

       2110. Sandra Cohen and her husband Ohad Cohen and their three children lived in

Kibbutz Be’eri, but on October 7, 2023, their world changed forever.

       2111. As terrorists infiltrated Be’eri, the Cohen family retreated into their safe room;

however, terrorists fired multiple shots through the safe-room door severely injuring Ohad and

then set the house on fire.

       2112. As the family exited their safe room, Ohad took yet another bullet for his family

and was killed in front of his wife and children.

       2113. Sandra and Ohad’s baby daughter M.C. was killed when a terrorist’s bullet went

through Sandra’s arm and into M.C.’s head killing her while she was being held by her mother

when they were still in the safe room.

       2114. By the time the ordeal was over and the IDF had overtaken the terrorists in

Be’eri, Sandra had been shot four times in the lungs and multiple times to her extremities

placing her in a precarious life-or-death situation.

       2115. Plaintiff Natali Rotches immediately flew to Israel to assist her sister in

whatever manner possible and to try and be there for her two nephews who had lost their father

and sister and almost lost their mother.




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           2116. As a direct and foreseeable result of the October 7 Attack and the injuries to

Sandra Cohen, Plaintiff Natali Rotches has suffered severe mental anguish and extreme

emotional distress, and economic loss.

           BBBBB.       The Kava Family

           2117. Plaintiff Matan Kava is a citizen of the United States and resident of the State

of Israel.

           2118. Matan Kava holds the rank of Senior Sergeant Major in the IDF and serves as a

reservist in Battalion 697 of the 551 Unit.

           2119. Following the October 7 Attack, Matan was deployed to Gaza on October 27,

2023. On December 20, 2023, Matan and his team were operating in Beit Hanoun, a

neighborhood in northeast Gaza near the border with Israeli kibbutzim. This area, evacuated of

civilians, had been a base of operations for Hamas militants who launched the attacks on

October 7.

           2120. At approximately 6:00 a.m., during a mission to search for potential threats, a

member of Matan’s team spotted a suspicious individual slipping into a building across the

street. Knowing that civilians would not approach IDF forces and that the humanitarian zone

was far away, it quickly became clear that this was a Hamas terrorist attempting to execute an

assault.

           2121. Responding quickly, the team rushed to the building to neutralize the threat

before an attack could occur. As they prepared to enter, Matan’s commander ordered him to

throw a hand grenade to clear the way. Under intense pressure and focused on executing the

order quickly, Matan inadvertently threw the grenade to the side of the door, causing it to roll

back in their direction.

           2122. In that instant, time seemed to freeze as Matan’s life flashed before his eyes,

watching the grenade roll back toward him. He ran for cover but was unable to fully escape the



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explosion. Shrapnel from the grenade tore into his leg, causing a deep and excruciating wound.

The searing pain forced him to clutch his leg tightly as blood poured from the injury. Alongside

a comrade who sustained a shrapnel wound to the neck, Matan experienced unbearable pain

while desperately praying for his teammate’s safety, terrified by the thought he would not

survive. Both were swiftly evacuated to Beilinson Medical Center in Israel for treatment.

       2123. At the hospital, doctors treated Matan’s leg and administered antibiotics.

However, days later, his wound became infected due to not receiving any stitching, worsening

his pain and prolonging his recovery. To combat the infection, his father—a podiatrist—had to

undertake a grueling and agonizing treatment process: involving repeatedly reopening the

wound to stimulate bleeding and carefully closing it gradually over time. Matan endured this

painful process for about a month, which left him unable to perform basic physical tasks like

walking properly which disrupted his ability to reintegrate into normal life.

       2124. In addition to his physical injuries, the experiences since October 7, 2023, have

left lasting psychological scars on Matan. The memory of the grenade nearly taking his life and

the guilt of injuring a teammate—who now suffers a permanent neck injury from a lodged

shrapnel fragment, millimeters away from catastrophic consequences—continue to weigh

heavily on him. These haunting memories add to his ongoing struggle to navigate daily life.

       2125. Matan would not have been deployed into Gaza or injured in a friendly fire

incident but for the October 7 Attack. Therefore, his injuries are a direct and foreseeable

consequence of the Hamas terrorist actions on that day.

       2126. Plaintiff Albert Kava is a citizen of the United States and a resident of the State

of Israel. He is the father of Matan Kava.

       2127. Plaintiff Beth Kava is a citizen of the United States and a resident of the State

of Israel. She is the mother of Matan Kava.




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        2128. Plaintiff Zvi Kava is a citizen of the United States and a resident of the State of

Israel. He is the brother of Matan Kava.

        2129. Plaintiff Yael Kava is a citizen of the United States and a resident of the State

of Israel. She is the sister of Matan Kava.

        2130. Plaintiff Deena Kava is a citizen of the United States and a resident of the State

of Israel. She is the sister of Matan Kava.

        2131. As a direct and foreseeable result of the October 7 Attack and the events that

followed on December 20, 2023, Plaintiff Matan Kava has suffered severe physical and mental

anguish and extreme emotional distress, and economic loss.

        2132. As a direct and foreseeable result of the October 7 Attack and the events on

December 20, 2023, resulting in Matan Kava’s injuries, Plaintiffs Albert Kava, Beth Kava, Zvi

Kava, Yael Kava, and Deena Kava have experienced severe mental anguish and extreme

emotional distress, and economic loss.

        CCCCC.       The (Ezra) Kassin Family

        2133. Ezra Kassin is a citizen of the United States and a resident of the State of Israel.

        2134. Plaintiff Ezra Kassin brings this action individually and also on behalf of

Plaintiff E.K., his minor child. E.K. is a citizen of the United States and a resident of the State

of Israel.

        2135. On the morning of October 7, 2023, Ezra Kassin was in Ashkelon with E.K.

when sirens began to wail indicating that rockets had been fired in the direction of Ashkelon.

        2136. In the midst of the chaos that ensued, Ezra and his son heard gunfire, saw the

rockets falling, and believed they saw terrorists in the street in Ashkelon. They hid in a friend’s

house for 12 hours before the IDF arrived.




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        2137. Since the October 7 Attack, Ezra and E.K. have received psychological

treatment for the emotional trauma they endured. E.K. suffers from a massive sleep disorder

and ear disturbances since the October 7 Attack.

        2138. As a direct and foreseeable result of the October 7 Attack, Plaintiffs Ezra Kassin

and E.K. have suffered severe mental anguish and extreme emotional distress, and economic

loss.

        DDDDD.       The Karten Family

        2139. Plaintiff Jonathan Karten was a citizen of the United States and a resident of

Israel when he was injured in attacks by Hamas.

        2140. Jonathan Karten was a reserve soldier in the IDF who was activated and

deployed to Gaza after October 7, 2023. He was clearing houses of terrorists and booby traps

when his unit was hit with an IED, killing Jonathan’s friend and spraying Jonathan with

shrapnel to his lower back and glutes and causing bulging discs in his lumbar spine.

        2141. Jonathan returned to Gaza a week later in the capacity of a member of the

explosives ordnance disposal team in the Khan Younis, Sajaiya, and Beit Hanoun areas of the

Gaza Strip where he experienced additional rocket attacks and trauma.

        2142. He subsequently was stationed in the West Bank where he was involved in the

arrest of Hamas activists who had stolen a car that they had loaded with Hamas paraphernalia

along with explosives.

        2143. As a direct and foreseeable result of the October 7 Attack and continued

violence perpetrated by Hamas, Plaintiff Jonathan Karten has experienced severe physical and

mental anguish and extreme emotional distress, and economic loss.




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                                        CLAIMS FOR RELIEF

                                    FIRST CLAIM FOR RELIEF

 Against the FSIA Defendants on Behalf of U.S. Citizen Plaintiffs Except for the ATA-
  Only Plaintiffs 84 Identified Herein Who Suffered Personal Injury as a Result of the
  FSIA Defendants’ Material Support for Acts of Extrajudicial Killing, Torture, and
 Hostage Taking Pursuant to 28 U.S.C. § 1605A(c), Constituting Assault and Battery

        2144. Plaintiffs incorporate the allegations of the preceding paragraphs as though fully

set forth below.

        2145. The FSIA Defendants provided material support for acts of torture, extrajudicial

killing, and hostage taking (within the definitions of 28 U.S.C. § 1605A(h)) to terror

organizations and operatives who engaged in acts of torture, extrajudicial killing, and hostage

taking, and who injured Plaintiffs.

        2146. The FSIA Defendants armed, funded, trained, and provided other types of

material support (as defined in 18 U.S.C. § 2339A) for and to terror organizations and

operatives who engaged in acts of torture, extrajudicial killing, and hostage taking, injuring

Plaintiffs.

        2147. The FSIA Defendants provided this material support through their officials,

employees, and agents while they were acting within the scope of their offices, employment,

or agencies. This material support was provided pursuant to the policies of the FSIA

Defendants.

        2148. The material support provided by the FSIA Defendants caused Plaintiffs’

injuries by resulting in the October 7 Attack and the Subsequent Related Attacks.



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         The “ATA-Only Plaintiffs” are not bringing FSIA claims under this complaint. They are: the Estate of
Judy Weinstein Haggai, the Estate of Gad Haggai, Iris Weinstein Haggai, Ahl Haggai, Rahm Haggai, Zohar
Haggai, Tom Shalom, Guram Beniashvili, Michal Halev, the Estate of Hersh Goldberg-Polin, Rachel Goldberg,
Jon Polin, Leebie Goldberg-Polin, Orly Goldberg-Polin, Ester Halif, Ronit Rahoum, Daniel Lawrence Sasi,
Danielle Sasi, R.B.S.P., Eli Sasi, Samantha Meltz, Ester Sasi, the Estate of Avraham Sasi, Izhak Sasi, Lee Meltz
Sasi, Moran Sasi, Natalie Sasi, Yaaqov Sasi, Yosef Sasi, Bekhor Sassi, Meir Sasy, Vito Sasy, Shulamith Zani, Tal
Meltz Sasi, Elin Levy Sasi, Judith Levy, Shlomo Levy, Tzuria Levy, Zohar Levy, A.L., Yael Levy Oppenheimer,
the Estate of Roy Joseph Levy, I.O., Y.L., J.L., Iddo Moshe Levy, Nir Yehezkel Levy, Eliyahu Levy, Koren Siman
Tov Hazouette, Guil Hazouette, Amit Siman Tov Vahaba, and Shachar Butler.


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          2149. The October 7 Attack and the Subsequent Related Attacks identified in the

foregoing paragraphs and caused by the actions of the FSIA Defendants were intended to and

did cause harmful or offensive contact, and an imminent apprehension of such contact, with

Plaintiffs.

          2150. They therefore constituted a battery on Plaintiffs’ persons, causing them severe

physical injuries, and an assault on Plaintiffs by placing them in fear and apprehension of harm

and death.

          2151. As a direct and proximate result of the willful, wrongful, and intentional acts of

the FSIA Defendants, Plaintiffs identified in the foregoing paragraphs were injured and

endured severe physical injuries, extreme mental anguish, pain and suffering, and economic

losses.

          2152. Plaintiffs’ compensatory damages include, but are not limited to, their severe

physical injuries, extreme mental anguish, pain and suffering, solatium, and any economic

losses determined by the trier of fact.

          2153. The FSIA Defendants’ conduct was criminal, outrageous and extreme, wanton

and willful, malicious, and constitutes a threat to the public warranting an award of punitive

damages under 28 U.S.C. § 1605A(c).


                                SECOND CLAIM FOR RELIEF

  Against the FSIA Defendants on Behalf of U.S. Citizen Plaintiffs Identified Herein,
 Except for the ATA-Only Plaintiffs, Who Suffered Personal Injury as a Result of the
  FSIA Defendants’ Material Support for Acts of Extrajudicial Killing, Torture, and
Hostage Taking Pursuant to 28 U.S.C. § 1605A(c), Constituting Intentional Infliction of
                                Emotional Distress

          2154. Plaintiffs incorporate the allegations of the preceding paragraphs as though fully

set forth below.

          2155. The FSIA Defendants provided material support for acts of torture, extrajudicial

killing, and hostage taking (within the definitions of 28 U.S.C. § 1605A(h)) to terror



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organizations and operatives who engaged in acts of torture, extrajudicial killing, and hostage

taking, and who injured Plaintiffs.

           2156. The FSIA Defendants armed, funded, trained, and provided other types of

material support (as defined in 18 U.S.C. § 2339A) for and to terror organizations and

operatives who engaged in acts of torture, extrajudicial killing, and hostage taking, injuring

Plaintiffs.

           2157. The FSIA Defendants provided this material support through their officials,

employees, and agents while they were acting within the scope of their offices, employments,

or agencies. This material support was provided pursuant to the policies of the FSIA

Defendants.

           2158. The material support provided by the FSIA Defendants caused Plaintiffs’

injuries by resulting in the October 7 Attack and the Subsequent Related Attacks.

           2159. The FSIA Defendants intentionally inflicted emotional distress on the Plaintiffs

by intending to terrorize, and in fact terrorizing, the Plaintiffs, causing them severe emotional

distress.

           2160. This included terrorizing Plaintiffs who were present at the scene of the

October 7 Attack and the Subsequent Related Attacks and the Plaintiffs whose family members

were injured or killed at the October 7 Attack and the Subsequent Related Attacks.

           2161. As a direct and proximate result of the willful, wrongful, and intentional acts of

the FSIA Defendants, Plaintiffs identified in the foregoing paragraphs were injured and

endured extreme mental anguish, pain and suffering, and economic losses.

           2162. Plaintiffs’ compensatory damages include, but are not limited to, extreme

mental anguish, pain and suffering, solatium, and any economic losses determined by the trier

of fact.




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        2163. The FSIA Defendants’ conduct was criminal, outrageous, extreme, wanton,

willful, malicious, and a threat to the public, warranting an award of punitive damages against

the FSIA Defendants pursuant to 28 U.S.C. § 1605A(c).

                                 THIRD CLAIM FOR RELIEF

   Against the FSIA Defendants on Behalf of U.S. Citizen Plaintiffs Identified Herein,
  Except for the ATA-Only Plaintiffs, Who Suffered Personal Injury as a Result of the
   FSIA Defendants’ Material Support for Acts of Extrajudicial Killing, Torture, and
  Hostage Taking Pursuant to 28 U.S.C. § 1605A(c), Constituting False Imprisonment

        2164. Plaintiffs incorporate the allegations of the preceding paragraphs as though fully

set forth below.

        2165. The FSIA Defendants provided material support for acts of torture, extrajudicial

killing, and hostage taking (within the definitions of 28 U.S.C. § 1605A(h)) to terror

organizations and operatives who engaged in acts of torture, extrajudicial killing, and hostage

taking, and who injured Plaintiffs.

        2166. The FSIA Defendants armed, funded, trained, and provided other types of

material support (as defined in 18 U.S.C. § 2339A) for and to terror organizations and

operatives who engaged in acts of torture, extrajudicial killing, and hostage taking, injuring

Plaintiffs.

        2167. The FSIA Defendants provided this material support through the FSIA

Defendants’ officials, employees, and agents while they were acting within the scope of their

offices, employments, or agencies. This material support was provided pursuant to the policies

of the FSIA Defendants.

        2168. The material support provided by the FSIA Defendants caused Plaintiffs’

injuries by resulting in the October 7 Attack and the Subsequent Related Attacks.

        2169. The FSIA Defendants acted intending to unlawfully confine certain Plaintiffs

within fixed boundaries, namely their safe rooms or other shelters, during these attacks (as

detailed in Section VI above).


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           2170. The FSIA Defendants’ conduct directly or indirectly resulted in Plaintiffs’

confinement.

           2171. Plaintiffs were aware of that confinement and were harmed by it.

           2172. As a direct and proximate result of the willful, wrongful, and intentional acts of

the FSIA Defendants, Plaintiffs identified in the foregoing paragraphs suffered extreme mental

anguish, pain and suffering, and economic harm.

           2173. Plaintiffs’ compensatory damages include, but are not limited to, extreme

mental anguish, pain and suffering, solatium, and any economic losses determined by the trier

of fact.

           2174. The FSIA Defendants’ conduct was criminal, outrageous, extreme, wanton,

willful, malicious, and a threat to the public, warranting an award of punitive damages against

the FSIA Defendants pursuant to 28 U.S.C. § 1605A(c).

                                FOURTH CLAIM FOR RELIEF

   Against the FSIA Defendants on Behalf of U.S. Citizen Plaintiff Estates Identified
 Herein, Except for the ATA-Only Plaintiffs, Who Suffered Personal Injury as a Result
 of the FSIA Defendants’ Material Support for Acts of Extrajudicial Killing, Torture,
 and Hostage Taking Pursuant to 28 U.S.C. § 1605A(c), Constituting Wrongful Death

           2175. Plaintiffs incorporate the allegations of the preceding paragraphs as though fully

set forth below.

           2176. The estate Plaintiffs listed in the foregoing paragraphs assert claims on behalf

of the estate decedents who were grievously injured and killed by the FSIA Defendants’

provision of material support (within the definitions of 28 U.S.C. § 1605A(h)) to terror

organizations and operatives who engaged in acts of torture, extrajudicial killing, and hostage

taking, that caused the decedents’ deaths.

           2177. The FSIA Defendants armed, funded, trained, and provided other types of

material support (as defined in 18 U.S.C. § 2339A) for and to terror organizations and




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operatives who engaged in acts of torture, extrajudicial killing, and hostage taking, injuring

and killing the estates’ decedents.

       2178. The FSIA Defendants provided this material support through their officials,

employees, and agents while they were acting within the scope of their offices, employments,

or agencies. This material support was provided pursuant to the policies of the FSIA

Defendants.

       2179. As a direct and proximate result of the willful, wrongful, and intentional acts of

the FSIA Defendants, the estate Plaintiffs listed in the foregoing paragraphs endured economic

losses resulting from the estates’ decedents’ premature deaths. These economic losses include

loss of income and unreimbursed funeral expenses.

       2180. The FSIA Defendants’ conduct was criminal, outrageous, extreme, wanton,

willful, malicious, and constitutes a threat to the public, warranting an award of punitive

damages against the FSIA Defendants pursuant to 28 U.S.C. § 1605A(c).

                               FIFTH CLAIM FOR RELIEF

  Against the FSIA Defendants on Behalf of U.S. Citizen Plaintiff Estates Identified
  Herein, Except for the ATA-Only Plaintiffs, Who Suffered Personal Injury Before
 Dying as a Result of the FSIA Defendants’ Material Support for Acts of Extrajudicial
 Killing, Torture, and Hostage Taking Pursuant to 28 U.S.C. § 1605A(c), Constituting
                                      Survival

       2181. Plaintiffs incorporate the allegations of the preceding paragraphs as though fully

set forth below.

       2182. The estates of Plaintiffs listed in the foregoing paragraphs assert claims for the

pain and suffering of the estates’ decedents who were grievously injured by the FSIA

Defendants’ provision of material (within the definitions of 28 U.S.C. § 1605A(h)) to terror

organizations and operatives who engaged in acts of torture, extrajudicial killing, and hostage

taking that caused the decedents’ pain and suffering and ultimately their deaths.




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       2183. The FSIA Defendants armed, funded, trained, and provided other types of

material support (as defined in 18 U.S.C. § 2339A) for and to terror organizations and

operatives who engaged in acts of torture, extrajudicial killing, and hostage taking, injuring

and killing the estate decedents.

       2184. The FSIA Defendants provided this material support through their officials,

employees, and agents while they were acting within the scope of their offices, employments,

or agencies. This material support was provided pursuant to the policies of the FSIA

Defendants.

       2185. The material support provided by the FSIA Defendants caused the estate

decedents’ injuries and deaths by resulting in the October 7 Attack and the Subsequent Related

Attacks.

       2186. As a direct and proximate result of the willful, wrongful, and intentional acts of

the FSIA Defendants, the decedents listed in the foregoing paragraphs endured physical injury,

extreme mental anguish, and pain and suffering prior to their deaths.

       2187. The FSIA Defendants are therefore liable for the full measure of estate

Plaintiffs’ compensatory damages, including physical injuries, extreme mental anguish, and

pain and suffering prior to their deaths.

       2188. The FSIA Defendants’ conduct was criminal, outrageous, extreme, wanton,

willful, malicious, and constitutes a threat to the public, warranting an award of punitive

damages against the FSIA Defendants pursuant to 28 U.S.C. § 1605A(c).

                                SIXTH CLAIM FOR RELIEF

Against the FSIA Defendants on Behalf of Non-U.S. Nationals Identified Herein, Except
  for the ATA-Only Plaintiffs, Who Suffered Personal Injury as a Result of the FSIA
 Defendants’ Material Support for Acts of Extrajudicial Killing, Torture, and Hostage




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  Taking Pursuant to District of Columbia Law or Israeli Law (or other U.S. State or
       Foreign Law), Constituting Intentional Infliction of Emotional Distress

       2189. The allegations set forth in the preceding paragraphs are incorporated by

reference as though fully set forth herein.

       2190. The family member Plaintiffs of individuals identified in the foregoing

paragraphs as injured or killed as a result of the FSIA Defendants’ provision of material support

for acts of extrajudicial killing, torture, and hostage taking have suffered severe emotional

distress, extreme mental anguish, and severe physical manifestations, as well as loss of

solatium and other harms to be set forth to the trier of fact.

       2191. The FSIA Defendants’ material support for extrajudicial killing, torture, and

hostage taking were intended to inflict severe emotional distress on Plaintiffs.

       2192. Because District of Columbia District Courts are split over whether to apply

D.C. law, the law of non-U.S. national plaintiffs’ domiciles, or the law of the place of the attack

to intentional infliction of emotional distress claims brought by family member plaintiffs who

are not nationals of the United States (the issue is currently on appeal to the Court of Appeals

for the District of Columbia in Roberts v. Islamic Republic of Iran, No. 23-cv-7106), family

member Plaintiffs who are not U.S. nationals bring claims for emotional distress pursuant to

District of Columbia law, Israeli law, and/or other U.S. state or foreign law, depending on their

residence.

       2193. The family member Plaintiffs who are not U.S. nationals bring claims for all

possible damages, including for pain and suffering, emotional distress, economic losses, and

punitive damages, as set forth below.

District of Columbia Law

       2194. The family member Plaintiffs who are not U.S. nationals bring claims for

intentional infliction of emotional distress, including punitive damages, under District of

Columbia law.


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Israeli Law

         2195. Family member Plaintiffs who are citizens of the State of Israel but not the

United States also bring claims under Israeli law, including Articles 35-36 of the Civil Wrongs

Ordinance (“CWO”) providing causes of action for both negligent conduct and intentional

harms.

         2196. Plaintiffs bring these claims against the FSIA Defendants under three theories

of liability espoused by Israeli law: primary liability, secondary liability, and vicarious liability.

         2197. The FSIA Defendants knowingly, willfully, and recklessly (and certainly

negligently) caused and assisted the above-described attacks, which are acts of terrorism that a

reasonably prudent person would not have committed or abetted.

         2198. The FSIA Defendants had a duty not to knowingly, willfully, and recklessly

(and certainly negligently) cause, assist, and provide material support for the above-described

attacks.

         2199. As a direct and proximate result of the willful, knowing, reckless, and negligent

acts of the FSIA Defendants, Plaintiffs identified in the foregoing paragraphs suffered extreme

mental anguish, pain and suffering, loss of solatium, and economic harm.

         2200. Israeli law provides for damages for economic loss, pain and suffering, mental

anguish, bereavement damages (i.e., solatium), and punitive damages.

         2201. Plaintiffs’ compensatory damages include, but are not limited to, economic

losses, pain and suffering, extreme mental anguish, and solatium.

         2202. Punitive damages under Israeli law stems from the American rule of punitive

damages. The FSIA Defendants’ conduct was criminal, outrageous, extreme, wanton, willful,

malicious, and a threat to the public, warranting an award of punitive damages against the FSIA

Defendants pursuant to Israeli law.




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Other Foreign or U.S. States’ Laws

         2203. To the extent necessary, the non-U.S. national Plaintiffs bring claims for relief

under the laws of other countries or U.S. States, for the same injuries and damages described

above.

                              SEVENTH CLAIM FOR RELIEF

  Against the FTO Defendants on Behalf of All Plaintiffs for Conspiring to Commit
Homicide (18 U.S.C. § 2332(b)) and Other Crimes Listed in 18 U.S.C. § 2339A(a) Under
                                     § 2333(a)

         2204. The allegations set forth in the preceding paragraphs are incorporated by

reference as though fully set forth herein.

         2205. Plaintiffs have been injured in their person, and the estate Plaintiffs suffered

economic loss and pain and suffering prior to their decedents’ deaths, by reason of acts of

international terrorism committed by the FTO Defendants.

         2206. These acts of international terrorism involved violent acts or acts dangerous to

human life, and violated the criminal laws of the United States (or would if committed in the

United States), including the prohibition on killing, or attempting or conspiring to kill, U.S.

citizens as set forth in 18 U.S.C. § 2332 and the other crimes listed in 18 U.S.C. § 2339A(a).

         2207. The FTO Defendants’ acts of international terrorism appeared to be intended

and were in fact intended to: (a) intimidate or coerce the civilian populations of the State of

Israel and the United States; (b) influence the policy of the governments of the State of Israel

and the United States by intimidation or coercion; and (c) affect the conduct of the governments

of the State of Israel and the United States by mass destruction, assassination, or kidnapping

within the meaning of 18 U.S.C. § 2331.

         2208. The FTO Defendants’ acts both occurred primarily outside the territorial

jurisdiction of the United States and transcended national boundaries in terms of the means by

which they were accomplished.




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       2209. The acts of terrorism set forth herein were extreme and outrageous and were

committed with the knowledge and intent they would, and did, cause extreme physical pain

and suffering to the victims, and extreme emotional distress to the family members of those

murdered by reason of these acts of international terrorism.

       2210. The FTO Defendants conspired to commit acts of homicide and other crimes

listed in 18 U.S.C. § 2339A(a), or activities that would be crimes if committed within the

jurisdiction of the United States or of any State, including against U.S. nationals, in the manner

set forth herein, and committed overt acts in furtherance of the conspiracy. At all relevant times,

the FTO Defendants agreed to the aims of the conspiracy and acted in furtherance of the

conspiracy.

       2211. Plaintiffs were wounded, incurring emotional and physical injuries (including

solatium), and some were also killed, as a result of overt acts taken in furtherance of the

conspiracy, such as shootings, bombings, and hostage-taking.

       2212. By conspiring to commit acts of homicide and other crimes listed in 18 U.S.C.

§ 2339A(a) that resulted in the injury of Plaintiffs and the deaths of Plaintiffs’ decedents, the

FTO Defendants are jointly and severally liable pursuant to 18 U.S.C. § 2333(a) for any and

all damages Plaintiffs have sustained as a result of such injuries.

                              EIGHTH CLAIM FOR RELIEF

Against FTO Defendants Hamas, PIJ, and PFLP, on Behalf of the Plaintiffs Injured by
    FTO Defendants Hamas, PIJ, and PFLP for violations of 18 U.S.C. § 2333(a)

       2213. The allegations set forth in the preceding paragraphs are incorporated by

reference as though fully set forth herein.

       2214. Plaintiffs have been injured in their person, including extreme mental anguish,

solatium and economic losses, and the estate Plaintiffs suffered economic loss, extreme mental

anguish, and pain and suffering, by reason of acts of international terrorism committed by the

FTO Defendants Hamas, PIJ, and PFLP, that involved violence, were dangerous to human life,


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and violated the criminal laws of the United States or the States (or would if committed in the

United States), including the prohibition on killing or attempting to kill U.S. citizens as set

forth in 18 U.S.C. § 2332(a), (b), and (c).

       2215. These FTO Defendants’ acts in kidnapping Plaintiffs, injuring Plaintiffs, killing

Plaintiffs’ decedents or attempting to kill the injured Plaintiffs, or inflict emotional distress on

the family member Plaintiffs, appeared to be were in fact intended to: (a) intimidate or coerce

the civilian populations of the State of Israel and the United States; (b) influence the policy of

the governments of the State of Israel and the United States by intimidation or coercion; and

(c) affect the conduct of the governments of the State of Israel and the United States by mass

destruction, assassination, or kidnapping within the meaning of 18 U.S.C. § 2331.

       2216. These FTO Defendants’ acts both occurred primarily outside the territorial

jurisdiction of the United States and transcended national boundaries in terms of the means by

which they were accomplished.

       2217. These FTO Defendants’ acts were extreme and outrageous and were committed

with the knowledge of and intention to cause extreme physical pain and suffering to any and

all persons within close proximity of the attack and extreme emotional distress to the family

members of those who were killed or injured by reason of those acts.

       2218. By violating 18 U.S.C. §§ 2332(a), (b), and (c)’s prohibitions against killing or

attempting to kill a U.S. citizen, as well as the other crimes listed in 18 U.S.C. § 2339A(a) (or

activities that would constitute crimes if committed in the United States) and causing them

serious bodily injury, economic losses, and emotional distress, these FTO Defendants are liable

pursuant to 18 U.S.C. § 2333(a) for any and all damages Plaintiffs have sustained as a result of

such murders, attempted murders, and other illegal and tortious activities.




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                               NINTH CLAIM FOR RELIEF

     Against FTO Defendant Hezbollah, on Behalf of the Balva Family Plaintiffs for
                         violations of 18 U.S.C. § 2333(a)

       2219. The allegations set forth in the preceding paragraphs are incorporated by

reference as though fully set forth herein.

       2220. The estate of Omer Balva suffered wrongful death (i.e., economic losses) and

pain and suffering before death, and the Balva family member Plaintiffs suffered extreme

emotional distress, by reason of acts of international terrorism committed by the FTO

Defendant Hezbollah that involved violence, were dangerous to human life, and violated the

criminal laws of the United States or the States (or would be if committed in the United States),

including the prohibition on killing U.S. citizens as set forth in 18 U.S.C.§ 2332(a) and (c).

       2221. Hezbollah’s acts in killing Omer Balva, a U.S. citizen, were intended to: (a)

intimidate or coerce the civilian populations of the State of Israel and the United States; (b)

influence the policy of the governments of the State of Israel and the United States by

intimidation or coercion; and (c) affect the conduct of the governments of the State of Israel

and the United States by mass destruction, assassination, or kidnapping within the meaning of

18 U.S.C. § 2331.

       2222. Hezbollah’s acts both occurred primarily outside the territorial jurisdiction of

the United States and transcended national boundaries in terms of the means by which they

were accomplished.

       2223. Hezbollah’s acts were extreme and outrageous and were committed with the

knowledge of and intention to cause extreme physical pain and suffering to any and all persons

within close proximity of the attack and extreme emotional distress to the family members of

those who were killed or injured by reason of those acts.

       2224. By violating 18 U.S.C. §§ 2332(a) and (c)’s prohibitions against murdering a

U.S. citizen, and the other crimes listed in 18 U.S.C. § 2339A(a), and causing them serious


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bodily injury, Hezbollah is liable pursuant to 18 U.S.C. § 2333(a) for any and all damages the

estate of Omer Balva and the Balva family Plaintiffs have sustained as a result of such murder.

                               TENTH CLAIM FOR RELIEF

     Against FTO Defendants, on Behalf of All Plaintiffs, for violations of 18 U.S.C.
                           §§ 2333(a), 2339A and 2339B

          2225. The allegations set forth in the preceding paragraphs are incorporated by

reference as though fully set forth herein.

          2226. Each of FTO Defendants PIJ, PFLP, Hezbollah, and Hamas provided each other

material support in violation of 18 U.S.C. § 2339A by conspiring with and providing material

support and resources to each other, knowing or intending that they be used in preparation for

or in carrying out the October 7 Attack and the Subsequent Related Attacks, which constituted

violations of section 18 U.S.C. § 2332 and the other crimes listed in 18 U.S.C. § 2339A(a), and

assisted in the preparation for, carrying out, and commission of acts of international terrorism

described herein.

          2227. Each of FTO Defendants PIJ, PFLP, Hezbollah, and Hamas provided each other

material support, and attempted and conspired to do so, in violation of 18 U.S.C. § 2339B by

providing material support and resources to each other, knowing that each FTO Defendant was

a designated FTO, engages in terrorist activity, and/or engages in terrorism, as these terms are

defined in 18 U.S.C. § 2339B.

          2228. The FTO Defendants’ acts in kidnapping, injuring, killing, and attempting to

kill, U.S. nationals and other persons, appeared to be and in fact were intended to: (a) intimidate

or coerce the civilian populations of the State of Israel and the United States; (b) influence the

policy of the governments of the State of Israel and the United States by intimidation or

coercion; and (c) affect the conduct of the governments of the State of Israel and the United

States by mass destruction, assassination, or kidnapping within the meaning of 18 U.S.C.

§ 2331.


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       2229. The FTO Defendants’ conduct was a substantial cause in fact and a significant,

foreseeable factor in the chain of events leading to Plaintiffs’ injuries.

       2230. The FTO Defendants’ acts occurred primarily outside the territorial jurisdiction

of the United States and transcended national boundaries in terms of the means by which they

were accomplished.

       2231. The FTO Defendants’ knowing provision of material support to each other

involved acts that were dangerous to human life, by their nature and as evidenced by their

consequences.

       2232. Furthermore, each Plaintiff’s injuries constitute harm falling within the risk

contemplated by the FTO Defendants’ material support to each other.

       2233. Through their conduct as described above, by knowingly providing material

support to each other and thereby knowingly violating 18 U.S.C. §§ 2339A and 2339B, the

FTO Defendants are civilly liable for damages to each Plaintiff for their injuries pursuant to 18

U.S.C. § 2333(a).

                             ELEVENTH CLAIM FOR RELIEF

   Against FTO Defendants PIJ, PFLP, and Hezbollah, on Behalf of All Plaintiffs, for
        Aiding and Abetting in Violation of 18 U.S.C. §§ 2333(a) and 2333(d)(2)

       2234. The allegations set forth in the preceding paragraphs are incorporated by

reference as though fully set forth herein.

       2235. Hamas was designated an FTO on October 8, 1997, and remains so-designated.

       2236. The October 7 Attack and the Subsequent Related Attacks consisted of

hundreds of different phases of a terror campaign jointly perpetrated by FTO Defendants

Hamas, PFLP, PIJ, and Hezbollah, among others.

       2237. The attacks alleged herein were acts of international terrorism as defined by 18

U.S.C. § 2331(1).




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       2238. FTO Defendants Hezbollah, PIJ, and PFLP aided and abetted (within the

meaning of 18 U.S.C. § 2333(d)(2)), Hamas, the person (within the meaning of 18 U.S.C.

§ 2333(d)(1) and 1 U.S.C. § 1) that committed most of the acts of international terrorism set

forth herein, including through financial support, tactical training, intelligence sharing,

strategic planning, the provision of weapons, and other forms of assistance and encouragement

described above.

       2239. FTO Defendants Hezbollah, PIJ, and PFLP assisted Hamas knowingly and were

generally aware of their roles in Hamas’s illegal and tortious conduct.

       2240. The assistance these FTO Defendants knowingly provided Hamas was

substantial.

       2241. The terror attacks described herein which were committed by Hamas were the

natural and foreseeable consequences of these FTO Defendants’ assistance to Hamas.

                             TWELFTH CLAIM FOR RELIEF

 Against FTO Defendant Hamas, on Behalf of All Plaintiffs, for Aiding and Abetting in
                  Violation of 18 U.S.C. §§ 2333(a) and 2333(d)(2)

       2242. The allegations set forth in the preceding paragraphs are incorporated by

reference as though fully set forth herein.

       2243. Hezbollah, PIJ, and PFLP were each designated an FTO on October 8, 1997,

and remain so-designated.

       2244. The October 7 Attack and the Subsequent Related Attacks consisted of

hundreds of different phases of a terror campaign jointly perpetrated by FTO Defendants

Hamas, PFLP, PIJ, and Hezbollah, among others.

       2245. The attacks alleged herein were acts of international terrorism as defined by 18

U.S.C. § 2331(1).

       2246. Hamas aided and abetted (within the meaning of 18 U.S.C. § 2333(d)(2))

Hezbollah, PIJ, and PFLP, who were the persons (within the meaning of 18 U.S.C. § 2333(d)(1)


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and 1 U.S.C. § 1) that committed some of the acts of international terrorism set forth herein,

including through financial support, tactical training, intelligence sharing, strategic planning,

the provision of weapons, and other forms of assistance and encouragement described above.

        2247. Hamas assisted Hezbollah, PIJ, and PFLP knowingly and was generally aware

of its role in their illegal and tortious conduct.

        2248. The assistance Hamas knowingly provided to these FTO Defendants was

substantial.

        2249. The terror attacks described herein which were committed by Hezbollah, PIJ,

and PFLP were the natural and foreseeable consequences of Hamas’s assistance to Hezbollah,

PIJ, and PFLP.

                            THIRTEENTH CLAIM FOR RELIEF

 Against the FTO Defendants, on Behalf of All Plaintiffs, for Conspiracy in Violation of
                        18 U.S.C. §§ 2333(a) and 2333(d)(2)

        2250. The allegations set forth in the preceding paragraphs are incorporated by

reference as though fully set forth herein.

        2251. The attacks alleged herein were acts of international terrorism as defined by 18

U.S.C. § 2331(1).

        2252. Hamas, Hezbollah, PIJ, and PFLP were each designated an FTO on October 8,

1997, and remain so-designated.

        2253. The FTO Defendants conspired with each other and others (including the IRGC)

for the purpose of committing acts of terrorism, including the October 7 Attack and the

Subsequent Related Attacks.

        2254. Each FTO Defendant agreed to join the conspiracy knowing its general aims.

        2255. Members of the conspiracy performed overt acts in furtherance of the

conspiracy, which included acts that substantially and foreseeably injured Plaintiffs.




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       2256. Plaintiffs’ injuries were proximately caused by the FTO Defendants’ acts of

international terrorism.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court:

       (a)     Accept jurisdiction over this action;

       (b)     Enter judgment for Plaintiff Estates against the FSIA Defendants, jointly and
               severally, for compensatory damages for wrongful death and survival,
               including, but not limited to, physical injury, extreme mental anguish, pain and
               suffering, economic losses, and any pecuniary loss (or loss of income to the
               estates) in amounts to be determined at trial;

       (c)     Enter judgment for all Plaintiffs (except the ATA-Only Plaintiffs) against the
               FSIA Defendants, jointly and severally, for compensatory damages, including,
               but not limited to, physical injury, extreme mental anguish, pain and suffering,
               economic losses, and solatium, in amounts to be determined at trial;

       (d)     Enter judgment for all Plaintiffs (except the ATA-Only Plaintiffs) against the
               FSIA Defendants, jointly and severally, for punitive damages in an amount to
               be determined at trial;

       (e)     Enter judgment against the FTO Defendants and in favor of all Plaintiffs for
               compensatory damages in amounts to be determined at trial;

       (f)     Enter judgment against the FTO Defendants and in favor of all Plaintiffs for
               treble damages pursuant to 18 U.S.C. § 2333(a);

       (g)     Enter judgment against the FTO Defendants and in favor of all Plaintiffs for any
               and all costs sustained in connection with the prosecution of this action,
               including attorneys’ fees, pursuant to 18 U.S.C. § 2333(a);

       (h)     Enter judgment for all Plaintiffs (except the ATA-Only Plaintiffs) against the
               FSIA Defendants, jointly and severally, for Plaintiffs’ costs and attorney’s fees;

       (i)     Enter judgment against the FSIA Defendants, jointly and severally, for
               prejudgment interest; and

       (j)     Such other and further relief as the Court finds just and equitable.




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Dated: May 9, 2025
                                   WILLKIE FARR & GALLAGHER LLP

                             By:   /s/ Lee Wolosky
                                   Lee Wolosky (D.C. Bar No. NY0161)
                                   Andrew Lichtman (motion for admission pro hac
                                   vice forthcoming)
                                   787 7th Avenue
                                   New York, NY 10019
                                   Telephone: (212) 728-8000
                                   Facsimile: (212) 728-8111
                                   lwolosky@willkie.com
                                   alichtman@willkie.com

                                   OSEN LLC
                                   Gary M. Osen (D.C. Bar No. NJ009)
                                   Ari Ungar (DC Bar No. NJ008)
                                   Michael J. Radine (DC Bar No. NJ015)
                                   Dina Gielchinsky (DC Bar No. NJ011)
                                   Aaron Schlanger (D.C. Bar No. NJ007)
                                   190 Moore Street, Suite 272
                                   Hackensack, NJ 07601
                                   Telephone: (201) 265-6400
                                   Facsimile: (201) 265-0303
                                   gosen@osenlaw.com
                                   aungar@osenlaw.com
                                   mradine@osenlaw.com
                                   dgielchinsky@osenlaw.com
                                   aschlanger@osenlaw.com

                                   STEIN MITCHELL BEATO & MISSNER
                                   LLP
                                   Jonathan E. Missner (D.C. Bar No. 475648)
                                   Robert B. Gilmore (D.C. Bar No. 492424)
                                   2000 K St., NW, Suite 600
                                   Washington, D.C. 20006
                                   Telephone: (202) 737-7777
                                   Facsimile: (202) 296-8312
                                   jmissner@steinmitchell.com
                                   rgilmore@steinmitchell.com


                                   JENNER & BLOCK LLP
                                   /s/ Andrianna D. Kastanek
                                   Andrianna D. Kastanek (pro hac vice)
                                   353 North Clark Street
                                   Chicago, IL 60654
                                   (312) 222-9350
                                   akastanek@jenner.com




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                                 Benjamin D. Alter (D.C. Bar No. NY0607)
                                 1155 Avenue of the Americas
                                 New York, NY 10036
                                 (212) 891-1600
                                 balter@jenner.com

                                 Attorneys for the Weiser, Morell, Leiter, Balva,
                                 Rousso, Chen, Shay, Ziering, Glisko,
                                 Schenkolewski, Haggai, Rosenfeld, Levy,
                                 Shalom, Beniashvili, Zimbalist, Neutra, Shafer,
                                 Goldberg-Polin, Sasi, Katsman, Abramov and
                                 Bomflek Plaintiffs

                                 MOTLEY RICE LLC
                           By:   /s/ John M. Eubanks
                                 John M. Eubanks (D.C. Bar No. SC0013)
                                 Michael E. Elsner
                                 28 Bridgeside Blvd.
                                 Mt. Pleasant, SC 29464
                                 Telephone: (843) 216-9250
                                 Facsimile: (843) 216-9450
                                 jeubanks@motleyrice.com
                                 melsner@motleyrice.com

                                 Attorneys for the Airley, Bours, Davidovich, Ben-
                                 Zaken,     Donald       Goodman,      Ben-Hamo,
                                 Klughaput, Moses, Newman, Rothner, Shindman,
                                 Spitz, Thaler, Vardi, Zer-Chen, Edan, Zafrani,
                                 Natan a/k/a Teicher, Naama Saffer Amar,
                                 Yehoshua Goodman, Gutstein, Shelomo Tawil,
                                 Elitzur, Gilberg, Messner, Benzakein, Holtzman,
                                 Sapir, Susskind, Werde, Blisko, Engle, Cherney,
                                 Libin, Daniels, Kassel, Azulai, Fayazi, Hordiner,
                                 Koskas, Russek, Kama, David Tawil, Kassin,
                                 Berger, Apelbaum, Saffer, Biton, Haim Katzin,
                                 Israel Katzin, Bing, Frank, Cohen, Karten, Ezra
                                 Kassin, Ben-Chaim, Lahav, Daniel, Rubin, Atzili,
                                 Lavi, Sanandaji, Shahar, Ben Zvi, Dan, Sherman,
                                 Abrams, Shai and Natalia Amar, Bareli, Edri,
                                 Stern, Lamdan, Lilintal, Peles, Aharoni,
                                 Berkowitz, Guedalia, Shani, Siman Tov, Butler,
                                 Hazoutte, Vahaba, Korenstein, Spiegelman,
                                 Haines, Strauss, Shain, Leshem, Hoshea Haggai,
                                 and Kava Plaintiffs


                                 MM~LAW LLC
                           By:   /s/ Gavriel Mairone
                                 Gavriel Mairone (D.C. Bar No. 156461)




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                                Ariel Mairone (motion for admission pro hac vice
                                forthcoming)
                                Christine N. Crane (application for admission pro
                                hac vice forthcoming)

                                875 North Michigan Avenue, Suite 3100
                                Chicago, IL 60611
                                law@mm-law.com
                                ariel@mm-law.com
                                ctlaw@mm-law.com

                                Attorneys for the Ben-Chaim, Lahav, Rubin,
                                Atzili, Lavi, Sanandaji, Shahar, Ben Zvi, Dan,
                                Sherman, Abrams, Shai and Natalia Amar,
                                Bareli, Edri, Stern, Lamdan, Lilintal, Peles,
                                Aharoni, Berkowitz, Guedalia, Shani, Elitzur,
                                Gilberg, Siman Tov, Butler, Hazoutte, Vahaba,
                                Korenstein, Spiegelman, Haines, Strauss, Shain,
                                Leshem, Hoshea Haggai, and Kava Plaintiffs




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